Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 1 of 73




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7KH\DOVRSDUWLFLSDWHLQODZHQIRUFHPHQWDXWKRULW\DFWLYLWLHVDVUHTXLUHG HJSXUFKDVHRI

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PDNLQJDUUHVWVDQGH[HFXWLQJVHDUFKVHL]XUHZDUUDQWV <RXU$IILDQWKDVUHFHLYHGVSHFLDOL]HG

WUDLQLQJLQWKHLQYHVWLJDWLRQVRISUHVFULSWLRQGUXJGLYHUVLRQ<RXU$IILDQWKDVLQYHVWLJDWHG

QXPHURXVIHORQ\DQGPLVGHPHDQRUFULPLQDOFDVHVWRLQFOXGHQXPHURXVGUXJGLYHUVLRQFDVHV

<RXU$IILDQWDQGRWKHULQYHVWLJDWRUVVKHKDVZRUNHGZLWKDUHNQRZOHGJHDEOHRIWKHODZV

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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 3 of 73




        ,KDYHSDUWLFLSDWHGLQLQYHVWLJDWLRQVRILQGLYLGXDOVDQGRUJDQL]DWLRQVIRUYLRODWLRQVRIWKH

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UHFRUGVSXUVXDQWWRDVHDUFKZDUUDQWRUVXESRHQD,QRUGHUWRILQGJRRGFDXVHWKHFRXUWPXVWILQG

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                D 7KHUHLVUHDVRQWREHOLHYHWKDWDQHPSOR\HHRUDJHQWRIWKHGUXJRUDOFRKROWUHDWPHQW
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                    FRQILGHQWLDOVRXUFHLQWKHSURJUDPRXWZHLJKWKHSRWHQWLDOLQMXU\WRSDWLHQWVRIWKH
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VDOHRISUHVFULSWLRQVIRUFRQWUROOHGPHGLFDWLRQV7KHVWDWHPHQWVFRQWDLQHGLQWKLVDIILGDYLWDUH

EDVHGXSRQP\SHUVRQDONQRZOHGJHDVZHOODVLQIRUPDWLRQSURYLGHGWRPHE\RWKHUODZ

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'H+DDQ7KHFRURQHU¶VUHSRUWOLVWV'H+DDQ VFDXVHRIGHDWKDVFRPELQHGGUXJLQWR[LFDWLRQZLWK

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SDQFUHDWLWLVVHYHUDOWLPHVGXULQJKLJKVFKRRO'H+DDQZDVVHHLQJDGGLFWLRQSV\FKLDWULVW'U

7KXUVWRQHDQGKDGEHHQWKURXJKUHFRYHU\RQPRUHWKDQRQHRFFDVLRQ'HVSLWHWKLVWKHIDPLO\

OHDUQHG'H+DDQZDVEX\LQJSUHVFULSWLRQVIURPD'U+RZDUG6:HLVV 'U:HLVV DQGWKDW

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 IRUWKHSXUSRVHRILGHQWLI\LQJDQ\SDWWHUQVRISUHVFULELQJEHKDYLRUZKLFKZLWKLQDUHDVRQDEOHPHGLFDOSUREDELOLW\
 IDOORXWVLGHRIWKHXVXDOFRXUVHRISV\FKLDWULFWUHDWPHQWDQGRURFFXUZLWKRXWDOHJLWLPDWHPHGLFDOSXUSRVH

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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 12 of 73




 )DLOXUHWR'LVSOD\3URRIRI,QVXUDQFH7KHQDUUDWLYHIURP&RORUDGR6WDWH3DWURODUUHVWUHSRUW

 'VWDWHGLQEULHIVXPPDU\WKHIROORZLQJIRU-XO\

                $&637URRSHUDWWHPSWHGWRVWRSDPRWRUF\FOHRQ6%,QWHUVWDWHLQ7KRUQWRQ

                &RORUDGR7KHPRWRUF\FOHEHJDQWRHOXGHWKH7URRSHU¶VVLJQDODQGFUDVKLQWRWKH

                7URRSHU¶VPRWRUF\FOH7KHGULYHU352&725IOHGRQIRRWDQGZDVWDNHQLQWR

                FXVWRG\DVKRUWGLVWDQFHODWHU$VFDOHFRPPRQO\XVHGIRUZHLJKLQJGUXJVDQGD

                VPDOOER[ZLWKDSSUR[LPDWHO\JUDPVRIPDULMXDQDZHUHIRXQGLQ352&725¶V

                EDFNSDFN$=LSORFW\SHEDJFRQWDLQLQJDSSUR[LPDWHO\JUDPVRIVXVSHFWHG

                1RUPRUSKLQHDQG0HWKDPSKHWDPLQHD=LSORFW\SHEDJFRQWDLQLQJDSSUR[LPDWHO\

                JUDPVRIVXVSHFWHG0HWKDPSKHWDPLQHDQGD=LSORFW\SHEDJFRQWDLQLQJ

                DSSUR[LPDWHO\JUDPVRIVXVSHFWHGKHURLQZHUHIRXQGRQ352&725¶VERG\


    ,Q$XJXVWRI'LYHUVLRQ,QYHVWLJDWRU ', 2HVWHUOHUHFHLYHGLQIRUPDWLRQWKDW1LFROH

 -2+1621ZDVILOOLQJSUHVFULSWLRQVIURPGLIIHUHQWGRFWRUVLQFOXGLQJ'U:HLVV2Q6HSWHPEHU

 ',2HVWHUOHDQG',3LFNUHOLQWHUYLHZHG'U:HLVVDWKLVRIILFH(%HOOHYLHZ$YH

 6XLWH*UHHQZRRG9LOODJH&RORUDGR,QEULHIVXPPDU\'U:HLVVVWDWHGWKDW-2+1621

 KDGEHHQKLVSDWLHQWVLQFH-XQHDQGWKDWKHKDGEHHQSUHVFULELQJ$GGHUDOODQGDVOHHS

 DLGWR-2+1621'U:HLVVFODLPHGWRKDYHVSRNHQWR-2+1621SULRUWRWKHLQWHUYLHZZLWK

 ',2HVWHUOHDQG',3LFNUHODQG-2+1621GHQLHGDQ\ZURQJGRLQJ+RZHYHU'U:HLVV

 LGHQWLILHGVHYHUDOSUHVFULSWLRQVIURP-2+1621 V3'03WKDWKHGLGQRWZULWHIRU-2+1621

 'U:HLVVYROXQWDULO\VKRZHGWKHLQYHVWLJDWRUVKLVUHFRUGVDQGPDGHWKHSRLQWWKDWKHNHSWYHU\

 DFFXUDWHUHFRUGVIRU-2+1621DQGWKDWKHGLGWKHVDPHIRUDOORIKLVSDWLHQWV

    $UHYLHZRI&RORUDGR3'033DWLHQW6XPPDU\UHFRUGVRIDOOGLVSHQVHGFRQWUROOHG

 VXEVWDQFHSUHVFULSWLRQVWR1LFROH-2+1621IRUWKHWLPHSHULRGRI-XO\WKURXJK$SULO


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 13 of 73




 UHFHLYHGSXUVXDQWWR'($DGPLQLVWUDWLYHVXESRHQDVUHSRUWHG-2+1621ILOOHG

 SUHVFULSWLRQVDXWKRUL]HGE\'U:HLVVEHWZHHQ-XQHDQG'HFHPEHU7KH

 SUHVFULSWLRQVZHUHIRU=DOHSORQPJFDSOHWV 6RQDWD DQG'H[WURDPSDPSKHWDPLQPJ

 WDEOHWVZLWKWKHODVWSUHVFULSWLRQIRU'H[WURDPSDPSKHWDPLQPJWDEOHWV KDOIWKHQXPEHU

 RIWDEOHWVDVWKHSUHYLRXVSUHVFULSWLRQV ZULWWHQRQ$XJXVWDQGILOOHGE\-2+1621RQ

 $XJXVW

    $FULPLQDOKLVWRU\FKHFNIRU-2+1621UHSRUWHGDQDUUHVWIRU,'7KHIW)RUJHU\

 )LQDQFLDO7UDQVDFWLRQ8QDXWKRUL]HG&ULPLQDO3RVVHVVLRQ)LQDQFLDO'HYLFHDQG7KHIWFRPPLWWHG

 LQ-XQH

        1HZ5HSRUWLQJ


    %HWZHHQ'HFHPEHUDQG)HEUXDU\'HWHFWLYH%\QXPIURPWKH0HGLQD&RXQW\

 2KLR'UXJ7DVN)RUFHVKDUHGLQIRUPDWLRQZLWK\RXUDIILDQWDQG7DVN)RUFH2IILFHU 7)2 

 )HUJRQUHJDUGLQJ'U+RZDUG:HLVV'HWHFWLYH%\QXPUHFHLYHGUHOLDEOHLQIRUPDWLRQIURPD

 6RXUFHRI,QIRUPDWLRQ 62, LQPLG'HFHPEHUWKDWDSHUVRQZKRZLOOEHUHIHUUHGWRDVWKH

 ³2KLR3DWLHQW´IRUSXUSRVHVRIWKLVDIILGDYLWZDVEX\LQJSUHVFULSWLRQVRQOLQHIRU;DQD[DQG

 $GGHUDOOIURPDGRFWRULQ&RORUDGR7KH2KLR3DWLHQWWKHQVROGWKH;DQD[KHUHFHLYHGIURP

 WKRVHSUHVFULSWLRQVDWORFDOEDUVDQGNHSWWKH$GGHUDOOIRUKLPVHOI7KH62,DGGHGWKDWWKH2KLR

 3DWLHQWXVHGWKHPRQH\KHPDGHIURPVHOOLQJWKH;DQD[WRIXQGDKHURLQKDELW

    'HWHFWLYH%\QXPUHYLHZHGWKH2KLR$XWRPDWHG5[5HSRUWLQJ6\VWHP 2$556 SURILOH

 IRUWKH2KLR3DWLHQWDQGFRQILUPHGWKH2KLR3DWLHQWKDGUHFHLYHGSUHVFULSWLRQVIURP'U:HLVV

 DQG'U:HLVVZDVLGHQWLILHGZLWKDQDGGUHVVLQ&RORUDGR'HWHFWLYH%\QXPUHYLHZHGDQ

 2$556SUHVFULELQJSURILOHIRU'U:HLVVDQGOHDUQHGWKDWWKH2KLR3DWLHQWZDVWKHRQO\SHUVRQ

 'U:HLVVSUHVFULEHGWRLQ2KLRGXULQJWKHODVWWZR\HDUV'HWHFWLYH%\QXPFRQILUPHGWKURXJK


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 14 of 73




 WKH2KLR0HGLFDO%RDUGWKDW'U:HLVVGLGQRWDQGGRHVQRWFXUUHQWO\KDYHDOLFHQVHWRSUDFWLFH

 PHGLFLQHLQ2KLR

    /DWHULQ'HWHFWLYH%\QDPVKDUHGLQIRUPDWLRQZLWK\RXUDIILDQWWKDWD&RQILGHQWLDO

 6RXUFH &6 UHSRUWHGWR'HWHFWLYH%\QDPVKHKDGSXUFKDVHG;DQD[ $OSUD]RODP IURPWKH

 2KLR3DWLHQWLQWKHSDVW7KH&6FRQVHQWHGWRDGRZQORDGRIWKH&6¶VSKRQHDQG'HWHFWLYH

 %\QDPREVHUYHGWH[WPHVVDJHVEHWZHHQWKH&6DQGWKH2KLR3DWLHQWUHJDUGLQJWKH2KLR3DWLHQW

 VXSSO\LQJ&6ZLWK;DQD[ $OSUD]RODP 8QIRUWXQDWHO\WKH&6GLHGRIDGUXJRYHUGRVH QRW

 UHODWHGWRFRQWUROOHGVXEVWDQFHVVXSSOLHGE\WKH2KLR3DWLHQW RQ6HSWHPEHUDQG

 WKHUHIRUHZDVXQDEOHWRSURYLGHDGGLWLRQDOLQIRUPDWLRQRQWKH2KLR3DWLHQW¶VGLVWULEXWLRQRI

 ;DQD[ $OSUD]RODP 

    2QRUDERXW2FWREHUD0HGLQD 2KLR +RVSLWDO1XUVLQJ2SHUDWLRQV0DQDJHU

 UHSRUWHGWR'HWHFWLYH%\QXPFRQFHUQVUHJDUGLQJ'U+RZDUG:HLVVLQ&RORUDGRSUHVFULELQJWKH

 2KLR3DWLHQWODUJHDPRXQWVRIFRQWUROOHGVXEVWDQFHPHGLFDWLRQV7KH1XUVLQJ2SHUDWLRQV

 0DQDJHUDGGHGWKDWWKH2KLR3DWLHQW¶VPRWKHUVWDWHGWKHGRFWRULQ&RORUDGRKDGQRWHYDOXDWHG

 WKH2KLR3DWLHQW³LQ\HDUV´'HWHFWLYH%\QXPDGYLVHG\RXUDIILDQWWKDWKHDOVRVSRNHZLWKWKH

 2KLR3DWLHQW¶VPRWKHUDQGFRQILUPHGWKDWVKHIHOWWKH2KLR3DWLHQWZDVQRWUHFHLYLQJSURSHUFDUH

 IURP'U:HLVVDQG'U:HLVVKDGQRWVHHQWKH2KLR3DWLHQWLQ\HDUV7KH1XUVLQJ2SHUDWLRQV

 0DQDJHUUHSRUWHGWKH2KLR3DWLHQWKDGVHYHQHPHUJHQF\URRPYLVLWVWRWKH0HGLQD+RVSLWDOLQ

 WKHSULRUWHQGD\VDQGVXSSRVHGO\KDGEHHQWRRWKHUHPHUJHQF\URRPVDVZHOODWWHPSWLQJWR

 REWDLQDGGLWLRQDOPHGLFDWLRQ7KH1XUVLQJ2SHUDWLRQV0DQDJHUVDLGWKH0HGLQD+RVSLWDO

 WUHDWLQJHPHUJHQF\URRPGRFWRURQ2FWREHUFDOOHG'U:HLVVLQ&RORUDGRRQ2FWREHU

 DQGDVNHG'U:HLVVDERXWDOORIWKHPHGLFDWLRQVSUHVFULEHGWRWKH2KLR3DWLHQW7KH




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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 15 of 73




 1XUVLQJ2SHUDWLRQV0DQDJHUUHODWHGWKDW'U:HLVVWROGWKHWUHDWLQJHPHUJHQF\URRPGRFWRUWKDW

 KH³VWDQGVE\KLVU[SODQ´GXULQJWKDWFRQYHUVDWLRQ

    2Q-DQXDU\D'($DGPLQLVWUDWLYHVXESRHQDZDVVHUYHGIRU3UHVFULSWLRQ'UXJ

 0RQLWRULQJ3URJUDP 3'03 SDWLHQWVXPPDU\UHFRUGVRIWKH&RORUDGR6WDWH%RDUGRI3KDUPDF\

 ZKLFKLQFOXGHVDSDWLHQWVXPPDU\RIDOOGLVSHQVHGFRQWUROOHGVXEVWDQFHSUHVFULSWLRQVLQ

 &RORUDGRWRWKH2KLR3DWLHQWEHWZHHQ-DQXDU\DQG-DQXDU\2Q-DQXDU\

 WKH&RORUDGR6WDWH%RDUGRI3KDUPDF\UHVSRQGHGWRWKH'($VXESRHQD<RXUDIILDQW

 UHYLHZHGWKHUHFRUGVDQGLQEULHIVXPPDU\WKHSDWLHQWSURILOHUHSRUWHGWKH2KLR3DWLHQWILOOHG

 SUHVFULSWLRQVZULWWHQE\'U:HLVVIRU$OSUD]RODPPJWDEOHWVDQG'H[WURDPSDPSKHWDPLQ

 PJWDEOHWVEHWZHHQ6HSWHPEHUDQG-XQHLQ&RORUDGR

    2Q6HSWHPEHUD*UDQG-XU\6XESRHQDZDVVHUYHGRQWKH&XVWRGLDQRI5HFRUGV

 IRUWKH6WDWHRI2KLR3KDUPDF\%RDUGUHTXHVWLQJDSDWLHQWVXPPDU\RIDOOGLVSHQVHGFRQWUROOHG

 VXEVWDQFHSUHVFULSWLRQVWRWKH2KLR3DWLHQWEHWZHHQ-DQXDU\DQGWKHSUHVHQW/DWHULQ

 6HSWHPEHUWKH2KLR3KDUPDF\%RDUGUHVSRQGHGWRWKHVXESRHQDE\SURYLGLQJWKH

 UHTXHVWHGUHFRUGV<RXUDIILDQWUHYLHZHGWKHUHFRUGVDQGLQEULHIVXPPDU\WKHSDWLHQWSURILOH

 UHSRUWHGWKH2KLR3DWLHQWILOOHGSUHVFULSWLRQVZULWWHQE\'U:HLVVIRU$OSUD]RODPPJWDEOHWVLQ

 -XO\DQG$XJXVWDQG$OSUD]RODPPJWDEOHWVDQG'H[WURDPSDSSKHWDPLQPJWDEOHWV

 EHWZHHQ0D\DQG$XJXVWZLWKWKHH[FHSWLRQRIRQO\$OSUD]RODPPJWDEOHWVLQ

 6HSWHPEHUDQG0DUFK

    7KHUHIRUHWKH2KLR3DWLHQWZDVUHFHLYLQJSUHVFULSWLRQVIRU$OSUD]RODPPJWDEOHWVIURP

 'U:HLVVGXULQJWKHWLPHSHULRGWKH62,DQG&6UHSRUWHGWKH2KLR3DWLHQWZDVGLVWULEXWLQJ

 ;DQD[ $OSUD]RODP 

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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 16 of 73




        Review of PDMPs by Medical Expert


       2QRUDERXW$XJXVWUHSUHVHQWDWLYHVRIWKH'UXJ(QIRUFHPHQW$GPLQLVWUDWLRQ

 UHWDLQHG'U0DUN:DOWHU0'DVDFRQVXOWLQJH[SHUWLQLWVLQYHVWLJDWLRQLQWRZKHWKHU'U:HLVV

 SDUWLFLSDWHGLQWKHGLVWULEXWLRQRUGLVSHQVLQJRIFRQWUROOHGVXEVWDQFHVZLWKRXWDOHJLWLPDWH

 PHGLFDOSXUSRVHRURXWVLGHWKHXVXDOFRXUVHRISURIHVVLRQDOPHGLFDOSUDFWLFHLQYLRODWLRQRI

 86&et seq. 

       $FFRUGLQJWR'U:DOWHU¶Vcurriculum vitae'U:DOWHUJUDGXDWHGsumma cum laudeZLWK

 D%DFKHORURI6FLHQFHGHJUHHIURP:DNH)RUHVW8QLYHUVLW\DQGVXEVHTXHQWO\UHFHLYHGDQ0'

 'HJUHHIURP:DNH)RUHVW8QLYHUVLW\6FKRRORI0HGLFLQH'U:DOWHUSDUWLFLSDWHGLQWKH

 9DQGHUELOW8QLYHUVLW\0HGLFDO&HQWHU3V\FKLDWU\5HVLGHQF\7UDLQLQJ3URJUDPLQJHQHUDODGXOW

 SV\FKLDWU\DQGPRUHVSHFLILFDOO\SDUWLFLSDWHGLQDUHDVRIFRQFHQWUDWLRQLQFOXGLQJJHULDWULF

 SV\FKLDWU\IRUHQVLFSV\FKLDWU\DGGLFWLRQSV\FKLDWU\DQGDGGLFWLRQSV\FKLDWU\FOLQLFDOURWDWLRQV

 'U:DOWHULVD'LSORPDWHRIWKH$PHULFDQ%RDUGRI3V\FKLDWU\DQG1HXURORJ\DQGKHLV

 FXUUHQWO\WKH0HGLFDO'LUHFWRURIWKH&DPSEHOO&RXQW\0HPRULDO+RVSLWDOLQ*LOOHWWH:\RPLQJ

       'U:DOWHUZDVSURYLGHG&RORUDGR3UHVFULSWLRQ'UXJ0RQLWRULQJ3URJUDP 3'03 

 SUHVFULELQJUHFRUGVWKDWSHUWDLQWR'U:HLVVIRUWKHWLPHSHULRGRI-DQXDU\WKURXJK

 6HSWHPEHUDQG2KLR3'03GLVSHQVHGUHFRUGVWKDWSHUWDLQWRWKH2KLRSDWLHQWIRUWKH

 WLPHSHULRG-DQXDU\WKURXJKPLG6HSWHPEHUWRSUHOLPLQDULO\GHWHUPLQHZKHWKHU

 'U:HLVV¶VSUHVFULELQJZDVSXUVXDQWWRDOHJLWLPDWHPHGLFDOSXUSRVHRUZLWKLQWKHXVXDOFRXUVH

 RISURIHVVLRQDOPHGLFDOSUDFWLFH2Q0D\'U:DOWHUSURYLGHGWKHIROORZLQJ

 REVHUYDWLRQVUHJDUGLQJWKHSUHVFULELQJSUDFWLFHVRI'U:HLVV

 ͞ΎΎΎƚƚŚĞƌĞƋƵĞƐƚŽĨǇŽƵƌŽĨĨŝĐĞ͕/ŚĂǀĞƵŶĚĞƌƚĂŬĞŶĂƌĞǀŝĞǁŽĨƚŚĞƉƌŽǀŝĚĞƌWDWĨŽƌƌ͘,ŽǁĂƌĚ
 tĞŝƐƐ͕ĂƉƐǇĐŚŝĂƚƌŝƐƚǁŚŽŵĂŝŶƚĂŝŶƐĂƉƌĂĐƚŝĐĞůŽĐĂƚŝŽŶŝŶ'ƌĞĞŶǁŽŽĚsŝůůĂŐĞ͕K͘dŚĞƉƵƌƉŽƐĞŽĨƚŚŝƐ
 ƌĞǀŝĞǁŝƐƚŽƐĐƌĞĞŶĨŽƌƉĂƚƚĞƌŶƐŽĨĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞŝƐƐƵĂŶĐĞƐƚŚĂƚŵĂǇďĞƐƵŐŐĞƐƚŝǀĞŽĨƉƌĞƐĐƌŝďŝŶŐ


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 17 of 73




 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨŵĞĚŝĐĂůƉƌĂĐƚŝĐĞĂŶĚͬŽƌǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘,ĞƌĞ͕ĂŶǇ
 ƉŽƐŝƚŝǀĞĨŝŶĚŝŶŐƐĂƌĞďĂƐĞĚƵƉŽŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ǁŝƚŚŵǇŽƉŝŶŝŽŶďĞŝŶŐŝŶĨŽƌŵĞĚďǇ
 ŵǇƌĞǀŝĞǁŽĨƚŚĞƉƌŽǀŝĚĞƌWDW͘dŽƚŚĞĞǆƚĞŶƚŵĂĚĞƉŽƐƐŝďůĞďǇƚŚŝƐĚĂƚĂƐĞƚ͕/ǁŝůůƉƌŽǀŝĚĞĂŶŽƉŝŶŝŽŶ
 ĂďŽƵƚǁŚĞƚŚĞƌĂĐŽƵƌƐĞŽĨƉƌĞƐĐƌŝďŝŶŐĐŽƵůĚŚĂǀĞďĞĞŶƉƵƌƐƵĂŶƚƚŽĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞŝŶƚŚĞ
 ĐĂƐĞƐŝĚĞŶƚŝĨŝĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͘

 WZKs/Z<'ZKhE

 ƌ͘tĞŝƐƐŵĂŝŶƚĂŝŶƐĂǁĞďƐŝƚĞǁŚŝĐŚŝŶĚŝĐĂƚĞƐƚŚĂƚŚĞŚĂƐďĞĞŶŝŶƚŚĞƉƌĂĐƚŝĐĞŽĨWƐǇĐŚŝĂƚƌǇĨŽƌϯϯǇĞĂƌƐ
 ĂŶĚƚŚĂƚŚĞŝƐĂĚŝƉůŽŵĂƚĞŽĨƚŚĞŵĞƌŝĐĂŶŽĂƌĚŽĨWƐǇĐŚŝĂƚƌǇĂŶĚEĞƵƌŽůŽŐǇ͘,ŝƐŚŽŵĞƉĂŐĞŵĂŬĞƐ
 ƐĞǀĞƌĂůĂŶŶŽƵŶĐĞŵĞŶƚƐĂďŽƵƚƌ͘tĞŝƐƐ͛ƐƉƌĂĐƚŝĐĞ͕ĞĂĐŚŽĨǁŚŝĐŚǁŽƵůĚďĞĂƌĂƌŝƚǇŝŶŵŽĚĞƌŶ
 WƐǇĐŚŝĂƚƌǇ͘dŚĞĨŝƌƐƚŽĨƚŚĞƐĞŝƐƚŚĂƚ͞/ĂŵƌĞĂĚŝůǇĂǀĂŝůĂďůĞĨŽƌŵǇƉĂƚŝĞŶƚƐ͕ϮϰŚŽƵƌƐĂĚĂǇ͕ϳĚĂǇƐĂ
 ǁĞĞŬ͕ŚŽůŝĚĂǇƐŝŶĐůƵĚĞĚ͕ŶŽŵĂƚƚĞƌǁŚĞƌĞ/ĂŵŝŶƚŚĞǁŽƌůĚ͘͟,ĞĂůƐŽƐƚĂƚĞƐƚŚĂƚŚĞĚŽĞƐŶ͛ƚƵƐĞĂŶ
 ĂŶƐǁĞƌŝŶŐƐĞƌǀŝĐĞĂŶĚƚŚĂƚŚĞƉƌŽǀŝĚĞƐƉĂƚŝĞŶƚƐǁŝƚŚŚŝƐƉĞƌƐŽŶĂůƉŚŽŶĞŶƵŵďĞƌ͘ƌ͘tĞŝƐƐŐŽĞƐĨƵƌƚŚĞƌ
 ĂŶĚƐƚĂƚĞƐ͕͞/ĂŵĂůǁĂǇƐŽŶͲĐĂůůĨŽƌŵǇƉĂƚŝĞŶƚƐďĞĐĂƵƐĞ/ďĞůŝĞǀĞƚŚĂƚƚŚŝƐŝƐƚŚĞƉƌŽƉĞƌǁĂǇƚŽƉƌĂĐƚŝĐĞ
 WƐǇĐŚŝĂƚƌǇ͘͟tŚŝůĞŝƚŝƐĞŶƚŝƌĞůǇƵƉƚŽƌ͘tĞŝƐƐƚŽĞƐƚĂďůŝƐŚƚŚĞŶƵĂŶĐĞƐŽĨŚŝƐƉƌŝǀĂƚĞƉƌĂĐƚŝĐĞ͕ŚĞŚĂƐ
 ĂĚŽƉƚĞĚĂĐŽŵŵƵŶŝĐĂƚŝŽŶƐƚƌĂƚĞŐǇǁŝƚŚƉĂƚŝĞŶƚƐǁŚŝĐŚďůƵƌƐƚŚĞĐƵƐƚŽŵĂƌǇĚŽĐƚŽƌͲƉĂƚŝĞŶƚďŽƵŶĚĂƌŝĞƐ
 ŝŶWƐǇĐŚŝĂƚƌǇ;ŝ͘Ğ͕͘ƉƌŽǀŝĚŝŶŐƉĂƚŝĞŶƚƐǁŝƚŚŚŝƐƉĞƌƐŽŶĂůƉŚŽŶĞŶƵŵďĞƌͿ͕ǁŚŝĐŚĞƐĐŚĞǁƐƚŚĞŶŽƚŝŽŶŽĨ
 ǁŽƌŬͲůŝĨĞďĂůĂŶĐĞŝŶDĞĚŝĐŝŶĞ;ŝ͘Ğ͕͘ďĞŝŶŐŽŶĐĂůůĐŽŶƚŝŶƵĂůůǇĂŶĚĂǀĂŝůĂďůĞĂƚĂůůŚŽƵƌƐͿ͕ĂŶĚǁŚŝĐŚĂ
 ƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŶŽƚǀŝĞǁĂƐƚŚĞƵƐƵĂůŽƌ͞ƉƌŽƉĞƌ͟ǁĂǇƚŽƉƌĂĐƚŝĐĞ͘ƌ͘tĞŝƐƐĂůƐŽƐƚĂƚĞƐ
 ƚŚĂƚŚĞŝƐĐŽŶŶĞĐƚĞĚƚŽƉĂƚŝĞŶƚƐŝŶ͞ĂůůƉĂƌƚƐŽĨƚŚĞhŶŝƚĞĚ^ƚĂƚĞƐĂŶĚƚŚĞǁŽƌůĚ͟ďǇƚĞůĞƉŚŽŶĞĂŶĚ
 ^ŬǇƉĞ͘dŚŝƐŝƐĂŶŝŶƚĞƌĞƐƚŝŶŐĂƐƐĞƌƚŝŽŶ͕ĂƐƌ͘tĞŝƐƐ͛ƌĞƐƵŵĞʹǁŚŝĐŚŚĞĂůƐŽŵĂŬĞƐĂǀĂŝůĂďůĞƚŽƉĂƚŝĞŶƚƐ
 ŽŶŚŝƐǁĞďƐŝƚĞʹŝŶĚŝĐĂƚĞƐƚŚĂƚŚĞŽŶůǇŚŽůĚƐŵĞĚŝĐĂůůŝĐĞŶƐĞƐŝŶsŝƌŐŝŶŝĂ͕EĞǁ:ĞƌƐĞǇĂŶĚŽůŽƌĂĚŽ͘

 ƌ͘tĞŝƐƐĂůƐŽƌĞǀĞĂůƐŽŶŚŝƐǁĞďƐŝƚĞŚŽŵĞƉĂŐĞƚŚĂƚŚĞŵĂŬĞƐ͞ŚŽƵƐĞĐĂůůƐ͟ŽŶĂƌŽƵƚŝŶĞďĂƐŝƐ͕ůŝŵŝƚĞĚ
 ƚŽǁŝƚŚŝŶĂϭϬϬͲŵŝůĞƌĂĚŝƵƐĨƌŽŵŚŝƐŽĨĨŝĐĞ͘dŚŝƐĂŐĂŝŶŝƐĂƌĂƌŝƚǇŝŶŵŽĚĞƌŶŵĞŶƚĂůŚĞĂůƚŚ͕ĂŶĚŝƚŝƐĂ
 ƉƌĂĐƚŝĐĞǁŚŝĐŚŝƐŚŝŐŚůǇĚŝƐĐŽƵƌĂŐĞĚ͘,ĞƌĞ͕/ǁŝůůƐƚƌŽŶŐůǇĂƐƐĞƌƚƚŚĂƚĂƌĞĂƐŽŶĂďůĞWƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚ
 ƵŶĚĞƌƐƚĂŶĚƚŚĞĚĂŶŐĞƌƐĂƐƐŽĐŝĂƚĞĚǁŝƚŚ͞ŚŽƵƐĞĐĂůůƐ͟ĂŶĚǁŽƵůĚŶĞǀĞƌĐŽŶƐŝĚĞƌĞŶŐĂŐŝŶŐŝŶƐƵĐŚĂ
 ƉƌĂĐƚŝĐĞ͘dŚĞŵŽƐƚŽďǀŝŽƵƐƉĞƌŝůŝƐƚŚĂƚ͞ŚŽƵƐĞĐĂůůƐ͟ŽƉĞŶƚŚĞƉƐǇĐŚŝĂƚƌŝƐƚƵƉƚŽĂĐĐƵƐĂƚŝŽŶƐ͕ƌĂŶŐŝŶŐ
 ĨƌŽŵďŽƵŶĚĂƌǇĐƌŽƐƐŝŶŐƚŽŝŵƉƌŽƉƌŝĞƚǇƚŽƐĞǆƵĂůŵŝƐĚĞĞĚƐ͘dŚĞƌĞĂƐŽŶĂďůĞWƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚĂůƐŽ
 ƵŶĚĞƌƐƚĂŶĚƚŚĂƚŝĨĂƉƐǇĐŚŝĂƚƌŝƐƚǁŚŽĐŚŽŽƐĞƐƚŽƉƌŽǀŝĚĞ͞ŚŽƵƐĞĐĂůůƐ͟ŝƐĞǀĞƌĂĐĐƵƐĞĚŽĨĂŶƵŶƐĂǀŽƌǇ
 ĂĐƚŝŽŶ͕ƚŚĞǇĂƌĞĂůƌĞĂĚǇƐƚĂŶĚŝŶŐŽŶƌĂƚŚĞƌŝŶĚĞĨĞŶƐŝďůĞŐƌŽƵŶĚ͕ďĞĐĂƵƐĞƚŚĞǇĐŚŽƐĞƚŽƉƵƚƚŚĞŵƐĞůǀĞƐ
 ŝŶĂƉŽƐŝƚŝŽŶƚŚĂƚŝƐǀŝĞǁĞĚĂƐŚŝŐŚͲƌŝƐŬĂŶĚƵŶŶĞĐĞƐƐĂƌǇŝŶŵŽĚĞƌŶŵĞŶƚĂůŚĞĂůƚŚ͘ƐĂĐĂƐĞŝŶƉŽŝŶƚĂ
 ŵĞŶƚĂůŚĞĂůƚŚƉƌŽĨĞƐƐŝŽŶĂůʹĂƉƐǇĐŚŽůŽŐŝƐƚŝŶƚŚŝƐĐĂƐĞʹǁŚŽƉƌĂĐƚŝĐĞĚŝŶtǇŽŵŝŶŐǁĂƐƌĞĐĞŶƚůǇƐĞŶƚƚŽ
 ƉƌŝƐŽŶďĂƐĞĚƵƉŽŶĂůůĞŐĂƚŝŽŶƐŽĨƌĂƉĞƚŚĂƚĞŵĞƌŐĞĚŝŶƚŚĞĐŽŶƚĞǆƚŽĨŚŝƐƉƌŽǀŝƐŝŽŶŽĨĂƚͲŚŽŵĞ
 ͞ƉƐǇĐŚŽƚŚĞƌĂƉǇ͟ƐĞƌǀŝĐĞƐƚŽĂĨĞŵĂůĞƉĂƚŝĞŶƚ͘,ŝƐƉŽƐŝƚŝŽŶ͕ĂƐ/ŝŶĚŝĐĂƚĞĚĂďŽǀĞ͕ǁĂƐŚĂƌĚƚŽĚĞĨĞŶĚ͘
 ƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚʹŽƌƉƐǇĐŚŽůŽŐŝƐƚʹǁŽƵůĚǀŝĞǁƚŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌŽǀŝĚĞƉƐǇĐŚŝĂƚƌŝĐ͞ŚŽƵƐĞ
 ĐĂůůƐ͟ĂƐĂƉƌŽďůĞŵǁŝƚŚďŽƵŶĚĂƌŝĞƐŝŶƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘

 ƌ͘tĞŝƐƐ͕ĂĨƚĞƌŝŶĚŝĐĂƚŝŶŐŽŶŚŝƐǁĞďƐŝƚĞƚŚĂƚŚĞƐƚĂǇƐ͞ƵƉƚŽĚĂƚĞŽŶƚŚĞǀĞƌǇůĂƚĞƐƚƐĐŝĞŶƚŝĨŝĐƌĞƐĞĂƌĐŚ
 ĨŝŶĚŝŶŐƐŝŶŵǇĨŝĞůĚ͕͟ĂĚĚƐƚŚĂƚŚĞŝƐǀĞƌƐĞĚŝŶďŽƚŚƉŚĂƌŵĂĐŽůŽŐŝĐĂŶƉƐǇĐŚŽƚŚĞƌĂƉĞƵƚŝĐŝŶƚĞƌǀĞŶƚŝŽŶƐ
 ĨŽƌĂǀĂƌŝĞƚǇŽĨƉƐǇĐŚŝĂƚƌŝĐĐŽŶĚŝƚŝŽŶƐ͕ŝŶĐůƵĚŝŶŐ,͕ĂŶǆŝĞƚǇĂŶĚƉŚŽďŝĂƐ͘ƌ͘tĞŝƐƐĂƉƉĞĂƌƐƚŽƉůĂĐĞĂ
 ƐƚƌŽŶŐĞŵƉŚĂƐŝƐŽŶŶŽŶͲƉŚĂƌŵĂĐŽůŽŐŝĐŝŶƚĞƌǀĞŶƚŝŽŶƐĂƐŽƉƉŽƐĞĚƚŽƉŚĂƌŵĂĐŽůŽŐŝĐŝŶƚĞƌǀĞŶƚŝŽŶƐ͘/Ŷ

                                               WĂŐĞϭϳŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 18 of 73




 ĨĂĐƚ͕ŚĞǁƌŝƚĞƐ͕͘͞͘͘/ǁŝůůŝŵƉůĞŵĞŶƚƚƌĞĂƚŵĞŶƚǁŝƚŚŵĞĚŝĐĂƚŝŽŶŽŶůǇĂĨƚĞƌĂůůŶŽŶͲƉŚĂƌŵĂĐŽůŽŐŝĐ
 ƐƚƌĂƚĞŐŝĞƐŚĂǀĞďĞĞŶĂƐƐĞƐƐĞĚƚŚŽƌŽƵŐŚůǇ͘͟

 /ŶĨŽƌŵĂƚŝŽŶƉƌŽǀŝĚĞĚƚŽƚŚĞƉƵďůŝĐŽŶƚŚĞŽůŽƌĂĚŽĞƉĂƌƚŵĞŶƚŽĨZĞŐƵůĂƚŽƌǇŐĞŶĐŝĞƐ;KZͿǁĞďƐŝƚĞ
 ƌĞǀĞĂůƐƚŚĂƚƌ͘tĞŝƐƐŚĂƐŚĂĚƉƌŝŽƌĂĐƚŝŽŶƐĂŐĂŝŶƐƚŚŝƐŵĞĚŝĐĂůůŝĐĞŶƐĞƐ͘/ŶƉƌŝůϭϵϵϱ͕ŚĞǁĂƐĐŽŶǀŝĐƚĞĚ
 ŽĨŵĂŝůĨƌĂƵĚ͕ĂĨĞůŽŶǇ͘dŚĞƐĞĐŚĂƌŐĞƐƐƚĞŵŵĞĚĨƌŽŵŚŝƐƐƵďŵŝƐƐŝŽŶŽĨĨĂůƐĞĂŶĚĨƌĂƵĚƵůĞŶƚĐůĂŝŵƐĨŽƌ
 ƉĂƚŝĞŶƚƐĞƌǀŝĐĞƐƚŽƚŚŝƌĚͲƉĂƌƚǇƉĂǇĞƌƐ͘,ĞǁĂƐƐƉĞĐŝĨŝĐĂůůǇĂĐĐƵƐĞĚŽĨ͞ƵƉĐŽĚŝŶŐ͘͟dŚĞsŝƌŐŝŶŝĂŽĂƌĚŽĨ
 DĞĚŝĐŝŶĞƐƵƐƉĞŶĚĞĚŚŝƐůŝĐĞŶƐĞŝŶƉƌŝůϭϵϵϱ͕ƐŽŽŶĂĨƚĞƌŚŝƐĐŽŶǀŝĐƚŝŽŶ͘^ƵƌƌĞŶĚĞƌKƌĚĞƌǁĂƐĞŶƚĞƌĞĚ
 ďǇƚŚĞEĞǁzŽƌŬDĞĚŝĐĂůŽĂƌĚŝŶϭϵϵϳ͕ĂĨƚĞƌƌ͘tĞŝƐƐǁĂƐĐŚĂƌŐĞĚǁŝƚŚƉƌŽĨĞƐƐŝŽŶĂůŵŝƐĐŽŶĚƵĐƚ͕ŝŶ
 ƌĞĨĞƌĞŶĐĞƚŽŚŝƐŵĂŝůĨƌĂƵĚĐŽŶǀŝĐƚŝŽŶ͘dŚĞ&ŝŶĚŝŶŐƐŽĨ&ĂĐƚŝŶƚŚĞEĞǁzŽƌŬŽĂƌĚŽƌĚĞƌƌĞǀĞĂůƚŚĂƚƌ͘
 tĞŝƐƐǁĂƐƐĞŶƚĞŶĐĞĚƚŽϯǇĞĂƌƐŽĨƉƌŽďĂƚŝŽŶ;ŝŶĐůƵĚŝŶŐϭϴϬĚĂǇƐŽĨŚŽŵĞĚĞƚĞŶƚŝŽŶͿ͕ĨĞĞƐ͕ĂŶĚƚŚĞ
 ƌĞƋƵŝƌĞŵĞŶƚƚŚĂƚŚĞƌĞƉĂǇŽǀĞƌΨϯϱ͕ϬϬϬ͘ϬϬŝŶƌĞƐƚŝƚƵƚŝŽŶ͘dŚĞsŝƌŐŝŶŝĂŽĂƌĚŽĨDĞĚŝĐŝŶĞƌĞͲŝŶƐƚĂƚĞĚƌ͘
 tĞŝƐƐ͛ŵĞĚŝĐĂůůŝĐĞŶƐĞŝŶKĐƚŽďĞƌϭϵϵϱ͕ĂůďĞŝƚǁŝƚŚŝŶĚĞĨŝŶŝƚĞƉƌŽďĂƚŝŽŶ͘ĚŝƉůŽŵĂƚĞƐĞĂƌĐŚŽŶƚŚĞ
 ŵĞƌŝĐĂŶŽĂƌĚŽĨWƐǇĐŚŝĂƚƌǇĂŶĚEĞƵƌŽůŽŐǇǁĞďƐŝƚĞƌĞǀĞĂůƐƚŚĂƚƌ͘tĞŝƐƐŚĂƐĂŶĂĐƚŝǀĞWE
 ĐĞƌƚŝĨŝĐĂƚŝŽŶ͘,ĞǁĂƐŝŶŝƚŝĂůůǇďŽĂƌĚͲĐĞƌƚŝĨŝĞĚŝŶϭϵϴϳĂŶĚŝƐ͞ŐƌĂŶĚĨĂƚŚĞƌĞĚ͕͟ŵĞĂŶŝŶŐƚŚĂƚŚŝƐ
 ĐĞƌƚŝĨŝĐĂƚŝŽŶŝƐŶŽƚƚŝŵĞͲůŝŵŝƚĞĚĂŶĚŝƐŶŽƚƐƵďũĞĐƚƚŽƚŚĞŵĂŝŶƚĞŶĂŶĐĞŽĨĐĞƌƚŝĨŝĐĂƚŝŽŶƌĞƋƵŝƌĞŵĞŶƚƐŽƌ
 ƌĞͲĐĞƌƚŝĨŝĐĂƚŝŽŶƌĞƋƵŝƌĞŵĞŶƚƐƚŚĂƚŚĂǀĞďĞĞŶŝŵƉŽƐĞĚŽŶĞǀĞƌǇWEĚŝƉůŽŵĂƚĞƐŝŶĐĞKĐƚŽďĞƌϭϵϵϰ͘

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 DǇƌĞǀŝĞǁŽĨƚŚĞƉƌŽǀŝĚĞƌWDWĨŽƌƌ͘tĞŝƐƐƵŶĐŽǀĞƌĞĚƐĞǀĞƌĂůƉĂƚƚĞƌŶƐŽĨƵŶƵƐƵĂůĐŽŶƚƌŽůůĞĚ
 ƐƵďƐƚĂŶĐĞƉƌĞƐĐƌŝďŝŶŐďĞŚĂǀŝŽƌ͘dŚĞĨŝƌƐƚŽĨƚŚĞƐĞŝƐĂĐůĞĂƌƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞƌĂŶŐĞƐ
 ŽĨƚŚĞ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞĚĚĞƌĂůů;ƚƌĂĚĞŶĂŵĞĨŽƌŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚͿĂƚϲϬͲ
 ϭϱϬŵŐͬĚĂǇĂŶĚŚŝŐŚͲĚŽƐĞƌĂŶŐĞƐŽĨƚŚĞ^ĐŚĞĚƵůĞ/sĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞyĂŶĂǆ;ƚƌĂĚĞŶĂŵĞĨŽƌ
 ĂůƉƌĂǌŽůĂŵͿĂƚϲͲϯϬŵŐͬĚĂǇ͘&ŽƌƚŚĞďĞŶĞĨŝƚŽĨƚŚĞƌĞĂĚĞƌ͕/ŚĂǀĞƉƌŽǀŝĚĞĚŝŶWWE/y͕ĂƚƚŚĞĞŶĚŽĨ
 ƚŚŝƐƌĞƉŽƌƚ͕ƉƌĞƐĐƌŝďŝŶŐŐƵŝĚĞůŝŶĞƐďǇŝŶĚŝĐĂƚŝŽŶ͕ĨŽƌƚŚĞĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞŵĞĚŝĐĂƚŝŽŶƐǁŚŝĐŚĂƉƉĞĂƌ
 ĨƌĞƋƵĞŶƚůǇŝŶƌ͘tĞŝƐƐ͛ƉƌŽǀŝĚĞƌWDW͘ƌ͘tĞŝƐƐĂůƐŽĚĞŵŽŶƐƚƌĂƚĞƐĂƉƌĞƐĐƌŝďŝŶŐƉƌĞĨĞƌĞŶĐĞĨŽƌ
 ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůů͕ĂŵŽŶŐƐƚƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͖ŚĞĚĞŵŽŶƐƚƌĂƚĞƐĂƉƌĞƐĐƌŝďŝŶŐƉƌĞĨĞƌĞŶĐĞ
 ĨŽƌyĂŶĂǆ͕ĂŵŽŶŐƐƚƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐŵĞĚŝĐĂƚŝŽŶƐ͘ƌ͘tĞŝƐƐĂůƐŽĞǆŚŝďŝƚƐĂƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚ
 ĚŽƐĂŐĞƵŶŝƚƐŽĨĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐʹŝŶĐůƵĚŝŶŐĚĚĞƌĂůůĂŶĚyĂŶĂǆʹǁŚŝĐŚŝŶĐƌĞĂƐĞƐƚŚĞƐŽĐŝĞƚĂů
 ŝŵƉĂĐƚŽĨĂŶǇĚƌƵŐĚŝǀĞƌƐŝŽŶƚŚĂƚŵĂǇŽĐĐƵƌ͘,ĞĂůƐŽƌĞŐƵůĂƌůǇƉƌĞƐĐƌŝďĞƐŵďŝĞŶ͕Ă^ĐŚĞĚƵůĞ/s
 ŚǇƉŶŽƚŝĐ͕ĂƚϭϬŵŐƉŽƋŚƐƚŽǁŽŵĞŶ͕ĚĞƐƉŝƚĞƚŚĞ&ĂĚǀŝƐŽƌǇĂŐĂŝŶƐƚƚŚŝƐƉƌĂĐƚŝĐĞ͖ŵŽƌĞŽǀĞƌ͕ŚĞ
 ĨƌĞƋƵĞŶƚůǇƉƌĞƐĐƌŝďĞƐƚŚŝƐĚŽƐĂŐĞƚŽǁŽŵĞŶ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͕ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞ
 ƐĞĚĂƚŝǀĞƐ͘DǇƌĞǀŝĞǁĂůƐŽŝŶĨŽƌŵĞĚŵĞƚŚĂƚƌ͘tĞŝƐƐƌĞŐƵůĂƌůǇƉƌĞƐĐƌŝďĞƐŚǇƉŶŽƚŝĐƐĂŶĚ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĚĚĞƌĂůů͘dŚĞŵŽƐƚĨƌĞƋƵĞŶƚůǇŽĐĐƵƌƌŝŶŐĚƌƵŐĐŽŵďŝŶĂƚŝŽŶ
 ƉƌĞƐĐƌŝďĞĚ͕ĂĐĐŽƌĚŝŶŐƚŽŚŝƐƉƌĂĐƚŝƚŝŽŶĞƌWDW͕ŝƐĚĚĞƌĂůůĂŶĚyĂŶĂǆ͘tŝƚŚƐĞǀĞƌĂůƉĂƚŝĞŶƚƐ͕ƌ͘tĞŝƐƐ
 ŚĂƐƚĂŬĞŶƚŚĞƌĂƌĞƐƚĞƉŽĨƉƌĞƐĐƌŝďŝŶŐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ĂŶŽƚŚĞƌ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞ͘
 /ŶĨĂĐƚ͕ŽƵƚƐŝĚĞŽĨƚŚŝƐƌĞǀŝĞǁ͕/ŚĂǀĞŶĞǀĞƌǁŝƚŶĞƐƐĞĚʹŽƌƐŽŵƵĐŚĂƐŚĞĂƌĚŽĨʹĂƉƐǇĐŚŝĂƚƌŝƐƚ
 ƉƌĞƐĐƌŝďŝŶŐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞƚŽĂŶĂĚƵůƚƉĂƚŝĞŶƚ͘dŚŝƐƉƌĂĐƚŝĐĞĂůŽŶĞĂƉƉĞĂƌƐƚŽďĞŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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                                                WĂŐĞϭϴŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 19 of 73




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 dŚĞƚĞƌŵ͞ƉĂŶŝĐĂƚƚĂĐŬ͟ŝƐŶŽƚƐǇŶŽŶǇŵŽƵƐǁŝƚŚƚŚĞĚŝĂŐŶŽƐŝƐ͞ƉĂŶŝĐĚŝƐŽƌĚĞƌ͘͟WĂŶŝĐĂƚƚĂĐŬƐĐĂŶŽĐĐƵƌ
 ƵŶĚĞƌĂǀĂƌŝĞƚǇŽĨĐŽŶĚŝƚŝŽŶƐ͕ŝŶĐůƵĚŝŶŐƐƚĂƚĞƐĂďƐĞŶƚĂĚŝĂŐŶŽƐĂďůĞƉƐǇĐŚŝĂƚƌŝĐŝůůŶĞƐƐ͘dŚĞǇĐĂŶŽĐĐƵƌŝŶ
 ĐĂƌĚŝĂĐĚŝƐĞĂƐĞƐƚĂƚĞƐ;Ğ͘Ő͕͘ĂƌƌŚǇƚŚŵŝĂƐĂŶĚǀĂůǀĞĚŝƐĞĂƐĞͿ͕ĞŶĚŽĐƌŝŶĞĚŝƐĞĂƐĞƐƚĂƚĞƐ;Ğ͘Ő͕͘ƚŚǇƌŽŝĚ
 ĚŝƐĞĂƐĞͿ͕ŝŶƐƚĂƚĞƐŽĨƐƵďƐƚĂŶĐĞŝŶƚŽǆŝĐĂƚŝŽŶ;Ğ͘Ő͕͘ĐĂĨĨĞŝŶĞ͕ĂŵƉŚĞƚĂŵŝŶĞ͕ĐŽĐĂŝŶĞ͕DDͿ͕ŝŶƐƚĂƚĞƐŽĨ
 ƐƵďƐƚĂŶĐĞǁŝƚŚĚƌĂǁĂů;Ğ͘Ő͕͘ĂůĐŽŚŽůĂŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŝƚŚĚƌĂǁĂůͿ͕ŝŶƐƚĂƚĞƐŽĨŚŝŐŚƉƐǇĐŚŽůŽŐŝĐĂů
 ƐƚƌĞƐƐĂŶĚĨŽƌŶŽĂƉƉĂƌĞŶƚƌĞĂƐŽŶĂƚĂůů͘,ĂǀŝŶŐĂƐŝŶŐůĞŽƌĞǀĞŶŵƵůƚŝƉůĞƉĂŶŝĐĂƚƚĂĐŬƐ͕ŝŶƚŚĞĂďƐĞŶĐĞŽĨ
 ŽƚŚĞƌďĞŚĂǀŝŽƌĂůĂĚũƵƐƚŵĞŶƚƐ͕ĚŽĞƐŶŽƚŵĞĞƚĐƌŝƚĞƌŝĂĨŽƌƚŚĞĚŝĂŐŶŽƐŝƐŽĨ͞ƉĂŶŝĐĚŝƐŽƌĚĞƌ͘͟dŚŝƐŝƐǁŚǇ
 ƚŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞĨŽƌƚŚĞdƌĞĂƚŵĞŶƚŽĨWĂƚŝĞŶƚƐǁŝƚŚWĂŶŝĐŝƐŽƌĚĞƌϮŶĚĚ͘ƉƵďůŝƐŚĞĚďǇƚŚĞ
 ŵĞƌŝĐĂŶWƐǇĐŚŝĂƚƌŝĐƐƐŽĐŝĂƚŝŽŶ;WͿƌĞĐŽŵŵĞŶĚƐĂƚŚŽƌŽƵŐŚĞǀĂůƵĂƚŝŽŶĨŽƌƉĂƚŝĞŶƚƐǁŝƚŚƉĂŶŝĐ͘dŚŝƐ
 ĞǀĂůƵĂƚŝŽŶƐŚŽƵůĚŝŶĐůƵĚĞĂƚŚŽƌŽƵŐŚŚŝƐƚŽƌǇ͕ŝŶĐůƵĚŝŶŐƐƵďƐƚĂŶĐĞĂďƵƐĞŚŝƐƚŽƌǇĂŶĚŐĞŶĞƌĂůŵĞĚŝĐĂů
 ŚŝƐƚŽƌǇ͘ƉƉƌŽƉƌŝĂƚĞƐƚĞƉƐƚŽĞǀĂůƵĂƚĞĨŽƌŵĞĚŝĐĂůĐĂƵƐĞƐŽĨƉĂŶŝĐĐĂŶŝŶĐůƵĚĞĂŶĞůĞĐƚƌŽĐĂƌĚŝŽŐƌĂŵ͕Ă
 ƌĞĨĞƌƌĂůƚŽĂƌĚŝŽůŽŐǇ;ŝĨǁĂƌƌĂŶƚĞĚͿ͕ĂŶĚƚŚǇƌŽŝĚƐĐƌĞĞŶŝŶŐ;ŝ͘Ğ͕͘d^,Ϳ͘dŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞĞŶĐŽƵƌĂŐĞƐ
 ƚŚĞƉƐǇĐŚŝĂƚƌŝƐƚƚŽĐŽŶƐŝĚĞƌďŽƚŚƉŚĂƌŵĂĐŽůŽŐŝĐĂŶĚƉƐǇĐŚŽƚŚĞƌĂƉĞƵƚŝĐŝŶƚĞƌǀĞŶƚŝŽŶƐ͘dŚĞ
 ƉƐǇĐŚŽƚŚĞƌĂƉĞƵƚŝĐŝŶƚĞƌǀĞŶƚŝŽŶƐǁŝƚŚƚŚĞƐƚƌŽŶŐĞƐƚƐƵƉƉŽƌƚĂƌĞĐŽŐŶŝƚŝǀĞďĞŚĂǀŝŽƌĂůƚŚĞƌĂƉǇ;dͿĂŶĚ
 ĞǆƉŽƐƵƌĞƚŚĞƌĂƉǇ͘ŽŶĐĞƌŶŝŶŐŵĞĚŝĐĂƚŝŽŶƚƌĞĂƚŵĞŶƚƐ͕ƚŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞŽďƐĞƌǀĞƐƚŚĂƚ͙

         dŚĞƵƐĞŽĨĂƐĞůĞĐƚŝǀĞƐĞƌŽƚŽŶŝŶƌĞƵƉƚĂŬĞŝŶŚŝďŝƚŽƌ;^^Z/Ϳ͕ƐĞƌŽƚŽŶŝŶͲŶŽƌĞƉŝŶĞƉŚƌŝŶĞ
         ƌĞƵƉƚĂŬĞŝŶŚŝďŝƚŽƌ;^EZ/Ϳ͕ƚƌŝĐǇĐůŝĐĂŶƚŝĚĞƉƌĞƐƐĂŶƚ;dͿ͕ŽƌĐŽŐŶŝƚŝǀĞͲďĞŚĂǀŝŽƌĂůƚŚĞƌĂƉǇ
         ;dͿĂƐƚŚĞŝŶŝƚŝĂůƚƌĞĂƚŵĞŶƚĨŽƌƉĂŶŝĐĚŝƐŽƌĚĞƌŝƐƐƚƌŽŶŐůǇƐƵƉƉŽƌƚĞĚďǇĚĞŵŽŶƐƚƌĂƚĞĚ
         ĞĨĨŝĐĂĐǇŝŶŶƵŵĞƌŽƵƐƌĂŶĚŽŵŝǌĞĚĐŽŶƚƌŽůůĞĚƚƌŝĂůƐ͘/ŶƚŚĞĂďƐĞŶĐĞŽĨĂĐŽͲŽĐĐƵƌƌŝŶŐŵŽŽĚ
         ĚŝƐŽƌĚĞƌ͕ŵŽŶŽƚŚĞƌĂƉǇǁŝƚŚĂďĞŶǌŽĚŝĂǌĞƉŝŶĞŝƐĂůƐŽĂŶĂƉƉƌŽƉƌŝĂƚĞŝŶŝƚŝĂůƚƌĞĂƚŵĞŶƚ͘

 >ĂƚĞƌ͕ĐŽŶĐĞƌŶŝŶŐƚŚĞƵƐĞŽĨďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͕ƚŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞĂĚĚƐ͙

         ^^Z/Ɛ͕^EZ/ƐĂŶĚdƐĂƌĞĂůůƉƌĞĨĞƌĂďůĞƚŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂƐŵŽŶŽƚŚĞƌĂƉŝĞƐĨŽƌ
         ƉĂƚŝĞŶƚƐǁŝƚŚĐŽͲŽĐĐƵƌƌŝŶŐĚĞƉƌĞƐƐŝŽŶŽƌƐƵďƐƚĂŶĐĞƵƐĞĚŝƐŽƌĚĞƌƐ͘ĞŶǌŽĚŝĂǌĞƉŝŶĞƐŵĂǇ
         ďĞĞƐƉĞĐŝĂůůǇƵƐĞĨƵůĂĚũƵŶĐƚŝǀĞůǇǁŝƚŚĂŶƚŝĚĞƉƌĞƐƐĂŶƚƐƚŽƚƌĞĂƚƌĞƐŝĚƵĂůĂŶǆŝĞƚǇ
         ƐǇŵƉƚŽŵƐ͘ĞŶǌŽĚŝĂǌĞƉŝŶĞƐŵĂǇďĞƉƌĞĨĞƌƌĞĚ;ĂƐŵŽŶŽƚŚĞƌĂƉŝĞƐŽƌŝŶĐŽŵďŝŶĂƚŝŽŶǁŝƚŚ
         ĂŶƚŝĚĞƉƌĞƐƐĂŶƚƐͿĨŽƌƉĂƚŝĞŶƚƐǁŝƚŚǀĞƌǇĚŝƐƚƌĞƐƐŝŶŐŽƌŝŵƉĂŝƌŝŶŐƐǇŵƉƚŽŵƐŝŶǁŚŽŵƌĂƉŝĚ
         ƐǇŵƉƚŽŵĐŽŶƚƌŽůŝƐĐƌŝƚŝĐĂů͘dŚĞďĞŶĞĨŝƚŽĨŵŽƌĞƌĂƉŝĚƌĞƐƉŽŶƐĞƚŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŵƵƐƚ
         ďĞďĂůĂŶĐĞĚĂŐĂŝŶƐƚƚŚĞƉŽƐƐŝďŝůŝƚŝĞƐŽĨƚƌŽƵďůĞƐŽŵĞƐŝĚĞĞĨĨĞĐƚƐ;Ğ͘Ő͕͘ƐĞĚĂƚŝŽŶͿĂŶĚ
         ƉŚǇƐŝŽůŽŐŝĐĂůĚĞƉĞŶĚĞŶĐĞƚŚĂƚŵĂǇůĞĂĚƚŽĚŝĨĨŝĐƵůƚǇĚŝƐĐŽŶƚŝŶƵŝŶŐƚŚĞŵĞĚŝĐĂƚŝŽŶ͘

 dŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞĂůƐŽŽĨĨĞƌƐĂŚĞůƉĨƵůƚĂďůĞǁŚŝĐŚƐƵŵŵĂƌŝǌĞƐƚŚĞƵƐƵĂůƚŚĞƌĂƉĞƵƚŝĐĚŽƐĞƐŽĨ
 ǀĂƌŝŽƵƐ^^Z/Ɛ͕^EZ/Ɛ͕dƐĂŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͘ƐƚŚŝƐƌĞƉŽƌƚĐŽŶĐĞƌŶƐĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞ
 ƉƌĞƐĐƌŝďŝŶŐ͕/ǁŝůůƉƌĞƐĞŶƚƚŚĞŝŶĨŽƌŵĂƚŝŽŶƉĞƌƚĂŝŶŝŶŐƚŽƚŚĞďĞŶǌŽĚŝĂǌĞƉŝŶĞĐůĂƐƐ͘

 

           EK/W/E                         ^ĐŚĞĚƵůĞ              h^h>d,ZWhd/
                                                                                K^;ŵŐͬĚĂǇͿ



                                               WĂŐĞϭϵŽĨϳϯ
 
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 20 of 73




     yĂŶĂǆ;ĂůƉƌĂǌŽůĂŵͿ                      /s                            ϮͲϰ

     <ůŽŶŽƉŝŶ;ĐůŽŶĂǌĞƉĂŵͿ                   /s                            ϭͲϮ

     ƚŝǀĂŶ;ůŽƌĂǌĞƉĂŵͿ                      /s                            ϰͲϴ

 /ǁŽƵůĚůŝŬĞƚŽĐŽŶƚƌĂƐƚƚŚĞƐĞŐĞŶĞƌĂůƌĞĐŽŵŵĞŶĚĂƚŝŽŶƐƌĞŐĂƌĚŝŶŐƚŚĞƵƐƵĂůƚŚĞƌĂƉĞƵƚŝĐĚŽƐĞŽĨ
 yĂŶĂǆǁŝƚŚƚŚĞ&ůĂďĞůůŝŶŐĨŽƌyĂŶĂǆ͘ŽŶĐĞƌŶŝŶŐƚŚĞŐĞŶĞƌĂů͞ĂŶǆŝĞƚǇ͟ŝŶĚŝĐĂƚŝŽŶ͕ƚŚĞůĂďĞůůŝŶŐ
 ĨŽƌyĂŶĂǆƐƉĞĐŝĨŝĞƐĂŵĂǆŝŵƵŵĚĂŝůǇĚŽƐĞŝŶĂĚƵůƚƐŽĨϰŵŐͬĚĂǇ͕ŝŶĚŝǀŝĚĞĚĚŽƐĞƐ͘ZĞĨĞƌĞŶĐŝŶŐƚŚĞ
 WŚǇƐŝĐŝĂŶ͛ƐĞƐŬZĞĨĞƌĞŶĐĞ;WZͿ͕ĨŽƌƚŚĞŝŶĚŝĐĂƚŝŽŶŽĨ͞ƉĂŶŝĐĚŝƐŽƌĚĞƌ͕͟ƚŚĞŵĞĂŶĚŽƐĞƐŽĨϱƚŽ
 ϲŵŐͬĚĂǇŽĨyĂŶĂǆĂƌĞƉƌŽǀŝĚĞĚ͕ǁŝƚŚĂƐƉĞĐŝĨŝĞĚŵĂǆŝŵƵŵŽĨϭϬŵŐͬĚĂǇ͕ŝŶĚŝǀŝĚĞĚĚŽƐĞƐ͘dŚŝƐĚŽĞƐ
 ŶŽƚŵĞĂŶƚŚĂƚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐůŝŬĞyĂŶĂǆĂƌĞƚŚĞƉƌĞĨĞƌƌĞĚƚƌĞĂƚŵĞŶƚĨŽƌĂŶǆŝĞƚǇŽƌĨŽƌƉĂŶŝĐ
 ĚŝƐŽƌĚĞƌ͘dŚĞWƌĂĐƚŝĐĞ'ƵŝĚĞůŝŶĞƌĞĨĞƌĞŶĐĞĚĂďŽǀĞŵĂŬĞƐĐůĞĂƌƚŚĂƚ^^Z/͛ƐĂŶĚ^EZ/͛ƐĂƌĞĂůƐŽĨŝƌƐƚͲ
 ůŝŶĞƚƌĞĂƚŵĞŶƚƐĂŶĚĂƌĞƚŚĞƉƌĞĨĞƌƌĞĚĂŐĞŶƚƐŝŶĐĞƌƚĂŝŶĐŝƌĐƵŵƐƚĂŶĐĞƐ;ŵŽŽĚĚŝƐŽƌĚĞƌƐĂŶĚ
 ƐƵďƐƚĂŶĐĞĂďƵƐĞŚŝƐƚŽƌǇͿ͘yĂŶĂǆƌĞŵĂŝŶƐƚŚĞŵŽƐƚƉƌĞƐĐƌŝďĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞ;Ϳ͕ŶŽƚďĞĐĂƵƐĞŝƚ
 ŝƐǀŝĞǁĞĚĂƐďĞŝŶŐƐƵƉĞƌŝŽƌƚŽŽƚŚĞƌ͛Ɛ͕ďƵƚďĞĐĂƵƐĞŝƚŝƐĨƌĞƋƵĞŶƚůǇƌĞƋƵĞƐƚĞĚďǇƉĂƚŝĞŶƚƐĂŶĚ
 ďĞĐĂƵƐĞŝƚĐŽŶƚŝŶƵĞƐƚŽďĞƉƌĞƐĐƌŝďĞĚŚĞĂǀŝůǇďǇŶŽŶͲƉƐǇĐŚŝĂƚƌŝĐ͕ƉƌŝŵĂƌǇĐĂƌĞƉƌŽǀŝĚĞƌƐ͘ƚƚŚĞ
 ƐĂŵĞƚŝŵĞƚŚĂƚĂůƉƌĂǌŽůĂŵŝƐƚŚĞŵŽƐƚǁŝĚĞůǇƉƌĞƐĐƌŝďĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞ͕ŝƚŝƐĂůƐŽƚŚĞŵŽƐƚ
 ŵŝƐƵƐĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞ͘KǀĞƌƚŚĞǇĞĂƌƐ͕ƉƐǇĐŚŝĂƚƌŝƐƚƐʹĞƐƉĞĐŝĂůůǇƚŚŽƐĞǁŚŽƚƌĞĂƚĂĚĚŝĐƚŝŽŶʹŚĂǀĞ
 ĐŽŵĞƚŽǀŝĞǁyĂŶĂǆĂƐĂŶŝŶĐƌĞĂƐŝŶŐůǇƉƌŽďůĞŵĂƚŝĐĚƌƵŐ͘dŚŝƐŝƐďĞĐĂƵƐĞǁĞŚĂǀĞĐŽŵĞƚŽůĞĂƌŶ
 ƚŚĂƚyĂŶĂǆŝŶĚĞĞĚŚĂƐĂǀĞƌǇŚŝŐŚŵŝƐƵƐĞůŝĂďŝůŝƚǇ͕ƚŚĂƚŝƚƐƉŚĂƌŵĂĐŽůŽŐǇƌĞƐƵůƚƐŝŶŐƌĞĂƚĞƌƌĞǁĂƌĚ
 ƌĞŝŶĨŽƌĐĞŵĞŶƚĂŶĚŵŽƌĞƐĞǀĞƌĞǁŝƚŚĚƌĂǁĂů;ŝŶĐůƵĚŝŶŐƌĞďŽƵŶĚĂŶǆŝĞƚǇͿĂŶĚƚŚĂƚŝƚŚĂƐďĞĞŶ
 ŝŵƉůŝĐĂƚĞĚŝŶƌŽƵŐŚůǇŽŶĞͲƚŚŝƌĚŽĨŝŶƚĞŶƚŝŽŶĂůŽǀĞƌĚŽƐĞƐ͘yĂŶĂǆŝƐĂůƐŽŵŽƌĞƚŽǆŝĐƚŚĂŶŽƚŚĞƌ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŝŶŽǀĞƌĚŽƐĞ͘^ŽŵĞĂƵƚŚŽƌƐƐƵŐŐĞƐƚƚŚĂƚ^^Z/͛ƐĂŶĚ^EZ/͛ƐƐŚŽƵůĚĂůǁĂǇƐďĞ
 ĐŽŶƐŝĚĞƌĞĚƚŚĞĨŝƌƐƚͲůŝŶĞƚƌĞĂƚŵĞŶƚƐĨŽƌĂŶǆŝĞƚǇĚŝƐŽƌĚĞƌƐĂŶĚƚŚĂƚďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐ͕ŝĨ
 ƵƐĞĚĂƚĂůů͕ďĞƵƐĞĚĨŽƌĂƐŚŽƌƚĚƵƌĂƚŝŽŶƚŽƉƌŽǀŝĚĞƐǇŵƉƚŽŵĂůůĞǀŝĂƚŝŽŶŝŶƚŚĞǁŝŶĚŽǁďĞĨŽƌĞƚŚĞ
 ĂŶƚŝĚĞƉƌĞƐƐĂŶƚƐďĞĐŽŵĞĞĨĨĞĐƚŝǀĞ͘dŚĞƐĂŵĞĂƵƚŚŽƌƐŝŶĚŝĐĂƚĞƚŚĂƚŝĨyĂŶĂǆŝƐĐŚŽƐĞŶĂƐƚƌĞĂƚŵĞŶƚ͕
 ŝƚƐŚŽƵůĚŽŶůǇďĞƉƌĞƐĐƌŝďĞĚŝŶƚŚĞĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĨŽƌŵƵůĂƚŝŽŶĨŽƌƐŚŽƌƚĚƵƌĂƚŝŽŶ͕ĂŶĚŽŶůǇƚŽ
 ƚŚŽƐĞǁŝƚŚŶŽƉƌŝŽƌƐƵďƐƚĂŶĐĞĂďƵƐĞŚŝƐƚŽƌǇ͘ůƚŚŽƵŐŚƚŚĞŝŶŝƚŝĂůůĂďĞůůŝŶŐĨŽƌyĂŶĂǆŝŶƉĂŶŝĐ
 ĚŝƐŽƌĚĞƌƐƉĞĐŝĨŝĞƐĂŵĂǆŝŵƵŵŽĨϭϬŵŐͬĚĂǇ͕ŝƚŝƐƌĂƌĞƚŽƐĞĞĂƉƐǇĐŚŝĂƚƌŝƐƚƉƌĞƐĐƌŝďĞyĂŶĂǆĂƚƚŚĂƚ
 ůĞǀĞů͘

 ,ĞƌĞ͕/ƐŚŽƵůĚĞŵƉŚĂƐŝǌĞƚŚĂƚƚŚĞƌĞĂƌĞĂůƐŽŵĞĚŝĐĂƚŝŽŶĐĂƵƐĞƐŽĨŚĞŝŐŚƚĞŶĞĚĂŶǆŝĞƚǇĂŶĚƉĂŶŝĐ͘
 ĐŽŵŵŽŶŵĞĚŝĐĂƚŝŽŶĐĂƵƐĞĂƌĞďĞŶǌŽĚŝĂǌĞƉŝŶĞƐƚŚĞŵƐĞůǀĞƐ͘ĞŶǌŽĚŝĂǌĞƉŝŶĞƐďŝŶĚƚŽƚŚĞŐĂŵŵĂͲ
 ĂŵŝŶŽďƵƚǇƌŝĐ;'ͿƌĞĐĞƉƚŽƌĂŶĚŝŶĐƌĞĂƐĞ'ƚƌĂŶƐŵŝƐƐŝŽŶ͕ŝŶĂŵĂŶŶĞƌƐŝŵŝůĂƌƚŽĂůĐŽŚŽů͘
 'ƚƌĂŶƐŵŝƐƐŝŽŶŝƐƚŚĞ͞ďƌĂŬŝŶŐ͟ŵĞĐŚĂŶŝƐŵĨŽƌƚŚĞĐĞŶƚƌĂůŶĞƌǀŽƵƐƐǇƐƚĞŵ͕ĂŶĚƚŚŝƐĞǆƉůĂŝŶƐ
 ƚŚĞƐĞĚĂƚŝǀĞĂŶĚĂŶǆŝŽůǇƚŝĐĞĨĨĞĐƚŽĨďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͘dŚĞƉƌŝŵĂƌǇƚŽůĞƌĂŶĐĞŽƌĂĐĐŽŵŵŽĚĂƚŝŽŶ
 ŵĞĐŚĂŶŝƐŵƚŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŝŶƚŚĞĐĞŶƚƌĂůŶĞƌǀŽƵƐƐǇƐƚĞŵŝƐĂŶĂŵƉůŝĨǇŝŶŐŽĨƚŚĞŐůƵƚĂŵĂƚĞŽƌ
 ͞ĂĐĐĞůĞƌĂƚŝŽŶ͟ƐǇƐƚĞŵ͕ǁŚŝĐŚĂůƐŽŽĐĐƵƌƐŝŶƚŚĞĚĞǀĞůŽƉŵĞŶƚŽĨƚŽůĞƌĂŶĐĞƚŽĂůĐŽŚŽů͘/ƚŝƐƚŚŝƐ
 ĞǆĐŝƚĂƚŽƌǇŐůƵƚĂŵĂƚĞƐǇƐƚĞŵƚŚĂƚŝƐƌĞƐƉŽŶƐŝďůĞĨŽƌƚŚĞĂĐƵƚĞǁŝƚŚĚƌĂǁĂůƉŚĞŶŽŵĞŶĂ;Ğ͘Ő͕͘ƚƌĞŵŽƌ͕
 ĂƵƚŽŶŽŵŝĐĞǆĐŝƚĂďŝůŝƚǇ͕ƐĞŝǌƵƌĞƐͿŝŶĂůĐŽŚŽůͲƚŽůĞƌĂŶƚŽƌďĞŶǌŽĚŝĂǌĞƉŝŶĞͲƚŽůĞƌĂŶƚƐƚĂƚĞƐ͘ƐŝŶĚŝĐĂƚĞĚ
 ĞĂƌůŝĞƌŝŶƚŚŝƐƐĞĐƚŝŽŶ͕yĂŶĂǆƵƐĞĐĂŶƌĞƐƵůƚŝŶŵŽƌĞƐĞǀĞƌĞǁŝƚŚĚƌĂǁĂůƚŚĂŶŽƚŚĞƌĚŽƐĞͲĞƋƵŝǀĂůĞŶƚ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͘KŶĞŽĨƚŚĞŵŽƌĞĐŽŵŵŽŶďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŝƚŚĚƌĂǁĂůƐǇŵƉƚŽŵƐŚĂƉƉĞŶƐƚŽďĞ

                                               WĂŐĞϮϬŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 21 of 73




 ƌĞďŽƵŶĚĂŶǆŝĞƚǇ͕ĂŶĚƚŚŝƐŽĨƚĞŶŽĐĐƵƌƐĞǀĞŶǁŚĞŶŽƚŚĞƌƐǇŵƉƚŽŵƐŽĨĂĐƵƚĞǁŝƚŚĚƌĂǁĂůĂƌĞĂďƐĞŶƚ͘
 /ĨďĞŶǌŽĚŝĂǌĞƉŝŶĞĚŽƐŝŶŐŝƐŝŶĐƌĞĂƐĞĚŝŶĂŐŝǀĞŶƉĂƚŝĞŶƚ͕ŝŶƌĞƐƉŽŶƐĞƚŽƌĞďŽƵŶĚĂŶǆŝĞƚǇ͕ƚŚĞŝƌ
 ƚŽůĞƌĂŶĐĞŝƐĨƵƌƚŚĞƌŝŶĐƌĞĂƐĞĚ͕ĂŶĚƚŚĞǇĂƌĞĂƚĞǀĞŶŐƌĞĂƚĞƌƌŝƐŬŽĨƌĞďŽƵŶĚĂŶǆŝĞƚǇ͘^ƚŝŵƵůĂŶƚƐ͕
 ǁŚĞƚŚĞƌĐĂĨĨĞŝŶĞŽƌƉƌĞƐĐƌŝƉƚŝŽŶƐƚŝŵƵůĂŶƚƐ͕ĂůƐŽŝŶĐƌĞĂƐĞƐƵƐĐĞƉƚŝďŝůŝƚǇƚŽŚĞŝŐŚƚĞŶĞĚĂŶǆŝĞƚǇĂŶĚ
 ƉĂŶŝĐ͘

 dŽǆŝĐŝƚǇĐĂŶŽĐĐƵƌǁŝƚŚĂůůďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͘^ǇŵƉƚŽŵƐŽĨďĞŶǌŽĚŝĂǌĞƉŝŶĞƚŽǆŝĐŝƚǇŝŶĐůƵĚĞ
 ƐŽŵŶŽůĞŶĐĞ͕ĐŽŶĨƵƐŝŽŶ͕ƐůƵƌƌĞĚƐƉĞĞĐŚ͕ĚŝŵŝŶŝƐŚĞĚƌĞĨůĞǆĞƐ͕ĂƚĂǆŝĂ͕ĐŽŵĂĂŶĚƌĞƐƉŝƌĂƚŽƌǇ
 ĚĞƉƌĞƐƐŝŽŶ͘ĞĂƚŚŚĂƐďĞĞŶƌĞƉŽƌƚĞĚǁŝƚŚŽǀĞƌĚŽƐĞƐŽĨĂůƉƌĂǌŽůĂŵĂůŽŶĞ͘ŽŵŵŽŶĂĚǀĞƌƐĞƐŝĚĞ
 ĞĨĨĞĐƚƐŽĨƵƐĞŝŶĐůƵĚĞƐĞĚĂƚŝŽŶ͕ĚǇƐĂƌƚŚƌŝĂ͕ĐŽŶĨƵƐŝŽŶ͕ŝŶĐŽŽƌĚŝŶĂƚŝŽŶĂŶĚŵĞŵŽƌǇŝŵƉĂŝƌŵĞŶƚ͘

 'EZ>^ddDEd^KhdddEd/KE&//dͬ,zWZd/s/dz/^KZZ;,Ϳ

 dŚĞĚŝĂŐŶŽƐŝƐŽĨ,ŝŶĐŚŝůĚƌĞŶ͕ĨŽƌǁŚŽŵƚŚĞĚŝĂŐŶŽƐƚŝĐĐƌŝƚĞƌŝĂǁĞƌĞŝŶŝƚŝĂůůǇĐƌĂĨƚĞĚ͕ŝƐ
 ĐŚĂůůĞŶŐŝŶŐĞŶŽƵŐŚ͕ĂƐƚŚĞƌĞĂƌĞĂŶƵŵďĞƌŽĨĚŝĂŐŶŽƐƚŝĐĐŽŶĨŽƵŶĚĞƌƐŝŶƚŚŝƐƉŽƉƵůĂƚŝŽŶ͘dŚĞƐĞĐĂŶ
 ŝŶĐůƵĚĞĚĞǀĞůŽƉŵĞŶƚĂůĚŝƐŽƌĚĞƌƐ͕ŵŽŽĚĚŝƐŽƌĚĞƌƐ͕ƚŚŽƵŐŚƚĚŝƐŽƌĚĞƌƐ͕ůĞĂƌŶŝŶŐĚŝƐĂďŝůŝƚŝĞƐ͕ĂŶǆŝĞƚǇ
 ĚŝƐŽƌĚĞƌƐĂŶĚƚŚĞĞĨĨĞĐƚƐŽĨĂƉŽŽƌŚŽŵĞĞŶǀŝƌŽŶŵĞŶƚ͘dŚĞĐůŝŶŝĐŝĂŶ͛ƐƚĂƐŬŝƐŵĂĚĞƐŽŵĞǁŚĂƚ
 ĞĂƐŝĞƌ͕ďĞĐĂƵƐĞƚŚĞĐůŝŶŝĐŝĂŶŐĞŶĞƌĂůůǇƌĞĐĞŝǀĞƐŝŶƉƵƚĨƌŽŵŵƵůƚŝƉůĞƐŽƵƌĐĞƐ͕ŝŶĐůƵĚŝŶŐƉĂƌĞŶƚƐĂŶĚ
 ƚĞĂĐŚĞƌƐ͘/ŶǇŽƵŶŐĐŚŝůĚƌĞŶ͕ƚŚĞĐŽŶĨŽƵŶĚŝŶŐƐƉĞĐƚĞƌŽĨƐƵďƐƚĂŶĐĞĂďƵƐĞŝƐŐĞŶĞƌĂůůǇŶŽƚƉƌĞƐĞŶƚ͘
 ZŽƵŐŚůǇϱϬйŽĨĐŚŝůĚƌĞŶůŽƐĞƚŚĞƐŝŐŶƐĂŶĚƐǇŵƉƚŽŵƐŽĨ,;ǁŝƚŚĂƉƌĞĨĞƌĞŶƚŝĂůůŽƐƐŽĨ
 ŚǇƉĞƌĂĐƚŝǀŝƚǇͿĂƐƚŚĞǇŵĂƚƵƌĞŝŶƚŽĂĚƵůƚŚŽŽĚ͘

 dŚĞĚŝĂŐŶŽƐŝƐŽĨ,ŝŶĂĚƵůƚƐŝƐĐŽŶƐŝĚĞƌĂďůǇŵŽƌĞĐŚĂůůĞŶŐŝŶŐďĞĐĂƵƐĞŽĨƚŚĞŶŽŶͲƐƉĞĐŝĨŝĐ
 ŶĂƚƵƌĞŽĨƚŚĞƐǇŵƉƚŽŵŽĨŝŶĂƚƚĞŶƚŝŽŶ͕ďĞĐĂƵƐĞŽĨƉĂƚŝĞŶƚƌĞůƵĐƚĂŶĐĞƚŽĨŽůůŽǁĚŝĂŐŶŽƐƚŝĐĐƌŝƚĞƌŝĂ
 ĂŶĚďĞĐĂƵƐĞŽĨƚŚĞŽĐĐƵƌƌĞŶĐĞŽĨƐƵďƐƚĂŶĐĞĂďƵƐĞĂŶĚĚƌƵŐͲƐĞĞŬŝŶŐďĞŚĂǀŝŽƌƐ͘/ŶĂƚƚĞŶƚŝŽŶŝƐĂ
 ĨĂŝƌůǇŶŽŶƐƉĞĐŝĨŝĐƐǇŵƉƚŽŵĂŶĚŽĐĐƵƌƐĐŽŵŵŽŶůǇŝŶŽƚŚĞƌƉƐǇĐŚŝĂƚƌŝĐĚŝƐŽƌĚĞƌƐ͕ƚŽŝŶĐůƵĚĞŵŽŽĚ
 ĚŝƐŽƌĚĞƌ͕ĂŶǆŝĞƚǇĚŝƐŽƌĚĞƌƐ͕ƚŚŽƵŐŚƚĚŝƐŽƌĚĞƌƐ͕ƐƵďƐƚĂŶĐĞƵƐĞĚŝƐŽƌĚĞƌƐĂŶĚŽďƐĞƐƐŝǀĞͲĐŽŵƉƵůƐŝǀĞ
 ĚŝƐŽƌĚĞƌ;KͿ͘dŚĞƌĞĨŽƌĞ͕ƚŚĞĚŝĂŐŶŽƐŝƐŽĨ,ĂƐĂƐǇŶĚƌŽŵĞŽĨƉƌŝŵĂƌǇŝŶĂƚƚĞŶƚŝŽŶŝŶĂĚƵůƚƐ
 ƌĞƋƵŝƌĞƐĂĐĂƌĞĨƵůƐĐƌĞĞŶŝŶŐĨŽƌƚŚĞƐĞŽƚŚĞƌĚŝƐŽƌĚĞƌƐ͘hŶĨŽƌƚƵŶĂƚĞůǇ͕ŝŶŵĂŶǇŽĨĨŝĐĞƐ͕ƚŚĞĚĞĨĂĐƚŽ
 ĐƌŝƚĞƌŝĂĨŽƌĂĚƵůƚ,ŝƐĞŝƚŚĞƌĂŚŝƐƚŽƌǇŽĨƌĞĐĞŝǀŝŶŐƚŚĞĚŝĂŐŶŽƐŝƐĨƌŽŵĂŶŽƚŚĞƌƉƌŽǀŝĚĞƌŽƌŚĂǀŝŶŐ
 ƚŚĞƉĂƚŝĞŶƚĐŽŵƉůĞƚĞĂƐŚŽƌƚƐĞůĨͲĂƐƐĞƐƐŵĞŶƚƐĐƌĞĞŶŝŶŐƐƵƌǀĞǇǁŚŝĐŚĐŽƵůĚďĞƐƵŐŐĞƐƚŝǀĞ͘dŚĞ
 ƉƌŽďůĞŵǁŝƚŚƚŚĞƐĞůĨͲĂƐƐĞƐƐŵĞŶƚƐŽĨƚĞŶƉƌŽǀŝĚĞĚƚŽƉĂƚŝĞŶƚƐĐŽŶĐĞƌŶĞĚĂďŽƵƚ,ŝƐƚŚĂƚƚŚĞǇ
 ŚĂǀĞƉĞƌĨĞĐƚƐĞŶƐŝƚŝǀŝƚǇ͘ŽŶƐŝĚĞƌ͕ĨŽƌĞǆĂŵƉůĞ͕ƚŚĞϲͲƋƵĞƐƚŝŽŶĚƵůƚ,^ĞůĨͲZĞƉŽƌƚ^ĐĂůĞ;^Z^Ϳ
 ƉƵďůŝƐŚĞĚďǇƚŚĞtŽƌůĚ,ĞĂůƚŚKƌŐĂŶŝǌĂƚŝŽŶ;t,KͿ͘dŚŝƐƐĞůĨͲƐĐƌĞĞŶĞƌĂƐŬƐϲƋƵĞƐƚŝŽŶƐǁŚŝĐŚĐĂŶ
 ďĞĞĂƐŝůǇĂŶƐǁĞƌĞĚǁŝƚŚĂ͞ƉŽƐŝƚŝǀĞ͟ƌĞƐƵůƚďǇĂŶǇŽŶĞŝŶǀĞƐƚĞĚŝŶŚĂǀŝŶŐƚŚĞĚŝĂŐŶŽƐŝƐŽĨ,Žƌ
 ŝŶǀĞƐƚĞĚŝŶďĞŝŶŐƉƌĞƐĐƌŝďĞĚĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘dŚĂƚŝƐƚŽƐĂǇƚŚĂƚƚŚĞ͞ĐŽƌƌĞĐƚ͟ĂŶƐǁĞƌƐƚŽƚŚĞ
 ƋƵĞƐƚŝŽŶŶĂŝƌĞĂƌĞƐĞůĨͲĞǀŝĚĞŶƚ͕ĂŶĚƚŚĞƌĞƐƵůƚƐĂŶĚĐŽŶĐůƵƐŝŽŶƐĐĂŶďĞƐǁĂǇĞĚĂĐĐŽƌĚŝŶŐůǇ͘/ŚĂǀĞ
 ƐĞĞŶŵĂŶǇĐĂƐĞƐǁŚĞƌĞƉƌŝŵĂƌǇĐĂƌĞƉŚǇƐŝĐŝĂŶƐŝŶĐůƵĚĞĂĐŽƉǇŽĨƚŚĞ^Z^ƌĞƐƵůƚƐŽƌĂƐŝŵŝůĂƌƐĞůĨͲ
 ƐĐƌĞĞŶĞƌŝŶƚŚĞƉĂƚŝĞŶƚĐŚĂƌƚĂƐĞǀŝĚĞŶĐĞŽĨ,ĂŶĚũƵƐƚŝĨŝĐĂƚŝŽŶĨŽƌƉƌĞƐĐƌŝďŝŶŐƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶƐƚŽƚŚĞƉĂƚŝĞŶƚ͘/ŶĐĂƐĞƐǁŚĞƌĞĂĚƵůƚ,͕ŝŶǀŽůǀŝŶŐŝŶĂƚƚĞŶƚŝŽŶŶŽƚĐůĞĂƌůǇůŝŶŬĞĚƚŽ
 ĂŶŽƚŚĞƌĚŝƐŽƌĚĞƌŽƌƚŽƐƵďƐƚĂŶĐĞĂďƵƐĞ͕ŝƐƐƵƐƉĞĐƚĞĚ͕ŝƚŝƐŽĨƚĞŶŚĞůƉĨƵůƚŽƌĞĨĞƌƚŚĞƉĂƚŝĞŶƚĨŽƌ
 ŶĞƵƌŽƉƐǇĐŚŝĂƚƌŝĐƚĞƐƚŝŶŐĨŽƌĐůĂƌŝĨŝĐĂƚŝŽŶŽĨĂŶǇĂƚƚĞŶƚŝŽŶƉƌŽďůĞŵƐ͘



                                               WĂŐĞϮϭŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 22 of 73




 /ŶĐĂƐĞƐǁŚĞƌĞĂƐǇŶĚƌŽŵĞŽĨƉƌŝŵĂƌǇŝŶĂƚƚĞŶƚŝŽŶŝƐŝĚĞŶƚŝĨŝĞĚŝŶĂŶĂĚƵůƚ͕ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ
 ĂƌĞŶŽƚĂůǁĂǇƐǁĂƌƌĂŶƚĞĚ͘^ŽŵĞƉĂƚŝĞŶƚƐĐŽƉĞǁĞůůǁŝƚŚũƵƐƚƐŝŵƉůĞďĞŚĂǀŝŽƌĂůŝŶƚĞƌǀĞŶƚŝŽŶƐ;Ğ͘Ő͕͘
 ƵƐĞŽĨĂĚĂǇƉůĂŶŶĞƌͿ͘^ŽŵĞƉĂƚŝĞŶƚƐƌĞƐƉŽŶĚĂĚĞƋƵĂƚĞůǇƚŽƵƐĞŽĨŶŽŶͲƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ;Ğ͘Ő͕͘
 ďƵƉƌŽƉŝŽŶŽƌĂƚŽŵŽǆĞƚŝŶĞͿ͘/ŶĐĂƐĞƐǁŚĞƌĞƉĂƚŝĞŶƚƐĚŽŶŽƚĂĚĞƋƵĂƚĞůǇƌĞƐƉŽŶĚƚŽƚŚĞƐĞ
 ƚƌĞĂƚŵĞŶƚƐ͕ƌĞĂƐŽŶĂďůĞĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶǁŝůůƵƐƵĂůůǇƐƵĨĨŝĐĞ͘ŽŶĐĞƌŶŝŶŐƚŚĞƵƐĞŽĨ
 ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůů͕ƚŚĞŵĞĚŝĐĂƚŝŽŶĚĂƚĂďĂƐĞDŝĐƌŽŵĞĚĞǆƉƌŽƉŽƐĞƐƚŚĂƚƚŚĞŝŶŝƚŝĂůĚŽƐĂŐĞ
 ďĞϱŵŐƉŽŽŶĐĞŽƌƚǁŝĐĞĚĂŝůǇ͕ǁŝƚŚƚŚĞƚŝƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐĂƚϱŵŐŝŶĐƌĞŵĞŶƚƐĂƚǁĞĞŬůǇŝŶƚĞƌǀĂůƐ
 ƵŶƚŝůĂŶŽƉƚŝŵĂůƌĞƐƉŽŶƐĞŝƐĂĐŚŝĞǀĞĚ͘DŝĐƌŽŵĞĚĞǆƐƉĞĐŝĨŝĞƐƚŚĂƚĚŽƐĞƐŽĨĚĚĞƌĂůů/ZŐƌĞĂƚĞƌƚŚĂŶ
 ϰϬŵŐͬĚĂǇĂƌĞƌĂƌĞůǇŶĞĞĚĞĚ͘^ŝŵŝůĂƌůǇ͕ƚŚĞĞŶƚĞƌƐĨŽƌDĞĚŝĐĂƌĞĂŶĚDĞĚŝĐĂŝĚ^ĞƌǀŝĐĞƐ;D^Ϳ
 ƌĞƉŽƌƚƐƚŚĞŵĂǆŝŵƵŵĚŽƐĞŽĨĚĚĞƌĂůů/ZĂƐϰϬŵŐƉĞƌĚĂǇ͕ĂĚĚŝŶŐƚŚĂƚ͞ŽŶůǇŝŶƌĂƌĞĐĂƐĞƐǁŝůůŝƚďĞ
 ŶĞĐĞƐƐĂƌǇƚŽĞǆĐĞĞĚĂƚŽƚĂůŽĨϰϬŵŐƉĞƌĚĂǇ͘͟

 ŽŶĐĞƌŶŝŶŐĚĚĞƌĂůůyZ͕DŝĐƌŽŵĞĚĞǆŝĚĞŶƚŝĨŝĞƐƚŚĞƵƐƵĂůĚŽƐĂŐĞĂƐϮϬŵŐƉŽƋĂŵ͘D^ĂůƐŽ
 ƌĞƉŽƌƚƐƚŚĞƌĞĐŽŵŵĞŶĚĞĚĚŽƐĞĂƐϮϬŵŐƉŽŽŶĐĞĂĚĂǇ͘dŚĞWZƌĞŵŝŶĚƐƵƐƚŚĂƚĚƵƌŝŶŐĂĚƵůƚ
 ,ƚƌŝĂůƐ͕ƚŚĞƌĞǁĂƐŶŽƚĂĚĞƋƵĂƚĞĞǀŝĚĞŶĐĞƚŚĂƚĚŽƐĞƐŐƌĞĂƚĞƌƚŚĂŶϮϬŵŐͬĚĂǇZĐĂƉƐƵůĞƐ
 ĐŽŶĨĞƌƌĞĚĂĚĚŝƚŝŽŶĂůďĞŶĞĨŝƚ͘WƐǇĐŚŽƉŚĂƌŵĂĐŽůŽŐǇĞǆƉĞƌƚƌ͘^ƚĞǀĞŶ^ƚĂŚůĂůƐŽǁƌŝƚĞƐƚŚĂƚƚŚĞ
 ŵĂǆŝŵƵŵĚŽƐĞŽĨĚĚĞƌĂůůyZŝƐŐĞŶĞƌĂůůǇĐŽŶƐŝĚĞƌĞĚƚŽďĞϯϬŵŐͬĚĂǇ͘

 ĐĐŽƌĚŝŶŐƚŽƚŚĞDŝĐƌŽŵĞĚĞǆĚĂƚĂďĂƐĞ͕ƚŚĞůĂďĞůŝŶŐĨŽƌŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ/Z;ĂƐĐŚĞĚƵůĞ//
 ƐƚŝŵƵůĂŶƚͿŝŶƚŚĞƚƌĞĂƚŵĞŶƚŽĨ,ĂůůŽǁƐĨŽƌĂĚŽƐĂŐĞƌĂŶŐĞŽĨϭϬƚŽϲϬŵŐͬĚĂǇ͕ĚŝǀŝĚĞĚƚǁŽƚŽ
 ƚŚƌĞĞƚŝŵĞƐĚĂŝůǇ͘dŚĞWZŝĚĞŶƚŝĨŝĞƐƚŚĞĂǀĞƌĂŐĞĞĨĨĞĐƚŝǀĞĚŽƐĞƌĂŶŐĞĨŽƌĂĚƵůƚƐĂƐϮϬƚŽϯϬŵŐƉĞƌ
 ĚĂǇ͕ĂŶĚŝƚŵĂŬĞƐĐůĞĂƌƚŚĂƚƚŚĞŵĂǆŝŵƵŵŝƐϲϬŵŐͬĚĂǇƉĞƌ&ͲĂƉƉƌŽǀĞĚůĂďĞůŝŶŐ͘ƐŝƚĐŽŶĐĞƌŶƐ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZ;Ğ͘Ő͕͘ŽŶĐĞƌƚĂͿ͕ƚŚĞWZƌĞĐŽŵŵĞŶĚƐĂƐƚĂƌƚŝŶŐĚŽƐĞŽĨϭϴƚŽϯϲŵŐƉŽƋĂŵ
 ŝŶŶŽŶͲŐĞƌŝĂƚƌŝĐĂĚƵůƚƐĂŶĚƐƉĞĐŝĨŝĞƐĂŵĂǆŝŵƵŵŽĨϳϮŵŐͬĚĂǇ͘

 dŚŝƐĚĂƚĂŝƐƉƌŽǀŝĚĞĚƚŽŐŝǀĞƚŚĞƌĞĂĚĞƌƐŽŵĞƐĞŶƐĞŽĨƚŚĞŵĂŶŶĞƌŝŶǁŚŝĐŚƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐĂƌĞ
 ƵƐƵĂůůǇƉƌĞƐĐƌŝďĞĚ͘/ƚƐŚŽƵůĚďĞĂƌĂƌĞĞǀĞŶƚƚŽƐĞĞĚĚĞƌĂůů/ZƉƌĞƐĐƌŝďĞĚĂƚŐƌĞĂƚĞƌƚŚĂŶ
 ϰϬŵŐͬĚĂǇ͖ĚĚĞƌĂůůyZĂƚŐƌĞĂƚĞƌƚŚĂŶϯϬŵŐͬĚĂǇĂŶĚŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ/ZĂƚŐƌĞĂƚĞƌƚŚĂŶ
 ϰϬŵŐͬĚĂǇ͘/ŶĨƌĞƋƵĞŶƚĞǆĐƵƌƐŝŽŶƐŽƵƚƐŝĚĞŽĨƚŚĞƐĞƌĂŶŐĞƐŵĂǇďĞƐĞĞŶ͖ŚŽǁĞǀĞƌ͕ƚŚĞƐĞĞǆĐƵƌƐŝŽŶƐ
 ƐŚŽƵůĚŶŽƚďĞĂƉĂƚƚĞƌŶŽĨƉƌĂĐƚŝĐĞ͘DŽƌĞŽǀĞƌ͕ŝƚƐŚŽƵůĚďĞĂĐĂƵƐĞĨŽƌĐŽŶĐĞƌŶ͕ĂŶǇƚŝŵĞƚŚĂƚ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZŝƐƉƌĞƐĐƌŝďĞĚĂƚĚŽƐĞƐŐƌĞĂƚĞƌƚŚĂŶϳϮŵŐͬĚĂǇŽƌsǇǀĂŶƐĞŝƐƉƌĞƐĐƌŝďĞĚĂƚ
 ŐƌĞĂƚĞƌƚŚĂŶϳϬŵŐͬĚĂǇ͘

 /ŶϮϬϭϬ͕ƚŚĞŽůŽƌĂĚŽDĞĚŝĐĂůŽĂƌĚƵƉĚĂƚĞĚŝƚƐZƵůĞϮϭϬʹhŶƉƌŽĨĞƐƐŝŽŶĂůŽŶĚƵĐƚZĞůĂƚŝŶŐƚŽƚŚĞ
 WƌĞƐĐƌŝďŝŶŐŽĨ^ƚŝŵƵůĂŶƚƌƵŐƐƚŽĂĚĚƌĞƐƐƵŶĂƉƉƌŽǀĞĚ͕ŽĨĨͲůĂďĞůƵƐĞƐŽĨƉƌĞƐĐƌŝƉƚŝŽŶƐƚŝŵƵůĂŶƚƐ͘
 dŚĞƐĞƵŶĂƉƉƌŽǀĞĚƵƐĞƐĂƌĞĞŶƵŵĞƌĂƚĞĚŝŶƚŚĞƵƉĚĂƚĞ;ĞĨĨĞĐƚŝǀĞĚĂƚĞϭϬͬϭϱͬϮϬϭϬͿ͗

         WƌĞƐĐƌŝƉƚŝŽŶŽĨƐƚŝŵƵůĂŶƚĚƌƵŐƐ;ĂŵƉŚĞƚĂŵŝŶĞŽƌƐǇŵƉĂƚŚŽŵŝŵĞƚŝĐĂŵŝŶĞĚƌƵŐƐ
         ĚĞƐŝŐŶĂƚĞĚĂƐ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐͿŝƐŶŽƚĂĐĐĞƉƚĂďůĞĨŽƌƉƵƌƉŽƐĞƐŽĨĚŝĞƚ
         ĐŽŶƚƌŽů͕ŝŶĐƌĞĂƐŝŶŐǁŽƌŬĐĂƉĂĐŝƚǇƚŽĐŽŵďĂƚƚŚĞŶŽƌŵĂůĨĂƚŝŐƵĞĂƐƐŽĐŝĂƚĞĚǁŝƚŚĂŶǇ
         ĞŶĚĞĂǀŽƌ͕ŽƌƚŽĐŚĞŵŝĐĂůůǇŝŶĚƵĐĞĞƵƉŚŽƌŝĂ͘




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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 23 of 73




 /ŶϮϬϭϲ͕ƚŚĞŽůŽƌĂĚŽDĞĚŝĐĂůŽĂƌĚƵƉĚĂƚĞĚZƵůĞϮϭϬƚŽĐůĂƌŝĨǇŝƚƐƐƚĂŶĐĞŽŶƚŚĞƵƐĞŽĨ
 ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐŝŶƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶ;dZͿ͘dŚĞĞĨĨĞĐƚŝǀĞĚĂƚĞŝƐϳͬϭϲͬϮϬϭϲ
 ŽŶƚŚŝƐƵƉĚĂƚĞ͗

         WƌĞƐĐƌŝďŝŶŐŽĨƐƚŝŵƵůĂŶƚĚƌƵŐƐ;ĂŵƉŚĞƚĂŵŝŶĞŽƌƐǇŵƉĂƚŚŽŵŝŵĞƚŝĐĂŵŝŶĞĚƌƵŐƐ
         ĚĞƐŝŐŶĂƚĞĚĂƐ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐͿƐŚĂůůďĞŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚŐĞŶĞƌĂůůǇ
         ĂĐĐĞƉƚĞĚƐƚĂŶĚĂƌĚƐŽĨŵĞĚŝĐĂůƉƌĂĐƚŝĐĞŝŶĐůƵĚŝŶŐ͕ďƵƚŶŽƚůŝŵŝƚĞĚƚŽ͕ƚŚĞƚƌĞĂƚŵĞŶƚŽĨ
         ƐĞǀĞƌĞŽƌƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶ͘WƌĞƐĐƌŝďŝŶŐŽĨƐƚŝŵƵůĂŶƚĚƌƵŐƐŝƐŶŽƚ
         ĂĐĐĞƉƚĂďůĞĨŽƌƉƵƌƉŽƐĞƐŽĨĚŝĞƚĐŽŶƚƌŽůĨŽƌǁĞŝŐŚƚůŽƐƐ͕ŝŶĐƌĞĂƐŝŶŐǁŽƌŬĐĂƉĂĐŝƚǇƚŽ
         ĐŽŵďĂƚƚŚĞŶŽƌŵĂůĨĂƚŝŐƵĞĂƐƐŽĐŝĂƚĞĚǁŝƚŚĂŶǇĞŶĚĞĂǀŽƌ͕ŽƌƚŽĐŚĞŵŝĐĂůůǇŝŶĚƵĐĞ
         ĞƵƉŚŽƌŝĂ͘

 dŚĞŽůŽƌĂĚŽDĞĚŝĐĂůŽĂƌĚ͛ƐŝŶĐůƵƐŝŽŶŽĨdZĂƐĂŶĂĐĐĞƉƚĂďůĞŽĨĨͲůĂďĞůƵƐĞŽĨƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶƐŵĞƌŝƚƐĂĚŝƐĐƵƐƐŝŽŶĂďŽƵƚŚŽǁƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶŝƐŐĞŶĞƌĂůůǇ
 ŵĂŶĂŐĞĚ͘ŽŶĐĞƌŶŝŶŐƚŚŝƐŵĂƚƚĞƌ͕/ǁŝůůĂƐƐĞƌƚƚŚĂƚƚŚĞŽĨĨͲůĂďĞůƵƐĞŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĨŽƌ
 dZƐŚŽƵůĚďĞĂƌĂƌĞŽĐĐƵƌƌĞŶĐĞ͘dŚĞĚĞĨŝŶŝƚŝŽŶŽĨ͞ƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶ͟ŚĂƐŶŽƚ
 ďĞĞŶƐƚĂŶĚĂƌĚŝǌĞĚ͕ƚŚŽƵŐŚŝƚŐĞŶĞƌĂůůǇƌĞĨĞƌƐƚŽĂŵĂũŽƌĚĞƉƌĞƐƐŝǀĞĞƉŝƐŽĚĞƚŚĂƚŚĂƐŶŽƚ
 ĂĚĞƋƵĂƚĞůǇƌĞƐƉŽŶĚĞĚƚŽƚǁŽƚƌŝĂůƐŽĨĂŶƚŝĚĞƉƌĞƐƐĂŶƚŵŽŶŽƚŚĞƌĂƉǇ͘ĂĐŚĂŶƚŝĚĞƉƌĞƐƐĂŶƚ͞ƚƌŝĂů͟
 ƐŚŽƵůĚďĞĚĞĨŝŶĞĚǁŝƚŚĂŶĂĚĞƋƵĂƚĞĚƵƌĂƚŝŽŶŽĨĞǆƉŽƐƵƌĞƚŽƚŚĞĂŶƚŝĚĞƉƌĞƐƐĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ĂƚĂ
 ĚŽƐĞǁŚĞƌĞŵŽƐƚŝŶĚŝǀŝĚƵĂůƐǁŽƵůĚďĞĞǆƉĞĐƚĞĚƚŽĚĞŵŽŶƐƚƌĂƚĞĂƚůĞĂƐƚĂƉĂƌƚŝĂůƌĞƐƉŽŶƐĞƚŽ
 ƚŚĞŵĞĚŝĐĂƚŝŽŶ;ŝ͘Ğ͕͘ĂŶĂŶƚŝĚĞƉƌĞƐƐĂŶƚƚƌŝĂůƐŚŽƵůĚďĞůŽŶŐĞŶŽƵŐŚĂŶĚŚŝŐŚĞŶŽƵŐŚƚŚĂƚŝƚ
 ǁŽƵůĚďĞĞǆƉĞĐƚĞĚƚŽƉƌŽĚƵĐĞĂƌĞƐƉŽŶƐĞŝŶĂĚĞƉƌĞƐƐĞĚŝŶĚŝǀŝĚƵĂůͿ͘/ĨĂŶŝŶĚŝǀŝĚƵĂůŝƐŶŽƚ
 ĞǆƉŽƐĞĚƚŽĂǀĂůŝĚƚƌŝĂůŽĨĂŶĂŶƚŝĚĞƉƌĞƐƐĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ƚŚĞŶƚŚĂƚŵĞĚŝĐĂƚŝŽŶƐŚŽƵůĚŶŽƚďĞ
 ĐŽŶƐŝĚĞƌĞĚĂƐĂ͞ƚƌŝĂů͕͟ǁŚĞŶĚĞĐŝĚŝŶŐŝĨĂƉĂƚŝĞŶƚ͛ƐĚĞƉƌĞƐƐŝŽŶĐĂŶďĞŝĚĞŶƚŝĨŝĞĚĂƐ͞ƚƌĞĂƚŵĞŶƚͲ
 ƌĞƐŝƐƚĂŶƚ͘͟tŚĞŶĂƉĂƚŝĞŶƚŚĂƐŶŽƚƌĞƐƉŽŶĚĞĚƚŽĂǀĂůŝĚƚƌŝĂůŽĨŵĞĚŝĐĂƚŝŽŶƐ͕ƚŚĞƌĞĂƌĞĂŶƵŵďĞƌ
 ŽĨĐŽŵŵŽŶƉůĂĐĞ͕ŶŽŶͲĐŽŶƚƌŽůůĞĚͲƐƵďƐƚĂŶĐĞŽƉƚŝŽŶƐƚŚĂƚĂƉƌŽǀŝĚĞƌŵĂǇŝŶǀŽŬĞ͘dŚĞƐŝŵƉůĞƐƚ
 ŽƉƚŝŽŶŝƐĂŵĞĚŝĐĂƚŝŽŶƐǁŝƚĐŚ͕ǁŚŝĐŚŵĂǇŝŶǀŽůǀĞĂƐǁŝƚĐŚƚŽĂŶĂŶƚŝĚĞƉƌĞƐƐĂŶƚĨƌŽŵĂŶŽƚŚĞƌ
 ƉŚĂƌŵĂĐŽůŽŐŝĐĐůĂƐƐ;Ğ͘Ő͕͘ĨƌŽŵĂŶ^^Z/ƚŽĂŶ^EZ/͕ĨƌŽŵĂŶ^EZ/ƚŽĂŶ^^Z/ŽƌĨƌŽŵĂŶ^^Z/ͬ^EZ/
 ƚŽĂdͿ͘ŶŽƚŚĞƌŽƉƚŝŽŶƚŚĂƚŵĂǇďĞĐŽŶƐŝĚĞƌĞĚŝƐĂŶĂŶƚŝĚĞƉƌĞƐƐĂŶƚĂƵŐŵĞŶƚĂƚŝŽŶ͕ǁŚĞƌĞďǇ
 ĂŶŽƚŚĞƌŵĞĚŝĐĂƚŝŽŶŝƐƵƐĞĚĂůŽŶŐƐŝĚĞĂŶĞǆŝƐƚŝŶŐĂŶƚŝĚĞƉƌĞƐƐĂŶƚƚŽďŽŽƐƚŽǀĞƌĂůůƚƌĞĂƚŵĞŶƚ
 ƌĞƐƉŽŶƐĞ͘dŚĞƌĞĂŶƵŵďĞƌŽĨĐŽŵŵŽŶůǇƵƐĞĚĂŶĚŶŽŶͲĐŽŶƚƌŽůůĞĚĂƵŐŵĞŶƚŝŶŐŵĞĚŝĐĂƚŝŽŶƐ͕ƚŽ
 ŝŶĐůƵĚĞďƵƉƌŽƉŝŽŶ;ĂĚŽƉĂŵŝŶĞƌĞͲƵƉƚĂŬĞŝŶŚŝďŝƚŽƌͿ͕ůŝƚŚŝƵŵ͕ŵŝƌƚĂǌĂƉŝŶĞ;ĂŶŽǀĞů
 ĂŶƚŝĚĞƉƌĞƐƐĂŶƚͿ͕ĂƌŝƉŝƉƌĂǌŽůĞ;&ͲĂƉƉƌŽǀĞĚĨŽƌĂĚũƵŶĐƚŝǀĞƚƌĞĂƚŵĞŶƚŽĨŵĂũŽƌĚĞƉƌĞƐƐŝǀĞ
 ĚŝƐŽƌĚĞƌͿ͕ďƵƐƉŝƌŽŶĞ͕ĂŶĚůŝŽƚŚǇƌŽŶŝŶĞ͘dŚĞŶŽŶͲĐŽŶƚƌŽůůĞĚŵĞĚŝĐĂƚŝŽŶ^ǇŵďǇĂǆŚĂƐďĞĞŶ
 ĂƉƉƌŽǀĞĚďǇƚŚĞ&ĨŽƌdZ͘WƌŽǀŝĚĞƌƐĐĂŶĂůƐŽƌĞĨĞƌƉĂƚŝĞŶƚƐĨŽƌŶŽŶͲŵĞĚŝĐĂƚŝŽŶĂĚũƵŶĐƚŝǀĞ
 ƚƌĞĂƚŵĞŶƚƐƚƌĂƚĞŐŝĞƐƚŽŝŶĐůƵĚĞŝŶĚŝǀŝĚƵĂůƉƐǇĐŚŽƚŚĞƌĂƉǇ͕ƐƵƉƉŽƌƚŐƌŽƵƉƐ͕ĞůĞĐƚƌŽĐŽŶǀƵůƐŝǀĞ
 ƚŚĞƌĂƉǇ;dͿ͕ƚƌĂŶƐĐƌĂŶŝĂůŵĂŐŶĞƚŝĐƐƚŝŵƵůĂƚŝŽŶ;dD^ͿĂŶĚǀĂŐĂůŶĞƌǀĞƐƚŝŵƵůĂƚŝŽŶ;sE^Ϳ͘
 ĞĐĂƵƐĞŽĨƚŚĞƌĞĂĚǇĂǀĂŝůĂďŝůŝƚǇŽĨƚŚĞƐĞŶŽŶͲƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶŽƉƚŝŽŶƐ;ŝŶĐůƵĚŝŶŐƐŽŵĞ
 ǁŝƚŚ&ĂƉƉƌŽǀĂůͿĂŶĚŶŽŶͲŵĞĚŝĐĂƚŝŽŶŽƉƚŝŽŶƐ͕ƉƌŽǀŝĚĞƌƐŚĂǀĞĂŵƉůĞƌĞĂƐŽŶƚŽĂǀŽŝĚ
 ƵŶŶĞĐĞƐƐĂƌǇĂŶĚŽĨĨͲůĂďĞůƵƐĞŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĨŽƌdZ͘

 ƐǁŝƚŚƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐ͕ƚŚĞƌĞĂƌĞƚŽǆŝĐŝƚǇƐǇŶĚƌŽŵĞƐĂƐƐŽĐŝĂƚĞĚǁŝƚŚƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͘
 DĂŶŝĨĞƐƚĂƚŝŽŶƐŽĨƐƚŝŵƵůĂŶƚŽǀĞƌĚŽƐĞŵĂǇŝŶĐůƵĚĞŚǇƉĞƌĂĐƚŝǀŝƚǇ͕ĚŝĂƉŚŽƌĞƐŝƐ͕ĨůƵƐŚŝŶŐ͕ŵǇĚƌŝĂƐŝƐ͕

                                               WĂŐĞϮϯŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 24 of 73




 ŶĂƵƐĞĂ͕ǀŽŵŝƚŝŶŐ͕ĂďĚŽŵŝŶĂůƉĂŝŶ͕ŚǇƉĞƌƚĞŶƐŝŽŶ͕ƉĂůƉŝƚĂƚŝŽŶƐ͕ĐŚĞƐƚƉĂŝŶ͕ŚĞĂĚĂĐŚĞ͕
 ŚǇƉĞƌǀĞŶƚŝůĂƚŝŽŶ͕ĐŽŶĨƵƐŝŽŶ͕ŚǇƉĞƌƚŚĞƌŵŝĂ͕ĐĂƌĚŝĂĐĂƌƌŚǇƚŚŵŝĂ͕ŵǇŽĐĂƌĚŝĂůŝŶĨĂƌĐƚŝŽŶ͕ĂŽƌƚŝĐ
 ĚŝƐƐĞĐƚŝŽŶ͕ƐƚƌŽŬĞ͕ƐƵĚĚĞŶĐĂƌĚŝĂĐĚĞĂƚŚ͕ƉƐǇĐŚŽƐŝƐĂŶĚƐĞŝǌƵƌĞƐ͘ŽŵŵŽŶĂĚǀĞƌƐĞƐŝĚĞĞĨĨĞĐƚƐŽĨ
 ƐƚŝŵƵůĂŶƚƐŝŶĐůƵĚĞŝŶĐƌĞĂƐĞĚďůŽŽĚƉƌĞƐƐƵƌĞ͕ǁĞŝŐŚƚůŽƐƐ͕ŚĞĂĚĂĐŚĞƐ͕ůŽƐƐŽĨĂƉƉĞƚŝƚĞ͕ĂŶǆŝĞƚǇĂŶĚ
 ŵŽŽĚƐǁŝŶŐƐ͘

                                         ^WZ^Edd/KE^

 tŚĂƚĨŽůůŽǁƐŝŶƚŚŝƐƌĞƉŽƌƚƐŝƐĂƌĞǀŝĞǁŽĨƐĞůĞĐƚƉĂƚŝĞŶƚĐĂƐĞƐ͕ďĂƐĞĚŽŶůǇƵƉŽŶWDWĚĂƚĂ͕ĨŽƌƚŚĞ
 ƉƵƌƉŽƐĞŽĨŝĚĞŶƚŝĨǇŝŶŐĂŶǇƉĂƚƚĞƌŶƐŽĨƉƌĞƐĐƌŝďŝŶŐďĞŚĂǀŝŽƌǁŚŝĐŚ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ĨĂůůŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƐǇĐŚŝĂƚƌŝĐƚƌĞĂƚŵĞŶƚĂŶĚͬŽƌŽĐĐƵƌǁŝƚŚŽƵƚĂ
 ůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘EŽƉĂƚŝĞŶƚŝĚĞŶƚŝĨŝĞƌƐĂƌĞŝŶĐůƵĚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͘/ŶƐƚĞĂĚƉĂƚŝĞŶƚŝŶŝƚŝĂůƐ
 ĂƌĞƵƐĞĚ͘/ŶĐĂƐĞƐǁŚĞƌĞĚŝĨĨĞƌĞŶƚƉĂƚŝĞŶƚƐĂƉƉĞĂƌŝŶŐŽŶƚŚĞWDWŚĂǀĞƚŚĞƐĂŵĞŝŶŝƚŝĂůƐ͕ƚŚĞŶĞǆƚ
 ůĞƚƚĞƌŽĨƚŚĞŶĂŵĞǁŝůůďĞĂĚĚĞĚĨŽƌĐůĂƌŝĨŝĐĂƚŝŽŶ͘ĂƐĞƐĂƌĞŽƌŐĂŶŝǌĞĚďǇƚŚĞƚǇƉĞŽĨƵŶƵƐƵĂů
 ƉƌĞƐĐƌŝďŝŶŐƉƌĂĐƚŝĐĞŽƌƉĂƚƚĞƌŶŽďƐĞƌǀĞĚ͘dŚĞƉĂƚŝĞŶƚĐĂƐĞƐǁŚŝĐŚŐĞŶĞƌĂƚĞƚŚĞŐƌĞĂƚĞƐƚĐŽŶĐĞƌŶĨŽƌ
 ƉĂƚŝĞŶƚƐĂĨĞƚǇĂŶĚͬŽƌƉŽƐƐŝďůĞĚŝǀĞƌƐŝŽŶĂƌĞůŝƐƚĞĚŝŶƌĞĚƚǇƉĞ͘

 hEh^h>WZ^Z//E'WddZEηϭ͗dŚĞhƐĞŽĨDĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶĚƵůƚWĂƚŝĞŶƚƐ

 ůƚŚŽƵŐŚĞƐŽǆǇŶ;ƚƌĂĚĞŶĂŵĞĨŽƌŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞͿŚĂƐ&ĂƉƉƌŽǀĂůĨŽƌ,ǁŝƚŚ
 ŚǇƉĞƌĂĐƚŝǀŝƚǇŝŶƐƉĞĐŝĂůĐĂƐĞƐ;ĚŝƐĐƵƐƐĞĚďĞůŽǁͿĂŶĚĨŽƌĞǆŽŐĞŶŽƵƐŽďĞƐŝƚǇ͕ŵŽƐƚƉƐǇĐŚŝĂƚƌŝƐƚƐ
 ǁŝůůŶĞǀĞƌƉƌĞƐĐƌŝďĞŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶƚŚĞĐŽƵƌƐĞŽĨƚŚĞŝƌĐĂƌĞĞƌƐ͘dŚĞƌĞĂƌĞƐĞǀĞƌĂůĨĂĐƚŽƌƐ
 ĨŽƌƚŚŝƐ͕ŶŽƚůĞĂƐƚŽĨǁŚŝĐŚŝƐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͛ƐƉŽƐŝƚŝŽŶŝŶƚŚĞƉƵďůŝĐĐŽŶƐĐŝŽƵƐŶĞƐƐĂƐĂĚƌƵŐ
 ŽĨĂďƵƐĞĂŶĚŝƚƐĂĚĚŝĐƚŝǀĞƉŽƚĞŶƚŝĂů͘ŶŽƚŚĞƌƌĞĂƐŽŶŝƐƚŚĂƚƚŚĞ&ůĂďĞůůŝŶŐĨŽƌƚŚĞ,
 ŝŶĚŝĐĂƚŝŽŶŝƐƋƵŝƚĞƌĞƐƚƌŝĐƚŝǀĞĂŶĚĚŽĞƐŶŽƚŝŶĐůƵĚĞƚƌĞĂƚŵĞŶƚŽĨĂĚƵůƚ,͘/ŶĨĂĐƚ͕ƉƌŝŽƌƚŽ
 ƉĞƌĨŽƌŵŝŶŐƚŚŝƐƌĞǀŝĞǁ͕/ǁĂƐŶŽƚƉĞƌƐŽŶĂůůǇĨĂŵŝůŝĂƌǁŝƚŚĂŶǇŽƚŚĞƌĐĂƐĞŽĨĂƉƐǇĐŚŝĂƚƌŝƐƚ
 ƉƌĞƐĐƌŝďŝŶŐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶĂŶĂĚƵůƚ͘

 dŚĞ&ůĂďĞůůŝŶŐŽŶŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝƐƋƵŝƚĞƐƚƌŝĐƚ͕ĂƐĐŽŶĐĞƌŶƐďŽƚŚƚŚĞ,ŝŶĚŝĐĂƚŝŽŶ
 ĂŶĚƚŚĞĞǆŽŐĞŶŽƵƐŽďĞƐŝƚǇŝŶĚŝĐĂƚŝŽŶ͘dŚĞ&ůĂďĞůĚŽĞƐŶŽƚŝŶĐůƵĚĞƚƌĞĂƚŵĞŶƚŽĨĂĚƵůƚ,͘
 /ŶƐƚĞĂĚ͕ŝƚůŝŵŝƚƐƚƌĞĂƚŵĞŶƚƚŽĐŚŝůĚƌĞŶ͕ŽǀĞƌƚŚĞĂŐĞŽĨϲǇĞĂƌƐ͕ǁŝƚŚĐĞƌƚĂŝŶďĞŚĂǀŝŽƌĂůĨĞĂƚƵƌĞƐ
 ĂŶĚĂƐƉĂƌƚŽĨĂŵŽƌĞĐŽŵƉƌĞŚĞŶƐŝǀĞƚƌĞĂƚŵĞŶƚĨŽƌƚŚŽƐĞĐŚŝůĚƌĞŶ͘ĐĐŽƌĚŝŶŐƚŽƚŚĞ&ůĂďĞů͙

         ^KyzEƚĂďůĞƚƐĂƌĞŝŶĚŝĐĂƚĞĚĂƐĂŶŝŶƚĞŐƌĂůƉĂƌƚŽĨĂƚŽƚĂůƚƌĞĂƚŵĞŶƚƉƌŽŐƌĂŵǁŚŝĐŚ
         ƚǇƉŝĐĂůůǇŝŶĐůƵĚĞƐŽƚŚĞƌƌĞŵĞĚŝĂůŵĞĂƐƵƌĞƐ;ƉƐǇĐŚŽůŽŐŝĐĂů͕ĞĚƵĐĂƚŝŽŶĂů͕ƐŽĐŝĂůͿĨŽƌĂ
         ƐƚĂďŝůŝǌŝŶŐĞĨĨĞĐƚŝŶĐŚŝůĚƌĞŶŽǀĞƌϲǇĞĂƌƐŽĨĂŐĞǁŝƚŚĂďĞŚĂǀŝŽƌĂůƐǇŶĚƌŽŵĞ
         ĐŚĂƌĂĐƚĞƌŝǌĞĚďǇƚŚĞĨŽůůŽǁŝŶŐŐƌŽƵƉŽĨĚĞǀĞůŽƉŵĞŶƚĂůůǇŝŶĂƉƉƌŽƉƌŝĂƚĞƐǇŵƉƚŽŵƐ͗
         ŵŽĚĞƌĂƚĞƚŽƐĞǀĞƌĞĚŝƐƚƌĂĐƚŝďŝůŝƚǇ͕ƐŚŽƌƚĂƚƚĞŶƚŝŽŶƐƉĂŶ͕ŚǇƉĞƌĂĐƚŝǀŝƚǇ͕ĞŵŽƚŝŽŶĂůůĂďŝůŝƚǇ͕
         ĂŶĚŝŵƉƵůƐŝǀŝƚǇ͘dŚĞĚŝĂŐŶŽƐŝƐŽĨƚŚŝƐƐǇŶĚƌŽŵĞƐŚŽƵůĚŶŽƚďĞŵĂĚĞǁŝƚŚĨŝŶĂůŝƚǇǁŚĞŶ
         ƚŚĞƐĞƐǇŵƉƚŽŵƐĂƌĞŽŶůǇŽĨĐŽŵƉĂƌĂƚŝǀĞůǇƌĞĐĞŶƚŽƌŝŐŝŶ͘EŽŶͲůŽĐĂůŝǌŝŶŐ;ƐŽĨƚͿ
         ŶĞƵƌŽůŽŐŝĐĂůƐŝŐŶƐ͕ůĞĂƌŶŝŶŐĚŝƐĂďŝůŝƚǇ͕ĂŶĚĂďŶŽƌŵĂů'ŵĂǇŽƌŵĂǇŶŽƚďĞƉƌĞƐĞŶƚ͕
         ĂŶĚĂĚŝĂŐŶŽƐŝƐŽĨĐĞŶƚƌĂůŶĞƌǀŽƵƐƐǇƐƚĞŵĚǇƐĨƵŶĐƚŝŽŶŵĂǇŽƌŵĂǇŶŽƚďĞǁĂƌƌĂŶƚĞĚ͘




                                                WĂŐĞϮϰŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 25 of 73




 dŚĞ&ůĂďĞůĨŽƌĞǆŽŐĞŶŽƵƐŽďĞƐŝƚǇŝƐĂůƐŽǀĞƌǇƌĞƐƚƌŝĐƚŝǀĞĂŶĚůŝŵŝƚƐĞƐŽǆǇŶƚŽƵƐĞ͞ĂƐĂ
 ƐŚŽƌƚͲƚĞƌŵ;ŝ͘Ğ͕͘ĂĨĞǁǁĞĞŬƐͿĂĚũƵŶĐƚŝŶĂƌĞŐŝŵĞŶŽĨǁĞŝŐŚƚƌĞĚƵĐƚŝŽŶďĂƐĞĚŽŶĐĂůŽƌŝĐ
 ƌĞƐƚƌŝĐƚŝŽŶ͕ĨŽƌƉĂƚŝĞŶƚƐŝŶǁŚŽŵŽďĞƐŝƚǇŝƐƌĞĨƌĂĐƚŽƌǇƚŽĂůƚĞƌŶĂƚŝǀĞƚŚĞƌĂƉǇ͕Ğ͘Ő͕͘ƌĞƉĞĂƚĞĚĚŝĞƚƐ͕
 ŐƌŽƵƉƉƌŽŐƌĂŵƐ͕ĂŶĚŽƚŚĞƌĚƌƵŐƐ͘͟dŚĞ&ĂůƐŽĐĂƵƚŝŽŶƐƚŚĂƚ͞ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞƐŚŽƵůĚŶŽƚ
 ďĞŐŝǀĞŶƚŽƉĂƚŝĞŶƚƐǁŚŽĂƌĞŝŶĂŶĂŐŝƚĂƚĞĚƐƚĂƚĞŽƌǁŚŽŚĂǀĞĂŚŝƐƚŽƌǇŽĨĚƌƵŐĂďƵƐĞ͘͟

 dŚĞ͛ƐƌƵŐΘŚĞŵŝĐĂůǀĂůƵĂƚŝŽŶ^ĞĐƚŝŽŶŚĂƐƉƌŽĚƵĐĞĚĂŵŽŶŽŐƌĂƉŚŽŶ
 ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͘hŶĚĞƌƚŚĞůŝĐŝƚƵƐĞƐŽĨƚŚĞĚƌƵŐ͕ƚŚĞĂĐŬŶŽǁůĞĚŐĞĚŝŶƚŚŝƐĚĂƚĂƐŚĞĞƚ
 ƚŚĂƚ͞ĞƐŽǆǇŶŚĂƐǀĞƌǇůŝŵŝƚĞĚƵƐĞŝŶƚŚĞƚƌĞĂƚŵĞŶƚŽĨŽďĞƐŝƚǇĂŶĚĂƚƚĞŶƚŝŽŶĚĞĨŝĐŝƚŚǇƉĞƌĂĐƚŝǀŝƚǇ
 ĚŝƐŽƌĚĞƌ͘͟

 ĂƐĞĚƵƉŽŶƚŚĞŵŝƐƵƐĞůŝĂďŝůŝƚǇŽĨŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ƚŚĞƌĞƐƚƌŝĐƚŝŽŶƐŽĨƚŚĞůĂďĞů͕ĂŶĚƚŚĞ
 ĂǀĂŝůĂďŝůŝƚǇŽĨŽƚŚĞƌƉƌĞƐĐƌŝƉƚŝŽŶƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͕ŝƚŝƐŵǇŽƉŝŶŝŽŶƚŚĂƚƚŚĞƌĞŝƐŶĞǀĞƌĂŶ
 ĂƉƉƌŽƉƌŝĂƚĞƵƐĞŽĨŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶĂĚƵůƚƐ͘DŽƌĞŽǀĞƌ͕ƚŚĞƌĞŝƐŶŽĂƉƉƌŽƉƌŝĂƚĞũƵƐƚŝĨŝĐĂƚŝŽŶ
 ĨŽƌƉƌĞƐĐƌŝďŝŶŐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶĂƉĂƚŝĞŶƚǁŝƚŚĂŬŶŽǁŶĂĚĚŝĐƚŝŽŶŚŝƐƚŽƌǇ͕ƌĞŐĂƌĚůĞƐƐŽĨƚŚĞ
 ŝŶƚĞŶĚĞĚŝŶĚŝĐĂƚŝŽŶ͘tŚĞŶĞƐŽǆǇŶŝƐƵƐĞĚŝŶĐŚŝůĚƌĞŶŽǀĞƌϲǇĞĂƌƐ͕ƚŚĞƵƐƵĂůĞĨĨĞĐƚŝǀĞĚŽƐĞŝƐ
 ϮϬƚŽϮϱŵŐͬĚĂǇ͕ƚǇƉŝĐĂůůǇŐŝǀĞŶŝŶƚǁŽĚŝǀŝĚĞĚĚŽƐĞƐ͘

 WĂƚŝĞŶƚ͘͘

 dŚŝƐĐĂƐĞŝƐŚŝŐŚůǇƵŶƵƐƵĂů͕ŝŶƚŚĂƚƌ͘tĞŝƐƐŚĂƐŽƉƚĞĚƚŽƉƌĞƐĐƌŝďĞĂƉĂƚŝĞŶƚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ
 ;ƚƌĂĚĞŶĂŵĞĞƐŽǆǇŶͿ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĂůƐŽĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞƚŚĞƉĂƚŝĞŶƚ
 ĂůƉƌĂǌŽůĂŵϭϮŵŐͬĚĂǇ;ƐĞĞĨŝůůĚĂƚĞϲͬϭϴͬϮϬϭϴͿ͘KŶĞĐŽƵůĚƌĞĂƐŽŶĂďůǇĞǆƉĞĐƚƚŚĂƚ
 ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞǁŽƵůĚĂŐŐƌĂǀĂƚĞĂŶĂŶǆŝĞƚǇĐŽŶĚŝƚŝŽŶĂŶĚƚŚĂƚŚŝŐŚͲĚŽƐĞĂůƉƌĂǌŽůĂŵǁŽƵůĚ
 ĐĂƵƐĞƉƌŽďůĞŵƐǁŝƚŚĂůĞƌƚŶĞƐƐĂŶĚĂƚƚĞŶƚŝŽŶ͘ĂƐĞĚƵƉŽŶƚŚĞĐŽŶĐĞƌŶƐĨŽƌŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ
 ƉƌĞƐĐƌŝďŝŶŐŵĞŶƚŝŽŶĞĚĞĂƌůŝĞƌŝŶƚŚŝƐƉĂƉĞƌĂŶĚƌ͘tĞŝƐƐ͛ƵƐĞŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆŝŶƚŚŝƐƉĂƚŝĞŶƚ͕
 ƚŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:Ž͘&Ă͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƚĂŬĞƐƚŚĞǀĞƌǇƵŶƵƐƵĂůƐƚĞƉŽĨƉƌĞƐĐƌŝďŝŶŐ
 ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞƚŽĂƉĂƚŝĞŶƚ͘ƌ͘tĞŝƐƐĂůƐŽƉƌĞƐĐƌŝďĞƐĂůƉƌĂǌŽůĂŵϲŵŐͬĚĂǇ͘dŚĞĐŽŶĐĞƌŶƐ
 ŚĞƌĞĂƌĞŝĚĞŶƚŝĐĂůƚŽƚŚŽƐĞĨŽƌƉĂƚŝĞŶƚ͘͕͘ĂŶĚƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚtĂ͘:ŽŚŶĐ͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞĂƉĂƚŝĞŶƚ
 ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ŝŶĂĚĚŝƚŝŽŶƚŽƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐ͘ƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇ
 ƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚt͘:͘ŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞϮϱŵŐͬĚĂǇ͕ĂůƉƌĂǌŽůĂŵϮŵŐͬĚĂǇĂŶĚĨůƵƌĂǌĞƉĂŵ
 ϯϬŵŐͬĚĂǇ͘KŶĞĐŽƵůĚƌĞĂƐŽŶĂďůǇĞǆƉĞĐƚƚŚĂƚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞǁŽƵůĚĂŐŐƌĂǀĂƚĞĂŶĂŶǆŝĞƚǇ
 ĐŽŶĚŝƚŝŽŶĂŶĚƚŚĂƚƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨĂůƉƌĂǌŽůĂŵĂŶĚĨůƵƌĂǌĞƉĂŵǁŽƵůĚĐĂƵƐĞƉƌŽďůĞŵƐǁŝƚŚ


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 26 of 73




 ĂůĞƌƚŶĞƐƐĂŶĚĂƚƚĞŶƚŝŽŶ͕ĚƵĞƚŽƚŚĞŝƌĐƵŵƵůĂƚŝǀĞE^ĚĞƉƌĞƐƐŝŽŶ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐ
 ĚŝƐĐƵƐƐĞĚƵŶĚĞƌƚŚĞƉƌĞĐĞĚŝŶŐƚǁŽĐĂƐĞƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚtĂ͘:ŽŚŶĂ͘

 KŶƚŚĞWDWƚŚĞƌĞŝƐĂŶŽƚŚĞƌƉĂƚŝĞŶƚǁŝƚŚĂƐŝŵŝůĂƌʹďƵƚĚŝĨĨĞƌĞŶƚʹŶĂŵĞƚŽǁŚŽŵƌ͘tĞŝƐƐ
 ĂůƐŽƉƌĞƐĐƌŝďĞĚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ĐŽŶĐƵƌƌĞŶƚůǇǁŝƚŚyĂŶĂǆ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐĚŝƐĐƵƐƐĞĚ
 ƵŶĚĞƌƚŚĞŽƚŚĞƌĐĂƐĞƐǁŚĞƌĞƌ͘tĞŝƐƐĐŽͲƉƌĞƐĐƌŝďĞĚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞĂŶĚĂƐĞĚĂƚŝǀĞ͕ƚŚŝƐ
 ƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^Ă͘Wƌ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĂŐĂŝŶƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚyĂŶĂǆ͘
 ,ĞƌĞ͕ŚĞǁƌŝƚĞƐƚŚĞƉĂƚŝĞŶƚĨŽƌŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞϮϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘&ŽƌƚŚĞ
 ƐĂŵĞƌĞĂƐŽŶƐŐŝǀĞŶŝŶŵƵůƚŝƉůĞĐĂƐĞƐĂďŽǀĞ͕ƚŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚĂ͘^ƚ͘

 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚĂ͘^ƚ͘ƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞϮϬŵŐͬĚĂǇĂŶĚ
 yĂŶĂǆϯŵŐͬĚĂǇ͘ǀĞƌǇƉĂƚŝĞŶƚĐĂƐĞƉƌĞƐĞŶƚĞĚƚŚƵƐĨĂƌƵŶĚĞƌƚŚĞƵƐĞŽĨŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞŝŶ
 ĂĚƵůƚƐŚĂƐŝŶǀŽůǀĞĚƚŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨyĂŶĂǆ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐŐŝǀĞŶŝŶĂůůŽĨƚŚĞ
 ƉƌĞĐĞĚŝŶŐĐĂƐĞƐ͕ƚŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚW͘s͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞƚŚĂƚĞǆĞŵƉůŝĨŝĞƐƌ͘tĞŝƐƐ͛ǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞ
 ƚŽĂĚƵůƚƐ͕ŚŝƐƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐ͕ĂŶĚŚŝƐƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲ
 ĚŽƐĞƐƚŝŵƵůĂŶƚƐŝŶĐŽŵďŝŶĂƚŝŽŶǁŝƚŚƐĞĚĂƚŝǀĞƐ;ŵŽƐƚĨƌĞƋƵĞŶƚůǇyĂŶĂǆͿ͘KŶϴͬϬϮͬϮϬϭϴ͕ƌ͘
 tĞŝƐƐĂƵƚŚŽƌŝǌĞĚŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞϭϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϲŵŐͬĚĂǇĨŽƌƉĂƚŝĞŶƚW͘s͘ƌ͘tĞŝƐƐ
 ĂůƚĞƌĞĚƚŚŝƐƌĞŐŝŵĞŶ͕ĂŶĚďĞŐĂŶƚŽƉƌĞƐĐƌŝďĞƚŽƚŚĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůyZ
 ϲϬŵŐͬĚĂǇ͕ĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘^ƵŵŵŝŶŐƚŚĞĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĂŶĚ
 ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĨŽƌŵƐŽĨĚĚĞƌĂůů͕ƚŚŝƐƉƌŽǀŝĚĞĚƚŚĞƉĂƚŝĞŶƚǁŝƚŚĂƚŽƚĂůŽĨϭϱϬŵŐŽĨŵŝǆĞĚ
 ĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐƉĞƌĚĂǇ͘dŚŝƐĐƵŵƵůĂƚŝǀĞĚŽƐĞŽĨŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐƐŚŽƵůĚďĞ
 ǀŝĞǁĞĚĂƐŚŝŐŚůǇŝƌƌĞŐƵůĂƌĂŶĚŚĂǌĂƌĚŽƵƐ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐĐůĞĂƌůǇƉƵƚƐƚŚĞƉĂƚŝĞŶƚĂƚ
 ƌŝƐŬĨŽƌƐƚŝŵƵůĂŶƚƚŽǆŝĐŝƚǇ͖ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƚĨĂůůƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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                                                WĂŐĞϮϲŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 27 of 73




 hEh^h>WZ^Z//E'WddZEηϮ͗,ŝŐŚͲĚŽƐĞ^ƚŝŵƵůĂŶƚDĞĚŝĐĂƚŝŽŶƐǁŝƚŚ,ŝŐŚͲĚŽƐĞ
 ^ĞĚĂƚŝǀĞƐ

 ĂƐĞĚƵƉŽŶŵǇƌĞǀŝĞǁŽĨƚŚĞWDW͕ƌ͘tĞŝƐƐĨƌĞƋƵĞŶƚůǇƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚƐĂĐŽŵďŝŶĂƚŝŽŶ
 ŽĨĂ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚ͕ǁŝƚŚĂŵĂƌŬĞĚƉƌĞĨĞƌĞŶĐĞĨŽƌŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐ͕ǁŝƚŚĂ
 ^ĐŚĞĚƵůĞ/sƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐ͕ǁŝƚŚĂŵĂƌŬĞĚƉƌĞĨĞƌĞŶĐĞĨŽƌĂůƉƌĂǌŽůĂŵ͘,ĞĂůƐŽ
 ĚĞŵŽŶƐƚƌĂƚĞƐĂĐůĞĂƌƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚƐĂŶĚƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐƐ͕
 ĞǀĞŶǁŚĞŶƉƌĞƐĐƌŝďĞĚĐŽŶĐƵƌƌĞŶƚůǇ͘dŚŝƐĐŽŵďŝŶĂƚŝŽŶŝƐǁŽƌƌŝƐŽŵĞ͕ĚƵĞƚŽƚŚĞƌĞůĂƚŝǀĞůǇŚŝŐŚ
 ĚŽƐĂŐĞƐŽĨĞĂĐŚĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞŵĞĚŝĐĂƚŝŽŶĂŶĚĚƵĞƚŽƚŚĞŝƌĐŽŵƉĞƚŝŶŐĞĨĨĞĐƚƐ͘/ƚŝƐ
 ŝŶƚĞƌĞƐƚŝŶŐƚŚĂƚƌ͘tĞŝƐƐƌŽƵƚŝŶĞůǇĐŚŽŽƐĞƐyĂŶĂǆĂƐĂŶĂŶƚŝͲĂŶǆŝĞƚǇĂŐĞŶƚ͕ƌĂƚŚĞƌƚŚĂŶĂ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŝƚŚůĞƐƐŵŝƐƵƐĞƉŽƚĞŶƚŝĂůĂŶĚǁŝƚŚůĞƐƐƉŽƚĞŶƚŝĂůĨŽƌƌĞďŽƵŶĚĂŶǆŝĞƚǇ͘ǀĞŶŝĨ
 ŽŶĞĂƐƐƵŵĞĚƚŚĂƚƚŚĞƌĞǁĂƐĂƉĂƚŝĞŶƚǁŝƚŚƐĞǀĞƌĞƉĂŶŝĐĚŝƐŽƌĚĞƌǁŚŽĚŝĚŶŽƚƌĞƐƉŽŶĚƚŽƚŚĞ
 ĨŝƌƐƚͲůŝŶĞƚƌĞĂƚŵĞŶƚƐŽĨ^EZ/ƐĂŶĚ^^Z/Ɛ͕ǁŚŽĚŝĚŶŽƚƌĞƐƉŽŶĚƚŽĂŶǇďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŝƚŚůĞƐƐ
 ŵŝƐƵƐĞůŝĂďŝůŝƚǇĂŶĚǁŚŽĚŝĚŶŽƚƌĞƐƉŽŶĚĂĚĞƋƵĂƚĞůǇƚŽůŽǁĞƌĚŽƐĞƐŽĨĂůƉƌĂǌŽůĂŵ͕ŝƚǁŽƵůĚ
 ƐĞĞŵǀĞƌǇŝůůͲĂĚǀŝƐĞĚƚŽƐƚĂƌƚƚŚĞƐĂŵĞƉĂƚŝĞŶƚŽŶĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘/ŶĂůůŽĨƚŚĞƐĞĐĂƐĞƐ͕ŝƚ
 ŝƐƌĞĂƐŽŶĂďůĞƚŽƋƵĞƐƚŝŽŶŝĨƚŚĞƉĂƚŝĞŶƚ͛ƐĂŶǆŝĞƚǇǁĂƐĚƵĞƉƌŝŵĂƌŝůǇƚŽĞŝƚŚĞƌƌĞďŽƵŶĚĂŶǆŝĞƚǇĂƐ
 ĂĐŽŶƐĞƋƵĞŶĐĞŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆƵƐĞŽƌƚŽƚŚĞƵƐĞŽĨŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŽƌƚŽĂĐŽŵďŝŶĂƚŝŽŶ
 ŽĨƚŚĞƐĞƚǁŽĨĂĐƚŽƌƐ͘ĂĐŚŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶĐŽŶĚŝƚŝŽŶƐŵĂǇĐĂƵƐĞĂƉĂƚŝĞŶƚƚŽĂƉƉĞĂƌ
 ƚƌĞĂƚŵĞŶƚƌĞĨƌĂĐƚŽƌǇ͘

 WĂƚŝĞŶƚ͘͘

 dŚŝƐĐĂƐĞŝůůƵƐƚƌĂƚĞƐƚŚĞŵŽƐƚĐŽŵŵŽŶĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƉƌĞƐĐƌŝƉƚŝŽŶĐŽŵďŝŶĂƚŝŽŶƐĞĞŶŽŶƚŚĞ
 ƉƌŽǀŝĚĞƌͲƐƉĞĐŝĨŝĐWDW͗ƚŚĞĐŽŶĐƵƌƌĞŶƚƵƐĞŽĨĚĚĞƌĂůůĂŶĚyĂŶĂǆ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƌŽƵƚŝŶĞůǇ
 ƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚ͘͘ƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨηϵϬĂůƉƌĂǌŽůĂŵϮŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽyĂŶĂǆ
 ϲŵŐͬĚĂǇĂŶĚηϵϬĚĚĞƌĂůůϮϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͘dŚĞWDWĚŽĞƐŶŽƚ
 ŝŶĐůƵĚĞƚŚĞƉƌŽǀŝĚĞƌ͛ƐŝŶƚĞŶĚĞĚƚƌĞĂƚŵĞŶƚŝŶĚŝĐĂƚŝŽŶƐ͘ĂĐŚŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶĐŽŶĚŝƚŝŽŶƐŵĂǇ
 ŚĂǀĞĐĂƵƐĞĚƚŚĞƉĂƚŝĞŶƚƚŽĂƉƉĞĂƌƚƌĞĂƚŵĞŶƚƌĞĨƌĂĐƚŽƌǇ͘/ƚǁŽƵůĚĂůƐŽďĞŝŶƚĞƌĞƐƚŝŶŐƚŽƌĞǀŝĞǁƌ͘
 tĞŝƐƐ͛ŝŶĚŝĐĂƚŝŽŶĨŽƌƵƐŝŶŐĚĚĞƌĂůůŝŶƚŚŝƐƉĂƚŝĞŶƚ͘/ĨŝƚǁĂƐƵƐĞĚĨŽƌƚŚĞ&ͲůĂďĞůĞĚŝŶĚŝĐĂƚŝŽŶŽĨ
 ͞,͕͟ŽŶĞǁŽƵůĚƌŝŐŚƚůǇƋƵĞƐƚŝŽŶƚŚĞŝŵƉĂĐƚŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆŽŶĂŶŝŶĚŝǀŝĚƵĂů͛ƐĂƚƚĞŶƚŝŽŶ
 ĐĂƉĂĐŝƚǇĂŶĚŚŽǁƚŚŝƐǁŽƵůĚŝŵƉĂĐƚƚŚĞĚŝĂŐŶŽƐŝƐŽĨĂŶĂƚƚĞŶƚŝŽŶͲĚĞĨŝĐŝƚƐǇŶĚƌŽŵĞ͘,ĞƌĞ/ǁŝůůƉŽƐŝƚ
 ƚŚĂƚĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŶŽƚƌŽƵƚŝŶĞůǇƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞyĂŶĂǆ͕ǁŽƵůĚŶŽƚƌŽƵƚŝŶĞůǇ
 ƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůĂŶĚǁŽƵůĚĂůŵŽƐƚŶĞǀĞƌƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞyĂŶĂǆŝŶĐŽŵďŝŶĂƚŝŽŶ
 ǁŝƚŚĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘dŚĞƐĞƐĂŵĞĂĚŵŽŶŝƚŝŽŶƐǁŝůůĂƉƉůǇƚŽĂŶǇĐĂƐĞĚŝƐĐƵƐƐĞĚ
 ŚĞƌĞĂĨƚĞƌƚŚĂƚŝŶǀŽůǀĞƐĂĚĂŝůǇyĂŶĂǆĚŽƐĞŐƌĞĂƚĞƌƚŚĂŶϰŵŐĂŶĚĂĚĂŝůǇĚĚĞƌĂůůĚŽƐĞŐƌĞĂƚĞƌƚŚĂŶ
 ϰϬŵŐ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘

 WĂƚŝĞŶƚ<͘͘

 dŚŝƐĐĂƐĞĐĂƵƐĞƐĐŽŶĐĞƌŶ͕ŝŶƚŚĂƚƌ͘tĞŝƐƐŶŽƚŽŶůǇƉƌĞƐĐƌŝďĞƐƚŚĞƉĂƚŝĞŶƚyĂŶĂǆĂŶĚĚĚĞƌĂůůŝŶ
 ĐŽŵďŝŶĂƚŝŽŶ͕ďƵƚďĞĐĂƵƐĞƚŚĞĚĚĞƌĂůůĚŽƐĞŝƐƐŽŚŝŐŚ͘KŶŵƵůƚŝƉůĞŽĐĐĂƐŝŽŶƐ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐ
 ƉĂƚŝĞŶƚ<͘͘ηϵϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐŵĞĂŶƐ


                                                WĂŐĞϮϳŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 28 of 73




 ƚŚĂƚƚŚĞŝŶƚĞŶĚĞĚĚŽƐŝŶŐĨŽƌƚŚĞƉĂƚŝĞŶƚǁĂƐĚĚĞƌĂůůϵϬŵŐƉŽƋĂŵ͘dŚŝƐŝƐŽǀĞƌƚǁŝĐĞƚŚĞĚĂŝůǇ
 ŵĂǆŝŵƵŵƌĞĐŽŵŵĞŶĚĂƚŝŽŶĨŽƌŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůƚŚĂƚŝƐƐƉĞĐŝĨŝĞĚďǇŵƵůƚŝƉůĞƐŽƵƌĐĞƐ
 ;DŝĐƌŽŵĞĚĞǆ͕D^͕WZĂŶĚ^ƚĂŚůͿ͘/ŶŵǇŽƉŝŶŝŽŶ͕ƚŚŝƐĚŽƐŝŶŐŝƐĞǆĐĞƐƐŝǀĞ͕ƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĂŶĚ
 ƵŶĚƵĞƌŝƐŬĨŽƌŚǇƉĞƌƚĞŶƐŝǀĞĂŶĚǀĂƐĐƵůĂƌĞǀĞŶƚƐĂŶĚŝƐǀĞƌǇĚŝĨĨŝĐƵůƚƚŽũƵƐƚŝĨǇŵĞĚŝĐĂůůǇ͘dŚŝƐƉĂƚƚĞƌŶ
 ŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚD͘͘

 dŚŝƐĐĂƐĞ͕ůŝŬĞŽƚŚĞƌƐ͕ĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨĂ
 ƐƚŝŵƵůĂŶƚ;ĚĚĞƌĂůůyZŽƌĚĚĞƌĂůůͿĂŶĚyĂŶĂǆ͘/ŶŵĂŶǇŝŶƐƚĂŶĐĞƐ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚ
 ͘D͘ηϵϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĚĚĞƌĂůůϵϬŵŐƉŽĚĂŝůǇ͘tŚĞŶŚĞƉƌĞƐĐƌŝďĞĚ
 ĚĚĞƌĂůůyZƚŽƚŚĞƉĂƚŝĞŶƚ͕ŚĞĚŝĚƐŽĂƐηϲϬĚĚĞƌĂůůyZϯϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĚĚĞƌĂůůyZ
 ϲϬŵŐƉŽĚĂŝůǇ͘tŝƚŚĞŝƚŚĞƌƉƌĞƉĂƌĂƚŝŽŶ͕/ZŽƌyZ͕ƌ͘tĞŝƐƐŚĂƐƉƌĞƐĐƌŝďĞĚƚŚĞƐƚŝŵƵůĂŶƚĨŽƌ
 ƵŶƵƐƵĂů͕ĞǆĐĞƐƐŝǀĞĚŽƐĞƐ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘

 WĂƚŝĞŶƚ͘͘

 dŚŝƐĐĂƐĞŝƐŝŶƚĞƌĞƐƚŝŶŐŝŶƚŚĂƚƌ͘tĞŝƐƐŚĂƐĐŚŽƐĞŶƚŽƉƌĞƐĐƌŝďĞĂŐŝǀĞŶƉĂƚŝĞŶƚƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞ
 ŵĞĚŝĐĂƚŝŽŶƐ͕ĐůŽŶĂǌĞƉĂŵĂŶĚƚĞŵĂǌĞƉĂŵ;ďŽƚŚ^ĐŚĞĚƵůĞ/sͿ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŚŝŐŚͲĚŽƐĞ
 ĚĚĞƌĂůů͘/ƚĂůƐŽĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨĂĐŽŶƚƌŽůůĞĚ
 ŵĞĚŝĐĂƚŝŽŶƵŶŶĞĐĞƐƐĂƌŝůǇĂŶĚƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐŽŶĂůŽŶŐͲƚĞƌŵ
 ďĂƐŝƐƚŽĂƉĂƚŝĞŶƚ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚǀĂƌŝŽƵƐďĞŶǌŽĚŝĂǌĞƉŝŶĞƐƚŽƉĂƚŝĞŶƚ͘͕͘ĨƌŽŵ
 ϭͬϮϯͬϮϬϭϱƚŽϯͬϭϳͬϮϬϭϴ͘,ĞĨƌĞƋƵĞŶƚůǇƉƌĞƐĐƌŝďĞĚηϮϰϬĐůŽŶĂǌĞƉĂŵϬ͘ϱŵŐƚĂďůĞƚƐƚŽƚŚĞƉĂƚŝĞŶƚ͕
 ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽϴƚĂďůĞƚƐƉĞƌĚĂǇŽĨƚŚĞŵĞĚŝĐĂƚŝŽŶ͘WƌĞƐĐƌŝďŝŶŐƚŚŝƐŶƵŵďĞƌŽĨĐůŽŶĂǌĞƉĂŵ
 ƚĂďůĞƚƐŝƐŝůůͲĂĚǀŝƐĞĚĂŶĚƵŶŶĞĐĞƐƐĂƌǇ͕ĐŽŶƐŝĚĞƌŝŶŐƚŚĂƚĐůŽŶĂǌĞƉĂŵĐŽŵĞƐŝŶĂǀĂƌŝĞƚǇŽĨƚĂďůĞƚ
 ƐŝǌĞƐ͕ŝŶĐůƵĚŝŶŐϬ͘ϱŵŐƚĂďůĞƚƐ͕ϭŵŐƚĂďůĞƚƐĂŶĚϮŵŐƚĂďůĞƚƐ͘ŽƐŝŶŐĐůŽŶĂǌĞƉĂŵϴƚŝŵĞƐĚĂŝůǇĂůƐŽ
 ŵĂŬĞƐǀĞƌǇůŝƚƚůĞƐĞŶƐĞďĂƐĞĚƵƉŽŶƚŚĞƉŚĂƌŵĂĐŽůŽŐǇŽĨĐůŽŶĂǌĞƉĂŵ͘ůŽŶĂǌĞƉĂŵŚĂƐĂůŽŶŐƚŝŵĞ
 ƚŽƉĞĂŬƉůĂƐŵĂůĞǀĞůĂŶĚĂůŽŶŐŚĂůĨͲůŝĨĞŽĨĞůŝŵŝŶĂƚŝŽŶ͘dŚĞƐĞĨĞĂƚƵƌĞƐŵĂŬĞĐůŽŶĂǌĞƉĂŵĂƉŽŽƌ
 ŵĞĚŝĐĂƚŝŽŶĨŽƌ͞ƉƌŶ͟ƵƐĞ͖ŚŽǁĞǀĞƌ͕ƚŚĞǇĚŽŵĂŬĞĐůŽŶĂǌĞƉĂŵĂŐŽŽĚĐĂŶĚŝĚĂƚĞĨŽƌƐĐŚĞĚƵůĞĚ͕ďŝĚ
 ĚŽƐŝŶŐ͘dŚĞƌĞĂƉƉĞĂƌƐƚŽďĞŶŽĐůŝŶŝĐĂůƵƚŝůŝƚǇĨŽƌƉƌŽǀŝĚŝŶŐƚŚĞƉĂƚŝĞŶƚǁŝƚŚηϴĐůŽŶĂǌĞƉĂŵƚĂďůĞƚƐ
 ĨŽƌĚĂŝůǇƵƐĞ͕ĂŶĚƚŚĞƌŝƐŬŽĨĚŝǀĞƌƐŝŽŶŝƐŵĂĚĞŚŝŐŚďǇƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƚŚĞĚƌƵŐ͘ƚ
 ĂŶŽƚŚĞƌƉŽŝŶƚ;ƐĞĞWDWĨŝůůƐĨŽƌϭϬͬϭϰͬϮϬϭϳͿ͕ƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞƚŽ
 ƉĂƚŝĞŶƚ͘͘ηϵϬĐůŽŶĂǌĞƉĂŵϮŵŐƚĂďůĞƚƐĂŶĚηϯϬƚĞŵĂǌĞƉĂŵϯϬŵŐƚĂďůĞƚƐ͘dĞŵĂǌĞƉĂŵŝƐĂ
 ƐĞĚĂƚŝŶŐďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŚŝĐŚƵƐĞĚƚŽďĞƉƌĞƐĐƌŝďĞĚĐŽŵŵŽŶůǇĨŽƌŝŶƐŽŵŶŝĂ͘/ŶƚŚŝƐĐĂƐĞ͕ŽŶĞ
 ǁŽƵůĚƋƵĞƐƚŝŽŶǁŚĞƚŚĞƌƚŚĞƉĂƚŝĞŶƚ͛ƐŚŝŐŚĚĚĞƌĂůůĚŽƐĞ;ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂƚϲϬŵŐƉŽ
 ĚĂŝůǇͿǁĂƐĐŽŶƚƌŝďƵƚŝŶŐƚŽĂƐůĞĞƉĚŝƐƚƵƌďĂŶĐĞ͘ůŽŶĂǌĞƉĂŵŝƐĂůƐŽĂƐĞĚĂƚŝŶŐďĞŶǌŽĚŝĂǌĞƉŝŶĞ͕ĂŶĚ
 ŽŶĞƐŚŽƵůĚƋƵĞƐƚŝŽŶƚŚĞƉƵƌƉŽƐĞŽĨƉƌĞƐĐƌŝďŝŶŐĐůŽŶĂǌĞƉĂŵǁŝƚŚƚĞŵĂǌĞƉĂŵ͘ƚƚŚŝƐĚŽƐĞƐ͕;ŝ͘Ğ͕͘
 ĐůŽŶĂǌĞƉĂŵϲŵŐĚĂŝůǇĂŶĚƚĞŵĂǌĞƉĂŵϯϬŵŐĚĂŝůǇͿ͕ƚŚĞƌĞŝƐĂƐŝŐŶŝĨŝĐĂŶƚƌŝƐŬĨŽƌĐƵŵƵůĂƚŝǀĞE^
 ĚĞƉƌĞƐƐŝŽŶƚŚĂƚƉƵƚƐƚŚĞƉĂƚŝĞŶƚĂƚƵŶŶĞĐĞƐƐĂƌǇƌŝƐŬ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘



                                                WĂŐĞϮϴŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 29 of 73




 WĂƚŝĞŶƚZͲd͘͘

 dŚŝƐĐĂƐĞŝƐŽŶĞŽĨƚŚĞŵŽƌĞĞŐƌĞŐŝŽƵƐŝŶƚŚĞƐĞƌŝĞƐ͘ƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇĂƵƚŚŽƌŝǌĞĚĨŽƌƚŚŝƐ
 ƉĂƚŝĞŶƚĨŝůůƐŽĨηϭϮϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂĚŽƐŝŶŐŽĨĚĚĞƌĂůůϭϮϬŵŐƉŽ
 ĚĂŝůǇ͘,ĞĂůƐŽƉƌĞƐĐƌŝďĞĚƚŽƚŚĞƉĂƚŝĞŶƚηϭϮϬĂůƉƌĂǌŽůĂŵϮŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽyĂŶĂǆ
 ϴŵŐƉŽĚĂŝůǇ͘ƚĨŝƌƐƚŝŶƐƉĞĐƚŝŽŶ͕ƚŚĞƌĞĂƉƉĞĂƌƐƚŽďĞŶŽƐĂĨĞŽƌůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƵƐĞĨŽƌ
 ĚĚĞƌĂůůƉƌĞƐĐƌŝďĞĚŝŶƚŚĞƐĞƋƵĂŶƚŝƚŝĞƐ͘dŚĞŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐĨŽƌďŽƚŚĚĚĞƌĂůůĂŶĚyĂŶĂǆĂůƐŽ
 ŝŶĐƌĞĂƐĞƐƚŚĞŝŵƉĂĐƚŽĨĂŶǇĚƌƵŐĚŝǀĞƌƐŝŽŶƚŚĂƚŵŝŐŚƚďĞƚĂŬŝŶŐƉůĂĐĞ͘dŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝƐ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘͘

 dŚŝƐĐĂƐĞŝƐĂůƐŽŽŶĞŽĨƚŚĞŵŽƌĞĞŐƌĞŐŝŽƵƐŝŶƚŚĞƐĞƌŝĞƐ͕ĂŶĚŝƚŝƐĨƌĂƵŐŚƚǁŝƚŚĂŶƵŵďĞƌŽĨ
 ƉƌĞƐĐƌŝďŝŶŐŝƌƌĞŐƵůĂƌŝƚŝĞƐ͘/ƚĞǆĞŵƉůŝĨŝĞƐŶŽƚŽŶůǇƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞ
 ĚĚĞƌĂůů;ŝŶĚŽƐĞƐƵƉƚŽϵϬŵŐƉŽĚĂŝůǇͿĂŶĚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůyZ;ŝŶĚŽƐĞƐƵƉƚŽϲϬŵŐĚĂŝůǇͿ͕
 ďƵƚĂůƐŽŚŝƐƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞƚŚĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚďĞŶǌŽĚŝĂǌĞƉŝŶĞ
 ŵĞĚŝĐĂƚŝŽŶƐĂŶĚŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶƐ͕ĂŶĚŽǀĞƌůŽŶŐƉĞƌŝŽĚƐŽĨƚŝŵĞ͘ƌ͘tĞŝƐƐ͛ƐƚŝŵƵůĂŶƚ
 ƉƌĞƐĐƌŝďŝŶŐŝƐŵŽƐƚƉƌŽŶŽƵŶĐĞĚŽŶϰͬϭϳͬϮϬϭϱ͕ǁŚĞŶŚĞŝƐƐƵĞƐƐŝŵƵůƚĂŶĞŽƵƐƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌ
 ηϲϬĚĚĞƌĂůůyZϯϬŵŐĐĂƉƐ͕ηϵϬĚĚĞƌĂůůϯϬŵŐƚĂďƐ͕ŝŶĂĚĚŝƚŝŽŶƚŽηϯϬyĂŶĂǆϮŵŐƚĂďůĞƚƐ͘dŚŝƐ
 ĂŵŽƵŶƚƐƚŽϵϬŵŐŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂŶĚϲϬŵŐŽĨĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĚĚĞƌĂůůĚĂŝůǇ͘
 dŚĂƚƉƌŽǀŝĚĞƐĂĐƵŵƵůĂƚŝǀĞŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚĚŽƐĂŐĞŽĨϭϱϬŵŐͬĚĂǇ͘EŽƚŽŶůǇŝƐƚŚŝƐ
 ůĞǀĞůŽĨĂŵƉŚĞƚĂŵŝŶĞƉƌĞƐĐƌŝďŝŶŐĨŽƌƚŚĞƉĂƚŝĞŶƚƵŶƐĂĨĞ͕ďƵƚ/ĐĂŶŝŵĂŐŝŶĞŶŽůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂů
 ƉƵƌƉŽƐĞĨŽƌƚŚŝƐƚǇƉĞŽĨĂŵƉŚĞƚĂŵŝŶĞƌĞŐŝŵĞŶ͘KŶϯͬϭϱͬϮϬϭϳ͕ƌ͘tĞŝƐƐĂůƐŽǁƌŝƚĞƐƚŚĞƉĂƚŝĞŶƚ
 ĨŽƌηϯϬŽǆǇĐŽĚŽŶĞϭϬŵŐƚĂďůĞƚƐ͘dŚŝƐŝƐĐůĞĂƌůǇŽƵƚƐŝĚĞŽĨƚŚĞƐĐŽƉĞŽĨŵĞĚŝĐĂůƉƌĂĐƚŝĐĞĨŽƌĂŶ
 ŽƵƚƉĂƚŝĞŶƚWƐǇĐŚŝĂƚƌǇĐůŝŶŝĐ͘ƌ͘tĞŝƐƐĂůƐŽƉƌĞƐĐƌŝďĞƐƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨǌŽůƉŝĚĞŵZϭϮ͘ϱŵŐ
 ƉŽĚĂŝůǇĂŶĚĐůŽŶĂǌĞƉĂŵϰŵŐͬĚĂǇƚŽƉĂƚŝĞŶƚ͘͘dŚĞƌĞŝƐĂůƐŽĞǀŝĚĞŶĐĞƚŚĂƚƌ͘tĞŝƐƐ
 ƉĞƌŵŝƚƚĞĚĞĂƌůǇƌĞĨŝůůƐŽĨĚĚĞƌĂůů;ƐĞĞƉƌĞƐĐƌŝƉƚŝŽŶĨŝůůĚĂƚĞƐŽŶϮͬϬϵͬϮϬϭϱĂŶĚϮͬϮϰͬϮϬϭϱͿ͘&Žƌ
 ĂůůŽĨƚŚĞƐĞƌĞĂƐŽŶƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ>͘͘

 dŚŝƐŝƐĂŶŽƚŚĞƌƉĂƌƚŝĐƵůĂƌůǇĞŐƌĞŐŝŽƵƐĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽĂƉĂƚŝĞŶƚŚŝŐŚͲĚŽƐĞ
 ĚĚĞƌĂůůĂŶĚŚŝŐŚͲĚŽƐĞyĂŶĂǆƚŽĂƉĂƚŝĞŶƚ͕ŽǀĞƌĂĐŽŶƐŝĚĞƌĂďůĞƉĞƌŝŽĚŽĨƚŝŵĞ͕ĨƌŽŵϭͬϭϵͬϮϬϭϱ
 ƚŽϵͬϬϰͬϮϬϭϴ͘ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŚŝƐƉĂƚŝĞŶƚŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůŝŶĚŽƐĞƐƵƉƚŽ
 ϭϮϬŵŐͬĚĂǇ;ƐĞĞWDWĨŝůůĚĂƚĞƐϭϮͬϯϬͬϮϬϭϲĂŶĚϬϮͬϬϮͬϮϬϭϳͿ͘,ĞƚǇƉŝĐĂůůǇƉƌŽǀŝĚĞĚŚĞƌǁŝƚŚ
 ηϵϬyĂŶĂǆϮŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐǁŽƵůĚĂůůŽǁĨŽƌ
 yĂŶĂǆϲŵŐͬĚĂǇ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐĚŝƐĐƵƐƐĞĚŝŶƚŚĞƉƌĞĐĞĚŝŶŐĐĂƐĞƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨ
 ƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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                                               WĂŐĞϮϵŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 30 of 73




 WĂƚŝĞŶƚZǇ͘ƌ͘

 dŚŝƐĐĂƐĞĂůƐŽŝůůƵƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐƉĂƚŝĞŶƚƐĐŽŵďŝŶĂƚŝŽŶƐŽĨŚŝŐŚͲ
 ĚŽƐĞyĂŶĂǆĂŶĚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͘/ŶƚŚŝƐƉĂƌƚŝĐƵůĂƌĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƚŚĞƉĂƚŝĞŶƚ
 ĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͕ŝŶĂĚĚŝƚŝŽŶƚŽyĂŶĂǆϲŵŐͬĚĂǇ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐĚŝƐĐƵƐƐĞĚŝŶƚŚĞ
 ƉƌĞĐĞĚŝŶŐĐĂƐĞƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞ
 ŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚW͘͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽǁƌŝƚĞĨŽƌĐŽŵďŝŶĂƚŝŽŶƐŽĨyĂŶĂǆ
 ĂŶĚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͘dŚĞǁĂǇŝŶǁŚŝĐŚƚŚĞƐĞƉƌĞƐĐƌŝƉƚŝŽŶƐǁĞƌĞǁƌŝƚƚĞŶĂůůŽǁĞĚĨŽƌyĂŶĂǆ
 ϴŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘tŚĂƚŝƐŵŽƐƚŝŶƚĞƌĞƐƚŝŶŐĂďŽƵƚƚŚŝƐĐĂƐĞŝƐƚŚĂƚƌ͘tĞŝƐƐ
 ĂƉƉĞĂƌĞĚƚŽǁƌŝƚĞƚŚĞƉĂƚŝĞŶƚĨŽƌĂϵϬͲĚĂǇƐƵƉƉůǇŽĨĚĚĞƌĂůůŽŶϳͬϭϳͬϮϬϭϱ͕ĂƐηϭϴϬĚĚĞƌĂůů
 ϯϬŵŐƚĂďůĞƚƐ͘tŝƚŚŽƵƚǀŝĞǁŝŶŐƚŚĞĂĐƚƵĂůƉƌĞƐĐƌŝƉƚŝŽŶƉƌŽǀŝĚŝŶŐĨŽƌƚŚŝƐƌĞůĞĂƐĞŽĨĚĚĞƌĂůů͕ŝƚŝƐ
 ĚŝĨĨŝĐƵůƚƚŽĚĞƚĞƌŵŝŶĞǁŚĂƚǁĂƐƉƌĞƐĞŶƚĞĚƚŽƚŚĞƉŚĂƌŵĂĐǇĂŶĚŚŽǁƚŚŝƐƌĞƋƵĞƐƚǁĂƐƉƌŽĐĞƐƐĞĚ
 ďǇƚŚĞƉŚĂƌŵĂĐǇ͘dŚĂƚƐƚĂƚĞĚ͕ƚŚĞŵĂƚƚĞƌŽĨ^ĐŚĞĚƵůĞ//ƉƌĞƐĐƌŝƉƚŝŽŶƌĞĨŝůůƐŚĂƐďĞĞŶĂĚĚƌĞƐƐĞĚ
 ŝŶĂϮϬϬϳƵƉĚĂƚĞƚŽƚŚĞdŝƚůĞϮϭŽĚĞŽĨ&ĞĚĞƌĂůZĞŐƵůĂƚŝŽŶƐ͕WĂƌƚϭϯϬϲ͗

         KEdZK>>^h^dE^>/^d/E^,h>//

         ΑϭϯϬϲ͘ϭϮZĞĨŝůůŝŶŐƉƌĞƐĐƌŝƉƚŝŽŶƐ͖ŝƐƐƵĂŶĐĞŽĨŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐ͘

         ;ĂͿdŚĞƌĞĨŝůůŝŶŐŽĨĂƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌĂĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞůŝƐƚĞĚŝŶ^ĐŚĞĚƵůĞ//ŝƐ
         ƉƌŽŚŝďŝƚĞĚ͘

         ;ďͿ;ϭͿŶŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌŵĂǇŝƐƐƵĞŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĂƵƚŚŽƌŝǌŝŶŐƚŚĞƉĂƚŝĞŶƚ
         ƚŽƌĞĐĞŝǀĞĂƚŽƚĂůŽĨƵƉƚŽĂϵϬͲĚĂǇƐƵƉƉůǇŽĨĂ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƉƌŽǀŝĚĞĚ
         ƚŚĞĨŽůůŽǁŝŶŐĐŽŶĚŝƚŝŽŶƐĂƌĞŵĞƚ͗

                 ;ŝͿĂĐŚƐĞƉĂƌĂƚĞƉƌĞƐĐƌŝƉƚŝŽŶŝƐŝƐƐƵĞĚĨŽƌĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞďǇĂŶ
         ŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌĂĐƚŝŶŐŝŶƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͖

                  ;ŝŝͿdŚĞŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌƉƌŽǀŝĚĞƐǁƌŝƚƚĞŶŝŶƐƚƌƵĐƚŝŽŶƐŽŶĞĂĐŚƉƌĞƐĐƌŝƉƚŝŽŶ
         ;ŽƚŚĞƌƚŚĂŶƚŚĞĨŝƌƐƚƉƌĞƐĐƌŝƉƚŝŽŶ͕ŝĨƚŚĞƉƌĞƐĐƌŝďŝŶŐƉƌĂĐƚŝƚŝŽŶĞƌŝŶƚĞŶĚƐĨŽƌƚŚĂƚ
         ƉƌĞƐĐƌŝƉƚŝŽŶƚŽďĞĨŝůůĞĚŝŵŵĞĚŝĂƚĞůǇͿŝŶĚŝĐĂƚŝŶŐƚŚĞĞĂƌůŝĞƐƚĚĂƚĞŽŶǁŚŝĐŚĂƉŚĂƌŵĂĐǇ
         ŵĂǇĨŝůůĞĂĐŚƉƌĞƐĐƌŝƉƚŝŽŶ͖

                 ;ŝŝŝͿdŚĞŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌĐŽŶĐůƵĚĞƐƚŚĂƚƉƌŽǀŝĚŝŶŐƚŚĞƉĂƚŝĞŶƚǁŝƚŚŵƵůƚŝƉůĞ
         ƉƌĞƐĐƌŝƉƚŝŽŶƐŝŶƚŚŝƐŵĂŶŶĞƌĚŽĞƐŶŽƚĐƌĞĂƚĞĂŶƵŶĚƵĞƌŝƐŬŽĨĚŝǀĞƌƐŝŽŶŽƌĂďƵƐĞ͖

                 ;ŝǀͿdŚĞŝƐƐƵĂŶĐĞŽĨŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĂƐĚĞƐĐƌŝďĞĚŝŶƚŚŝƐƐĞĐƚŝŽŶŝƐ
         ƉĞƌŵŝƐƐŝďůĞƵŶĚĞƌƚŚĞĂƉƉůŝĐĂďůĞƐƚĂƚĞůĂǁƐ͖ĂŶĚ




                                                  WĂŐĞϯϬŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 31 of 73




                 ;ǀͿdŚĞŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌĐŽŵƉůŝĞƐĨƵůůǇǁŝƚŚĂůůŽƚŚĞƌĂƉƉůŝĐĂďůĞ
         ƌĞƋƵŝƌĞŵĞŶƚƐƵŶĚĞƌƚŚĞĐƚĂŶĚƚŚĞƐĞƌĞŐƵůĂƚŝŽŶƐĂƐǁĞůůĂƐĂŶǇĂĚĚŝƚŝŽŶĂůƌĞƋƵŝƌĞŵĞŶƚƐ
         ƵŶĚĞƌƐƚĂƚĞůĂǁ͘

         ;ϮͿEŽƚŚŝŶŐŝŶƚŚŝƐƉĂƌĂŐƌĂƉŚ;ďͿƐŚĂůůďĞĐŽŶƐƚƌƵĞĚĂƐŵĂŶĚĂƚŝŶŐŽƌĞŶĐŽƵƌĂŐŝŶŐ
         ŝŶĚŝǀŝĚƵĂůƉƌĂĐƚŝƚŝŽŶĞƌƐƚŽŝƐƐƵĞŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐŽƌƚŽƐĞĞƚŚĞŝƌƉĂƚŝĞŶƚƐŽŶůǇŽŶĐĞ
         ĞǀĞƌǇϵϬĚĂǇƐǁŚĞŶƉƌĞƐĐƌŝďŝŶŐ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐ͘ZĂƚŚĞƌ͕ŝŶĚŝǀŝĚƵĂů
         ƉƌĂĐƚŝƚŝŽŶĞƌƐŵƵƐƚĚĞƚĞƌŵŝŶĞŽŶƚŚĞŝƌŽǁŶ͕ďĂƐĞĚŽŶƐŽƵŶĚŵĞĚŝĐĂůũƵĚŐŵĞŶƚ͕ĂŶĚŝŶ
         ĂĐĐŽƌĚĂŶĐĞǁŝƚŚĞƐƚĂďůŝƐŚĞĚŵĞĚŝĐĂůƐƚĂŶĚĂƌĚƐ͕ǁŚĞƚŚĞƌŝƚŝƐĂƉƉƌŽƉƌŝĂƚĞƚŽŝƐƐƵĞ
         ŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĂŶĚŚŽǁŽĨƚĞŶƚŽƐĞĞƚŚĞŝƌƉĂƚŝĞŶƚƐǁŚĞŶĚŽŝŶŐƐŽ͘

 dŚŝƐŝƐŐĞŶĞƌĂůůǇĨĂĐŝůŝƚĂƚĞĚŝŶƉƌĂĐƚŝĐĞďǇǁƌŝƚŝŶŐĂƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌĂϯϬͲĚĂǇƐƵƉƉůǇŽĨƚŚĞ
 ^ĐŚĞĚƵůĞ//ŵĞĚŝĐĂƚŝŽŶ͕ŝŶĚŝĐĂƚŝŶŐŶŽƌĞĨŝůůƐĂŶĚďǇƚǁŽĂĚĚŝƚŝŽŶĂůǁƌŝƚƚĞŶƉƌĞƐĐƌŝƉƚŝŽŶƐ͕ĞĂĐŚĨŽƌ
 ĂϯϬͲĚĂǇƐƵƉƉůǇ͕ǁŝƚŚŶŽƌĞĨŝůůƐĂŶĚĂƐƉĞĐŝĨŝĐŵĞŶƚŝŽŶŽĨ͞KEKd&/>>&KZ΀ĚĂƚĞ΁͘͟/ŶƚŚŝƐ
 ŵĂŶŶĞƌ͕ĂƉĂƚŝĞŶƚŵĂǇƉŝĐŬƵƉƚŚƌĞĞƐĞƌŝĂůĨŝůůƐŽĨƚŚĞŵĞĚŝĐĂƚŝŽŶ͕ĞĂĐŚŽŶĞŵŽŶƚŚĂƉĂƌƚ͕ƚŽ
 ĐŽǀĞƌĂƚŽƚĂůŽĨϵϬĚĂǇƐ͘/ƚĂƉƉĞĂƌƐƚŚĂƚƌ͘tĞŝƐƐŚĂƐǁƌŝƚƚĞŶŚŝƐƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌďŽƚŚĚĚĞƌĂůů
 ĂŶĚyĂŶĂǆ͕ƐƵĐŚƚŚĂƚηϭϴϬĚŽƐĂŐĞƵŶŝƚƐĂƌĞƌĞůĞĂƐĞĚĂƚŽŶĐĞ͘dŚŝƐĐƌĞĂƚĞƐŵŽƌĞŽĨĂĚŝǀĞƌƐŝŽŶ
 ŚĂǌĂƌĚ͕ƚŚĞŶǁŚĞŶĂƐŝŶŐůĞͲŵŽŶƚŚƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶŝƐĚŝƐƉĞŶƐĞĚĨƌŽŵƚŚĞƉŚĂƌŵĂĐǇ͘dŚĞ
 ƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŝŶƚŚŝƐĐĂƐĞ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŶ͘ŝ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝůůƵƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƐƚƌŽŶŐƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůĂŶĚŚŝŐŚͲĚŽƐĞyĂŶĂǆ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƉƌŽǀŝĚĞĚƚŚĞƉĂƚŝĞŶƚǁŝƚŚƉƌĞƐĐƌŝƉƚŝŽŶƐ
 ƚŚĂƚǁŽƵůĚĂůůŽǁĨŽƌyĂŶĂǆϴŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐƉƌŽǀŝĚĞĚŝŶƚŚĞ
 ĂďŽǀĞĐĂƐĞƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨ
 ƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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 WĂƚŝĞŶƚ:Ă͘Ğ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞ͕ŝŶǁŚŝĐŚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐŚŝŐŚͲĚŽƐĞyĂŶĂǆƚŽĂƉĂƚŝĞŶƚŽǀĞƌĂůŽŶŐ
 ƚĞƌŵ͕ĂŶĚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚƚŚĞŵƵƐĐůĞƌĞůĂǆĂŶƚĐĂƌŝƐŽƉƌŽĚŽů͘,ĞƌĞ/ǁŝůůƌĞƐƚĂƚĞƚŚĂƚƚŚĞ
 ƉƌĞƐĐƌŝďŝŶŐŽĨŵƵƐĐůĞƌĞůĂǆĂŶƚƐŝŶĂŶŽƵƚƉĂƚŝĞŶƚWƐǇĐŚŝĂƚƌǇƉƌĂĐƚŝĐĞŝƐĂŶŽĚĚŝƚǇ͘/ŶƚŚĞĐŽƵƌƐĞŽĨ
 ƉƌŽǀŝĚŝŶŐůŽŶŐͲƚĞƌŵƉƌĞƐĐƌŝƉƚŝŽŶƐŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆƚŽƉĂƚŝĞŶƚ:Ă͘Ğ͕͘ƌ͘tĞŝƐƐĞƐĐĂůĂƚĞĚŚŝƐ
 ĚŽƐĞŽĨyĂŶĂǆƚŽϭϮŵŐͬĚĂǇ͘EŽƚŽŶůǇŝƐƉƌĞƐĐƌŝďŝŶŐyĂŶĂǆĂƚƚŚŝƐůĞǀĞůŝůůͲĂĚǀŝƐĞĚ͕ĂƐŝƚƉƵƚƐƚŚĞ
 ƉĂƚŝĞŶƚĂƚƌŝƐŬŽĨƐĞǀĞƌĞE^ĚĞƉƌĞƐƐŝŽŶĂŶĚƐĞǀĞƌĞyĂŶĂǆǁŝƚŚĚƌĂǁĂů͕ďƵƚƚŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨ
 ĐĂƌŝƐŽƉƌŽĚŽůĂŶĚŚŝŐŚͲĚŽƐĞyĂŶĂǆĨƵƌƚŚĞƌŝŶĐƌĞĂƐĞƐƚŚĞĞǆƉĞĐƚĞĚE^ĚĞƉƌĞƐƐŝŽŶ͘ĂƐĞĚƵƉŽŶ
 ƚŚĞĚŽƐŝŶŐŽĨyĂŶĂǆĂĐŚŝĞǀĞĚĂŶĚƚŚĞĐŽŶĐƵƌƌĞŶƚƵƐĞŽĨĐĂƌŝƐŽƉƌŽĚŽů͕ƌ͘tĞŝƐƐ͛ƉƌĞƐĐƌŝďŝŶŐŽĨ
 ƚŚĞƐĞƐĞĚĂƚŝŶŐŵĞĚŝĐĂƚŝŽŶƐŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘/ŶƚĞƌĞƐƚŝŶŐůǇ͕ƌ͘
 tĞŝƐƐƐƚĂƌƚĞĚƉĂƚŝĞŶƚ:Ă͘Ğ͘ŽŶĚĚĞƌĂůůϵϬŵŐͬĚĂǇŵŽŶƚŚƐĂĨƚĞƌŚĞƐƚĂƌƚĞĚƚŚĞƉĂƚŝĞŶƚŽŶƚŚĞ

                                                WĂŐĞϯϭŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 32 of 73




 ĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆĂŶĚĐĂƌŝƐŽƉƌŽĚŽů͘,ĞƌĞ͕ŽŶĞǁŽƵůĚƌŝŐŚƚůǇĂƐŬŝĨDƌ͘:Ă͘Ğ͘ĚĞǀĞůŽƉĞĚ
 ĂƚƚĞŶƚŝŽŶƉƌŽďůĞŵƐĂƐĂƌĞƐƵůƚŽĨƚŚĞƐĞĚĂƚŝŶŐŵĞĚŝĐĂƚŝŽŶƐƚŚĂƚŚĞǁĂƐďĞŝŶŐƉƌĞƐĐƌŝďĞĚ͘

 WĂƚŝĞŶƚ'͘͘

 dŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚ'͘͘ŝƐĂŶŽƚŚĞƌŝůůƵƐƚƌĂƚŝŽŶŽĨƌ͘tĞŝƐƐ͛ĨƌĞƋƵĞŶƚƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲ
 ĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶǁŝƚŚŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇ
 ƉƌĞƐĐƌŝďĞĚƚŽƚŚĞƉĂƚŝĞŶƚĚĚĞƌĂůůyZϲϬŵŐͬĚĂǇ͕ŝŶĂĚĚŝƚŝŽŶƚŽĐůŽŶĂǌĞƉĂŵϴŵŐͬĚĂǇ͘dŚĞ
 ŵĂŶŶĞƌŝŶǁŚŝĐŚŚĞƉƌĞƐĐƌŝďĞĚĐůŽŶĂǌĞƉĂŵŝƐĂůƐŽĂŵĂƚƚĞƌŽĨĐŽŶĐĞƌŶ͘KŶŵƵůƚŝƉůĞŽĐĐĂƐŝŽŶƐ͕
 ƌ͘tĞŝƐƐĂƵƚŚŽƌŝǌĞĚĨŝůůƐĨŽƌηϮϰϬĐůŽŶĂǌĞƉĂŵϭŵŐƚĂďůĞƚƐ͘,ĞƌĞ͕/ǁŝůůĂƉƉůǇƚŚĞƐĂŵĞĐŽŶĐĞƌŶƐ
 ĂŶĚĐĂƵƚŝŽŶƐƚŚĂƚ/ƉƌŽǀŝĚĞĚŝŶƚŚĞĚŝƐĐƵƐƐŝŽŶĨŽƌƉĂƚŝĞŶƚ͘͕͘ƌĞŐĂƌĚŝŶŐĐůŽŶĂǌĞƉĂŵƚĂďůĞƚƐŝǌĞ
 ĂŶĚĚŽƐĂŐĞĂŵŽƵŶƚ͘&ŽƌƚŚĞƌĞĂƐŽŶƐƐƚĂƚĞĚŝŶƚŚĞƉƌĞĐĞĚŝŶŐĐĂƐĞƐ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:Ă͘&ŝ͘

 dŚŝƐŝƐĂŶŽƚŚĞƌƉĂƚŝĞŶƚƚŽǁŚŽŵƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĂŶĚyĂŶĂǆ͘tŚĂƚƐƚĂŶĚƐŽƵƚŝŶƚŚŝƐĐĂƐĞŝƐƚŚĞŵĂŶŶĞƌŝŶǁŚŝĐŚ
 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĚĚĞƌĂůůƚŽƚŚĞƉĂƚŝĞŶƚ͘,ĞƌĞŐƵůĂƌůǇƉƌĞƐĐƌŝďĞĚηϭϮϬĚĚĞƌĂůůϭϬŵŐ
 ƚĂďůĞƚƐĂŶĚηϯϬĚĚĞƌĂůůyZϮϬŵŐƚĂďůĞƚƐƚŽƉĂƚŝĞŶƚ:Ă͘&ŝ͘EŽƚŽŶůǇŝƐƚŚĞƚŽƚĂůĚĂŝůǇĚŽƐĞŽĨ
 ŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐŚŝŐŚ͕ĂƚϲϬŵŐͬĚĂǇ͕ďƵƚƌ͘tĞŝƐƐĂƉƉĞĂƌƐƚŽƵŶŶĞĐĞƐƐĂƌŝůǇǁƌŝƚĞĨŽƌ
 ŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůů͘dŚĞĚŝƐƉĞŶƐĞĂŵŽƵŶƚŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ
 ĚĚĞƌĂůů͕ŵĂƌŬĞĚĂƐĂϯϬͲĚĂǇƐƵƉƉůǇ͕ǁŽƵůĚŵĞĂŶƚŚĂƚƚŚĞƉĂƚŝĞŶƚŚĂƐηϰĚĚĞƌĂůůϭϬŵŐƚĂďůĞƚƐ
 ĂƚƚŚĞŝƌĚŝƐƉŽƐĂůĞĂĐŚĚĂǇ͘EŽƌŵĂůůǇ͕ĂƉŚǇƐŝĐŝĂŶǁŽƵůĚŐĞƚĂƌŽƵŶĚƚŚŝƐŵĂƚƚĞƌďǇĞŝƚŚĞƌ
 ƉƌĞƐĐƌŝďŝŶŐĂůĂƌŐĞƌƚĂďůĞƚƐŝǌĞŽĨĚĚĞƌĂůů͕ǁŝƚŚĂƐŵĂůůĞƌĚŝƐƉĞŶƐĞĂŵŽƵŶƚ͕ŽƌƚŚĞǇǁŽƵůĚ
 ĂďĂŶĚŽŶŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĨŽƌĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĚĚĞƌĂůů͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐ
 ĂƉƉĞĂƌƐƚŽĨŽůůŽǁŶŽƉĂƌƚŝĐƵůĂƌƉƌĞƐĐƌŝďŝŶŐƐƚƌĂƚĞŐǇ͕ĂƐŚĞƉƌĞƐĐƌŝďĞƐďŽƚŚŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ
 ĂŶĚĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĚĚĞƌĂůů͕ŝŶĂĚĚŝƚŝŽŶƚŽηϭϮϬĂůƉƌĂǌŽůĂŵƚĂďůĞƚƐŵŽŶƚŚůǇ͘&ŽƌƚŚĞƐĂŵĞ
 ƌĞĂƐŽŶƐĐŝƚĞĚƉƌĞǀŝŽƵƐůǇ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ>͘&͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞĚĚĞƌĂůůĂŶĚyĂŶĂǆ
 ĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƌĞ͕ƚŚĞyĂŶĂǆĚŽƐĂŐĞƉĞĂŬĞĚĂƚϭϬŵŐͬĚĂǇ͕ǁŚŝůĞƚŚĞƉĂƚŝĞŶƚǁĂƐĂůƐŽ
 ƉƌĞƐĐƌŝďĞĚĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐǁŝƚŚŚŝŐŚͲĚŽƐĞ
 ƐĞĚĂƚŝǀĞƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂů
 ƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:͘,͘

 dŚŝƐĐĂƐĞŝƐĐŽŶĐĞƌŶŝŶŐ͕ĂƐƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞƉĂƚŝĞŶƚ:͘,͘ĂĐŽŵďŝŶĂƚŝŽŶ
 ŽĨŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͕yĂŶĂǆĂŶĚƚŚĞƐƚŝŵƵůĂŶƚŵŽĚĂĨŝŶŝů;ƚƌĂĚĞŶĂŵĞWƌŽǀŝŐŝůͿ͕ĐŽŶĐƵƌƌĞŶƚůǇ͘


                                               WĂŐĞϯϮŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 33 of 73




 DŽĚĂĨŝŶŝůŝƐ&ͲĂƉƉƌŽǀĞĚĨŽƌƐůĞĞƉŝŶĞƐƐĂƐƐŽĐŝĂƚĞĚǁŝƚŚŶĂƌĐŽůĞƉƐǇ͕ŽďƐƚƌƵĐƚŝǀĞƐůĞĞƉĂƉŶĞĂ͕
 ĂŶĚƐŚŝĨƚǁŽƌŬƐůĞĞƉĚŝƐŽƌĚĞƌ͘/ƚǁŽƵůĚŶŽƚďĞĐŽŶƐŝĚĞƌĞĚƵŶƵƐƵĂůĨŽƌĂƉƐǇĐŚŝĂƚƌŝƐƚƚŽƉƌĞƐĐƌŝďĞ
 ŵŽĚĂĨŝŶŝůĨŽƌĂŶǇŽĨƚŚĞƐĞŝŶĚŝĐĂƚĞĚĐŽŶĚŝƚŝŽŶ͖ŚŽǁĞǀĞƌ͕ĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŶŽƚ
 ƉĂŝƌŵŽĚĂĨŝŶŝůǁŝƚŚŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚĂŶĚƐĞĚĂƚŝŶŐďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐĂƐƌ͘
 tĞŝƐƐŚĂƐĚŽŶĞ͘ƐĂŶĞǆĂŵƉůĞ͕ŽŶϭϭͬϭϬͬϮϬϭϱ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚ:͘,͘Ă
 ĐŽŵďŝŶĂƚŝŽŶŽĨĂůƉƌĂǌŽůĂŵϯŵŐͬĚĂǇ͕ŵŽĚĂĨŝŶŝůϮϬϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘dŚŝƐ
 ĐŽŵďŝŶĂƚŝŽŶĚŽĞƐŶŽƚŵĂŬĞƐĞŶƐĞĐůŝŶŝĐĂůůǇ͕ďĞĐĂƵƐĞŝĨƌ͘tĞŝƐƐǁĞƌĞƚƌĞĂƚŝŶŐƐůĞĞƉŝŶĞƐƐǁŝƚŚ
 ŵŽĚĂĨŝŶŝů͕ƚŚĞŶƐŝŵƵůƚĂŶĞŽƵƐůǇƉƌĞƐĐƌŝďŝŶŐƚŚĞƐĞĚĂƚŝǀĞyĂŶĂǆƐĞĞŵƐƚŽĚĞĨĞĂƚƚŚĂƚƉƵƌƉŽƐĞ͘
 ƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚĂůƐŽďĞƚŽŽĐŽŶĐĞƌŶĞĚĂďŽƵƚƚŚĞĐƵŵƵůĂƚŝǀĞƐƚŝŵƵůĂŶƚĞĨĨĞĐƚƐŽĨ
 ƚŚĞŵĞĚŝĐĂƚŝŽŶƐƚŽĐŽͲƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůĂŶĚŵŽĚĂĨŝŶŝů͘/Ŷ:ƵŶĞŽĨϮϬϭϲ͕ƌ͘tĞŝƐƐ
 ďĞŐĂŶƚŽƉƌĞƐĐƌŝďĞƚŽƉĂƚŝĞŶƚ:͘,͘ĐůŽŶĂǌĞƉĂŵ͕ǁŚŝĐŚŝƐĞǀĞŶŵŽƌĞƐĞĚĂƚŝŶŐƚŚĂŶĂůƉƌĂǌŽůĂŵ͘Ǉ
 :ƵůǇϮϬϭϳ͕ƚŚĞĚŽƐŝŶŐŽĨĐůŽŶĂǌĞƉĂŵĞƐĐĂůĂƚĞƐƚŽϲŵŐͬĚĂǇ͕ĂŶĚƚŚŝƐŝƐƉƌĞƐĐƌŝďĞĚĐŽŶĐƵƌƌĞŶƚůǇ
 ǁŝƚŚĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐŽƵƚůŝŶĞĚŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƌ͘tĞŝƐƐ͛ƉĂƚƚĞƌŶŽĨ
 ƉƌĞƐĐƌŝďŝŶŐƚŽƉĂƚŝĞŶƚ:͘,͕͘ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞ
 ŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^͘,͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƉƌŽĐůŝǀŝƚǇĨŽƌƉƌĞƐĐƌŝďŝŶŐyĂŶĂǆŝŶĐŽŶũƵŶĐƚŝŽŶ
 ǁŝƚŚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͘KŶϯͬϯϭͬϮϬϭϴ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚ^͘,͘ĚĚĞƌĂůůϵϬŵŐͬĚĂǇ
 ĂŶĚyĂŶĂǆϯŵŐͬĚĂǇ͘/ŶƚŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚ^͘,͕͘ƌ͘tĞŝƐƐĂŐĂŝŶƌĞƉĞĂƚƐŚŝƐĐŽŵŵŽŶƉƌĞƐĐƌŝďŝŶŐ
 ƉĂƚƚĞƌŶŽĨĐŽŵďŝŶŝŶŐĂƐĞĚĂƚŝǀĞǁŝƚŚŚŝŐŚͲĚŽƐĞ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚƐ͘dŚŝƐƉĂƚƚĞƌŶ͕ǁŝƚŚŝŶ
 ĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘,͘

 KŶƚŚĞĐƵƌƌĞŶƚWDW͕ƌ͘tĞŝƐƐďĞŐŝŶƐƚŽƉƌĞƐĐƌŝďĞĂĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆϰŵŐͬĚĂǇĂŶĚ
 sĂůŝƵŵϮϬŵŐͬĚĂǇƚŽƉĂƚŝĞŶƚ͘,͘ŽŶϭϮͬϮϰͬϮϬϭϰ͘DŽŶƚŚƐůĂƚĞƌ͕ĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂƉƉĞĂƌƐŽŶ
 ƚŚĞWDW͕ǁŝƚŚĂŶŝŶŝƚŝĂůŝƐƐƵĂŶĐĞĚĂƚĞŽĨϯͬϮϰͬϮϬϭϱ͘dŚĞƌĞǁĞƌĞŶŽĞĂƌůŝĞƌĞŶƚƌŝĞƐĨŽƌĚĚĞƌĂůů
 ƐŚŽǁŝŶŐĂŶǇƚǇƉĞŽĨƚŝƚƌĂƚŝŽŶŽĨƚŚŝƐŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐĐĂƐĞĚĞŵŽŶƐƚƌĂƚĞƐĂŐĂŝŶ͕ƌ͘tĞŝƐƐ͛
 ƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚƐĞĚĂƚŝǀĞƐ͘dŚŝƐƉĂƚƚĞƌŶ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚW͘,͘

 dŚŝƐĐĂƐĞŝƐƐŝŵŝůĂƌƚŽƚŚĂƚŽĨƉĂƚŝĞŶƚ͘,͘ŝŶƚŚĂƚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚW͘,͘ĂƚŽƚĂůŽĨ
 ƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐʹĐůŽŶĂǌĞƉĂŵĂŶĚyĂŶĂǆʹŵŽŶƚŚƐďĞĨŽƌĞŝŶŝƚŝĂƚŝŶŐĂŚŝŐŚͲ
 ĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘ƌ͘tĞŝƐƐŝƐƐƵĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌĐůŽŶĂǌĞƉĂŵϮŵŐͬĚĂǇĂŶĚyĂŶĂǆ
 ϮŵŐͬĚĂǇŽŶϲͬϬϮͬϮϬϭϱ͘KŶϭϬͬϬϵͬϮϬϭϱ͕ƌ͘tĞŝƐƐŝƐƐƵĞĚĂŶŝŶŝƚŝĂůƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌZŝƚĂůŝŶ
 ϲϬŵŐͬĚĂǇ͘ƐǁĂƐƚŚĞĐĂƐĞǁŝƚŚƉĂƚŝĞŶƚ͘,͕͘ƚŚĞƌĞǁĂƐŶŽĞǀŝĚĞŶĐĞŽĨĂƐƚŝŵƵůĂŶƚƚŝƚƌĂƚŝŽŶŽŶ
 ƚŚĞWDW͘dŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

                                                WĂŐĞϯϯŽĨϳϯ
 
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 34 of 73




 WĂƚŝĞŶƚ͘,͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞǁŚŝĐŚƐŚŽǁĐĂƐĞƐƌ͘tĞŝƐƐ͛ƌŽƵƚŝŶĞƉƌĂĐƚŝĐĞŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ͘,͘
 ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂƚĚŽƐĞƐƵƉƚŽϴϬŵŐͬĚĂǇ͕ŝŶĂĚĚŝƚŝŽŶƚŽĐůŽŶĂǌĞƉĂŵϲŵŐͬĚĂǇ͘&Žƌ
 ƌĞĂƐŽŶƐƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘<͘

 dŚŝƐĐĂƐĞŽĨĨĞƌƐĂŶŽƚŚĞƌĞǆĂŵƉůĞŽĨĂǀĞƌǇĐŽŶĐĞƌŶŝŶŐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶŝŶǁŚŝĐŚƌ͘tĞŝƐƐ
 ƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚĂǀĞƌǇŚŝŐŚĚŽƐĞŽĨĂƐƚŝŵƵůĂŶƚ͕ŝŶĂĚĚŝƚŝŽŶƚŽŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐ͕
 ĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐĂĨĞŵĂůĞƉĂƚŝĞŶƚyĂŶĂǆϴŵŐͬĚĂǇ͕ĐůŽŶĂǌĞƉĂŵϰŵŐͬĚĂǇ͕
 ŵďŝĞŶϭϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘/ŶƚŚŝƐĐĂƐĞ͕ƚŚĞƉĂƚŝĞŶƚŝƐƉƵƚĂƚƌŝƐŬŽĨ
 ĐƵŵƵůĂƚŝǀĞE^ĚĞƉƌĞƐƐŝŽŶĂŶĚƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇďǇƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆ͕ĐůŽŶĂǌĞƉĂŵĂŶĚ
 ŵďŝĞŶ͘/ŶĂŶŽƚŚĞƌƐĞĐƚŝŽŶŽĨƚŚŝƐƌĞƉŽƌƚ͕/ŚĂǀĞĂůƐŽĚŝƐĐƵƐƐĞĚƚŚĞ&ĂĚǀŝƐŽƌǇƌĞŐĂƌĚŝŶŐƚŚĞ
 ƉƌĞƐĐƌŝďŝŶŐŽĨŵďŝĞŶƚŽĨĞŵĂůĞƉĂƚŝĞŶƚƐ͘WĂƚŝĞŶƚ͘<͘ŝƐĂůƐŽƉƵƚĂƚƌŝƐŬŽĨƐƚŝŵƵůĂŶƚƚŽǆŝĐŝƚǇ͕
 ďĂƐĞĚƵƉŽŶƚŚĞĂŵŽƵŶƚŽĨĚĚĞƌĂůůƉƌĞƐĐƌŝďĞĚƚŽŚĞƌ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŝƐǀĞƌǇ
 ĂůĂƌŵŝŶŐĂŶĚ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ<Ǉ͘<Ğ͘

 ,ĞƌĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇĂŶĚĂůƉƌĂǌŽůĂŵ
 ϴŵŐͬĚĂǇ͘dŚĞƌĞĂƉƉĞĂƌƚŽďĞĞĂƌůǇƌĞĨŝůůƐŽĨĚĚĞƌĂůůŽŶϲͬϯϬͬϮϬϭϱĂŶĚϵͬϮϯͬϮϬϭϱ͘&ŽƌƌĞĂƐŽŶƐ
 ƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚW͘<͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝůůƵƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůŝŶ
 ĐŽŵďŝŶĂƚŝŽŶǁŝƚŚyĂŶĂǆ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆ
 ϴŵŐͬĚĂǇ͘dŚĞƌĞĂƉƉĞĂƌƐƚŽďĞĂŶĞĂƌůǇƌĞĨŝůůŽĨĚĚĞƌĂůůŽŶϴͬϮϯͬϮϬϭϴ͘&ŽƌƌĞĂƐŽŶƐƉƌĞǀŝŽƵƐůǇ
 ƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ<Ğ͘<Ğ͘

 dŚŝƐĐĂƐĞŝƐĂŶŽƚŚĞƌĞǆĂŵƉůĞŽĨƌ͘tĞŝƐƐ͛ǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐŝŶ
 ĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŵƵůƚŝƉůĞďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐ͘,ĞƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚ<Ğ͘<Ğ͘ŝŶƚŚŝƐ
 ŵĂŶŶĞƌŽǀĞƌĂůŽŶŐƉĞƌŝŽĚŽĨƚŝŵĞ͘ǇĞĂƌůǇϮϬϭϴ͕ƚŚŝƐĐŽŵďŝŶĂƚŝŽŶŝŶĐůƵĚĞĚ͘ĚĚĞƌĂůů
 ϲϬŵŐͬĚĂǇ͕ĚĚĞƌĂůůyZϲϬŵŐͬĚĂǇ͕ĐůŽŶĂǌĞƉĂŵϰŵŐͬĚĂǇĂŶĚĂůƉƌĂǌŽůĂŵϰŵŐͬĚĂǇ͘&ŽƌƌĞĂƐŽŶƐ
 ƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů

                                               WĂŐĞϯϰŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 35 of 73




 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:͘<͘

 dŚŝƐĐĂƐĞŝƐŝŶƚĞƌĞƐƚŝŶŐŝŶƚŚĂƚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚyĂŶĂǆƚŽƉĂƚŝĞŶƚ:͘<͕͘ďĞŐŝŶŶŝŶŐŝŶ^ĞƉƚĞŵďĞƌ
 ϮϬϭϰ͘/ŶDĂƌĐŚϮϬϭϴ͕ĂĨƚĞƌƉƌĞƐĐƌŝďŝŶŐyĂŶĂǆƚŽƉĂƚŝĞŶƚ:͘<͘ĨŽƌŵŽƌĞƚŚĂŶƚŚƌĞĞǇĞĂƌƐ͕ƌ͘
 tĞŝƐƐŝŶƚƌŽĚƵĐĞƐĂŶŝŶŝƚŝĂůƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϰϬŵŐͬĚĂǇ͕ǁŝƚŚŽƵƚĂŶǇĞǀŝĚĞŶĐĞ
 ŽĨĂƚŝƚƌĂƚŝŽŶŽŶƚŚĞWDW͘&ŽƌƌĞĂƐŽŶƐƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨ
 ƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^͘<͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů
 ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞĚƌƵŐƐ͕ĐŽŶĐƵƌƌĞŶƚůǇ͘ƚƚŚĞƐĂŵĞƉŽŝŶƚŝŶƚŝŵĞ͕ƌ͘tĞŝƐƐ
 ƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ^͘<͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϴϬŵŐͬĚĂǇ͕ĂůƉƌĂǌŽůĂŵϴŵŐͬĚĂǇĂŶĚ
 ĐůŽŶĂǌĞƉĂŵϮŵŐͬĚĂǇ͘&ŽƌƌĞĂƐŽŶƐƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚD͘<͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽĂƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͘/ƚŝƐĂůƐŽĂƌĞŵŝŶĚĞƌƚŚĂƚǁŚĞŶĞǀĞƌƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐĂ
 ƐƚŝŵƵůĂŶƚŽƚŚĞƌƚŚĂŶĚĚĞƌĂůů͕ŚĞĨƌĞƋƵĞŶƚůǇƵƐĞƐĂŚŝŐŚĞƌĚŽƐĞƌĂŶŐĞŽĨŵĞĚŝĐĂƚŝŽŶƚŚĂŶŵŽƐƚ
 ǁŽƵůĚƌĞĐŽŵŵĞŶĚ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚD͘<͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ
 ϴϬŵŐͬĚĂǇĂŶĚĐůŽŶĂǌĞƉĂŵϴŵŐͬĚĂǇ͘&ŽƌƌĞĂƐŽŶƐƉƌĞǀŝŽƵƐůǇƐƚĂƚĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐƉĂƚƚĞƌŶ
 ŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚy͘>Ͳ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞƚŚŝƐƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞ͘KŶϭϬͬϬϲͬϮϬϭϳ͕ƌ͘tĞŝƐƐŝƐƐƵĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌ
 ĚĚĞƌĂůůϲϬŵŐͬĚĂǇĂŶĚůŽƌĂǌĞƉĂŵϴŵŐͬĚĂǇ͘/Ŷ:ƵŶĞϮϬϭϳ͕ƌ͘tĞŝƐƐǁƌŝƚĞƐǁŚĂƚĂƉƉĞĂƌƐƚŽďĞ
 ƚǁŽƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌŵŽƌƉŚŝŶĞƐƵůĨĂƚĞZϭϱŵŐƚĂďůĞƚƐ͘dŚĞƐĞƚǁŽŽƉŝŽŝĚƉƌĞƐĐƌŝƉƚŝŽŶƐƌƵŶ
 ĐŽŶĐƵƌƌĞŶƚǁŝƚŚƚŚĞƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌůŽƌĂǌĞƉĂŵ͘,ĞƌĞ͕/ǁŝůůƉŽƐŝƚƚŚĂƚƚŚĞƌĞŝƐŶŽƉůĂĐĞĨŽƌ
 ŶĂƌĐŽƚŝĐĂŶĂůŐĞƐŝĂŝŶĂŶŽƵƚƉĂƚŝĞŶƚƉƐǇĐŚŝĂƚƌŝĐƉƌĂĐƚŝĐĞ͕ĂƐƚŚŝƐŝƐǁĞůůŽƵƚƐŝĚĞƚŚĞƐĐŽƉĞŽĨ
 ƉƌĂĐƚŝĐĞ͘ǇƉƌĞƐĐƌŝďŝŶŐĂŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞǁŝƚŚƚŚĞƉƌĞƐĐƌŝƉƚŝŽŶŽƉŝŽŝĚŵŽƌƉŚŝŶĞ;Ă
 ^ĐŚĞĚƵůĞ//ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞͿ͕ƌ͘tĞŝƐƐƉƵƚƚŚĞƉĂƚŝĞŶƚĂƚƌŝƐŬĨŽƌƐŝŐŶŝĨŝĐĂŶƚE^
 ĚĞƉƌĞƐƐŝŽŶ͘dŚĞƌĞŝƐĂǁĞůůͲŬŶŽǁŶƐǇŶĞƌŐŝƐƚŝĐĞĨĨĞĐƚǁŚĞŶŽƉŝŽŝĚƐĂŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂƌĞ
 ƚĂŬĞŶƚŽŐĞƚŚĞƌ͕ƐƵĐŚƚŚĂƚƚŚĞE^ĚĞƉƌĞƐƐŝŽŶĂĐŚŝĞǀĞĚŝŶƚŚĂƚŵĂŶŶĞƌŝƐŐƌĞĂƚĞƌƚŚĂŶǁŚĂƚŽŶĞ
 ǁŽƵůĚĞǆƉĞĐƚĨƌŽŵƚŚĞĂĚĚŝƚŝǀĞĞĨĨĞĐƚƐŽĨĞĂĐŚŵĞĚŝĐĂƚŝŽŶĐŽŶƐŝĚĞƌĞĚŝŶĚŝǀŝĚƵĂůůǇ͘dŚŝƐŝƐƚŚĞ


                                                WĂŐĞϯϱŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 36 of 73




 ƌĞĂƐŽŶƚŚĂƚƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂŶĚƉƌĞƐĐƌŝƉƚŝŽŶŽƉŝŽŝĚƐĂƌĞŝŵƉůŝĐĂƚĞĚŝŶŵĂŶǇ
 ŽǀĞƌĚŽƐĞĚĞĂƚŚƐ͘&ŽƌƚŚĞƌĞĂƐŽŶƐŽƵƚůŝŶĞĚŚĞƌĞĂŶĚŝŶƉƌĞǀŝŽƵƐĐĂƐĞƐŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐƉĂƚƚĞƌŶ
 ŽĨƉƌĞƐĐƌŝďŝŶŐŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘>͘

 dŚŝƐĐĂƐĞŝƐĂŶŽƚŚĞƌƚŚĂƚƐƵŐŐĞƐƚƐŝŶĂƉƉƌŽƉƌŝĂƚĞƉƌĞƐĐƌŝďŝŶŐďǇƌ͘tĞŝƐƐ͕ďĂƐĞĚƵƉŽŶŚŝƐƵƐĞŽĨ
 ǀĞƌǇŚŝŐŚĚŽƐĞƐƚŝŵƵůĂŶƚĂŶĚǀĞƌǇŚŝŐŚĚŽƐĞƐĞĚĂƚŝǀĞŝŶƚŚĞƐĂŵĞƉĂƚŝĞŶƚ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐ
 ƉĂƚŝĞŶƚ͘>͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϭϮŵŐͬĚĂǇ͘Ɛ/ŚĂǀĞĚŝƐĐƵƐƐĞĚĂƚ
 ƚŚĞŽƵƚƐĞƚŽĨƚŚŝƐƌĞƉŽƌƚ͕ďŽƚŚƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĂŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŚĂǀĞƚŽǆŝĐŝƚǇ
 ƐǇŶĚƌŽŵĞƐǁŚŝĐŚŝŶĐůƵĚĞŐƌĂǀĞŵĞĚŝĐĂůŽƵƚĐŽŵĞƐ͕ƵƉƚŽĂŶĚŝŶĐůƵĚŝŶŐĚĞĂƚŚ͘/ŶƚŚĞĐĂƐĞŽĨ
 ƉĂƚŝĞŶƚ͘>͕͘ĞĂĐŚŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐĂƌĞƉƌĞƐĐƌŝďĞĚŝŶĂǀĞƌǇŚŝŐŚƌĂŶŐĞ͕ǁŚĞƌĞŽŶĞǁŽƵůĚ
 ƌĞĂƐŽŶĂďůǇĞǆƉĞĐƚƐŽŵĞƚŽǆŝĐĞĨĨĞĐƚƐ͘/ĂůƐŽĚŝƐĐƵƐƐĞĚĞĂƌůŝĞƌŝŶƚŚŝƐƌĞƉŽƌƚŚŽǁĂƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶĐĂŶŐĞŶĞƌĂƚĞĂŶǆŝĞƚǇƐǇŵƉƚŽŵƐ͕ĂŶĚŚŽǁĂƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶĐĂŶĐĂƵƐĞĐŽŐŶŝƚŝǀĞ
 ŝŵƉĂŝƌŵĞŶƚĂŶĚŵĞŵŽƌǇĚŝƐƌƵƉƚŝŽŶ͘/ŶƚŚŝƐĐĂƐĞ͕ŽŶĞĐĂŶƌĞĂƐŽŶĂďůǇƉƌĞĚŝĐƚƚŚĂƚĞĂĐŚ
 ŵĞĚŝĐĂƚŝŽŶĐĂŶĐĂƵƐĞŽƌĞǆĂĐĞƌďĂƚĞƚŚĞǀĞƌǇĐŽŶĚŝƚŝŽŶƚŚĂƚƚŚĞŽƚŚĞƌŵĞĚŝĐĂƚŝŽŶŝƐŝŶƚĞŶĚĞĚƚŽ
 ƚƌĞĂƚ;Ğ͘Ő͕͘ŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůĐĂƵƐŝŶŐŽƌǁŽƌƐĞŶŝŶŐƉĂŶŝĐƐǇŵƉƚŽŵƐŽƌŚŝŐŚͲĚŽƐĞyĂŶĂǆ
 ŝŶƚĞƌĨĞƌŝŶŐǁŝƚŚĂƚƚĞŶƚŝŽŶͿ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐƌƵŶƐĐŽŶƚƌĂƌǇƚŽƐŽƵŶĚ
 ĐůŝŶŝĐƉƌĂĐƚŝĐĞĂŶĚ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ĨĂůůƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚdƌ͘DĂ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽĂƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨŵŽĚĂĨŝŶŝůϮϬϬŵŐͬĚĂǇ͕yĂŶĂǆ
 ϴŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘/ƉƌĞǀŝŽƵƐůǇĐŽǀĞƌĞĚŵǇĐŽŶĐĞƌŶƐĂďŽƵƚƚŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐ
 ŽĨŵŽĚĂĨŝŶŝů͕ĂŶĂŵƉŚĞƚĂŵŝŶĞƐĂůƚĂŶĚĂŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞŝŶƚŚĞĚŝƐĐƵƐƐŝŽŶŽĨƉĂƚŝĞŶƚ
 :͘,͘/ƚŵĂŬĞƐŶŽĐůŝŶŝĐĂůƐĞŶƐĞƚŽƉƌĞƐĐƌŝďĞŵŽĚĂĨŝŶŝůĨŽƌǁĂŬĞĨƵůŶĞƐƐŝŶĂƉĂƚŝĞŶƚǁŚŽŝƐ
 ƉƌĞƐĐƌŝďĞĚyĂŶĂǆϴŵŐͬĚĂǇ͖ŵŽƌĞŽǀĞƌ͕ŝƚŵĂŬĞƐŶŽĐůŝŶŝĐĂůƐĞŶƐĞƚŽƉƌĞƐĐƌŝďĞŵŽĚĂĨŝŶŝůĨŽƌ
 ǁĂŬĞĨƵůŶĞƐƐŝŶĂƉĂƚŝĞŶƚǁŚŽŝƐƉƌĞƐĐƌŝďĞĚŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐĂƚϭϮϬŵŐͬĚĂǇ͘&ŽƌƚŚĞ
 ƐĂŵĞƌĞĂƐŽŶƐƉƌŽǀŝĚĞĚƵŶĚĞƌƚŚĞĚŝƐĐƵƐƐŝŽŶŽĨƉĂƚŝĞŶƚ:͘,͕͘ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚdŚ͘DĂ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐƉƌĞƐĐƌŝďŝŶŐŚŝƐƉƌĞĨĞƌƌĞĚƐƚŝŵƵůĂŶƚ͕ĚĚĞƌĂůů͕ŝŶĐŽŶũƵŶĐƚŝŽŶ
 ǁŝƚŚŚŝƐƉƌĞĨĞƌƌĞĚƐĞĚĂƚŝǀĞ͕yĂŶĂǆ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚdŚ͘DĂ͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚǁŝƚŚ
 ĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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                                                WĂŐĞϯϲŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 37 of 73




 WĂƚŝĞŶƚ͘D͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƉƌĞĨĞƌƌĞĚŵĞĚŝĐĂƚŝŽŶĐŽŵďŝŶĂƚŝŽŶ͕ĚĚĞƌĂůůĂŶĚ
 yĂŶĂǆ͘,ĞƌĞŚĞƉƌŽǀŝĚĞƐƚŚĞƉĂƚŝĞŶƚǁŝƚŚƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌĚĚĞƌĂůůϴϬŵŐͬĚĂǇĂŶĚ
 yĂŶĂǆϴŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚǁŝƚŚĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚƐ͘D͘ĂŶĚW͘D

 dŚĞƐĞƚǁŽƉĂƚŝĞŶƚƐƐŚĂƌĞƚŚĞůĂƐƚŶĂŵĞ͕ĂŶĚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚďŽƚŚŽĨƚŚĞŵƚŚĞƐĂŵĞ
 ƌĞŐŝŵĞŶ͗ĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘&ŽƌƚŚĞƐĂŵĞƌĞĂƐŽŶƐƌĞƉĞĂƚĞĚůǇĐŝƚĞĚŝŶ
 ƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨ
 ƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚt͘W͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞхϵϬŵŐͬĚĂǇĂŶĚ
 yĂŶĂǆϴŵŐͬĚĂǇ͘tŚŝůĞƚŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚĂŶĚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ
 ĂƉƉĞĂƌƐĨĂŝƌůǇƌŽƵƚŝŶĞĨŽƌƌ͘tĞŝƐƐ͕ǁŚĂƚŝƐŝŶƚĞƌĞƐƚŝŶŐŚĞƌĞŝƐƚŚĂƚŚĞĐŚŽŽƐĞƐƚŽŝƐƐƵĞƚŚĞ
 ZŝƚĂůŝŶƉƌĞƐĐƌŝƉƚŝŽŶĂƐηϮϵϬŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϭϬŵŐƚĂďůĞƚƐ͕ĐŽǀĞƌŝŶŐĂϯϯͲĚĂǇƐƵƉƉůǇŽĨƚŚĞ
 ŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐƌĞƐƵůƚƐŝŶƚŚĞƵŶŶĞĐĞƐƐĂƌǇĚŝƐƉĞŶƐŝŶŐŽĨŚŝŐŚͲĚŽƐĂŐĞƵŶŝƚƐŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ͖
 ƚŚŝƐŝŶƚƵƌŶŝŶĐƌĞĂƐĞƐƚŚĞŝŵƉĂĐƚŽĨĂŶǇĚƌƵŐĚŝǀĞƌƐŝŽŶƚŚĂƚŵĂǇďĞŽĐĐƵƌƌŝŶŐ͘tŚĞŶĂ
 ƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚĚĞĐŝĚĞƐƚŽŝƐƐƵĞĂŵĞƚŚǇůƉŚĞŶŝĚĂƚĞƉƌĞƐĐƌŝƉƚŝŽŶƚŚĂƚŝŶǀŽůǀĞƐĂĚŽƐĞ
 ƌĂŶŐĞŽĨϰϬŵŐͬĚĂǇƚŽϲϬŵŐͬĚĂǇ͕ƚŚĞǇŐĞŶĞƌĂůůǇǁƌŝƚĞĨŽƌƚŚĞϮϬŵŐƚĂďůĞƚƐŝǌĞƚŽůŝŵŝƚƚŚĞ
 ĚŽƐĂŐĞƵŶŝƚƐ͘ůƚĞƌŶĂƚŝǀĞůǇ͕ĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚŵŝŐŚƚĐŽŶƐŝĚĞƌĂŶĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĨŽƌŵ
 ŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞƚŚĂƚŽĨĨĞƌƐĞǀĞŶĨĞǁĞƌĚŽƐĂŐĞƵŶŝƚƐĂƚĞƋƵŝǀĂůĞŶƚĚŽƐŝŶŐ͘dŚĞŵĂŶŶĞƌŝŶ
 ǁŚŝĐŚƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐŚĂǀĞďĞĞŶƉƌĞƐĐƌŝďĞĚʹƚŚĞĚŽƐĂŐĞƐŽĨĞĂĐŚŵĞĚŝĐĂƚŝŽŶ͕ƚŚĞ
 ĐŽŵďŝŶĂƚŝŽŶŽĨĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚĂŶĚĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͕ĂŶĚƚŚĞĚŽƐĂŐĞƵŶŝƚƐǁƌŝƚƚĞŶĨŽƌ
 ʹ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚdŚ͘Zŝ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐƚĞŶĚĞŶĐǇƚŽǁƌŝƚĞĨŽƌĂŚŝŐŚͲĚŽƐĞ
 ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚ͕ĐŽŶĐƵƌƌĞŶƚůǇǁŝƚŚĂ^ĐŚĞĚƵůĞ/sƐĞĚĂƚŝǀĞ͘dŚŝƐƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶĨŽƌ
 ƉĂƚŝĞŶƚdŚ͘ZŝďĞŐŝŶƐŝŶ:ƵůǇϮϬϭϳ͕ǁŚĞŶƌ͘tĞŝƐƐǁƌŝƚĞƐĨŽƌĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚĐůŽŶĂǌĞƉĂŵ
 ϰŵŐͬĚĂǇ͘tŚĂƚŝƐŵŽƐƚŝŶƚĞƌĞƐƚŝŶŐĂďŽƵƚƚŚŝƐĐĂƐĞŝƐƌ͘tĞŝƐƐ͛ĚĞĐŝƐŝŽŶƚŽǁƌŝƚĞĨŽƌĂĚŝĂǌĞƉĂŵ
 ƐƵƐƉĞŶƐŝŽŶŽŶďŽƚŚϵͬϭϱͬϮϬϭϳĂŶĚϭϭͬϮϲͬϮϬϭϳ͘KŶϵͬϭϱͬϮϬϭϳ͕ϳϬϬŵ>ŽĨĂϱŵŐͬϱŵ>ƐŽůƵƚŝŽŶ
 ǁĞƌĞĚŝƐƉĞŶƐĞĚ͖ŽŶϭϭͬϮϲͬϮϬϭϳ͕ϭϮϬϬĐĐŽĨĂϱŵŐͬϱŵ>ƐƵƐƉĞŶƐŝŽŶǁĞƌĞĚŝƐƉĞŶƐĞĚ͘dŚŝƐŝƐǀĞƌǇ
 ĐŽŶĐĞƌŶŝŶŐ͕ĂƐůŝƋƵŝĚƐƵƐƉĞŶƐŝŽŶƐŽĨƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐĐŽŵĞǁŝƚŚĂŵƵĐŚŚŝŐŚĞƌƌŝƐŬŽĨĂďƵƐĞ
 ĂŶĚƵŶŝŶƚĞŶƚŝŽŶĂůŽǀĞƌĚŽƐĞ͘^ŽŵĞƚŝŵĞƐ͕ƉŚǇƐŝĐŝĂŶƐǁŝůůǁƌŝƚĞĨŽƌĂůŝƋƵŝĚƐƵƐƉĞŶƐŝŽŶĨŽƌŵŽĨĂ
 ŵĞĚŝĐĂƚŝŽŶŝĨƌĞƋƵŝƌĞĚĨŽƌƚƵďĞĨĞĞĚƐŽƌŝĨƚŚĞƌĞŝƐĂƐǁĂůůŽǁŝŶŐĚǇƐĨƵŶĐƚŝŽŶ͘/ŶƚŚŝƐĐĂƐĞ͕ƚŚĞƌĞ
 ĂƉƉĞĂƌĞĚƚŽďĞŶŽƌĞƋƵŝƌĞŵĞŶƚĨŽƌĂůŝƋƵŝĚĨŽƌŵŽĨŵĞĚŝĐĂƚŝŽŶ͕ǁŚĞŶƌ͘tĞŝƐƐďĞŐĂŶ

                                                WĂŐĞϯϳŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 38 of 73




 ƉƌĞƐĐƌŝďŝŶŐƚŚĞƉĂƚŝĞŶƚĐůŽŶĂǌĞƉĂŵĂŶĚĚĚĞƌĂůůŝŶ:ƵůǇϮϬϭϳ͘,ĞƌĞ͕ĂƌĞǀŝĞǁŽĨƚŚĞƉĂƚŝĞŶƚĐŚĂƌƚ
 ǁŝůůƌĞǀĞĂůŝĨƚŚĞƌĞǁĂƐĂǀĂůŝĚŵĞĚŝĐĂůƌĞĂƐŽŶƚŽƉƌŽǀŝĚĞƚŚĞƉĂƚŝĞŶƚǁŝƚŚĂĐůŽŶĂǌĞƉĂŵ
 ƐƵƐƉĞŶƐŝŽŶ͘ŽŶƐŝĚĞƌƚŚĂƚƚŚĞϭϮϬϬĐĐĐŽŶƚĂŝŶĞƌ;ƐͿŽĨĚŝĂǌĞƉĂŵƐƵƐƉĞŶƐŝŽŶĐŽŶƚĂŝŶĞĚĂƚŽƚĂůŽĨ
 ϭ͕ϮϬϬŵŐŽĨĚŝĂǌĞƉĂŵ͘ŽŶƐŝĚĞƌƚŚĞŶƚŚĂƚĂĐŽŶƚĞŵƉŽƌĂƌǇƐŚŽƚŐůĂƐƐǁŝƚŚĂϮŽǌ͘ĐĂƉĂĐŝƚǇĐŽƵůĚ
 ŚŽůĚĂůŵŽƐƚϲϬŵŐŽĨĚŝĂǌĞƉĂŵŝŶƚŚŝƐƐŽůƵƚŝŽŶ͕ǁŝƚŚŝŶŝƚƐǁĂůůƐ͘dŚĞƌŝƐŬŽĨƵŶŝŶƚĞŶƚŝŽŶĂů
 ŽǀĞƌĚŽƐĞƐŚŽƵůĚďĞĂƉƉĂƌĞŶƚ͕ĂŶĚƚŚŝƐŝƐǁŚǇĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŶŽƚƉƌŽǀŝĚĞ
 ĚŝĂǌĞƉĂŵŝŶĂůŝƋƵŝĚƐƵƐƉĞŶƐŝŽŶƵŶůĞƐƐƚŚĞƌĞǁĂƐĂŐŽŽĚĐůŝŶŝĐĂůƌĞĂƐŽŶĨŽƌĚŽŝŶŐƐŽ͘dŚĞ
 ƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌƚŚĞϭϮϬϬĐĐĚŝƐƉĞŶƐŝŶŐŽĨƚŚĞĚŝĂǌĞƉĂŵϱŵŐͬϱŵ>ƐŽůƵƚŝŽŶĐŽƌƌĞƐƉŽŶĚĞĚƚŽĂϯϬ
 ĚĂǇƐƵƉƉůǇŽĨƚŚĞŵĞĚŝĐĂƚŝŽŶ͕ŝŶĚŝĐĂƚŝŶŐƚŚĂƚƌ͘tĞŝƐƐŝŶƚĞŶĚĞĚĨŽƌƚŚĞƉĂƚŝĞŶƚƚŽƵƐĞƚŚŝƐ
 ŵĞĚŝĐĂƚŝŽŶĂƚĂƌĂƚĞŽĨϰϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ
 ǁŝƚŚĂƐĞĚĂƚŝǀĞ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŚ͘Zŝ͘

 dŚŝƐĐĂƐĞĂŐĂŝŶŝůůƵƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ĐŽŵŵŽŶƉƌĂĐƚŝĐĞŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚĂŶĚ
 ŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇǁƌŝƚĞƐƚŚĞƉĂƚŝĞŶƚĨŽƌĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ
 ĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨ
 ƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:Ğ͘ZĂ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐĐŽͲƉƌĞƐĐƌŝďŝŶŐĂ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚĂŶĚĂ
 ^ĐŚĞĚƵůĞ/sƐĞĚĂƚŝǀĞ͘,ĞƌĞ͕ŚĞǁƌŝƚĞƐĨŽƌsǇǀĂŶƐĞϳϬŵŐͬĚĂǇĂŶĚĐůŽŶĂǌĞƉĂŵϲŵŐͬĚĂǇ͘Ŷ
 ĂĚĚŝƚŝŽŶĂů͕ƐƚƌĂŶŐĞĨĞĂƚƵƌĞŽĨƚŚŝƐĐĂƐĞ͕ŝƐƚŚĞŵĂŶŶĞƌŝŶǁŚŝĐŚƌ͘tĞŝƐƐ͕ŽǀĞƌƚŚĞĐŽƵƌƐĞŽĨ
 ƉƌĞƐĐƌŝďŝŶŐƚŽƚŚĞƉĂƚŝĞŶƚ͕ĂƉƉĞĂƌƐƚŽĂůƚĞƌŶĂƚĞŚĂƉŚĂǌĂƌĚůǇďĞƚǁĞĞŶsǇǀĂŶƐĞĂŶĚĚĚĞƌĂůů͘
 dŚĞŶ͕ŽŶƐŽŵĞĚĂƚĞƐ͕ƐƵĐŚĂƐϳͬϭϵͬϮϬϭϳĂŶĚϯͬϬϭͬϮϬϭϴ͕ŚĞǁƌŝƚĞƐĨŽƌďŽƚŚĚĚĞƌĂůůϲϬŵŐͬĚĂǇ
 ĂŶĚsǇǀĂŶƐĞϳϬŵŐͬĚĂǇŽŶƚŚĞƐĂŵĞĚĂƚĞ͘dŚŝƐƵƐĞŽĨƚǁŽŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐĐŽŶĐƵƌƌĞŶƚůǇŝƐ
 ŝůůͲĂĚǀŝƐĞĚ͕ĂŶĚƚŚĞƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƚŽƉĂƚŝĞŶƚ:Ğ͘ZĂ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘Z͘

 dŚŝƐĐĂƐĞƌĞǀĞĂůƐƌ͘tĞŝƐƐ͛ƵƐƵĂůĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨĚĚĞƌĂůů͕ĂƚϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆ͕Ăƚ
 Εϰ͘ϱŵŐͬĚĂǇ͕ŽǀĞƌĂƉĞƌŝŽĚŽĨǇĞĂƌƐ͘KƚŚĞƌŝƌƌĞŐƵůĂƌŝƚŝĞƐŝŶƚŚŝƐĐĂƐĞŝŶĐůƵĚĞƌ͘tĞŝƐƐ͛ƌĞƉĞĂƚĞĚ
 ƉƌĞƐĐƌŝďŝŶŐŽĨDŝĚƌŝŶ;Ă^ĐŚĞĚƵůĞ/sŵŝŐƌĂŝŶĞĂďŽƌƚŝǀĞͿĂŶĚŚŝƐƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝďŝŶŐŽĨƚŚĞ
 ŵƵƐĐůĞƌĞůĂǆĂŶƚĐĂƌŝƐŽƉƌŽĚŽů;^ĐŚĞĚƵůĞ/sͿ͘WƐǇĐŚŝĂƚƌŝƐƚƐĚŽŶŽƚǇƉŝĐĂůůǇƉƌĞƐĐƌŝďĞŵƵƐĐůĞ
 ƌĞůĂǆĂŶƚƐŽƌDŝĚƌŝŶĨŽƌƉƐǇĐŚŝĂƚƌŝĐĐŽŶĚŝƚŝŽŶƐƚŚĂƚĨĂůůƵŶĚĞƌƚŚĞŝƌƐĐŽƉĞŽĨƉƌĂĐƚŝĐĞ͘ƌ͘tĞŝƐƐ
 ĂůƐŽƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐŵďŝĞŶƚŽƚŚĞƉĂƚŝĞŶƚ͕ĂŶĚ͕ŽŶϳͬϬϵͬϮϬϭϴ͕ŚĞƉƌĞƐĐƌŝďĞƐƚŽƚŚŝƐ
 ĨĞŵĂůĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨηϰϲϯyĂŶĂǆϭŵŐƚĂďůĞƚƐ͕ηϯϭϮĐĂƌŝƐŽƉƌŽĚŽůϯϱϬŵŐƚĂďůĞƚƐ͕
 ηϵϬǌŽůƉŝĚĞŵZϭϮ͘ϱŵŐƚĂďůĞƚƐ͕ηϭϰǌŽůƉŝĚĞŵϭϬŵŐƚĂďůĞƚƐĂŶĚηϮϳĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͘
 dŚĞĚĚĞƌĂůůŝƐƐƵĂŶĐĞŽŶƚŚŝƐĚĂƚĞĐŽƌƌĞƐƉŽŶĚƐƚŽĂϵͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͕ŝŶĚŝĐĂƚŝŶŐƚŚĂƚ

                                               WĂŐĞϯϴŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 39 of 73




 ƌ͘tĞŝƐƐŝŶƚĞŶĚĞĚĨŽƌƚŚĞƉĂƚŝĞŶƚƚŽƚĂŬĞĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘dŚĞyĂŶĂǆŝƐƐƵĂŶĐĞŽŶ
 ϳͬϬϵͬϮϬϭϴĐŽƌƌĞƐƉŽŶĚƐƚŽĂϭϬϰͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ͕ĂƐŝŶŽƚŚĞƌĐĂƐĞƐ͕ƌ͘tĞŝƐƐŚĂƐ
 ƉƌŽǀŝĚĞĚ͕ƵŶŶĞĐĞƐƐĂƌŝůǇ͕ŚŝŐŚͲĚŽƐĂŐĞƵŶŝƚƐŽĨŵƵůƚŝƉůĞĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞ͕ŽƉĞƌĂƚŝŶŐŝŶĂǁĂǇ
 ƚŚĂƚĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚĚĞĐŝĚĞĂŐĂŝŶƐƚ͘dŽĂĚĚƚŽƚŚĞĐŽŶĐĞƌŶŝŶƚŚŝƐĐĂƐĞ͕ĂĨƚĞƌ
 ŝƐƐƵŝŶŐĂŶĂƵƚŚŽƌŝǌĂƚŝŽŶĨŽƌĂϭϬϰͲĚĂǇƐƵƉƉůǇŽĨyĂŶĂǆŽŶϳͬϬϵͬϮϬϭϴ͕ƌ͘tĞŝƐƐƚŚĞŶŝƐƐƵĞƐĂŶ
 ĂƵƚŚŽƌŝǌĂƚŝŽŶĨŽƌĂŶĂĚĚŝƚŝŽŶĂů͕ĞĂƌůǇĨŝůůŽĨηϭϯϱĂůƉƌĂǌŽůĂŵϭŵŐƚĂďůĞƚƐŽŶϳͬϮϭͬϮϬϭϴ͘KŶ
 ϳͬϭϬͬϮϬϭϴ͕ŚĞƉƌŽǀŝĚĞĚĂŶĂƵƚŚŽƌŝǌĂƚŝŽŶĨŽƌĂŶĂĚĚŝƚŝŽŶĂů͕ĞĂƌůǇĨŝůůŽĨηϵϬĚĚĞƌĂůůϯϬŵŐ
 ƚĂďůĞƚƐ͘dŚŝƐƉĂƚƚĞƌŶŝƐŚŝŐŚůǇƐƵƐƉŝĐŝŽƵƐĨŽƌĚƌƵŐĂďƵƐĞĂŶĚͬŽƌĚŝǀĞƌƐŝŽŶ͘&ŽƌĂůůŽĨƚŚĞƌĞĂƐŽŶƐ
 ŽƵƚůŝŶĞĚŝŶƚŚŝƐĚŝƐĐƵƐƐŝŽŶ͕ƌ͘tĞŝƐƐ͛ƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƚŽƉĂƚŝĞŶƚ͘Z͕͘ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂ
 ůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘^͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞǁŚŝĐŚĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ͘^͘Ă
 ĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇ
 ŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨ
 ƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŽ͘^Ƶ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞĂƉĂƚŝĞŶƚŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĐŽŶĐƵƌƌĞŶƚůǇǁŝƚŚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƉƌŽǀŝĚĞĚƉĂƚŝĞŶƚŽ͘^Ƶ͘ǁŝƚŚ
 ƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌĚĚĞƌĂůů͕ĂůůŽǁŝŶŐĨŽƌĚŽƐĞƐĂƐŚŝŐŚĂƐϭϮϬŵŐͬĚĂǇ͕ǁŚŝůĞĂůƐŽ
 ƉƌŽǀŝĚŝŶŐƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌyĂŶĂǆ͕ƵƉƚŽϲŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚ
 ƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚƐtZ͘d͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĐŽŵďŝŶĞƐĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚǁŝƚŚĂƐĞĚĂƚŝǀĞ͘
 ,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚtZ͘d͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇĂŶĚ
 yĂŶĂǆϲŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨ
 ƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:͘d͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĐŽŵďŝŶĞƐĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚǁŝƚŚĂƐĞĚĂƚŝǀĞ͘
 ,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚ:͘d͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆ
 ϲŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 40 of 73




 WĂƚŝĞŶƚdǇ͘tĂ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ǁŝĚĞƐƉƌĞĂĚ͕ĐŽŶĐƵƌƌĞŶƚƉƌĞƐĐƌŝďŝŶŐŽĨĂŚŝŐŚͲ
 ĚŽƐĞƐƚŝŵƵůĂŶƚĂŶĚĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚd͘t͘Ă
 ĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͕ĨŽƌĂƉĞƌŝŽĚŐƌĞĂƚĞƌƚŚĂŶϯЪǇĞĂƌƐ͘
 &ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘tŚ͘

 /ŶƚŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚ͘tŚ͕͘ƚŚĞƚǇƉŝĐĂůĚĚĞƌĂůůĚŽƐĞŝƐϵϬŵŐͬĚĂǇ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚyĂŶĂǆ
 ϴŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕
 ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ
 ĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ŚĂďŝƚƵĂůƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚ
 ĂŶĚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞŝŶĐŽŵďŝŶĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ͘͘ĚĚĞƌĂůů
 ϵϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϴŵŐͬĚĂǇ͘&ŽƌƚŚĞƌĞĂƐŽŶƐĂĚĚƌĞƐƐĞĚƌĞƉĞĂƚĞĚůǇŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐ
 ŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 hEh^h>WZ^Z//E'WddZEηϯ͗,ŝŐŚͲĚŽƐĞ^ƚŝŵƵůĂŶƚƐĂŶĚ^ƚŝŵƵůĂŶƚƐŝŶŽŵďŝŶĂƚŝŽŶ

 ƌ͘tĞŝƐƐƌŽƵƚŝŶĞůǇƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚƐŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͕ŝŶĐůƵĚŝŶŐĚŽƐĞƐ
 ƚŚĂƚŽŶĞǁŽƵůĚƌĞĂƐŽŶĂďůǇĞǆƉĞĐƚƚŽĐĂƵƐĞƚŚĞƉĂƚŝĞŶƚƐƚŝŵƵůĂŶƚƚŽǆŝĐŝƚǇ͘tŚŝůĞƌ͘tĞŝƐƐ
 ƉƌĞƐĐƌŝďĞĚĂƌĂŶŐĞŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐƚŽƉĂƚŝĞŶƚƐʹŝŶĐůƵĚŝŶŐŵĞƚŚĂŵƉŚĞƚĂŵŝŶĞʹ͕ŚĞ
 ĚĞŵŽŶƐƚƌĂƚĞĚĂĐůĞĂƌƉƌĞĨĞƌĞŶĐĞĨŽƌŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůů͕ĂůƐŽŬŶŽǁŶĂƐŵŝǆĞĚ
 ĂŵƉŚĞƚĂŵŝŶĞƐĂůƚ͘

 ƌ͘tĞŝƐƐƌŽƵƚŝŶĞůǇƉƌĞƐĐƌŝďĞĚƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĂƚƚŚĞƵƉƉĞƌĞŶĚŽĨƚŚĞŝƌƵƐƵĂůĚŽƐŝŶŐ
 ƌĂŶŐĞŽƌǁĞůůďĞǇŽŶĚƚŚĞƵƉƉĞƌĞŶĚŽĨƚŚĞŝƌƵƐƵĂůĚŽƐŝŶŐƌĂŶŐĞ͘ŽŶĐĞƌŶŝŶŐŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ
 ĚĚĞƌĂůů͕D^ŚĂƐƉƵďůŝƐŚĞĚ͕͞KŶůǇŝŶƌĂƌĞĐĂƐĞƐǁŝůůŝƚďĞŶĞĐĞƐƐĂƌǇƚŽĞǆĐĞĞĚĂƚŽƚĂůŽĨϰϬŵŐ
 ƉĞƌĚĂǇ͘͟>ŝŬĞǁŝƐĞ͕DŝĐƌŽŵĞĚĞǆŝŶĨŽƌŵƐƵƐƚŚĂƚĚŽƐĞƐŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůŐƌĞĂƚĞƌ
 ƚŚĂŶϰϬŵŐͬĚĂǇĂƌĞƌĂƌĞůǇŶĞĞĚĞĚ͘ŽŶĐĞƌŶŝŶŐĚĚĞƌĂůůyZ͕ƚŚĞƵƐƵĂůĂĚƵůƚĚŽƐĂŐĞŝƐϮϬŵŐͬĚĂǇ͖
 ƌ͘^ƚĂŚůĂĚǀŝƐĞƐĂŵĂǆŝŵƵŵŽĨϯϬŵŐͬĚĂǇ͘dŚĞWZƉƵďůŝƐŚĞƐƚŚĂƚƚŚĞĂǀĞƌĂŐĞĞĨĨĞĐƚŝǀĞĚŽƐĞ
 ƌĂŶŐĞŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞŝŶĂĚƵůƚƐŝƐϮϬƚŽϯϬŵŐƉĞƌĚĂǇ͖ƚŚĞŵĂǆŝŵƵŵĚŽƐĞŽĨ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ͕ƉĞƌ&ůĂďĞůŝŶŐ͕ŝƐϲϬŵŐͬĚĂǇ͘ŽŶĐĞƌŶŝŶŐŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZ͕ƚŚĞ&
 ůĂďĞůůŝŶŐƐƉĞĐŝĨŝĞƐƚŚĂƚƚŚĞŵĂǆŝŵƵŵĚŽƐĂŐĞŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZƐŚŽƵůĚŶŽƚĞǆĐĞĞĚ
 ϳϮŵŐͬĚĂǇŝŶĂĚƵůƚƐĂŶĚĂĚŽůĞƐĐĞŶƚƐ͘ŽŶĐĞƌŶŝŶŐsǇǀĂŶƐĞ͕D^ƌĞĐŽŵŵĞŶĚƐĂŵĂǆŝŵƵŵĚŽƐĞ
 ŽĨϳϬŵŐͬĚĂǇ͕ĂŶĚƚŚŝƐŝƐƚŚĞŵĂǆŝŵƵŵƐƉĞĐŝĨŝĞĚŝŶƚŚĞ&ůĂďĞůůŝŶŐ͘



                                               WĂŐĞϰϬŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 41 of 73




 dŽƐƵŵŵĂƌŝǌĞƚŚŝƐŝŶĨŽƌŵĂƚŝŽŶ͕/ǁŝůůƐƵŵŵĂƌŝǌĞƵƐƵĂůƉƌĞƐĐƌŝďŝŶŐďǇƌĞƉĞĂƚŝŶŐŝŶĨŽƌŵĂƚŝŽŶƚŚĂƚ/
 ƉƌŽǀŝĚĞĚĂƚƚŚĞďĞŐŝŶŶŝŶŐŽĨƚŚŝƐƌĞƉŽƌƚ͘/ƚƐŚŽƵůĚďĞĂƌĂƌĞĞǀĞŶƚƚŽƐĞĞĚĚĞƌĂůů/ZƉƌĞƐĐƌŝďĞĚĂƚ
 ŐƌĞĂƚĞƌƚŚĂŶϰϬŵŐͬĚĂǇ͖ĚĚĞƌĂůůyZĂƚŐƌĞĂƚĞƌƚŚĂŶϯϬŵŐͬĚĂǇĂŶĚŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ/ZĂƚŐƌĞĂƚĞƌ
 ƚŚĂŶϰϬŵŐͬĚĂǇ͘/ŶĨƌĞƋƵĞŶƚĞǆĐƵƌƐŝŽŶƐŽƵƚƐŝĚĞŽĨƚŚĞƐĞƌĂŶŐĞƐŵĂǇďĞƐĞĞŶ͖ŚŽǁĞǀĞƌ͕ƚŚĞƐĞ
 ĞǆĐƵƌƐŝŽŶƐƐŚŽƵůĚŶŽƚďĞĂƉĂƚƚĞƌŶŽĨƉƌĂĐƚŝĐĞ͘DŽƌĞŽǀĞƌ͕ŝƚƐŚŽƵůĚďĞĂĐĂƵƐĞĨŽƌĐŽŶĐĞƌŶ͕ĂŶǇƚŝŵĞ
 ƚŚĂƚŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZŝƐƉƌĞƐĐƌŝďĞĚĂƚĚŽƐĞƐŐƌĞĂƚĞƌƚŚĂŶϳϮŵŐͬĚĂǇŽƌsǇǀĂŶƐĞŝƐƉƌĞƐĐƌŝďĞĚĂƚ
 ŐƌĞĂƚĞƌƚŚĂŶϳϬŵŐͬĚĂǇ͘ƌ͘tĞŝƐƐƐŽŵĞƚŝŵĞƐĂĐŚŝĞǀĞĚĂŶŽǀĞƌĂůůŚŝŐŚƐƚŝŵƵůĂŶƚĚŽƐĞʹĂŶĚ
 ŝŶĐƌĞĂƐĞĚƚŚĞƌŝƐŬŽĨƐƚŝŵƵůĂŶƚƚŽǆŝĐŝƚǇʹŝŶĐĞƌƚĂŝŶƉĂƚŝĞŶƚƐďǇĐŽŵďŝŶŝŶŐƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐŝŶ
 ĂŶƵŶƵƐƵĂůĂŶĚƌĞĐŬůĞƐƐǁĂǇ͘

 WĂƚŝĞŶƚŽ͘Ğ͘

 dŚŝƐĐĂƐĞĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚsǇǀĂŶƐĞϴϬŵŐƉŽĚĂŝůǇ͘dŚŝƐŝƐĐůĞĂƌůǇŝŶĞǆĐĞƐƐŽĨƚŚĞ
 ŵĂǆŝŵƵŵƌĞĐŽŵŵĞŶĚĞĚĚŽƐĂŐĞƐĂĐĐŽƌĚŝŶŐƚŽDŝĐƌŽŵĞĚĞǆĂŶĚƚŚĞWZ͘&ůĂďĞůůŝŶŐĂůƐŽ
 ŝĚĞŶƚŝĨŝĞƐĂŵĂǆŝŵƵŵsǇǀĂŶƐĞĚŽƐĞŽĨϳϬŵŐͬĚĂǇĨŽƌƚŚĞ,ŝŶĚŝĐĂƚŝŽŶ͘ƚĂƉŽŝŶƚůĂƚĞƌŝŶ
 ƚƌĞĂƚŵĞŶƚ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽWĂƚŝĞŶƚŽ͘Ğ͘ĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ
 ƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞ
 ŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ<ƌ͘ŝ͘

 dŚŝƐĐĂƐĞŝƐĂŶŽƚŚĞƌĞǆĂŵƉůĞŽĨƌ͘tĞŝƐƐƉƌĞƐĐƌŝďŝŶŐĂŶƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞŽĨĂƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞĂƵƚŚŽƌŝǌĞƐƌĞƉĞĂƚĞĚƌĞĨŝůůƐĨŽƌĚĚĞƌĂůůyZϱϬŵŐƉŽĚĂŝůǇ͘dŚŝƐĚŽƐĂŐĞ
 ĨĂƌĞǆĐĞĞĚƐƚŚĞƵƐƵĂůĚŽƐĂŐĞŽĨĚĚĞƌĂůůyZϮϬŵŐͬĚĂǇŝŶĂĚƵůƚƐ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ
 ƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞ
 ŝĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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 WĂƚŝĞŶƚ:͘͘

 dŚŝƐĐĂƐĞĚĞŵŽŶƐƚƌĂƚĞĚƌ͘tĞŝƐƐ͛ĂĐŚŝĞǀĞŵĞŶƚŽĨŚŝŐŚůĞǀĞůƐŽĨƐƚŝŵƵůĂŶƚĞǆƉŽƐƵƌĞďǇ
 ĐŽŵďŝŶŝŶŐƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƉƌŽǀŝĚĞƐƌĞĐƵƌƌĞŶƚƉƌĞƐĐƌŝƉƚŝŽŶƐŽĨĚĚĞƌĂůů
 ϲϬŵŐͬĚĂǇŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĚĚĞƌĂůůyZϮϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƚŽĂĐŚŝĞǀĞĂ
 ŚŝŐŚůĞǀĞůŽĨĞǆƉŽƐƵƌĞƚŽŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚD͘͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐƉƌĞƐĐƌŝďŝŶŐĂŶƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƚŽĂ
 ƉĂƚŝĞŶƚ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐsǇǀĂŶƐĞϭϮϬŵŐͬĚĂǇƚŽĂƉĂƚŝĞŶƚ͘ZĞĐĂůůƚŚĂƚƚŚĞŵĂǆŝŵƵŵ
 ĚŽƐĞŽĨsǇǀĂŶƐĞĞƐƚĂďůŝƐŚĞĚďǇƚŚĞ&ůĂďĞůůŝŶŐŝƐϳϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƵƐƵĂůůǇ
 ŚŝŐŚĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

                                               WĂŐĞϰϭŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 42 of 73




 WĂƚŝĞŶƚŚ͘Ž͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĂƉƉĞĂƌƐƚŽĂƵƚŚŽƌŝǌĞϵϬͲĚĂǇƐƵƉƉůŝĞƐŽĨĚĚĞƌĂůůĂŶĚ
 ĚĚĞƌĂůůyZ͘dŚŝƐĂůůŽǁƐƚŚĞƉĂƚŝĞŶƚƚŽŽďƚĂŝŶϭϴϬĚŽƐĂŐĞƵŶŝƚƐŽĨĚĚĞƌĂůůĂŶĚĚĚĞƌĂůůyZŽŶ
 ŵƵůƚŝƉůĞŽĐĐĂƐŝŽŶƐ͘ƐĂŶĞǆĂŵƉůĞŽĨƚŚŝƐ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƚŚĞƉĂƚŝĞŶƚηϭϴϬĚĚĞƌĂůůyZ
 ϯϬŵŐĐĂƉƐƵůĞƐƚŽƚŚĞƉĂƚŝĞŶƚŽŶϴͬϬϵͬϮϬϭϱ͕ĂŶĚƚŚĞƐĞǁĞƌĞĨŝůůĞĚŽŶϴͬϭϰͬϮϬϭϱ͘/ƚĂƉƉĞĂƌƐƚŚĂƚ
 ƌ͘tĞŝƐƐĞŶƚĞƌĞĚĂŶĂĚĚŝƚŝŽŶĂů͕ĞĂƌůǇĂƵƚŚŽƌŝǌĂƚŝŽŶĨŽƌηϲϬĚĚĞƌĂůůyZϯϬŵŐĐĂƉƐƵůĞƐƚŚĞŶĞǆƚ
 ĚĂǇ͕ŽŶϴͬϭϬͬϮϬϭϱ͕ĂŶĚƚŚĞƐĞǁĞƌĞĨŝůůĞĚŽŶϴͬϭϴͬϮϬϭϱ͘ŽƵŶƚŝŶŐƚŚĞƚǁŽƉƌĞƐĐƌŝƉƚŝŽŶƐ͕ƌ͘
 tĞŝƐƐĂƵƚŚŽƌŝǌĞĚĂƚŽƚĂůŽĨϮϰϬĚŽƐĂŐĞƵŶŝƚƐŽĨĚĚĞƌĂůůyZƚŽƚŚĞƉĂƚŝĞŶƚ͕ďĞƚǁĞĞŶϴͬϬϵͬϮϬϭϱ
 ĂŶĚϴͬϭϬͬϮϬϭϱ͘ƐŵĞŶƚŝŽŶĞĚŝŶƚŚĞĚŝƐĐƵƐƐŝŽŶŽĨŽƚŚĞƌĐĂƐĞƐǁŝƚŚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚŝƐ
 ĂƵƚŚŽƌŝǌĂƚŝŽŶŽĨŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŝƐƵŶŶĞĐĞƐƐĂƌǇ͕ƌĞĐŬůĞƐƐĂŶĚĨĂĐŝůŝƚĂƚĞƐĚŝǀĞƌƐŝŽŶ͕ǁŚĞƌĞǀĞƌ
 ƚŚĂƚŵĂǇďĞƚĂŬŝŶŐƉůĂĐĞ͘dŚĞĂƵƚŚŽƌŝǌĂƚŝŽŶŽĨηϭϴϬĚĚĞƌĂůůyZϯϬŵŐĐĂƉƐƵůĞƐŽŶϴͬϬϵͬϮϬϭϱ
 ĐŽƌƌĞƐƉŽŶĚĞĚƚŽĂϵϬͲĚĂǇƐƵƉƉůǇŽĨƚŚĞŵĞĚŝĐĂƚŝŽŶ͕ŵĞĂŶŝŶŐƚŚĂƚƌ͘tĞŝƐƐŝŶƚĞŶĚĞĚĨŽƌƚŚĞ
 ƉĂƚŝĞŶƚƚŽƚĂŬĞĂŵŝŶŝŵƵŵŽĨĚĚĞƌĂůůyZϲϬŵŐͬĚĂǇ͘dŚŝƐŝƐƚŚƌĞĞƚŝŵĞƐƚŚĞĞƐƚĂďůŝƐŚĞĚƵƐƵĂů
 ĚŽƐĂŐĞŽĨĚĚĞƌĂůůyZ͘/ƚĂůƐŽĂƉƉĞĂƌƐƚŚĂƚƚŚĞƉĂƚŝĞŶƚŵĂǇŚĂǀĞƉŝĐŬĞĚƵƉĂŶĞĂƌůǇƌĞĨŝůůŽĨ
 ĚĚĞƌĂůůyZŽŶϲͬϬϵͬϮϬϭϲ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐʹƚŽŝŶĐůƵĚĞƚŚĞĚŽƐĂŐĞŽĨƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶƐĂĐŚŝĞǀĞĚĂŶĚƚŚĞƌĞůĞĂƐĞŽĨŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐʹ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŵ͘ƌ͘

 dŚŝƐŝƐĂĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞĚƚŽƚŚŝƐƉĂƚŝĞŶƚηϭϮϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͕
 ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂŶŝŶƚĞŶĚĞĚĚŽƐĂŐĞŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƵƐƵĂůůǇ
 ŚŝŐŚĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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 WĂƚŝĞŶƚŚ͘Ƶ͘

 dŚŝƐŝƐĂĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞĚƚŽƚŚŝƐƉĂƚŝĞŶƚηϭϮϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐ͕
 ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂŶŝŶƚĞŶĚĞĚĚŽƐĂŐĞŽĨĚĚĞƌĂůůϭϮϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƵƐƵĂůůǇ
 ŚŝŐŚĚŽƐĞƐŽĨĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚƵ͘Ă͘

 /ŶƚŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚƵ͘Ă͕͘ƌ͘tĞŝƐƐĂŐĂŝŶĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞƵŶƵƐƵĂůůǇ
 ŚŝŐŚĚŽƐĞƐŽĨ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͘,ĞŝŶŝƚŝĂůůǇƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚƵ͘Ă͘
 ŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘>ĂƚĞƌŝŶƚƌĞĂƚŵĞŶƚ͕ŚĞƉƌĞƐĐƌŝďĞƐŚŝŵŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZ
 ϭϬϴŵŐͬĚĂǇ͘dŚŝƐĚŽƐĞŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZĞǆĐĞĞĚƐƚŚĞŵĂǆŝŵƵŵŽĨϳϮŵŐͬĚĂǇƐƉĞĐŝĨŝĞĚďǇƚŚĞ
 &ůĂďĞůŝŶŐ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƵƐƵĂůůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂ



                                              WĂŐĞϰϮŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 43 of 73




 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚZĂ͘Ă͘

 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐŵƵůƚŝͲŵŽŶƚŚƐƵƉƉůŝĞƐŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞŵĞƚŚǇůƉŚĞŶŝĚĂƚĞƚŽƚŚŝƐ
 ƉĂƚŝĞŶƚ͕ƌĞƐƵůƚŝŶŐŝŶƚŚĞĚŝƐƉĞŶƐŝŶŐŽĨŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐ͘KŶϳͬϮϰͬϮϬϭϱ͕ƌ͘tĞŝƐƐǁƌŝƚĞƐĨŽƌ
 ηϭϴϬŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϮϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϵϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘KŶ
 ϵͬϯϬͬϮϬϭϱ͕ŚĞǁƌŝƚĞƐĨŽƌηϯϲϬŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϮϬŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϭϴϬͲĚĂǇ
 ƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝͲŵŽŶƚŚƐƵƉƉůŝĞƐŽĨĂ^ĐŚĞĚƵůĞ//
 ŵĞĚŝĐĂƚŝŽŶŝƐƌĞĐŬůĞƐƐĂŶĚƵŶŶĞĐĞƐƐĂƌǇ͕ĂŶĚŝƚĐĂŶŶŽƚďĞĂƌŐƵĞĚĨƌŽŵƚŚĞƐƚĂŶĚƉŽŝŶƚŽĨĐŽƐƚŽƌ
 ŝŶƐƵƌĂŶĐĞĐŽŵƉĂŶǇƉƌĞƐƐƵƌĞƚŽǁƌŝƚĞĂƐŝŶŐůĞƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌĂŐƌĞĂƚĞƌͲƚŚĂŶͲϯϬͲĚĂǇƐƵƉƉůǇŽĨĂ
 ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ/ǁŝůůĂƐƐĞƌƚƚŚĂƚĂƌĞĂƐŽŶĂďůĞƉŚǇƐŝĐŝĂŶǁŽƵůĚŚĂǀĞ
 ƐĞĞŶƚŚĞŚĂǌĂƌĚ;ŝ͘Ğ͕͘ƚŚĞĐŽŵŵƵŶŝƚǇƌŝƐŬĨƌŽŵƉŽƚĞŶƚŝĂůĚŝƐƚƌŝďƵƚŝŽŶͿŝŶŝƐƐƵŝŶŐĂϵϬͲĚĂǇŽƌϭϴϬͲ
 ĚĂǇƐƵƉƉůǇŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞĂŶĚǁŽƵůĚŚĂǀĞŝŶƐƚĞĂĚŝƐƐƵĞĚƐŝŶŐůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĂůůŽǁŝŶŐĨŽƌ
 ŝŶĚŝǀŝĚƵĂůϯϬͲĚĂǇĨŝůůƐŽĨƚŚĞŵĞĚŝĐĂƚŝŽŶ͘dŚĞŝƐƐƵĂŶĐĞŽĨĂϭϴϬͲĚĂǇƐƵƉƉůǇŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ
 ĂƉƉĞĂƌƐƚŽďĞĂǀŝŽůĂƚŝŽŶŽĨdŝƚůĞϮϭŽĚĞŽĨ&ĞĚĞƌĂůZĞŐƵůĂƚŝŽŶƐ͕WĂƌƚϭϯϬϲ͕ĂƐĐŽǀĞƌĞĚŝŶƚŚĞ
 ĚŝƐĐƵƐƐŝŽŶĨŽƌƉĂƚŝĞŶƚW͘͘

 WĂƚŝĞŶƚ<͘͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĂĐŚŝĞǀĞƐŚŝŐŚůĞǀĞůƐŽĨŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚĚŽƐŝŶŐ͕
 ďǇƵƐŝŶŐďŽƚŚŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĂŶĚĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞĨŽƌŵƐŽĨĚĚĞƌĂůů͘,ĞƌĞ͕ŚĞ
 ƐŝŵƵůƚĂŶĞŽƵƐůǇƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ<͘͘ĚĚĞƌĂůůyZϲϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͘&Žƌ
 ƌĞĂƐŽŶƐĐŝƚĞĚĞĂƌůŝĞƌŝŶƚŚŝƐƐĞĐƚŝŽŶ͕ƚŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘&͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĐŽŶĐƵƌƌĞŶƚůǇƉƌĞƐĐƌŝďĞƐƚŽĂƉĂƚŝĞŶƚĚĚĞƌĂůůϲϬŵŐͬĚĂǇĂŶĚsǇǀĂŶƐĞ
 ϳϬŵŐͬĚĂǇ͘ŽŵďŝŶŝŶŐƚǁŽĚŝĨĨĞƌĞŶƚƐƚŝŵƵůĂŶƚƐ͕ĞĂĐŚĂƚƚŚĞƵƉƉĞƌĞŶĚŽĨƚŚĞŝƌĚŽƐŝŶŐƌĂŶŐĞƐ͕ŝƐ
 ĂŶƵŶƵƐƵĂůƉƌĂĐƚŝĐĞ͘dŚŝƐƉĂƌƚŝĐƵůĂƌĐŽŵďŝŶĂƚŝŽŶŽĨĨĞƌƐŶŽƵŶŝƋƵĞĐůŝŶŝĐĂůďĞŶĞĨŝƚĂŶĚƉůĂĐĞƐƚŚĞ
 ƉĂƚŝĞŶƚĂŶĚƵŶĚƵĞƌŝƐŬŽĨƐƚŝŵƵůĂŶƚƚŽǆŝĐŝƚǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂ
 ůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ͘'͘

 ƌ͘tĞŝƐƐƌĞŐƵůĂƌůǇƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚ͘'͘ĚĚĞƌĂůůyZϵϬŵŐͬĚĂǇ͘dŚŝƐŝƐĨĂƌŝŶĞǆĐĞƐƐŽĨƚŚĞ
 ƵƐƵĂůĚŽƐĂŐĞŽĨĚĚĞƌĂůůyZ͕ĂƚϮϬŵŐͬĚĂǇ͘/ƚĂůƐŽĞǆĐĞĞĚƐƚŚĞŵĂǆŝŵƵŵĚŽƐĞŽĨϯϬŵŐͬĚĂǇ
 ƌĞĐŽŵŵĞŶĚĞĚďǇƌ͘^ƚĂŚů͕ĂŶĚŝƚĞǆĐĞĞĚƐĂŶǇĚŽƐĂŐĞŐŝǀĞŶƚŽƉĂƚŝĞŶƚƐĚƵƌŝŶŐƚŚĞĐůŝŶŝĐĂůƚƌŝĂůƐ
 ǁŚŝĐŚůĞĚƚŽƚŚĞ&ĂƉƉƌŽǀĂůŽĨĚĚĞƌĂůůyZĨŽƌƚŚĞƚƌĞĂƚŵĞŶƚŽĨ,͘dŚŝƐŝƐĐŽǀĞƌĞĚŝŶƚŚĞ
 &ĚĂƚĂƐŚĞĞƚĨŽƌĚĚĞƌĂůůyZ͗


                                                WĂŐĞϰϯŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 44 of 73




         ĚŽƵďůĞͲďůŝŶĚ͕ƌĂŶĚŽŵŝǌĞĚ͕ƉůĂĐĞďŽͲĐŽŶƚƌŽůůĞĚ͕ƉĂƌĂůůĞůͲŐƌŽƵƉƐƚƵĚǇǁĂƐĐŽŶĚƵĐƚĞĚŝŶ
         ĂĚƵůƚƐ;EсϮϱϱͿǁŚŽŵĞƚ^DͲ/sͲdZĐƌŝƚĞƌŝĂĨŽƌ,͘WĂƚŝĞŶƚƐǁĞƌĞƌĂŶĚŽŵŝǌĞĚƚŽĨŝǆĞĚ
         ĚŽƐĞƚƌĞĂƚŵĞŶƚŐƌŽƵƉƐƌĞĐĞŝǀŝŶŐĨŝŶĂůĚŽƐĞƐŽĨϮϬ͕ϰϬ͕ŽƌϲϬŵŐŽĨZ>>yZΠŽƌ
         ƉůĂĐĞďŽŽŶĐĞĚĂŝůǇŝŶƚŚĞŵŽƌŶŝŶŐĨŽƌĨŽƵƌǁĞĞŬƐ͘^ŝŐŶŝĨŝĐĂŶƚŝŵƉƌŽǀĞŵĞŶƚƐ͕ŵĞĂƐƵƌĞĚ
         ǁŝƚŚƚŚĞƚƚĞŶƚŝŽŶĞĨŝĐŝƚ,ǇƉĞƌĂĐƚŝǀŝƚǇŝƐŽƌĚĞƌͲZĂƚŝŶŐ^ĐĂůĞ;,ͲZ^Ϳ͕ĂŶϭϴͲŝƚĞŵ
         ƐĐĂůĞƚŚĂƚŵĞĂƐƵƌĞƐƚŚĞĐŽƌĞƐǇŵƉƚŽŵƐŽĨ,ƐǇŵƉƚŽŵƐ͕ǁĞƌĞŽďƐĞƌǀĞĚĂƚĞŶĚƉŽŝŶƚ
         ĨŽƌĂůůZ>>yZΠĚŽƐĞƐĐŽŵƉĂƌĞĚƚŽƉĂƚŝĞŶƚƐǁŚŽƌĞĐĞŝǀĞĚƉůĂĐĞďŽĨŽƌĂůůĨŽƵƌ
         ǁĞĞŬƐ͘dŚĞƌĞǁĂƐŶŽƚĂĚĞƋƵĂƚĞĞǀŝĚĞŶĐĞƚŚĂƚĚŽƐĞƐŐƌĞĂƚĞƌƚŚĂŶϮϬŵŐͬĚĂǇĐŽŶĨĞƌƌĞĚ
         ĂĚĚŝƚŝŽŶĂůďĞŶĞĨŝƚ͘

 dŚŝƐƐĞƌǀĞƐĂƐĂƌĞŵŝŶĚĞƌƚŚĂƚƚŚĞŚŝŐŚĞƐƚƚŝƚƌĂƚŝŽŶŽĨĚĚĞƌĂůůyZƵƐĞĚŝŶƚŚĞĐůŝŶŝĐĂůƚƌŝĂůǁĂƐ
 ϲϬŵŐͬĚĂǇ͕ĂŶĚƚŚĞƌĞǁĂƐŶŽĞǀŝĚĞŶĐĞƚŚĂƚƵƐŝŶŐĚŽƐĞƐŐƌĞĂƚĞƌƚŚĂŶϮϬŵŐͬĚĂǇƉƌŽǀŝĚĞĚ
 ĂĚĚŝƚŝŽŶĂůďĞŶĞĨŝƚƚŽƉĂƚŝĞŶƚƐ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂů
 ƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:Ğ͘>Ž͘

 dŚŝƐĐĂƐĞŝƐŶŽƚƵŶƵƐƵĂůĨŽƌƌ͘tĞŝƐƐ͕ŝŶƚŚĂƚŝƚĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐŚŝŐŚ
 ĚŽƐĞƐƚŝŵƵůĂŶƚƐ͕ƉĂƌƚŝĐƵůĂƌůǇĚĚĞƌĂůů͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐƚŚĞƉĂƚŝĞŶƚĚĚĞƌĂůůŝŶĚŽƐĞƐƵƉƚŽ
 ϭϮϬŵŐͬĚĂǇ͘tŚĂƚŝƐĂůƐŽŝŶƚĞƌĞƐƚŝŶŐĂďŽƵƚƚŚŝƐĐĂƐĞŝƐƚŚĂƚƚŚĞƌĞĂƉƉĞĂƌƚŽďĞĞĂƌůǇƌĞĨŝůůƐŽĨ
 ĚĚĞƌĂůůŽŶϭϬͬϯϭͬϮϬϭϳĂŶĚŽŶϳͬϮϯͬϮϬϭϴ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐ
 ŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ>͘>͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚǁŽŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐƚŽĂƉĂƚŝĞŶƚ͕
 ĐŽŶĐƵƌƌĞŶƚůǇ͘dŚĞƐĞƌĞĐƵƌƌŝŶŐƉƌĞƐĐƌŝƉƚŝŽŶƐŝŶĐůƵĚĞĚĚĚĞƌĂůůϲϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůyZ
 ϰϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚƚŽƚĂůĚŽƐĞƐŽĨŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŵ͘DĂ͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞǁŚŝĐŚĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƉƌĞĨĞƌĞŶĐĞĨŽƌƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚƐ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂƐĞĚĂƚŝǀĞ͘,ĞƌĞ͕ŚĞǁƌŝƚĞƐƌĞĐƵƌƌŝŶŐƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϴϬŵŐͬĚĂǇĂŶĚyĂŶĂǆ͘dŚĞƌĞĂĚĞƌǁŝůůƌĞĐĂůůƚŚĂƚƚŚĞĂǀĞƌĂŐĞĞĨĨĞĐƚŝǀĞĚŽƐĞ
 ƌĂŶŐĞŽĨŵĞƚŚǇůƉŚĞŶŝĚĂƚĞĨŽƌĂĚƵůƚƐǁŝƚŚ,ŝƐϮϬƚŽϯϬŵŐƉĞƌĚĂǇ͖ƚŚĞŵĂǆŝŵƵŵĚŽƐĂŐĞƉĞƌ
 &ůĂďĞůůŝŶŐŝƐϲϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂů
 ƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

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                                                WĂŐĞϰϰŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 45 of 73




 WĂƚŝĞŶƚ<͘D͘

 dŚŝƐĐĂƐĞƐĞƌǀĞƐĂƐĂƌĞŵŝŶĚĞƌƚŚĂƚƌ͘tĞŝƐƐĨƌĞƋƵĞŶƚůǇƉƌĞƐĐƌŝďĞƐƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐĂƚ
 ĞǆĐĞƐƐŝǀĞĚŽƐŝŶŐ͘,ĞƌĞ͕ŚĞƉƌŽǀŝĚĞƐƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌsǇǀĂŶƐĞϭϬϬŵŐͬĚĂǇ͘ZĞĐĂůůƚŚĂƚ
 ƚŚĞ&ůĂďĞůůŝŶŐĨŽƌsǇǀĂŶƐĞƐƉĞĐŝĨŝĞƐĂŵĂǆŝŵƵŵĚŽƐĞŽĨϳϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨ
 ƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^͘E͘

 ƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚ^͘E͘ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϴϬŵŐͬĚĂǇ͕ƐŽŵĞƚŝŵĞƐŝŶ
 ĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŵďŝĞŶϭϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨ
 ƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚĂ͘^Ɖ͘

 ĞǆĞĚƌŝŶĞŝƐĂƐĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚĂ
 ĐŽŵďŝŶĂƚŝŽŶŽĨĞǆĞĚƌŝŶĞϯϬŵŐͬĚĂǇĂŶĚĞǆĞĚƌŝŶĞZϮϬŵŐͬĚĂǇ͘,ĞƌĞŚĞĂůƐŽǁƌŝƚĞƐ͕
 ƵŶŶĞĐĞƐƐĂƌŝůǇ͕ĨŽƌŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨĞĂĐŚŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐ͘KŶϲͬϭϵͬϮϬϭϱ͕ŚĞǁƌŝƚĞƐĨŽƌ
 ηϱϰϬĞǆĞĚƌŝŶĞϱŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϵϬͲĚĂǇƐƵƉƉůǇŽĨƚŚŝƐŵĞĚŝĐĂƚŝŽŶ͘KŶƐĞǀĞƌĂů
 ŽĐĐĂƐŝŽŶƐ͕ŚĞǁƌŝƚĞƐĨŽƌηϭϴϬĞǆĞĚƌŝŶĞZϭϬŵŐĐĂƉƐƵůĞƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϵϬͲĚĂǇƐƵƉƉůǇŽĨ
 ƚŚĞŵĞĚŝĐĂƚŝŽŶ͘EŽƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŝƐƐƵĞĂƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌƚŚĞƐĞŚŝŐŚĚŽƐĂŐĞ
 ƵŶŝƚƐŽĨƚŚĞ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚƐ͕ĂƐƚŚĞǇǁŽƵůĚƌĞĐŽŐŶŝǌĞƚŚĞƌŝƐŬŽĨĚƌƵŐĂďƵƐĞĂŶĚͬŽƌ
 ĚŝǀĞƌƐŝŽŶŝŶƐŽĚŽŝŶŐ͘dŚĞ&ͲĂƉƉƌŽǀĞĚƵƐĞƐŽĨĞǆĞĚƌŝŶĞŝŶĐůƵĚĞƚŚĞƚƌĞĂƚŵĞŶƚŽĨŶĂƌĐŽůĞƉƐǇ
 ĂŶĚƚŚĞƚƌĞĂƚŵĞŶƚŽĨ,ŝŶƉĂƚŝĞŶƚƐĂŐĞϲƚŽϭϲǇĞĂƌƐ͘dŚĞ&ůĂďĞůƉƌŽǀŝĚĞƐƚŚĂƚ͕ǁŚĞŶ
 ƚƌĞĂƚŝŶŐ,ŝŶƉĞĚŝĂƚƌŝĐƉĂƚŝĞŶƚƐĂŐĞϲĂŶĚŽůĚĞƌ͕ŽŶůǇŝŶƌĂƌĞĐĂƐĞƐǁŝůůŝƚďĞŶĞĐĞƐƐĂƌǇƚŽ
 ĞǆĐĞĞĚϰϬŵŐͬĚĂǇ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞĞǆĞĚƌŝŶĞĂŶĚŚŝŐŚͲĚŽƐĂŐĞƵŶŝƚƐŽĨ
 ĞǆĞĚƌŝŶĞ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂů
 ƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚZǇ͘ZŽ͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽĐŽŵďŝŶĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͕
 ǁŚŝůĞĂĐŚŝĞǀŝŶŐŚŝŐŚĐƵŵƵůĂƚŝǀĞƐƚŝŵƵůĂŶƚĚŽƐŝŶŐ͘,ĞƌĞ͕ŚĞƌĞƉĞĂƚĞĚůǇǁƌŝƚĞƐƉĂƚŝĞŶƚZǇ͘ZŽ͘ĨŽƌ
 ĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͕ĐŽŶĐƵƌƌĞŶƚǁŝƚŚĚĚĞƌĂůůyZϰϬŵŐͬĚĂǇ͘dŚŝƐƉƌŽǀŝĚĞĚƚŚĞƉĂƚŝĞŶƚǁŝƚŚĂ
 ĐƵŵƵůĂƚŝǀĞŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚĚŽƐĂŐĞŽĨϭϬϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐ
 ƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:͘^͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐĂĐŚŝĞǀŝŶŐĂŶĞǆĐĞƐƐŝǀĞ͕ĐƵŵƵůĂƚŝǀĞƐƚŝŵƵůĂŶƚĚŽƐĞďǇ
 ĐŽŵďŝŶŝŶŐƐƚŝŵƵůĂŶƚƐ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚ:͘^͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨ

                                               WĂŐĞϰϱŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 46 of 73




 sǇǀĂŶƐĞϳϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐĐŽŵďŝŶĞĚ͕ŚŝŐŚĚŽƐĞƐŽĨ
 ƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ&͘^͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐĂĐŚŝĞǀŝŶŐĂŶĞǆĐĞƐƐŝǀĞ͕ĐƵŵƵůĂƚŝǀĞƐƚŝŵƵůĂŶƚĚŽƐĞďǇ
 ĐŽŵďŝŶŝŶŐƐƚŝŵƵůĂŶƚƐ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞƌĞƉĞĂƚĞĚůǇƉƌĞƐĐƌŝďĞƐƚŽƉĂƚŝĞŶƚ&͘^͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ĚĚĞƌĂůůyZϵϬŵŐͬĚĂǇĂŶĚsǇǀĂŶƐĞϳϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐĐŽŵďŝŶĞĚ͕ŚŝŐŚ
 ĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚdƌ͘zĞ͘

 dŚĞWDWŽƉĞŶƐĨŽƌƉĂƚŝĞŶƚdƌ͘zĞ͘ǁŝƚŚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďŝŶŐƚŽŚŝŵĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϴϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϯŵŐͬĚĂǇ͘ƉƉƌŽǆŝŵĂƚĞůǇŽŶĞŵŽŶƚŚĂĨƚĞƌƚŚĞŝŶŝƚŝĂů
 ĞŶƚƌŝĞƐĨŽƌŵĞƚŚǇůƉŚĞŶŝĚĂƚĞĂŶĚyĂŶĂǆ͕ƌ͘tĞŝƐƐĂĚĚƐƚŚĞŚǇƉŶŽƚŝĐǌŽůƉŝĚĞŵ͘,ĞƌĞ͕ŽŶĞƐŚŽƵůĚ
 ƌŝŐŚƚůǇǁŽŶĚĞƌŝĨƌ͘tĞŝƐƐĐŽŶƐŝĚĞƌĞĚƚŚĂƚŚŝƐƵƐĞŽĨŚŝŐŚͲĚŽƐĞŵĞƚŚǇůƉŚĞŶŝĚĂƚĞǁĂƐ
 ĐŽŶƚƌŝďƵƚŝŶŐƚŽʹŽƌĐĂƵƐŝŶŐʹƚŚĞƉĂƚŝĞŶƚ͛ƐƉƌŽďůĞŵƐǁŝƚŚĂŶǆŝĞƚǇŽƌŝŶƐŽŵŶŝĂ͘dŚŝƐƉĂƚƚĞƌŶŽĨ
 ƉƌĞƐĐƌŝďŝŶŐƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 hEh^h>WZ^Z//E'WddZEηϰ͗,ŝŐŚͲĚŽƐĞ^ĞĚĂƚŝǀĞƐĂŶĚ^ĞĚĂƚŝǀĞƐŝŶŽŵďŝŶĂƚŝŽŶ

 /ŶĂŵĂŶŶĞƌƐŝŵŝůĂƌƚŽŚŝƐƐƚŝŵƵůĂŶƚƉƌĞƐĐƌŝďŝŶŐ͕ƌ͘tĞŝƐƐĚĞŵŽŶƐƚƌĂƚĞĚĂƉƌĞĨĞƌĞŶĐĞĨŽƌƵƐĞŽĨ
 ŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐŵĞĚŝĐĂƚŝŽŶƐ͘/ŶƐŽŵĞĐĂƐĞƐ͕ƚŚŝƐǁĂƐĂĐŚŝĞǀĞĚǁŝƚŚĂƐŝŶŐůĞ
 ƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶ͖ŝŶĂŶƵŵďĞƌŽĨĐĂƐĞƐ͕ŝƚǁĂƐĂĐŚŝĞǀĞĚǁŝƚŚƐƚĂĐŬŝŶŐŽĨƐĞĚĂƚŝǀĞ
 ŵĞĚŝĐĂƚŝŽŶƐ͘/ŶĞĂĐŚŽĨƚŚĞƐĞǁĂǇƐ͕ƌ͘tĞŝƐƐƉƵƚƉĂƚŝĞŶƚƐĂƚƌŝƐŬŽĨƐŝŐŶŝĨŝĐĂŶƚƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ
 ĂŶĚĐƵŵƵůĂƚŝǀĞE^ĚĞƉƌĞƐƐŝŽŶ͘/ŶĂŶĞĂƌůŝĞƌƐĞĐƚŝŽŶŽĨƚŚŝƐƌĞƉŽƌƚ͕/ŵĞŶƚŝŽŶĞĚƚŚĂƚƐĞĚĂƚŝǀĞ
 ŵĞĚŝĐĂƚŝŽŶƐĂƌĞŶŽƚƚŚĞĨŝƌƐƚͲůŝŶĞŽƌƐĞĐŽŶĚͲůŝŶĞƚƌĞĂƚŵĞŶƚĨŽƌŵŽƐƚĂŶǆŝĞƚǇĚŝƐŽƌĚĞƌƐ͘/ĂůƐŽ
 ƉƌŽǀŝĚĞĚĂŶƵŵďĞƌŽĨƌĞĂƐŽŶƐƚŚĂƚyĂŶĂǆǁĂƐĂƉĂƌƚŝĐƵůĂƌůǇƉƌŽďůĞŵĂƚŝĐƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐ
 ŵĞĚŝĐĂƚŝŽŶĂŶĚƚŚĂƚĨŽƌƚŚĂƚƌĞĂƐŽŶ͕ŵĂŶǇƉƐǇĐŚŝĂƚƌŝƐƚƐŵŝŶŝŵŝǌĞŝƚƐƵƐĞŝŶƚŚĞŝƌƉƌĂĐƚŝĐĞ͘/ŶƚŚĞ
 ƐĂŵĞƐĞĐƚŝŽŶ͕/ĂůƐŽƌĞǀĞĂůĞĚƚŚĂƚ͕ĨŽƌƚŚĞŐĞŶĞƌĂů͞ĂŶǆŝĞƚǇ͟ŝŶĚŝĐĂƚŝŽŶ͕ƚŚĞůĂďĞůĨŽƌyĂŶĂǆ
 ƐƉĞĐŝĨŝĞƐĂŵĂǆŝŵƵŵĚĂŝůǇĚŽƐĞŽĨϰŵŐͬĚĂǇŝŶĂĚƵůƚƐ͘/ĂůƐŽƌĞĨĞƌĞŶĐĞĚƚŚĞWWƌĂĐƚŝĐĞ
 'ƵŝĚĞůŝŶĞĨŽƌƉĂŶŝĐĚŝƐŽƌĚĞƌǁŚŝĐŚƉƌŽǀŝĚĞĚƚŚĞƵƐƵĂůƚŚĞƌĂƉĞƵƚŝĐĚŽƐĞĨŽƌƐĞǀĞƌĂů
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͘dŚŝƐŐƵŝĚĞůŝŶĞƉƌŽǀŝĚĞĚĂƵƐƵĂůƚŚĞƌĂƉĞƵƚŝĐĚŽƐĞŽĨϮͲϰŵŐͬĚĂǇ͕ǁŚĞŶyĂŶĂǆŝƐ
 ƐĞůĞĐƚĞĚĂƐĂƐĞĚĂƚŝǀĞͬĂŶǆŝŽůǇƚŝĐƚƌĞĂƚŵĞŶƚ͘dŚĞƐĂŵĞŐƵŝĚĞůŝŶĞŵĂĚĞĐůĞĂƌƚŚĂƚ^^Z/͛Ɛ͕^EZ/͛Ɛ
 ĂŶĚd͛ƐĂƌĞĂůůƉƌĞĨĞƌĂďůĞƚŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐƵƐĞĚĂƐŵŽŶŽƚŚĞƌĂƉǇ͘

 WĂƚŝĞŶƚ^͘͘

 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚ^͘͘ĂůƉƌĂǌŽůĂŵĂƚŚŝŐŚĚŽƐĞƐ͕ŵŽƐƚŽĨƚĞŶyĂŶĂǆϴŵŐƉĞƌĚĂǇ͕ĨŽƌĂŶ
 ĞǆƚĞŶĚĞĚƉĞƌŝŽĚŽĨƚŝŵĞ͕ĨƌŽŵϯͬϭϭͬϮϬϭϱƚŽϴͬϭϱͬϮϬϭϴ͘dŚŝƐĐŚƌŽŶŝĐƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚĚŽƐĞƐŽĨ


                                                WĂŐĞϰϲŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 47 of 73




 ĂůƉƌĂǌŽůĂŵĐĞƌƚĂŝŶůǇŝŶĐƌĞĂƐĞƐƚŚĞŵŝƐƵƐĞůŝĂďŝůŝƚǇ͘KŶϱͬϭϭͬϮϬϭϱ͕ƚŚĞƉĂƚŝĞŶƚĨŝůůĞĚηϭϮϬĂůƉƌĂǌŽůĂŵ
 ϮŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚĞǀĞƌǇŶĞǆƚĚĂǇ͕ŽŶϱͬϭϮͬϮϬϭϱ͕ƐŚĞ
 ĨŝůůĞĚηϯϬĚŝĂǌĞƉĂŵϱŵŐƚĂďůĞƚƐ͘ŽŶƐŝĚĞƌŝŶŐƚŚĂƚƚŚĞƉĂƚŝĞŶƚǁĂƐĂůƌĞĂĚǇŽŶĂŚŝŐŚĚŽƐĞŽĨyĂŶĂǆ͕
 ƚŚŝƐĂĚĚŝƚŝŽŶŽĨĂƐĞĐŽŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞŝƐǁŽƌƌŝƐŽŵĞ͕ĨƌŽŵƚŚĞƐƚĂŶĚƉŽŝŶƚŽĨĐƵŵƵůĂƚŝǀĞE^
 ĚĞƉƌĞƐƐŝŽŶ͘dŚĞWDWŝƐƉƌŽǀŝĚĞƌͲƐƉĞĐŝĨŝĐ͕ƐŽŝƚĚŽĞƐŶŽƚƌĞǀĞĂůŝĨƉĂƚŝĞŶƚ^͘͘ǁĂƐĂůƐŽƌĞĐĞŝǀŝŶŐ
 ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞŵĞĚŝĐĂƚŝŽŶƐĨƌŽŵŽƚŚĞƌƉƌŽǀŝĚĞƌƐĚƵƌŝŶŐƚŚĞƐĂŵĞƚŝŵĞŝŶƚĞƌǀĂů͘dŚŝƐƉĂƚƚĞƌŶ
 ŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐ͕ŝŶĐůƵĚŝŶŐŚŝŐŚͲĚŽƐĞyĂŶĂǆ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂů
 ƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂů
 ƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚd͘͘

 dŚŝƐŝƐĂƉĂƚŝĞŶƚƚŽǁŚŽŵƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĐŚƌŽŶŝĐ͕ŚŝŐŚͲĚŽƐĞyĂŶĂǆ͘dŚĞƉƌĞƐĐƌŝƉƚŝŽŶ
 ŝƐƐƵĂŶĐĞƐŽŶƚŚŝƐWDWĐŽǀĞƌƚŚĞƉĞƌŝŽĚϭϭͬϭϯͬϮϬϭϰƚŽϳͬϭϵͬϮϬϭϴ͘dŚŝƐŝŶĐůƵĚĞĚŵƵůƚŝƉůĞ
 ŝƐƐƵĂŶĐĞƐŽĨƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϭϱϬyĂŶĂǆϮŵŐƚĂďůĞƚƐ͕ĂůůŽǁŝŶŐĨŽƌyĂŶĂǆϭϬŵŐͬĚĂǇ͘dŚŝƐůŽŶŐͲ
 ƚĞƌŵƵƐĞŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:͘Ͳ>͘

 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĂǀĞƌǇŚŝŐŚĚŽƐĞŽĨyĂŶĂǆƚŽƚŚŝƐƉĂƚŝĞŶƚ͘KŶϯͬϮϭͬϮϬϭϱ͕ƌ͘tĞŝƐƐŝƐƐƵĞĚĂ
 ƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌηϭϴϬyĂŶĂǆϮŵŐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐǁŽƵůĚ
 ĂůůŽǁĨŽƌyĂŶĂǆϭϮŵŐͬĚĂŝůǇ͘dŚŝƐŝƐĂǀĞƌǇŚŝŐŚĚŽƐĞƌĂŶŐĞŽĨyĂŶĂǆ͖ŝƚŝƐĚŝĨĨŝĐƵůƚƚŽũƵƐƚŝĨǇ
 ŵĞĚŝĐĂůůǇĂŶĚƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĂƚŚŝŐŚƌŝƐŬŽĨƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ͘ƌ͘tĞŝƐƐĂůƐŽƉƌŽǀŝĚĞĚƚŚŝƐ
 ƉĂƚŝĞŶƚǁŝƚŚŽƚŚĞƌĂƵƚŚŽƌŝǌĂƚŝŽŶƐ͕ĂůůŽǁŝŶŐĨŽƌyĂŶĂǆϭϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϲŵŐͬĚĂǇ͘dŚŝƐ
 ƉĂƚƚĞƌŶŽĨŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚE͘͘

 dŚŝƐĐĂƐĞŝƐĂŶŽƚŚĞƌĞŐƌĞŐŝŽƵƐĞǆĂŵƉůĞŽĨƌ͘tĞŝƐƐ͛ǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŵƵůƚŝƉůĞ͕
 ĐŽŶĐƵƌƌĞŶƚ͕ŚŝŐŚͲĚŽƐĞ'ĂŐŽŶŝƐƚƐƚŽĂƉĂƚŝĞŶƚ͘ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŚĞƐĞĂŐĞŶƚƐƚŽƉĂƚŝĞŶƚ
 E͘͘ŽǀĞƌĂƉĞƌŝŽĚŽĨǇĞĂƌƐ͕ǁŝƚŚƚŚĞĂĐƚƵĂůĚĂƚĂůŝŬĞůǇůŝŵŝƚĞĚďǇƚŚĞƚŝŵĞƌĞƐƚƌŝĐƚŝŽŶƐŽŶƚŚĞ
 WDW͘,ĞďĞŐĂŶƉƌĞƐĐƌŝďŝŶŐĂĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆϰŵŐͬĚĂǇ͕ĐůŽŶĂǌĞƉĂŵϭ͘ϱŵŐͬĚĂǇĂŶĚ
 ǌŽůƉŝĚĞŵϭϬŵŐͬĚĂǇƚŽƚŚŝƐĨĞŵĂůĞƉĂƚŝĞŶƚ͕ŝŶDĂƌĐŚϮϬϭϱ͘,ĞƌĞ/ǁŝůůĂŐĂŝŶƌĞĨĞƌĞŶĐĞƚŚĞ&
 ĂĚǀŝƐŽƌǇƌĞŐĂƌĚŝŶŐƚŚĞƉƌĞƐĐƌŝďŝŶŐŽĨŵďŝĞŶƚŽĨĞŵĂůĞƉĂƚŝĞŶƚƐ͘ǇϰͬϭϵͬϮϬϭϲ͕ƌ͘tĞŝƐƐŚĂƐ
 ĞƐĐĂůĂƚĞĚƚŚŝƐƵŶƵƐƵĂůĐŽŶĐŽĐƚŝŽŶŽĨŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞƐƚŽĂĐŽŵďŝŶĂƚŝŽŶŽĨsĂůŝƵŵϲϬŵŐͬĚĂǇ͕
 ůŽƌĂǌĞƉĂŵϲŵŐͬĚĂǇ͕ĂůƉƌĂǌŽůĂŵϯ͘ϱŵŐͬĚĂǇĂŶĚŵďŝĞŶϭϬŵŐƉŽƋŚƐ͘dŚŝƐĐŽŵďŝŶĂƚŝŽŶŽĨ
 ƐĞĚĂƚŝǀĞĂŶĚŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶƐŝƐƌĞĐŬůĞƐƐĂŶĚƉƵƚƐƚŚĞƉĂƚŝĞŶƚĂƚĐŽŶƐŝĚĞƌĂďůĞƌŝƐŬŽĨE^
 ĚĞƉƌĞƐƐŝŽŶ͕ƌĞƐƉŝƌĂƚŽƌǇƐƵƉƉƌĞƐƐŝŽŶĂŶĚĚĞĂƚŚ͘ĂƐĞĚƵƉŽŶƚŚŝƐĐŽŵďŝŶĂƚŝŽŶŽĨƐĞĚĂƚŝŶŐ
 ŵĞĚŝĐĂƚŝŽŶƐĂŶĚĚŽƐĂŐĞƐĂĐŚŝĞǀĞĚ͕/ĐĂŶĐŽŵĨŽƌƚĂďůǇƐƚĂƚĞƚŚĂƚŶŽŵĞĚŝĐĂůĐŽŶĚŝƚŝŽŶǁĂƌƌĂŶƚƐ
 ƚŚŝƐƉĂƌƚŝĐƵůĂƌƌĞŐŝŵĞŶ͘dŚŝƐƉĂƚƚĞƌŶŽĨĐŽŵďŝŶĞĚƐĞĚĂƚŝǀĞĂŶĚŚǇƉŶŽƚŝĐƉƌĞƐĐƌŝďŝŶŐ͕ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚ
 ĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

                                               WĂŐĞϰϳŽĨϳϯ
 
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 48 of 73




 WĂƚŝĞŶƚ^ƚ͘>Ğ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĂŐĂŝŶĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐ
 ƐŝŵƵůƚĂŶĞŽƵƐůǇ͕ĂŶĚĂƚŚŝŐŚĚŽƐĞƐ͘KŶϵͬϭϭͬϮϬϭϳ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚ^ƚ͘>Ğ͘Ă
 ĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆϴŵŐͬĚĂǇĂŶĚĨůƵƌĂǌĞƉĂŵϯϬŵŐͬĚĂǇ͘ƚŽƚŚĞƌƚŝŵĞƐ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚ
 ƉĂƚŝĞŶƚ^ƚ͘>Ğ͘sĂůŝƵŵϲϬŵŐͬĚĂǇ͘ǀĞƌǇŝůůͲĂĚǀŝƐĞĚƉƌĂĐƚŝĐĞƐĞĞŶŚĞƌĞŝƐƌ͘tĞŝƐƐ͛ƐǁƌŝƚŝŶŐŽĨ
 ŚŝŐŚͲĚŽƐĂŐĞƵŶŝƚƐƚŽĐŽǀĞƌůŽŶŐĞƌƉĞƌŝŽĚƐŽĨƚŝŵĞ͘ƚƚŝŵĞƐ͕ŚĞǁƌŝƚĞƐĨŽƌηϯϲϬĚŝĂǌĞƉĂŵϭϬŵŐ
 ƚĂďůĞƚƐĂŶĚĨŽƌηϯϲϬĂůƉƌĂǌŽůĂŵϮŵŐƚĂďůĞƚƐ͘,ĞƌĞ/ǁŝůůŽďƐĞƌǀĞƚŚĂƚĚŝĂǌĞƉĂŵĂŶĚĂůƉƌĂǌŽůĂŵ
 ĂƌĞĂŵŽŶŐƚŚĞŵŽƐƚĨƌĞƋƵĞŶƚůǇƌĞƋƵĞƐƚĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐďǇƚŚŽƐĞƐĞĞŬŝŶŐ
 ƐĞĚĂƚŝǀĞƐĨŽƌŶŽŶͲŵĞĚŝĐĂůƵƐĞ͖ĞĂĐŚŽĨƚŚĞƐĞĚƌƵŐƐĐĂƌƌŝĞƐĂĚĞĨŝŶŝƚĞƐƚƌĞĞƚǀĂůƵĞ͘/ĨƚŚĞƐĞĚƌƵŐƐ
 ǁĞƌĞďĞŝŶŐĚŝǀĞƌƚĞĚ͕ƚŚĞŶƚŚĞƐĞŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐĂŵƉůŝĨǇƚŚĞƐŽĐŝĞƚĂůŝŵƉĂĐƚŽĨƚŚĂƚĂĐƚŝǀŝƚǇ͘
 ƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŚĂǀĞŶŽƚƉƌĞƐĐƌŝďĞĚƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐĂƚƚŚĞƐĞĚŽƐĞƐĂŶĚŝŶ
 ƚŚĞƐĞĐŽŵďŝŶĂƚŝŽŶƐ͖ĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŶŽƚŚĂǀĞĂƵƚŚŽƌŝǌĞĚŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨ
 ƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐ͘dŚŝƐƉĂƚƚĞƌŶŽĨĐŽŵďŝŶĞĚƐĞĚĂƚŝǀĞƉƌĞƐĐƌŝďŝŶŐĂŶĚŝƐƐƵĂŶĐĞŽĨŚŝŐŚĚŽƐĂŐĞ
 ƵŶŝƚƐŽĨƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^Ś͘>ŝ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƌĞͲĚĞŵŽŶƐƚƌĂƚĞƐŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚ͕ŚŝŐŚͲĚŽƐĞ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞĂŶĚĂŚǇƉŶŽƚŝĐŝŶĐŽŵďŝŶĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐĂĨĞŵĂůĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶ
 ŽĨĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͕ǌŽůƉŝĚĞŵZϭϮ͘ϱŵŐͬĚĂǇĂŶĚsĂůŝƵŵϰϬŵŐͬĚĂǇ͘/ŶϮϬϭϯ͕ƚŚĞ&ƌĞůĞĂƐĞĚ
 ĂŶƵƉĚĂƚĞĚƐĂĨĞƚǇĂĚǀŝƐŽƌǇĨŽƌŵďŝĞŶĂŶĚŵďŝĞŶZ͗

         dŚĞƌĞĐŽŵŵĞŶĚĞĚŝŶŝƚŝĂůĚŽƐĞŽĨĐĞƌƚĂŝŶŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞǌŽůƉŝĚĞŵƉƌŽĚƵĐƚƐ;ŵďŝĞŶ
         ĂŶĚĚůƵĂƌͿŝƐϱŵŐĨŽƌǁŽŵĞŶĂŶĚĞŝƚŚĞƌϱŵŐŽƌϭϬŵŐĨŽƌŵĞŶ͘dŚĞƌĞĐŽŵŵĞŶĚĞĚ
         ŝŶŝƚŝĂůĚŽƐĞŽĨǌŽůƉŝĚĞŵĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞ;ŵďŝĞŶZͿŝƐϲ͘ϮϱŵŐĨŽƌǁŽŵĞŶĂŶĚĞŝƚŚĞƌ
         ϲ͘ϮϱŽƌϭϮ͘ϱŵŐĨŽƌŵĞŶ͘/ĨƚŚĞůŽǁĞƌĚŽƐĞƐ;ϱŵŐĨŽƌŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ͕ϲ͘ϮϱŵŐĨŽƌ
         ĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞͿĂƌĞŶŽƚĞĨĨĞĐƚŝǀĞ͕ƚŚĞĚŽƐĞĐĂŶďĞŝŶĐƌĞĂƐĞĚƚŽϭϬŵŐĨŽƌŝŵŵĞĚŝĂƚĞͲ
         ƌĞůĞĂƐĞƉƌŽĚƵĐƚƐĂŶĚϭϮ͘ϱŵŐĨŽƌǌŽůƉŝĚĞŵĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞ͘,ŽǁĞǀĞƌ͕ƵƐĞŽĨƚŚĞŚŝŐŚĞƌ
         ĚŽƐĞĐĂŶŝŶĐƌĞĂƐĞƚŚĞƌŝƐŬŽĨŶĞǆƚͲĚĂǇŝŵƉĂŝƌŵĞŶƚŽĨĚƌŝǀŝŶŐĂŶĚŽƚŚĞƌĂĐƚŝǀŝƚŝĞƐƚŚĂƚ
         ƌĞƋƵŝƌĞĨƵůůĂůĞƌƚŶĞƐƐ͘

 ǇƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞĚŝĂǌĞƉĂŵŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚǌŽůƉŝĚĞŵ͕ƌ͘tĞŝƐƐŚĂƐƵŶĚĞƌŵŝŶĞĚƚŚĞ
 ǀĞƌǇƉŽŝŶƚŽĨƚŚĂƚĂĚǀŝƐŽƌǇĂŶĚƉůĂĐĞĚƚŚĞƉĂƚŝĞŶƚĂƚƌŝƐŬŽĨĞǆĐĞƐƐŝǀĞE^ĚĞƉƌĞƐƐŝŽŶ͘dŚŝƐ
 ƉĂƚƚĞƌŶŽĨĐŽŵďŝŶŝŶŐŚǇƉŶŽƚŝĐĂŶĚƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐʹĂůƐŽŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶʹŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^͘D͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĂůĂƌŵŝŶŐĐĂƐĞŽĨƌ͘tĞŝƐƐ͛ǁŝůůŝŶŐŶĞƐƐƚŽǁƌŝƚĞĨŽƌŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐ
 ĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƌĞ͕ŚĞǁƌŝƚĞƐĂĨĞŵĂůĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆϰŵŐͬĚĂǇ͕ŵďŝĞŶ
 ϭϬŵŐͬĚĂǇĂŶĚĐůŽŶĂǌĞƉĂŵϴŵŐͬĚĂǇ͘dŚŝƐĐŽŵďŝŶĂƚŝŽŶŽĨƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂŶĚŽŶĞ

                                               WĂŐĞϰϴŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 49 of 73




 ŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶƉůĂĐĞƚŚĞƉĂƚŝĞŶƚĂƚĐŽŶƐŝĚĞƌĂďůĞƌŝƐŬŽĨƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ͕ƚŚĞƐǇŵƉƚŽŵƐŽĨ
 ǁŚŝĐŚĂƌĞĚĞƐĐƌŝďĞĚĂƚƚŚĞďĞŐŝŶŶŝŶŐŽĨƚŚŝƐƌĞƉŽƌƚ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞ
 ĂŶĚŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂů
 ĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ,͘D͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞ͕ĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ĐŽŵŵŽŶƉƌĂĐƚŝĐĞŽĨƉƌĞƐĐƌŝďŝŶŐĂ^ĐŚĞĚƵůĞ//
 ƐƚŝŵƵůĂŶƚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŽŶĞŽƌŵŽƌĞ^ĐŚĞĚƵůĞ/sƐĞĚĂƚŝǀĞƐ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐĂ
 ƉĂƚŝĞŶƚƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůϰϬŵŐͬĚĂǇ͕ĐůŽŶĂǌĞƉĂŵϴŵŐͬĚĂǇĂŶĚyĂŶĂǆϰŵŐͬĚĂǇ͘dŚŝƐ
 ƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞŵĞĚŝĂƚŝŽŶƐʹĂŶĚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶʹŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚDŝ͘WŽ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŽĨƌ͘tĞŝƐƐƉƌĞƐĐƌŝďŝŶŐĂŶƵŶƵƐƵĂůĐŽŵďŝŶĂƚŝŽŶŽĨĂƐƚŝŵƵůĂŶƚ
 ŵĞĚŝĐĂƚŝŽŶĂŶĚŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞĂŶĚͬŽƌŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶƐ͕ĐŽŶĐƵƌƌĞŶƚůǇ͘ƐĂŶĞǆĂŵƉůĞŽĨ
 ƚŚŝƐ͕ƌ͘tĞŝƐƐŝƐƐƵĞƐƉƌĞƐĐƌŝƉƚŝŽŶƐŽŶϯͬϬϯͬϯϬϭϱĨŽƌĚĚĞƌĂůůϰϬŵŐͬĚĂǇ͕sĂůŝƵŵϭϱŵŐͬĚĂǇ͕
 ǌĂůĞƉůŽŶϭϬŵŐͬĚĂǇ͕ŵďŝĞŶϭϬŵŐͬĚĂǇ͘dŚĞƉƌĞƐĐƌŝďŝŶŐŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐŝŶĐŽŵďŝŶĂƚŝŽŶ
 ĂƉƉĞĂƌƐƚŽĨĂůůŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘dŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨsĂůŝƵŵ͕
 ǌĂůĞƉůŽŶ;Ă^ĐŚĞĚƵůĞ/sŚǇƉŶŽƚŝĐͿĂŶĚŵďŝĞŶŝƐŝůůͲĂĚǀŝƐĞĚĂŶĚƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĂƚ
 ƵŶƌĞĂƐŽŶĂďůĞƌŝƐŬŽĨƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ͘KŶĞŵĂǇĂůƐŽƌŝŐŚƚůǇƋƵĞƐƚŝŽŶŝĨƚŚĞŝŶĐůƵƐŝŽŶŽĨƚŚĞ
 ƐƚŝŵƵůĂŶƚŝŶƚŚĞƌĞŐŝŵĞŶŝƐĐĂƵƐŝŶŐŽƌĐŽŶƚƌŝďƵƚŝŶŐƚŽŝŶƐŽŵŶŝĂŽƌƚŽĂŶǆŝĞƚǇ͘ƚŽƚŚĞƌƚŝŵĞƐ͕ƌ͘
 tĞŝƐƐǁƌŝƚĞƐƚŚĞƉĂƚŝĞŶƚĨŽƌĂĐŽŵďŝŶĂƚŝŽŶŽĨ>ƵŶĞƐƚĂ͕sĂůŝƵŵ͕ĂŶĚǌĂůĞƉůŽŶ͘ǇϲͬϮϮͬϮϬϭϲ͕ƌ͘
 tĞŝƐƐŚĂƐĂĚǀĂŶĐĞĚƚŚŝƐƐƚƌĂŶŐĞƌĞŐŝŵĞŶƚŽŵďŝĞŶϭϬŵŐͬĚĂǇ͕sĂůŝƵŵϮϬŵŐͬĚĂǇ͕ǌĂůĞƉůŽŶ
 ϭϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϲϬŵŐͬĚĂǇ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐĂŶĚŚǇƉŶŽƚŝĐƐ
 ƚŽĂƉĂƚŝĞŶƚʹĂŶĚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶʹŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞ
 ŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞ
 ŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚŽ͘ZŽ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐǁƌŽƚĞƚŚŝƐƉĂƚŝĞŶƚĂŚŝŐŚͲĚŽƐĞŽĨyĂŶĂǆƌĞƉĞĂƚĞĚůǇ͕ŽŶĂůŽŶŐͲƚĞƌŵďĂƐŝƐ͘
 dŚĞƉƌĞƐĐƌŝďĞĚyĂŶĂǆĚŽƐĞǁĂƐŽĨƚĞŶϭϬŵŐͬĚĂǇ͘dŚĞƌĞĂƌĞƐƵŐŐĞƐƚŝŽŶƐŽĨĞĂƌůǇƌĞĨŝůůƐŽĨyĂŶĂǆ
 ĂƚŵƵůƚŝƉůĞƉŽŝŶƚƐ͕ŝŶĐůƵĚŝŶŐŽŶϱͬϮϵͬϮϬϭϳ͕ϲͬϮϬͬϮϬϭϳ͕ϵͬϬϴͬϮϬϭϳ͕ϭϬͬϮϱͬϮϬϭϳ͕ϭϭͬϬϲͬϮϬϭϳ͕
 ϭϭͬϮϮͬϮϬϭϳĂŶĚϴͬϬϵͬϮϬϭϵ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞ͕ůŽŶŐƚĞƌŵƐĞĚĂƚŝǀĞƐʹĂŶĚ
 ƉƌŽǀŝĚŝŶŐĞĂƌůǇƌĞĨŝůůƐŽĨƐĞĚĂƚŝǀĞƐʹŝƐ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŽƵƚƐŝĚĞŽĨƚŚĞ
 ƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ:Ž͘^Đ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͕ĂůƉƌĂǌŽůĂŵĂŶĚƚĞŵĂǌĞƉĂŵ͕ƚŽƉĂƚŝĞŶƚ
 :Ž͘^Đ͘ƌĞƉĞĂƚĞĚůǇ͘dŚĞƉƌĞƐĐƌŝďĞĚyĂŶĂǆĚŽƐĞǁĂƐŐĞŶĞƌĂůůǇϭϬŵŐͬĚĂǇ͕ĂŶĚƚŚĞƉƌĞƐĐƌŝďĞĚ


                                               WĂŐĞϰϵŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 50 of 73




 ƚĞŵĂǌĞƉĂŵĚŽƐĞǁĂƐŐĞŶĞƌĂůůǇϯϬŵŐͬĚĂǇ͘/ŶƚŚŝƐĐĂƐĞ͕ƚŚĞƌĞĂƉƉĞĂƌƚŽďĞŵƵůƚŝƉůĞŝŶƐƚĂŶĐĞƐ
 ŽĨĞĂƌůǇƌĞĨŝůůƐŽĨyĂŶĂǆ͕ŽŶĨŝůůĚĂƚĞƐϲͬϭϲͬϮϬϭϱ͕ϲͬϮϵͬϮϬϭϱ͕ϭϮͬϮϯͬϮϬϭϱ͕ĂŶĚϭϬͬϮϬͬϮϬϭϳ͘KŶ
 ϭϬͬϮͬϮϬϭϲ͕ƌ͘tĞŝƐƐǁƌŽƚĞĨŽƌŚǇĚƌŽĐŽĚŽŶĞͬWWĨŽƌƚŚŝƐƉĂƚŝĞŶƚ͘Ɛ/ŚĂǀĞŝŶĚŝĐĂƚĞĚĞĂƌůŝĞƌ
 ŝŶƚŚŝƐƌĞƉŽƌƚ͕ǁƌŝƚŝŶŐĨŽƌŶĂƌĐŽƚŝĐĂŶĂůŐĞƐŝĂŝƐŽƵƚƐŝĚĞŽĨƚŚĞƐĐŽƉĞŽĨƉƌĂĐƚŝĐĞĨŽƌĂŶŽƵƚƉĂƚŝĞŶƚ
 WƐǇĐŚŝĂƚƌǇĐůŝŶŝĐ͘dŚŝƐŝƐƉĂƌƚŝĐƵůĂƌůǇĐŽŶĐĞƌŶŝŶŐŝŶƚŚŝƐĐĂƐĞ͕ĂƐƌ͘tĞŝƐƐǁĂƐ͕ĂƚƚŚĞƐĂŵĞƚŝŵĞ
 ƚŚĂƚŚĞŝƐƐƵĞĚƚŚĞŚǇĚƌŽĐŽĚŽŶĞƉƌĞƐĐƌŝƉƚŝŽŶ͕ǁƌŝƚŝŶŐƚŚĞƉĂƚŝĞŶƚĨŽƌƚǁŽďĞŶǌŽĚŝĂǌĞƉŝŶĞ
 ŵĞĚŝĐĂƚŝŽŶƐ͕ŝŶĐůƵĚŝŶŐŚŝŐŚͲĚŽƐĞyĂŶĂǆ͘dŚĞƌĞŝƐĂǁĞůůͲŬŶŽǁŶƐǇŶĞƌŐŝƐƚŝĐĞĨĨĞĐƚǁŚĞŶŽƉŝŽŝĚƐ
 ĂŶĚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂƌĞƚĂŬĞŶƚŽŐĞƚŚĞƌ͕ƐƵĐŚƚŚĂƚƚŚĞE^ĚĞƉƌĞƐƐŝŽŶĂĐŚŝĞǀĞĚŝŶƚŚĂƚŵĂŶŶĞƌ
 ŝƐŐƌĞĂƚĞƌƚŚĂŶǁŚĂƚŽŶĞǁŽƵůĚĞǆƉĞĐƚĨƌŽŵƚŚĞĂĚĚŝƚŝǀĞĞĨĨĞĐƚƐŽĨĞĂĐŚŵĞĚŝĐĂƚŝŽŶĐŽŶƐŝĚĞƌĞĚ
 ŝŶĚŝǀŝĚƵĂůůǇ͘dŚŝƐŝƐƚŚĞƌĞĂƐŽŶƚŚĂƚƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨďĞŶǌŽĚŝĂǌĞƉŝŶĞƐĂŶĚƉƌĞƐĐƌŝƉƚŝŽŶŽƉŝŽŝĚƐ
 ĂƌĞŝŵƉůŝĐĂƚĞĚŝŶŵĂŶǇŽǀĞƌĚŽƐĞĚĞĂƚŚƐ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐŚĂƐǁŝůůŝŶŐůǇƉƌĞƐĐƌŝďĞĚĂ
 ŶĂƌĐŽƚŝĐĂŶĂůŐĞƐŝĐƚŽƚŚĞƐĂŵĞƉĂƚŝĞŶƚƚŚĂƚŚĞǁĂƐĂůƌĞĂĚǇƉƌĞƐĐƌŝďŝŶŐĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐ͘dŚŝƐƉĂƚƚĞƌŶŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞƐƚŽĂƉĂƚŝĞŶƚʹĂŶĚŝŶ
 ĐŽŶũƵŶĐƚŝŽŶǁŝƚŚĂŶŽƉŝŽŝĚʹƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĂƚŚŝŐŚƌŝƐŬŽĨƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ͖ǁŝƚŚŝŶĂ
 ƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƚŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚ
 ǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚĂ͘^Ž͘

 dŚŝƐĐĂƐĞŝƐĂůƐŽĐŽŶĐĞƌŶŝŶŐďĞĐĂƵƐĞŽĨƌ͘tĞŝƐƐ͛ŝƐƐƵĂŶĐĞƐŽĨŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌŚŝŐŚ
 ĚŽƐĂŐĞƵŶŝƚƐŽĨyĂŶĂǆ͘/ŶƚŚŝƐĐĂƐĞ͕ŚĞŝƐƐƵĞƐŵƵůƚŝƉůĞƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϰϱϬyĂŶĂǆϮŵŐƚĂďůĞƚƐ͘
 /ŶƐŽŵĞĐĂƐĞƐ͕ƚŚĞƐĞƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϰϱϬyĂŶĂǆϮŵŐƚĂďůĞƚƐĐŽƌƌĞƐƉŽŶĚƚŽĂϱϲͲĚĂǇƐƵƉƉůǇ;ĂƐ
 ŽŶϭϬͬϭϬͬϮϬϭϲͿ͖ŝŶŽƚŚĞƌĐĂƐĞƐ͕ƚŚĞǇĐŽƌƌĞƐƉŽŶĚƚŽĂϵϬͲĚĂǇƐƵƉƉůǇ͘ƚƚŚĞƵƉƉĞƌŵŽƐƚůŝŵŝƚŽĨ
 ƚŚŝƐƉƌĞƐĐƌŝďŝŶŐ͕ƚŚĂƚĐŽƌƌĞƐƉŽŶĚƐƚŽϭϲŵŐŽĨyĂŶĂǆĚĂŝůǇ͖ĂƚƚŚĞůŽǁĞƌůŝŵŝƚ͕ŝƚĐŽƌƌĞƐƉŽŶĚƐƚŽ
 ϭϬŵŐŽĨyĂŶĂǆĚĂŝůǇ͘dŚĞƐĞĂƌĞĞǆĐĞĞĚŝŶŐůǇŚŝŐŚĚŽƐĞƌĂŶŐĞƐĂŶĚƚŚĞǇĂƌĞƌĂŶŐĞƐǁŚŝĐŚƉƵƚƚŚĞ
 ƉĂƚŝĞŶƚĂƚƌŝƐŬĨŽƌďĞŶǌŽĚŝĂǌĞƉŝŶĞƚŽǆŝĐŝƚǇ͘EŽƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚƉƌĞƐĐƌŝďĞyĂŶĂǆĂƚ
 ƚŚĞƐĞĚŽƐĞƐĂŶĚŶŽƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚŝƐƐƵĞĂƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌηϰϱϬĚŽƐĂŐĞƵŶŝƚƐŽĨ
 yĂŶĂǆ͘/ďĞůŝĞǀĞƚŚĂƚŝƚŝƐƌĞĂƐŽŶĂďůĞƚŽƐƵƐƉĞĐƚƐƵďƐƚĂŶĐĞĂďƵƐĞĂŶĚͬŽƌĚŝǀĞƌƐŝŽŶŝŶƚŚŝƐĐĂƐĞ͘
 ƌ͘tĞŝƐƐ͛ƉƌĞƐĐƌŝďŝŶŐŽĨyĂŶĂǆŝŶƚŚŝƐŵĂŶŶĞƌ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐ
 ŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 WĂƚŝĞŶƚ^͘s͘

 dŚŝƐĐĂƐĞŝƐǀĞƌǇĐŽŶĐĞƌŶŝŶŐŝŶƚŚĂƚƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƚŽĂĨĞŵĂůĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨĂ
 ŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞ͕ŝŶĐŽŵďŝŶĂƚŝŽŶǁŝƚŚĂŚŝŐŚͲĚŽƐĞŚǇƉŶŽƚŝĐ͘ƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇ
 ǁƌŝƚĞƐĨŽƌƚŚŝƐƉĂƚŝĞŶƚƚŝǀĂŶϴŵŐͬĚĂǇ͕ŝŶĂĚĚŝƚŝŽŶƚŽ>ƵŶĞƐƚĂϵŵŐͬĚĂǇ͘dŚŝƐĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŵĞĚŝĐĂƚŝŽŶƐĂƚƚŚĞƐĞĚŽƐĞƐƉůĂĐĞĚƚŚĞƉĂƚŝĞŶƚĂƚƐŝŐŶŝĨŝĐĂŶƚƌŝƐŬŽĨĐƵŵƵůĂƚŝǀĞE^ĚĞƉƌĞƐƐŝŽŶ
 ĂŶĚƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇ͘dŚĞ&ůĂďĞůĨŽƌ>ƵŶĞƐƚĂƐƉĞĐŝĨŝĞƐƚŚĞƌĞĐŽŵŵĞŶĚŝŶŐƐƚĂƌƚŝŶŐĚŽƐĞŽĨƚŚĞ
 ŵĞĚŝĐĂƚŝŽŶĂƐϭŵŐŶŝŐŚƚůǇ͖ŝƚƐƉĞĐŝĨŝĞƐƚŚĞŵĂǆŝŵƵŵĚŽƐĞŽĨ>ƵŶĞƐƚĂĂƐϯŵŐŶŝŐŚƚůǇ͘ƌ͘tĞŝƐƐ
 ŚĂƐƉůĂŝŶůǇĞǆĐĞĞĚĞĚƚŚĂƚĂŶĚĐŽŵƉŽƵŶĚĞĚƚŚĞƉĂƚŝĞŶƚ͛ƐƌŝƐŬďǇĐŽͲƉƌĞƐĐƌŝďŝŶŐ>ƵŶĞƐƚĂǁŝƚŚ
 ŚŝŐŚͲĚŽƐĞƚŝǀĂŶ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞůŽƌĂǌĞƉĂŵĐŽŶĐƵƌƌĞŶƚůǇǁŝƚŚĂŶ
 ĞǆĐĞƐƐŝǀĞĚŽƐĞŽĨ>ƵŶĞƐƚĂ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞ
 ŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

                                                WĂŐĞϱϬŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 51 of 73




 WĂƚŝĞŶƚĞ͘tĂ͘

 dŚŝƐŝƐǇĞƚĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐƉƌŽǀŝĚĞƐĂĨĞŵĂůĞƉĂƚŝĞŶƚǁŝƚŚŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞ
 ĂŶĚͬŽƌŚǇƉŶŽƚŝĐĚƌƵŐƐŝŶĐŽŵďŝŶĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƉƌŽǀŝĚĞƐƚŚĞƉĂƚŝĞŶƚǁŝƚŚƐŝŵƵůƚĂŶĞŽƵƐ
 ƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌyĂŶĂǆϯŵŐͬĚĂǇ͕ǌĂůĞƉůŽŶϭϬŵŐͬĚĂǇĂŶĚŵďŝĞŶϭϬŵŐͬĚĂǇ͘/ŶŽƚŚĞƌƐĞĐƚŝŽŶƐ
 ŽĨƚŚŝƐƌĞƉŽƌƚ͕/ŚĂǀĞĚŝƐĐƵƐƐĞĚŶŽƚŽŶůǇƚŚĞŚĂǌĂƌĚƐŝŶƐƚĂĐŬŝŶŐƐĞĚĂƚŝǀĞĂŶĚŚǇƉŶŽƚŝĐĚƌƵŐƐƚŚŝƐ
 ǁĂǇ͕ďƵƚĂůƐŽƚŚĞ&ĂĚǀŝƐŽƌǇŽŶŵďŝĞŶ͘dŚŝƐŵĂŶŶĞƌŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞĂŶĚ
 ŚǇƉŶŽƚŝĐƐŝŶĐŽŵďŝŶĂƚŝŽŶ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞ
 ŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 D/^>>EKh^WZ^Z//E'KEZE^

 dŚĞĨŽůůŽǁŝŶŐƉĂƚŝĞŶƚĞŶƚƌŝĞƐŽŶƚŚĞƉƌŽǀŝĚĞƌWDWŐĞŶĞƌĂƚĞĚĐŽŶĐĞƌŶĨŽƌĂƉƉƌŽƉƌŝĂƚĞŶĞƐƐŽĨ
 ƉƌĞƐĐƌŝďŝŶŐ͕ďĂƐĞĚƵƉŽŶƚŚĞƉĂƌƚŝĐƵůĂƌŵĞĚŝĐĂƚŝŽŶƐƵƐĞĚ͕ƚŚĞƉĂƌƚŝĐƵůĂƌĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŵĞĚŝĐĂƚŝŽŶƐƉƌĞƐĐƌŝďĞĚĂŶĚͬŽƌƚŚĞĚŽƐĂŐĞƐŽĨŵĞĚŝĐĂƚŝŽŶƐĂĐŚŝĞǀĞĚ͘ŶŽƉŝŶŝŽŶĂďŽƵƚǁŚĞƚŚĞƌ
 ƚŚĞƐĞƉƌĞƐĐƌŝďŝŶŐŝŶƐƚĂŶĐĞƐǁĞƌĞǁŝƚŚŝŶƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞŽƌǁŝƚŚĂ
 ůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞŵĂǇďĞĂƌƌŝǀĞĚĂƚďǇĂƌĞǀŝĞǁŽĨƚŚĞŝŶĚŝǀŝĚƵĂůƉĂƚŝĞŶƚĐŚĂƌƚƐ͘

 WĂƚŝĞŶƚD͘>͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞŝŶǁŚŝĐŚƌ͘tĞŝƐƐĨŽƵŶĚŝƚĂƉƉƌŽƉƌŝĂƚĞƚŽƉƌĞƐĐƌŝďĞĂƉĂƚŝĞŶƚĂŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚĂŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞ͕ĐŽŶĐƵƌƌĞŶƚůǇ͘,ĞƉƌŽǀŝĚĞĚƌĞĐƵƌƌĞŶƚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϭϮϬ
 ĚĚĞƌĂůůϭϬŵŐƚĂďůĞƚƐ͕ĞŝƚŚĞƌǁŝƚŚĂƉƌĞƐĐƌŝƉƚŝŽŶĨŽƌĐůŽŶĂǌĞƉĂŵϴŵŐͬĚĂǇŽƌĨŽƌĂůƉƌĂǌŽůĂŵ
 ϴŵŐͬĚĂǇ͘,ĞƌĞ͕ƌ͘tĞŝƐƐĞůĞĐƚƐƚŽƉƌĞƐĐƌŝďĞĂƐŵĂůůĞƌƚĂďůĞƚƐŝǌĞŽĨĚĚĞƌĂůů͕ǁŝƚŚŚŝŐŚŵŽŶƚŚůǇ
 ĚŽƐĂŐĞƵŶŝƚƐ͘

 WĂƚŝĞŶƚ͘͘

 KŶϵͬϭϲͬϮϬϭϲ͕ƉĂƚŝĞŶƚ͘͘ĨŝůůĞĚηϵϬĚĚĞƌĂůůϮϬŵŐƚĂďůĞƚƐŽŶƌ͘tĞŝƐƐ͛ĂƵƚŚŽƌŝǌĂƚŝŽŶ͕
 ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨŵĞĚŝĐĂƚŝŽŶ͘dŚŝƐƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĚŽƐĞŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ
 ĚĚĞƌĂůůĂƚϲϬŵŐƉĞƌĚĂǇ͕ĐůĞĂƌůǇŝŶĞǆĐĞƐƐŽĨƚŚĞϰϬŵŐƉĞƌĚĂǇƚŚĂƚĂƌĞŶŽƚƵƐƵĂůůǇƌĞƋƵŝƌĞĚ͕
 ĂĐĐŽƌĚŝŶŐƚŽŵƵůƚŝƉůĞƐŽƵƌĐĞƐ;DŝĐƌŽŵĞĚĞǆ͕D^͕WZĂŶĚƌ͘^ƚĂŚůͿ͘

 WĂƚŝĞŶƚ:Ă͘ũ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĂƵƚŚŽƌŝǌĞĚŵƵůƚŝƉůĞĨŝůůƐŽĨηϲϬĚĚĞƌĂůůϯϬŵŐƚĂďůĞƚƐĨŽƌƚŚĞƉĂƚŝĞŶƚ͕ĞĂĐŚ
 ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇ͘dŚŝƐƉůĂĐĞƐƚŚĞƉĂƚŝĞŶƚĚŽƐĞŽĨŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂƚ
 ϲϬŵŐƉĞƌĚĂǇ͕ĐůĞĂƌůǇŝŶĞǆĐĞƐƐŽĨƚŚĞϰϬŵŐƉĞƌĚĂǇƚŚĂƚĂƌĞŶŽƚƵƐƵĂůůǇƌĞƋƵŝƌĞĚ͕ĂĐĐŽƌĚŝŶŐƚŽ
 ŵƵůƚŝƉůĞƐŽƵƌĐĞƐ;DŝĐƌŽŵĞĚĞǆ͕D^͕WZĂŶĚƌ͘^ƚĂŚůͿ͘

 WĂƚŝĞŶƚt͘͘ĂŶĚWĂƚŝĞŶƚ:͘͘

 dŚĞƐĞƚǁŽƉĂƚŝĞŶƚĐĂƐĞƐĂůƐŽŝůůƵƐƚƌĂƚĞƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞĚĚĞƌĂůůĂŶĚĂ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞŝŶĐŽŵďŝŶĂƚŝŽŶ͕ĂƐǁĞůůĂƐŚŝƐƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͘ĂĐŚŽĨ
 ƚŚĞƐĞƉĂƚŝĞŶƚƐǁĂƐƉƌĞƐĐƌŝďĞĚĚĚĞƌĂůůĂƚϲϬŵŐƉŽĚĂŝůǇ͘


                                                WĂŐĞϱϭŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 52 of 73




 WĂƚŝĞŶƚZ͘͘

 dŚŝƐĐĂƐĞŝůůƵƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞŚŝŐŚͲĚŽƐĞďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͕ŝŶǀŽůǀŝŶŐŚŝŐŚ
 ĚŽƐĂŐĞƵŶŝƚƐ͕ŽǀĞƌĂůŽŶŐƉĞƌŝŽĚŽĨƚŝŵĞ͘ƚŽŶĞƉŽŝŶƚ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƉĂƚŝĞŶƚZ͘͘ηϭϮϬ
 ůŽƌĂǌĞƉĂŵϮŵŐƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽĚŽƐŝŶŐĂƚϴŵŐƉĞƌĚĂǇ͘,ĞƉƌĞƐĐƌŝďĞĚůŽƌĂǌĞƉĂŵƚŽ
 ƉĂƚŝĞŶƚZ͘͕͘ĨƌŽŵϴͬϭϱͬϮϬϭϰƚŽϱͬϮϳͬϮϬϭϴ͕ĂĐĐŽƌĚŝŶŐƚŽƚŚŝƐWDWƌĞƉŽƌƚ͘dŚĞƐĞŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐ
 ŽŶůǇĨĂĐŝůŝƚĂƚĞĂŶĚĐŽŵƉŽƵŶĚĚƌƵŐĚŝǀĞƌƐŝŽŶ͕ǁŚĞƌĞǀĞƌƚŚĂƚŵŝŐŚƚďĞŽĐĐƵƌƌŝŶŐ͘

 WĂƚŝĞŶƚ<͘͘

 /ŶƚŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚ<͘͕͘ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŚĞƉĂƚŝĞŶƚƚŚĞĂŶĂůŐĞƐŝĐƚƌĂŵĂĚŽů͕ŝŶĂĚĚŝƚŝŽŶƚŽ
 ĐůŽŶĂǌĞƉĂŵ͘/ŶŵǇŽƉŝŶŝŽŶ͕ƉƌĞƐĐƌŝďŝŶŐƚƌĂŵĂĚŽůŽƌŶĂƌĐŽƚŝĐĂŶĂůŐĞƐŝĂĨĂůůƐŽƵƚƐŝĚĞŽĨƚŚĞƐĐŽƉĞŽĨ
 ƉƌĂĐƚŝĐĞĨŽƌĂWƐǇĐŚŝĂƚƌǇĐůŝŶŝĐ͘

 WĂƚŝĞŶƚ͘͘

 /ŶƚŚĞĐĂƐĞŽĨƉĂƚŝĞŶƚ͘͘ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐƌĞĐƵƌƌĞŶƚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϵϬĂůƉƌĂǌŽůĂŵϮŵŐ
 ƚĂďůĞƚƐ͕ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽyĂŶĂǆϲŵŐƉŽĚĂŝůǇ͘,ĞĂůƐŽƉƌĞƐĐƌŝďĞƐƚŽŚĞƌƚŚĞŵƵƐĐůĞƌĞůĂǆĂŶƚ
 ĐĂƌŝƐŽƉƌŽĚŽůĂƚŝŶƚĞƌǀĂůƐ͕ďĞƚǁĞĞŶϯͬϮϱͬϮϬϭϳĂŶĚϴͬϮϱͬϮϬϭϴ͘WƌĞƐĐƌŝďŝŶŐŵƵƐĐůĞƌĞůĂǆĂŶƚƐŝƐŶŽƚĂ
 ĐŽŵŵŽŶƉƌĂĐƚŝĐĞŝŶŽƵƚƉĂƚŝĞŶƚWƐǇĐŚŝĂƚƌǇ͖ŝŶƚŚŝƐĐĂƐĞ͕ĂƌĞĂƐŽŶĂďůĞƉƌŽǀŝĚĞƌǁŽƵůĚůŝŬĞůǇŶŽƚŚĂǀĞ
 ƉƌĞƐĐƌŝďĞĚĐĂƌŝƐŽƉƌŽĚŽůŝŶĂĚĚŝƚŝŽŶƚŽyĂŶĂǆϲŵŐƉŽĚĂŝůǇ͕ďĂƐĞĚƵƉŽŶĂĐŽŶĐĞƌŶĨŽƌĐƵŵƵůĂƚŝǀĞ
 ƐĞĚĂƚŝŽŶ͘

 WĂƚŝĞŶƚd͘ͲK͘

 dŚŝƐĐĂƐĞŝůůƵƐƚƌĂƚĞƐĂŶŽƚŚĞƌƚƌĞŶĚŽĨƌ͘tĞŝƐƐ͗ƚŚĞĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨĂŚǇƉŶŽƚŝĐŵĞĚŝĐĂƚŝŽŶĂŶĚĂ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞ͘/ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĂĨĞŵĂůĞƉĂƚŝĞŶƚŵďŝĞŶϭϬŵŐƉŽŶŝŐŚƚůǇ͕ŝŶ
 ĂĚĚŝƚŝŽŶƚŽĐůŽŶĂǌĞƉĂŵϭŵŐƉŽƚŝĚ͘/ŶϮϬϭϯ͕ƚŚĞ&ƌĞůĞĂƐĞĚĂŶƵƉĚĂƚĞĚƐĂĨĞƚǇĂĚǀŝƐŽƌǇĨŽƌ
 ŵďŝĞŶĂŶĚŵďŝĞŶZ͗

         dŚĞƌĞĐŽŵŵĞŶĚĞĚŝŶŝƚŝĂůĚŽƐĞŽĨĐĞƌƚĂŝŶŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞǌŽůƉŝĚĞŵƉƌŽĚƵĐƚƐ;ŵďŝĞŶ
         ĂŶĚĚůƵĂƌͿŝƐϱŵŐĨŽƌǁŽŵĞŶĂŶĚĞŝƚŚĞƌϱŵŐŽƌϭϬŵŐĨŽƌŵĞŶ͘dŚĞƌĞĐŽŵŵĞŶĚĞĚ
         ŝŶŝƚŝĂůĚŽƐĞŽĨǌŽůƉŝĚĞŵĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞ;ŵďŝĞŶZͿŝƐϲ͘ϮϱŵŐĨŽƌǁŽŵĞŶĂŶĚĞŝƚŚĞƌ
         ϲ͘ϮϱŽƌϭϮ͘ϱŵŐĨŽƌŵĞŶ͘/ĨƚŚĞůŽǁĞƌĚŽƐĞƐ;ϱŵŐĨŽƌŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞ͕ϲ͘ϮϱŵŐĨŽƌ
         ĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞͿĂƌĞŶŽƚĞĨĨĞĐƚŝǀĞ͕ƚŚĞĚŽƐĞĐĂŶďĞŝŶĐƌĞĂƐĞĚƚŽϭϬŵŐĨŽƌŝŵŵĞĚŝĂƚĞͲ
         ƌĞůĞĂƐĞƉƌŽĚƵĐƚƐĂŶĚϭϮ͘ϱŵŐĨŽƌǌŽůƉŝĚĞŵĞǆƚĞŶĚĞĚͲƌĞůĞĂƐĞ͘,ŽǁĞǀĞƌ͕ƵƐĞŽĨƚŚĞŚŝŐŚĞƌ
         ĚŽƐĞĐĂŶŝŶĐƌĞĂƐĞƚŚĞƌŝƐŬŽĨŶĞǆƚͲĚĂǇŝŵƉĂŝƌŵĞŶƚŽĨĚƌŝǀŝŶŐĂŶĚŽƚŚĞƌĂĐƚŝǀŝƚŝĞƐƚŚĂƚ
         ƌĞƋƵŝƌĞĨƵůůĂůĞƌƚŶĞƐƐ͘

 dŚĞŝŶŝƚŝĂůƉƌĞƐĐƌŝƉƚŝŽŶĞŶƚƌǇĨŽƌƚŚŝƐƉĂƚŝĞŶƚŽŶƌ͘tĞŝƐƐ͛ƉƌŽǀŝĚĞƌWDWŝƐĨŽƌŵďŝĞŶϭϬŵŐ
 ŶŝŐŚƚůǇ͘tŝƚŚŽƵƚƌĞǀŝĞǁŝŶŐƚŚĞĐŚĂƌƚ͕ŝƚŝƐŝŵƉŽƐƐŝďůĞƚŽĚĞƚĞƌŵŝŶĞǁŚĞƚŚĞƌƚŚĞƉĂƚŝĞŶƚǁĂƐ
 ƉƌĞǀŝŽƵƐůǇƚĂŬŝŶŐŵďŝĞŶϱŵŐŶŝŐŚƚůǇĨƌŽŵĂŶŽƚŚĞƌƉƌŽǀŝĚĞƌ͘/ŶĂŶǇĐĂƐĞ͕ŝƚŝƐŝůůͲĂĚǀŝƐĞĚƚŽŚĂǀĞ
 ĂƉĂƚŝĞŶƚƚĂŬŝŶŐĐůŽŶĂǌĞƉĂŵϭŵŐƉŽƚŚƌĞĞƚŝŵĞƐĚĂŝůǇ͕ŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŵďŝĞŶ͘ůŽŶĂǌĞƉĂŵ
 ŝƐĂƐĞĚĂƚŝŶŐďĞŶǌŽĚŝĂǌĞƉŝŶĞƚŚĂƚŚĂƐĂůŽŶŐŚĂůĨͲůŝĨĞ͘


                                               WĂŐĞϱϮŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 53 of 73




 WĂƚŝĞŶƚZ͘͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞǁŚŝĐŚĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞĂďĞŶǌŽĚŝĂǌĞƉŝŶĞ
 ŵĞĚŝĐĂƚŝŽŶĂŶĚĚĚĞƌĂůů;ŝŶĚŽƐĞƐƵƉƚŽϲϬŵŐĚĂŝůǇͿ͕ĂŶĚŽŶĂĐŚƌŽŶŝĐďĂƐŝƐ͘

 WĂƚŝĞŶƚt͘͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞǁŚŝĐŚĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞĂyĂŶĂǆĂŶĚĚĚĞƌĂůů
 ŽŶĂĐŚƌŽŶŝĐďĂƐŝƐ͘

 WĂƚŝĞŶƚ:Ă͘Ğ͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞǁŚĞƌĞƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐĂƉĂƚŝĞŶƚŚŝŐŚͲĚŽƐĞyĂŶĂǆ;ϴŵŐͬĚĂǇͿ͕ŝŶĂĚĚŝƚŝŽŶ
 ƚŽĚĚĞƌĂůů͘

 WĂƚŝĞŶƚ:Ğ͘Ğ͘

 dŚŝƐĐĂƐĞŝƐƵŶƵƐƵĂů͕ŝŶƚŚĂƚŝƚŝŶǀŽůǀĞƐƚŚĞŽĨĨͲůĂďĞůƉƌĞƐĐƌŝƉƚŝŽŶŽĨŬĞƚĂŵŝŶĞƉŽǁĚĞƌƚŽĂ
 ƉĂƚŝĞŶƚ͘ĂĐŚŽĨƚǁŽŬĞƚĂŵŝŶĞƉŽǁĚĞƌƉƌĞƐĐƌŝƉƚŝŽŶƐǁĂƐŝƐƐƵĞĚƚŽƚŚŝƐƉĂƚŝĞŶƚŝŶ:ĂŶƵĂƌǇϮϬϭϴ͘
 dŚĞƵƐĞŽĨŬĞƚĂŵŝŶĞŝŶWƐǇĐŚŝĂƚƌǇŚĂƐďĞĞŶǀĞƌǇĐŽŶƚƌŽǀĞƌƐŝĂů͘tŚŝůĞƚŚĞƌĞĂƌĞĂƐŵĂůůŶƵŵďĞƌ
 ŽĨƉƌŽǀŝĚĞƌƐʹŽĨƚĞŶŶŽŶͲWƐǇĐŚŝĂƚƌŝƐƚƐʹǁŚŽŚĂǀĞƉƌŽǀŝĚĞĚ/sŝŶĨƵƐŝŽŶƐŽĨŬĞƚĂŵŝŶĞƚŽƉĂƚŝĞŶƚƐ
 ĨŽƌŵŽŽĚĚŝƐƚƵƌďĂŶĐĞƐ͕ƚŚĞ&ŚĂƐŶŽƚĂƉƉƌŽǀĞĚĂŶŽŶͲĂŶĞƐƚŚĞƚŝĐƵƐĞŽĨ/sŬĞƚĂŵŝŶĞ͘DŽƐƚ
 ƉƌŽǀŝĚĞƌƐǁŽƵůĚĂŐƌĞĞƚŚĂƚƵƐĞŽĨ/sŬĞƚĂŵŝŶĞŝƐŝŶĨĂĐƚĐŽŶƚƌŽǀĞƌƐŝĂů͕ĂŶĚƚŚĂƚĂŶǇ
 ĂĚŵŝŶŝƐƚƌĂƚŝŽŶŽĨ/sŬĞƚĂŵŝŶĞŵƵƐƚŝŶǀŽůǀĞĐĂƌĞĨƵů͕ŝŶͲŽĨĨŝĐĞŵŽŶŝƚŽƌŝŶŐŽĨƚŚĞƉĂƚŝĞŶƚ͕ƚŽ
 ŝŶĐůƵĚĞƉƵůƐĞŽǆŝŵĞƚƌǇĂŶĚǀŝƚĂůƐŝŐŶŵŽŶŝƚŽƌŝŶŐ͘/ŶDĂƌĐŚϮϬϭϵ͕ƚŚĞ&ĂƉƉƌŽǀĞĚƵƐĞŽĨ
 ŝŶƚƌĂŶĂƐĂů^ƉƌĂǀĂƚŽ;ĞƐŬĞƚĂŵŝŶĞͿ͕ĨŽƌƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶ͖ŚŽǁĞǀĞƌ͕ĞǀĞŶƚŚĞƵƐĞŽĨ
 ^ƉƌĂǀĂƚŽƌĞƋƵŝƌĞƐŝŶͲŽĨĨŝĐĞŵŽŶŝƚŽƌŝŶŐ͘/ƚǁŽƵůĚďĞŝŶƚĞƌĞƐƚŝŶŐƚŽŬŶŽǁƌ͘tĞŝƐƐ͛ŝŶƚĞŶĚĞĚ
 ŝŶĚŝĐĂƚŝŽŶĨŽƌƚŚĞŬĞƚĂŵŝŶĞƉŽǁĚĞƌ͕ǁŚŝĐŚĂŐĂŝŶ͕ŝƐŶŽƚ&ͲĂƉƉƌŽǀĞĚĨŽƌƚƌĞĂƚŝŶŐĂŶǇ
 ƉƐǇĐŚŝĂƚƌŝĐĐŽŶĚŝƚŝŽŶ͘/Ĩƌ͘tĞŝƐƐŝŶƚĞŶĚĞĚŝƚƚŽďĞƵƐĞĚĨŽƌƚƌĞĂƚŵĞŶƚͲƌĞƐŝƐƚĂŶƚĚĞƉƌĞƐƐŝŽŶ͕
 ƚŚĞŶŝƚŝƐĂĐƵƌŝŽƵƐŵĂƚƚĞƌƚŚĂƚŚĞǁŽƵůĚůĂƚĞƌƉƌĞƐĐƌŝďĞƚŚĞE^ĚĞƉƌĞƐƐĂŶƚĐůŽŶĂǌĞƉĂŵƚŽƚŚĞ
 ƐĂŵĞƉĂƚŝĞŶƚ͘

 WĂƚŝĞŶƚŚ͘ů͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐŚĂƐƉƌĞƐĐƌŝďĞĚĂĐŽŵďŝŶĂƚŝŽŶŽĨƚŚĞƐƚŝŵƵůĂŶƚsǇǀĂŶƐĞĂƚϳϬŵŐͬĚĂǇĂŶĚ
 ƚŚĞďĞŶǌŽĚŝĂǌĞƉŝŶĞĐůŽŶĂǌĞƉĂŵĂƚϰŵŐͬĚĂǇƚŽĂƉĂƚŝĞŶƚĨŽƌŐƌĞĂƚĞƌƚŚĂŶĂϮͲǇĞĂƌƉĞƌŝŽĚ͕ĨƌŽŵ
 ϭͬϮϴͬϮϬϭϱƚŽϮͬϬϴͬϮϬϭϳ͘

 WĂƚŝĞŶƚƐŽ͘ů͘ĂŶĚ:Ă͘ů͘ĂŶĚ>Ͳ'͘ů͘

 dŚĞƐĞĂƌĞƚŚƌĞĞƉĂƚŝĞŶƚƐǁŝƚŚƚŚĞƐĂŵĞůĂƐƚŶĂŵĞ͕ƚŽǁŚŽŵƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĚĚĞƌĂůů
 ϲϬŵŐͬĚĂǇ͘

 WĂƚŝĞŶƚDĂ͘ƌ͘




                                              WĂŐĞϱϯŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 54 of 73




 dŚŝƐŝƐĂĐĂƐĞŽĨĂĨĞŵĂůĞƉĂƚŝĞŶƚƚŽǁŚŽŵƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĂĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůyZ
 ϰϬŵŐͬĚĂǇ͕yĂŶĂǆĂŶĚĨůƵƌĂǌĞƉĂŵ͘

 WĂƚŝĞŶƚZĂ͘ƌ͘

 dŚŝƐĐĂƐĞĂŐĂŝŶĚĞŵŽŶƐƚƌĂƚĞƐƌ͘tĞŝƐƐ͛ƚĞŶĚĞŶĐǇƚŽƉƌĞƐĐƌŝďĞŚŝŐŚĚŽƐĞĚĚĞƌĂůů͘/ŶƚŚŝƐĐĂƐĞ͕
 ŚĞƌĞƉĞĂƚĞĚůǇĂƵƚŚŽƌŝǌĞƐŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂƚϲϬŵŐͬĚĂǇ͘

 WĂƚŝĞŶƚZŽ͘ƌ͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐĂŐĂŝŶƉƌĞƐĐƌŝďĞƐƚŽƚŚĞƉĂƚŝĞŶƚĂĐŽŵďŝŶĂƚŝŽŶŽĨĂďĞŶǌŽĚŝĂǌĞƉŝŶĞ
 ;sĂůŝƵŵͿĂŶĚĂŚǇƉŶŽƚŝĐ;>ƵŶĞƐƚĂͿ͘

 WĂƚŝĞŶƚ^͘͘

 ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƚŚŝƐƉĂƚŝĞŶƚƚŚĞƐƚƌĂŶŐĞďƵƚƌĞĐƵƌƌŝŶŐĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůů͕ĚĚĞƌĂůů
 yZĂŶĚyĂŶĂǆ͘

 WĂƚŝĞŶƚƐD͘͘ĂŶĚd͘͘

 /ŶĞĂĐŚŽĨƚŚĞƐĞƉĂƚŝĞŶƚĐĂƐĞƐ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚŝŵŵĞĚŝĂƚĞͲƌĞůĞĂƐĞĚĚĞƌĂůůĂƚϲϬŵŐͬĚĂǇ͘
 ,ĞƐŝŵƵůƚĂŶĞŽƵƐůǇƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚd͘͘ĚŝĂǌĞƉĂŵϮϬŵŐͬĚĂǇ͘

 WĂƚŝĞŶƚ^͘:͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚŚŝŐŚͲĚŽƐĞĂůƉƌĂǌŽůĂŵ;ƚǇƉŝĐĂůůǇϲŵŐͬĚĂǇͿŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚ
 ǌŽůƉŝĚĞŵϭϬŵŐŶŝŐŚƚůǇ͕ŽŶĂůŽŶŐͲƚĞƌŵďĂƐŝƐƚŽĂƉĂƚŝĞŶƚ͘/ŶƚŚŝƐƐĞƌŝĞƐ͕/ŚĂǀĞƉƌĞǀŝŽƵƐůǇ
 ĚŝƐĐƵƐƐĞĚƚŚĞŚĂǌĂƌĚƐŽĨƉƌĞƐĐƌŝďŝŶŐŵƵůƚŝƉůĞ'ĂŐŽŶŝƐƚƐĐŽŶĐƵƌƌĞŶƚůǇ͖/ŚĂǀĞĂůƐŽĚŝƐĐƵƐƐĞĚ
 ƚŚĞ&ĂĚǀŝƐŽƌǇĐŽŶĐĞƌŶŝŶŐƚŚĞƉƌĞƐĐƌŝďŝŶŐŽĨǌŽůƉŝĚĞŵƚŽĨĞŵĂůĞƉĂƚŝĞŶƚƐ͘

 WĂƚŝĞŶƚ͘>͘

 dŚŝƐĐĂƐĞŝƐĂŶŽƚŚĞƌƌĞŵŝŶĚĞƌƚŚĂƚ͕ǁŚĞŶƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞƐĂƐƚŝŵƵůĂŶƚŽƚŚĞƌƚŚĂŶĚĚĞƌĂůů͕
 ŚĞĂůƐŽƉƌĞĨĞƌƐĂŚŝŐŚĚŽƐĞŽĨŵĞĚŝĐĂƚŝŽŶ͘,ĞƌĞ͕ŚĞƉƌĞƐĐƌŝďĞƐƉĂƚŝĞŶƚ͘>͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞϲϬŵŐͬĚĂǇĂŶĚyĂŶĂǆϲŵŐͬĚĂǇ͘

 WĂƚŝĞŶƚ͘D͘

 dŚŝƐŝƐĂŶŽƚŚĞƌĐĂƐĞĚĞŵŽŶƐƚƌĂƚŝŶŐƌ͘tĞŝƐƐ͛ƉƌĞĨĞƌƌĞĚŵĞĚŝĐĂƚŝŽŶĐŽŵďŝŶĂƚŝŽŶ͕ĚĚĞƌĂůůĂŶĚ
 yĂŶĂǆ͘,ĞƌĞŚĞƉƌŽǀŝĚĞƐƚŚĞƉĂƚŝĞŶƚǁŝƚŚƌĞƉĞĂƚĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌĚĚĞƌĂůůZϲϬŵŐͬĚĂǇĂŶĚ
 yĂŶĂǆϰŵŐͬĚĂǇ͘KŶƚǁŽŽĐĐĂƐŝŽŶƐ͕ϭͬϭϵͬϮϬϭϱĂŶĚϯͬϭϵͬϮϬϭϱ͕ƌ͘tĞŝƐƐŝƐƐƵĞƐƐŝŶŐůĞ
 ƉƌĞƐĐƌŝƉƚŝŽŶƐĨŽƌηϭϴϬĚĚĞƌĂůůZϮϬŵŐƚĂďůĞƚƐ͕ƚŽĐŽǀĞƌĂϲϬͲĚĂǇƐƵƉƉůǇ͘ƐŝŶĚŝĐĂƚĞĚŝŶĂŶ
 ĞĂƌůŝĞƌƐĞĐƚŝŽŶŽĨƚŚŝƐƌĞƉŽƌƚ͕ĂƌĞĂƐŽŶĂďůĞƉƐǇĐŚŝĂƚƌŝƐƚǁŽƵůĚĂǀŽŝĚƚŚĞƵŶŶĞĐĞƐƐĂƌǇǁƌŝƚŝŶŐŽĨ
 ŚŝŐŚͲĚŽƐĂŐĞƵŶŝƚƐŽĨĂ^ĐŚĞĚƵůĞ//ƐƚŝŵƵůĂŶƚ͕ƚŽůŝŵŝƚƚŚĞŽƉƉŽƌƚƵŶŝƚŝĞƐĨŽƌĚƌƵŐĂďƵƐĞĂŶĚ
 ĚƌƵŐĚŝǀĞƌƐŝŽŶ͘

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                                               WĂŐĞϱϰŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 55 of 73




 WĂƚŝĞŶƚW͘^͘

 /ŶƚŚŝƐĐĂƐĞ͕ƌ͘tĞŝƐƐƌĞƉĞĂƚĞĚůǇĂŶĚƵŶŶĞĐĞƐƐĂƌŝůǇǁƌŝƚĞƐĨŽƌŚŝŐŚĚŽƐĂŐĞƵŶŝƚƐŽĨĐůŽŶĂǌĞƉĂŵ͘
 /ŶƐŽŵĞĐĂƐĞƐ͕ŚĞǁƌŝƚĞƐĨŽƌηϯϬϬĐůŽŶĂǌĞƉĂŵϬ͘ϱŵŐƚĂďůĞƚƐƚŽĐŽǀĞƌĂϳϱͲĚĂǇƐƵƉƉůǇ͖ŝŶŽƚŚĞƌ
 ĐĂƐĞƐ͕ŚĞǁƌŝƚĞƐĨŽƌηϮϳϬĐůŽŶĂǌĞƉĂŵϬ͘ϱŵŐƚĂďůĞƚƐƚŽĐŽǀĞƌĂϵϬͲĚĂǇƐƵƉƉůǇ͘/ƉƌĞǀŝŽƵƐůǇ
 ĐŽǀĞƌĞĚƐŽŵĞĂƐƉĞĐƚƐŽĨƚŚĞƉŚĂƌŵĂĐŽůŽŐǇŽĨĐůŽŶĂǌĞƉĂŵĂŶĚƚŚĂƚĂǀĂŝůĂďŝůŝƚǇŽĨůĂƌŐĞƌ
 ĐůŽŶĂǌĞƉĂŵƚĂďůĞƚƐŝǌĞƐŝŶŵǇĚŝƐĐƵƐƐŝŽŶŽĨƉĂƚŝĞŶƚ͘͘dŚĞƐĞĨĂĐƚŽƌƐŵĞĂŶƚŚĂƚĚŝƐƉĞŶƐŝŶŐĂ
 ŚŝŐŚŶƵŵďĞƌŽĨůŽǁͲĚŽƐĞĐůŽŶĂǌĞƉĂŵƚĂďůĞƚƐĂĐĐŽŵƉůŝƐŚĞƐŶŽƚŚŝŶŐŵŽƌĞƚŚĂŶŝŶĐƌĞĂƐŝŶŐƚŚĞ
 ƌŝƐŬĂŶĚŝŵƉĂĐƚŽĨĚŝǀĞƌƐŝŽŶ͘

 WĂƚŝĞŶƚ͘t͘

 dŚŝƐĐĂƐĞŝƐŝŶƚĞƌĞƐƚŝŶŐŝŶƚŚĂƚƚŚĞWDWƌĞǀĞĂůƐƚŚĂƚƉƌĞƐĐƌŝƉƚŝŽŶŝƐƐƵĂŶĐĞƐĨŽƌŚŝŐŚͲĚŽƐĞ
 ƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐǁĞƌĞĞŶƚĞƌĞĚŽŶĂƐŝŶŐůĞĚĂƚĞ͘tŝƚŚŽƵƚƌĞǀŝĞǁŝŶŐƚŚĞĐŽƌƌĞƐƉŽŶĚŝŶŐ
 ŵĞĚŝĐĂůĐŚĂƌƚ͕ŝƚ͛ƐŝŵƉŽƐƐŝďůĞƚŽƚĞůůŝĨƚŚĞƐĞƉƌĞƐĐƌŝƉƚŝŽŶŝƐƐƵĂŶĐĞƐǁĞƌĞƌĞůĂƚĞĚƚŽĂƐŝŶŐůĞŽĨĨŝĐĞ
 ǀŝƐŝƚ͘,ĞƌĞ͕ƌ͘tĞŝƐƐĂƵƚŚŽƌŝǌĞƐηϭϮϬyĂŶĂǆϮŵŐƚĂďůĞƚƐĂŶĚηϯĐůŽŶĂǌĞƉĂŵϮŵŐƚĂďůĞƚƐ
 ;ĐŽƌƌĞƐƉŽŶĚŝŶŐƚŽŽŶĞĚĂǇŽĨŵĞĚŝĐĂƚŝŽŶͿŽŶϮͬϮϰͬϮϬϭϳ͘dŚŝƐŵĂǇďĞĂŶĂƌƚŝĨĂĐƚŽĨƚŚĞĚĂƚĞ
 ůŝŵŝƚƐĨŽƌƚŚŝƐƉĂƌƚŝĐƵůĂƌWDWƌĞƉŽƌƚ͕ŽƌŝƚĐŽƵůĚƌĞƉƌĞƐĞŶƚƚŚĞĂďƐĞŶĐĞŽĨĂŶǇƌĞĂƐŽŶĂďůĞ
 ƐĞĚĂƚŝǀĞƚŝƚƌĂƚŝŽŶ͘

 WĂƚŝĞŶƚ<͘t͘

 dŚŝƐŝƐĂĐĂƐĞŽĨĂƉĂƚŝĞŶƚ;ĂƐƐƵŵĞĚƚŽďĞĨĞŵĂůĞďǇŶĂŵĞͿƚŽǁŚŽŵƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚĂ
 ĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůyZϲϬŵŐͬĚĂǇ͕ǌŽůƉŝĚĞŵϭϬŵŐƉŽƋŚƐĂŶĚyĂŶĂǆϰŵŐͬĚĂǇ͘dŚĞĚĂƚĞ
 ůŝŵŝƚƐŽĨƚŚĞĐƵƌƌĞŶƚWDWĂƌĞƵŶŬŶŽǁŶ͘/ĨƚŚĞWDWƌĞĨůĞĐƚƐƚŚĞĞŶƚŝƌĞƚǇŽĨƌ͘tĞŝƐƐ͛
 ƉƌĞƐĐƌŝďŝŶŐƚŽƉĂƚŝĞŶƚ<͘t͕͘ƚŚĞŶŝƚǁŽƵůĚĂƉƉĞĂƌƚŚĂƚŚĞƐƚĂƌƚĞĚŚĞƌŽŶĂƐĞĚĂƚŝǀĞĐŽŵďŝŶĂƚŝŽŶ
 ŽĨyĂŶĂǆϰŵŐͬĚĂǇĂŶĚǌŽůƉŝĚĞŵϭϬŵŐƉŽƋŚƐ͕ƐŚŽǁŝŶŐĐŽŵƉůĞƚĞĚŝƐƌĞŐĂƌĚĨŽƌƚŚĞ&ĂĚǀŝƐŽƌǇ
 ŽŶǌŽůƉŝĚĞŵĂŶĚĨŽƌƚŚĞƌŝƐŬŽĨĐƵŵƵůĂƚŝǀĞE^ĚĞƉƌĞƐƐŝŽŶ͘/ŶĂŶǇĐĂƐĞ͕ƌ͘tĞŝƐƐĚĞŵŽŶƐƚƌĂƚĞƐ
 ŚŝƐǁŝůůŝŶŐŶĞƐƐƚŽƉƌĞƐĐƌŝďĞƐĞĚĂƚŝǀĞƐĂŶĚŚǇƉŶŽƚŝĐƐƚŽŐĞƚŚĞƌ͕ĂŶĚŝŶĐŽŶũƵŶĐƚŝŽŶǁŝƚŚŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͘

 WĂƚŝĞŶƚ,͘͘

 /ŶĂĚĚŝƚŝŽŶƚŽƉƌĞƐĐƌŝďŝŶŐƉĂƚŝĞŶƚ,͘͘ĐůŽŶĂǌĞƉĂŵ͕ůŽƌĂǌĞƉĂŵ͕ĚŝĂǌĞƉĂŵĂŶĚƚĞŵĂǌĞƉĂŵĂƚ
 ĚŝĨĨĞƌĞŶƚƉŽŝŶƚƐŝŶƚŝŵĞ͕ƌ͘tĞŝƐƐĂůƐŽƉƌĞƐĐƌŝďĞƐƚƌĂŵĂĚŽůŽŶϯͬϯϭͬϮϬϭϳ͘dŚŝƐĂŐĂŝŶŝůůƵƐƚƌĂƚĞƐ
 ƌ͘tĞŝƐƐ͛ĚĞĐŝƐŝŽŶƚŽƉƌĞƐĐƌŝďĞƉĂŝŶŵĞĚŝĐĂƚŝŽŶƐƚŚĂƚǁŽƵůĚŶ͛ƚŽƌĚŝŶĂƌŝůǇĨĂůůƵŶĚĞƌƚŚĞƐĐŽƉĞŽĨ
 ŽƵƚƉĂƚŝĞŶƚƉƐǇĐŚŝĂƚƌŝĐƉƌĂĐƚŝĐĞ͘

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 /ǁĂƐĂůƐŽƉƌŽǀŝĚĞĚƚŚĞWDWĨŽƌĂƐŝŶŐůĞƉĂƚŝĞŶƚŝŶKŚŝŽ͕ĂƉĂƚŝĞŶƚ'͘<͘dŚĞĨŝůůĚĂƚĞƌĂŶŐĞŽŶ
 ƚŚŝƐƌĞƉŽƌƚŝƐĨƌŽŵϳͬϬϳͬϮϬϭϰƚŽϴͬϮϮͬϮϬϭϴ͘dŚĞƌĞƉŽƌƚŽƉĞŶƐǁŝƚŚĨŝůůƐŽĨηϭϱϬĂůƉƌĂǌŽůĂŵϮŵŐ
 ƚĂďůĞƚƐ͕ƉĞƌƌ͘tĞŝƐƐ͕ŽŶϳͬϬϳͬϮϬϭϰ͘dŚŝƐĨŝůůŽĨĂůƉƌĂǌŽůĂŵĐŽƌƌĞƐƉŽŶĚƐƚŽĂϯϬͲĚĂǇƐƵƉƉůǇŽĨ
 ƚŚĞŵĞĚŝĐĂƚŝŽŶ͖ƚŚŝƐƌĞǀĞĂůƐƚŚĂƚƚŚĞƉƌĞƐĐƌŝƉƚŝŽŶĂůůŽǁĞĚĨŽƌyĂŶĂǆϭϬŵŐͬĚĂǇ͘dŚĞƌĞĂƉƉĞĂƌƐ
 ƚŽďĞĂƉĂƵƐĞŝŶƌ͘tĞŝƐƐ͛ƉƌĞƐĐƌŝďŝŶŐĨŽůůŽǁŝŶŐƚŚŝƐ͕ƵŶƚŝůDĂǇŽĨϮϬϭϳ͖ŚŽǁĞǀĞƌ͕ĚƵƌŝŶŐƚŚĂƚ

                                                 WĂŐĞϱϱŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 56 of 73




 ŝŶƚĞƌǀĂů͕ƉĂƚŝĞŶƚ'͘<͘ƌĞĐĞŝǀĞĚyĂŶĂǆƉƌĞƐĐƌŝƉƚŝŽŶƐĂŶĚĚĚĞƌĂůůƉƌĞƐĐƌŝƉƚŝŽŶƐĨƌŽŵŽƚŚĞƌ
 ƉƌŽǀŝĚĞƌƐ͘,ĞĂůƐŽƌĞĐĞŝǀĞĚĂƉƌĞƐĐƌŝƉƚŝŽŶŽĨ^ƵďŽǆŽŶĞĨƌŽŵĂƌ͘ZĂĚŚĂĂŝƐŚŶĂďŽŶ
 ϴͬϭϯͬϮϬϭϰ͕ƐƵŐŐĞƐƚŝŶŐƚŚĂƚƉĂƚŝĞŶƚ'͘<͘ǁĂƐďĞŝŶŐƚƌĞĂƚĞĚĨŽƌŽƉŝŽŝĚĚĞƉĞŶĚĞŶĐĞ͘/ŶƉƌŝůϮϬϭϳ͕
 ƉĂƚŝĞŶƚ'͘<͘ĂůƐŽƌĞĐĞŝǀĞĚƉƌĞƐĐƌŝƉƚŝŽŶƐŽĨ^ƵďŽǆŽŶĞĨƌŽŵĂƌ͘DŽŚĂŶ<ĂƌĞƚŝ͘/ŶDĂǇϮϬϭϳ͕ƌ͘
 tĞŝƐƐƉƌĞƐĐƌŝďĞĚƚŽƉĂƚŝĞŶƚ'͘<͘ĂĐŽŵďŝŶĂƚŝŽŶŽĨyĂŶĂǆϭϬŵŐͬĚĂǇĂŶĚĚĚĞƌĂůůϵϬŵŐͬĚĂǇ͘
 &ƌŽŵDĂǇϮϬϭϳϴͬϮϮͬϮϬϭϴ͕ƌ͘tĞŝƐƐƉƌŽǀŝĚĞĚƚŽƉĂƚŝĞŶƚ'͘<͘ƌĞŐƵůĂƌ͕ƌĞĐƵƌƌŝŶŐƉƌĞƐĐƌŝƉƚŝŽŶƐ
 ŽĨďŽƚŚyĂŶĂǆĂŶĚĚĚĞƌĂůůĂƚƚŚĞƐĞĚŽƐĂŐĞƐ͘WĂƚŝĞŶƚ'͘<͘ĂůƐŽĐŽŶƚŝŶƵĞĚƚŽƌĞĐĞŝǀĞƌĞĐƵƌƌŝŶŐ
 ƉƌĞƐĐƌŝƉƚŝŽŶƐŽĨďƵƉƌĞŶŽƌƉŚŝŶĞͬŶĂůŽǆŽŶĞĨƌŽŵǀĂƌŝŽƵƐƉƌŽǀŝĚĞƌƐ͘

 dŚŝƐƉĂƌƚŝĐƵůĂƌĐĂƐĞŝƐĐƌŝƚŝĐĂůƚŽƚŚĞĐƵƌƌĞŶƚƌĞǀŝĞǁďĞĐĂƵƐĞ͕ĨŽƌĂůůŽĨƚŚĞŽƚŚĞƌƉĂƚŝĞŶƚƐ
 ĐŽŶƐŝĚĞƌĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ƚŚĞŝƌƐƵďƐƚĂŶĐĞĂďƵƐĞŚŝƐƚŽƌŝĞƐĂŶĚŝŶĚŝǀŝĚƵĂůWDW͛ƐĂƌĞŶŽƚ
 ƉƌŽǀŝĚĞĚ͘tŝƚŚŽƵƚůŽŽŬŝŶŐĂƚƚŚĞŝŶĚŝǀŝĚƵĂůƉĂƚŝĞŶƚĐŚĂƌƚƐ͕ŝƚŝƐŶŽƚƉŽƐƐŝďůĞƚŽƚĞůůŝĨƌ͘tĞŝƐƐ
 ƵƐĞĚŽƌƌĞƐƉŽŶĚĞĚƚŽĐŽŶĐĞƌŶŝŶŐWDWĚĂƚĂŽƌŝĨŚĞƐŽůŝĐŝƚĞĚŽƌƉƌŽƉĞƌůǇƌĞƐƉŽŶĚĞĚƚŽŬŶŽǁŶ
 ĂĚĚŝĐƚŝŽŶ͘ƵƉƌĞŶŽƌƉŚŝŶĞĂŶĚĂůůďƵƉƌĞŶŽƌƉŚŝŶĞͲĐŽŶƚĂŝŶŝŶŐƉƌŽĚƵĐƚƐĂƌĞ^ĐŚĞĚƵůĞ///
 ĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐ͘dŚĞĐŽŵďŝŶĂƚŝŽŶŽĨďƵƉƌĞŶŽƌƉŚŝŶĞͬŶĂůŽǆŽŶĞŝƐĐŽŵŵŽŶůǇƵƐĞĚĂŶ
 ŽƉŝŽŝĚƌĞƉůĂĐĞŵĞŶƚƐƚƌĂƚĞŐǇŝŶƚŚĞƚƌĞĂƚŵĞŶƚŽĨŽƉŝŽŝĚĂĚĚŝĐƚŝŽŶ͘dŚĞƐĂŵĞŚĂǌĂƌĚŽĨƐǇŶĞƌŐŝƐƚŝĐ
 E^ĚĞƉƌĞƐƐŝŽŶĚĞƐĐƌŝďĞĚĞĂƌůŝĞƌŝŶƚŚŝƐƌĞƉŽƌƚĚƵƌŝŶŐƚŚĞĚŝƐĐƵƐƐŝŽŶŽĨŽƉŝŽŝĚĂŶĚƐĞĚĂƚŝǀĞ
 ĐŽŵďŝŶĂƚŝŽŶƐĂůƐŽĂƉƉůŝĞƐƚŽƚŚĞĐŽŵďŝŶĂƚŝŽŶŽĨďƵƉƌĞŶŽƌƉŚŝŶĞĂŶĚƐĞĚĂƚŝǀĞƐ͘dŚĞĨĂĐƚƚŚĂƚƌ͘
 tĞŝƐƐƉƌĞƐĐƌŝďĞĚŚŝŐŚͲĚŽƐĞyĂŶĂǆƚŽĂŶŝŶĚŝǀŝĚƵĂůƌĞĐĞŝǀŝŶŐďƵƉƌĞŶŽƌƉŚŝŶĞƉůĂĐĞĚƚŚĂƚ
 ŝŶĚŝǀŝĚƵĂůĂƚĂŶƵŶƌĞĂƐŽŶĂďůĞƌŝƐŬŽĨE^ĚĞƉƌĞƐƐŝŽŶ͘/ƚŵĂǇďĞƉŽƐƐŝďůĞƚŚĂƚƌ͘tĞŝƐƐĚŝĚŶŽƚ
 ŚĂǀĞĂĐĐĞƐƐƚŽƚŚŝƐKŚŝŽWDWĚĂƚĂ͕ĂƐƐƚĂƚĞďŽĂƌĚƐŽĨƉŚĂƌŵĂĐǇŽĨƚĞŶƌĞƐƚƌŝĐƚĂĐĐĞƐƐƚŽƚŚĞŝƌ
 WDW͛ƐƚŽƉŚǇƐŝĐŝĂŶƐǁŚŽĂƌĞůŝĐĞŶƐĞĚŝŶƚŚĞŝƌƐƚĂƚĞ͘dŚĞƌĞŝƐŶŽŝŶĚŝĐĂƚŝŽŶƚŚĂƚƌ͘tĞŝƐƐŚŽůĚƐ
 ŽƌŚĂƐŚĞůĚĂŶKŚŝŽŵĞĚŝĐĂůůŝĐĞŶƐĞ͘/Ĩƌ͘tĞŝƐƐŚĂƐŶŽƚŚĞůĚĂŶKŚŝŽŵĞĚŝĐĂůůŝĐĞŶƐĞ͕ƚŚĞŶŚŝƐ
 ĂĐƚŝŽŶƐŝŶƉƌĞƐĐƌŝďŝŶŐĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐƚŽĂŶKŚŝŽƌĞƐŝĚĞŶƚ͕ƚŽďĞĨŝůůĞĚŝŶKŚŝŽŵŝŐŚƚďĞ
 ĐŽŶƐƚƌƵĞĚĂƐĂǀŝŽůĂƚŝŽŶŽĨƚŚĞKŚŝŽDĞĚŝĐĂůWƌĂĐƚŝĐĞĐƚ͘dŚĞKŚŝŽƵƚŽŵĂƚĞĚZǆZĞƉŽƌƚŝŶŐ
 ^ǇƐƚĞŵ;KZǆZ^ͿƌĞƉŽƌƚĨŽƌƉĂƚŝĞŶƚ'͘<͘ůŝƐƚƐĂůůŽĨƚŚĞƉƌŽǀŝĚĞƌƐƌĞĨĞƌĞŶĐĞĚŝŶƚŚĞWDWĂƚƚŚĞ
 ĞŶĚŽĨƚŚĞƌĞƉŽƌƚ͕ĂůŽŶŐǁŝƚŚƚŚĞŝƌƉƌĂĐƚŝĐĞĂĚĚƌĞƐƐ͘tŚŝůĞŵŽƐƚŽĨƚŚĞƉƌŽǀŝĚĞƌƐŽŶƚŚĞƌĞƉŽƌƚ
 ŚĂǀĞKŚŝŽĂĚĚƌĞƐƐĞƐ͕ƌ͘tĞŝƐƐ͛ƉƌĂĐƚŝĐĞĂĚĚƌĞƐƐŝƐƐŚŽǁŶĂƐϲϵϬϬ͘ĞůůĞǀŝĞǁǀĞ͕͘^ƵŝƚĞϮϬϭϱ
 ŝŶ'ƌĞĞŶǁŽŽĚsŝůůĂŐĞ͕K͘dŚĞŶƵŵďĞƌĂƚƚĂĐŚĞĚƚŽƚŚŝƐƉƌĞƐĐƌŝďŝŶŐ͕ƉĞƌƚŚŝƐƌĞƉŽƌƚ͕ŝƐ
 tϭϲϮϲϯϬϬ͘

 KŚŝŽƵƐĞƐƚŚĞEĂƌǆĂƌĞƐĐŽƌŝŶŐƐǇƐƚĞŵƉƌŽǀŝĚĞĚďǇƉƉƌŝƐƐ,ĞĂůƚŚ͘dŚŝƐƐǇƐƚĞŵĂƚƚĂĐŚĞƐƌŝƐŬ
 ƐĐŽƌĞƐ;ĂŶĂƌĐŽƚŝĐ͕ĂƐĞĚĂƚŝǀĞĂŶĚĂƐƚŝŵƵůĂŶƚƌŝƐŬƐĐŽƌĞͿƚŽƉĂƚŝĞŶƚWDW͛Ɛ͕ƐŽƚŚĂƚƉƌŽǀŝĚĞƌƐĐĂŶ
 ƋƵŝĐŬůǇŐĂƵŐĞŽǀĞƌĂůůĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƵƚŝůŝǌĂƚŝŽŶĂŶĚƚŚĞƌŝƐŬŽĨĚĞĂƚŚďǇƵŶŝŶƚĞŶƚŝŽŶĂů
 ŽǀĞƌĚŽƐĞ͘^ĞǀĞƌĂůŵĞĂƐƵƌĞŵĞŶƚƐŐŽŝŶƚŽƚŚĞƐĞƐĐŽƌĞƐ͕ŝŶĐůƵĚŝŶŐŶƵŵďĞƌŽĨƉƌĞƐĐƌŝďĞƌƐ͕ŶƵŵďĞƌ
 ŽĨƉŚĂƌŵĂĐŝĞƐ͕ŵŝůůŝŐƌĂŵĞƋƵŝǀĂůĞŶƚƐĂŶĚŽǀĞƌůĂƉƉŝŶŐƉƌĞƐĐƌŝƉƚŝŽŶƐ͘dŚĞŽǀĞƌĚŽƐĞƌŝƐŬƐĐŽƌĞŽĨ
 ƚŚĞƌĞƉŽƌƚƌĂŶŐĞƐĨƌŽŵϬϬϬƚŽϵϵϵ͘WĂƚŝĞŶƚ'͘<͛͘ƐŽǀĞƌĚŽƐĞƌŝƐŬƐĐŽƌĞ;KZ^ͿŝƐƌĞƉŽƌƚĞĚĂƐϴϲϬ͘
 ĐĐŽƌĚŝŶŐƚŽƚŚĞEĂƌǆĂƌĞŐƵŝĚĂŶĐĞ͕ĂƐĐŽƌĞƌĂŶŐĞŽĨϴϬϭƚŽϵϬϬĐŽƌƌĞƐƉŽŶĚƐƚŽĂŶŽĚĚƐƌĂƚŝŽ
 ĨŽƌƵŶŝŶƚĞŶƚŝŽŶĂůŽǀĞƌĚŽƐĞĚĞĂƚŚŽĨϭϵϰ;KZ^ŽĨфϮϬϬĂƐƚŚĞƌĞĨĞƌĞŶƚƐĐŽƌŝŶŐŐƌŽƵƉͿ͘ƌ͘tĞŝƐƐ͛
 ƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů͕ŚŝƐƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆĂŶĚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůůŝŶ
 ĐŽŵďŝŶĂƚŝŽŶ͕ĂŶĚŚŝƐƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞyĂŶĂǆƚŽĂƉŽƚĞŶƚŝĂůĂĚĚŝĐƚƌĞĐĞŝǀŝŶŐ



                                               WĂŐĞϱϲŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 57 of 73




 ďƵƉƌĞŶŽƌƉŚŝŶĞ͕ǁŝƚŚŝŶĂƌĞĂƐŽŶĂďůĞŵĞĚŝĐĂůƉƌŽďĂďŝůŝƚǇ͕ŝƐŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨ
 ƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞĂŶĚŝƐǁŝƚŚŽƵƚĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ͘

 KE>h/E'ZDZ<^

 dŚĞƉƌĂĐƚŝƚŝŽŶĞƌWDWŽŶƌ͘tĞŝƐƐƉƌŽǀŝĚĞĚĨŽƌŵǇƌĞǀŝĞǁĐŽŶƚĂŝŶĞĚŶƵŵĞƌŽƵƐĐŽŶƚƌŽůůĞĚ
 ƐƵďƐƚĂŶĐĞĞŶƚƌŝĞƐĨŽƌĂůĂƌŐĞǀŽůƵŵĞŽĨƉĂƚŝĞŶƚƐ͘/ŶƚŚŝƐƌĞƉŽƌƚ͕/ĚŝĚŶŽƚŝŶĐůƵĚĞĞǀĞƌǇĐĂƐĞŝŶ
 ǁŚŝĐŚƌ͘tĞŝƐƐǁƌŽƚĞĨŽƌĂŶƵŶƵƐƵĂůůǇŚŝŐŚƐƚŝŵƵůĂŶƚĚŽƐĞŽƌĞǀĞƌǇĐĂƐĞŝŶǁŚŝĐŚŚĞǁƌŽƚĞĨŽƌ
 ĂŶƵŶƵƐƵĂůůǇŚŝŐŚƐĞĚĂƚŝǀĞĚŽƐĞŽƌĞǀĞƌǇĐĂƐĞŝŶǁŚŝĐŚŚĞǁƌŽƚĞĨŽƌĂĐŽŵďŝŶĂƚŝŽŶŽĨŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞŽƌĞǀĞƌǇĐĂƐĞŝŶǁŚŝĐŚŚĞǁƌŽƚĞĨŽƌŵƵůƚŝƉůĞƐĞĚĂƚŝǀĞĂŶĚͬŽƌ
 ŚǇƉŶŽƚŝĐĚƌƵŐƐŝŶĐŽŵďŝŶĂƚŝŽŶ͘ůĞĂƌůǇ͕ĂůůŽĨƚŚĞƐĞƉĂƚƚĞƌŶƐŽĨƵŶƵƐƵĂůƉƌĞƐĐƌŝďŝŶŐŽŶƚŚĞƉĂƌƚ
 ŽĨƌ͘tĞŝƐƐĞǆŝƐƚ͕ĂŶĚĞĂĐŚƉĂƚƚĞƌŶƉŽƐĞƐŶŽƚŽŶůǇĂƌŝƐŬƚŽƚŚĞŝŶĚŝǀŝĚƵĂůƉĂƚŝĞŶƚ;ŝ͘Ğ͕͘ƚŚĞ
 ŚĂǌĂƌĚƐŽĨƐƚŝŵƵůĂŶƚĂŶĚͬŽƌƐĞĚĂƚŝǀĞƚŽǆŝĐŝƚǇͿďƵƚĂůƐŽĂƐŽĐŝĞƚĂůƌŝƐŬ͕ĂƐ/ďĞůŝĞǀĞƚŚĂƚŵŝƐƵƐĞ
 ĂŶĚĚŝǀĞƌƐŝŽŶŽĨƚŚĞƐĞĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐĂǀĞƌǇƌĞĂůƉŽƐƐŝďŝůŝƚǇŝŶĂŶƵŵďĞƌŽĨƚŚĞƐĞĐĂƐĞƐ͘
 dŚĞƐŽĐŝĞƚĂůƌŝƐŬǁĂƐĨĂƌŵŽƌĞƉƌŽŶŽƵŶĐĞĚŽŶƚŚĞŽĐĐĂƐŝŽŶƐǁŚĞŶƌ͘tĞŝƐƐƉƌĞƐĐƌŝďĞĚŚŝŐŚ
 ĚŽƐĂŐĞƵŶŝƚƐŽĨƐƚŝŵƵůĂŶƚƐŽƌƐĞĚĂƚŝǀĞƐ͘dŚĞƐĞƉĂƚƚĞƌŶƐŽĨƉƌĞƐĐƌŝďŝŶŐŝŶƚŚĞŝĚĞŶƚŝĨŝĞĚĐĂƐĞƐ
 ĂƉƉĞĂƌƚŽĚĞǀŝĂƚĞĨƌŽŵƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞŝŶWƐǇĐŚŝĂƚƌǇ͕ĂŶĚĂƐĂŵĂƚƚĞƌ
 ŽĨŐĞŶĞƌĂůƉƌĂĐƚŝĐĞ͘

 DǇŽƉŝŶŝŽŶƐĂƌĞƉƌĞůŝŵŝŶĂƌǇĂŶĚďĂƐĞĚƵƉŽŶĞǆĂŵŝŶĂƚŝŽŶŽĨƚŚĞƉƌŽǀŝĚĞƌWDW͖ŚŽǁĞǀĞƌ͕ĨŽƌ
 ŵŽƐƚŽĨƚŚĞĐĂƐĞƐĚŝƐĐƵƐƐĞĚŝŶƚŚŝƐƌĞƉŽƌƚ͕ĂĨŝŶĂůŽƉŝŶŝŽŶĂďŽƵƚǁŚĞƚŚĞƌƚŚĞƉƌĞƐĐƌŝďŝŶŐǁĂƐĨŽƌ
 ĂůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞĐĂŶďĞƌĞŶĚĞƌĞĚĨŽůůŽǁŝŶŐĂƌĞǀŝĞǁŽĨƚŚĞĐŽƌƌĞƐƉŽŶĚŝŶŐŵĞĚŝĐĂů
 ĐŚĂƌƚƐ͘dŚĞƌĞǁĞƌĞƐĞǀĞƌĂůĐĂƐĞƐŝŶƚŚŝƐƐĞƌŝĞƐŝŶǁŚŝĐŚƚŚĞŵĂŐŶŝƚƵĚĞŽĨƚŚĞĐŽŶƚƌŽůůĞĚ
 ƐƵďƐƚĂŶĐĞƉƌĞƐĐƌŝďŝŶŐĂůŽŶĞĂůůŽǁĞĚŵĞƚŽƐĂĨĞůǇƐĂǇƚŚĂƚŶŽůĞŐŝƚŝŵĂƚĞŵĞĚŝĐĂůƉƵƌƉŽƐĞ
 ĞǆŝƐƚĞĚ͘ǆĂŵƉůĞƐŽĨƚŚŝƐŝŶĐůƵĚĞƌ͘tĞŝƐƐ͛ĐŽͲƉƌĞƐĐƌŝďŝŶŐŽĨƚŝǀĂŶϴŵŐͬĚĂǇĂŶĚ>ƵŶĞƐƚĂ
 ϵŵŐͬĚĂǇƚŽƉĂƚŝĞŶƚ^͘s͕͘ŽƌŚŝƐƉƌĞƐĐƌŝďŝŶŐŽĨϭϱϬŵŐŽĨĐŽŵďŝŶĞĚŵŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐ
 ƉůƵƐyĂŶĂǆϴŵŐͬĚĂǇƚŽƉĂƚŝĞŶƚW͘s͘

 dŚĞŵŽƐƚĐŽŵŵŽŶŵŝƐͲƉƌĞƐĐƌŝďŝŶŐƉĂƚƚĞƌŶƐĞĞŶŽŶƌ͘tĞŝƐƐ͛ƉƌĂĐƚŝƚŝŽŶĞƌWDWǁĂƐƚŚĞ
 ĐŽŶĐƵƌƌĞŶƚƉƌĞƐĐƌŝďŝŶŐŽĨŚŝŐŚͲĚŽƐĞƐƚŝŵƵůĂŶƚƐĂŶĚŚŝŐŚͲĚŽƐĞƐĞĚĂƚŝǀĞƐ͕ƉĂƌƚŝĐƵůĂƌůǇƚŚĞ
 ĐŽŵďŝŶĂƚŝŽŶŽĨĚĚĞƌĂůůĂŶĚyĂŶĂǆ͘/ƚŝƐŝŶƚĞƌĞƐƚŝŶŐƚŚĂƚƌ͘tĞŝƐƐ͛ƐƉƌĞĨĞƌƌĞĚĐŽŶƚƌŽůůĞĚ
 ƐƵďƐƚĂŶĐĞĐŽŵďŝŶĂƚŝŽŶ͕ĚĚĞƌĂůůƉůƵƐyĂŶĂǆ͕ǁŽƵůĚĨĞĂƚƵƌĞƚŚĞŵŽƐƚĐŽŵŵŽŶůǇƌĞƋƵĞƐƚĞĚ
 ƐƚŝŵƵůĂŶƚĨŽƌŶŽŶͲŵĞĚŝĐĂůƵƐĞ;ŝ͘Ğ͕͘ŝŶĐĂƐĞƐŽĨƐƵƐƉĞĐƚĞĚĚƌƵŐƐĞĞŬŝŶŐͿĂŶĚƚŚĞŵŽƐƚĐŽŵŵŽŶůǇ
 ƌĞƋƵĞƐƚĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞĨŽƌŶŽŶͲŵĞĚŝĐĂůƵƐĞ͘ĂƚĂŽďƚĂŝŶĞĚĨƌŽŵƚŚĞ^D,^;ƌƵŐďƵƐĞ
 tĂƌŶŝŶŐEĞƚǁŽƌŬ͕ϮϬϭϭ͗EĂƚŝŽŶĂůƐƚŝŵĂƚĞƐŽĨƌƵŐͲZĞůĂƚĞĚŵĞƌŐĞŶĐǇĞƉĂƌƚŵĞŶƚsŝƐŝƚƐͿ
 ƌĞǀĞĂůĞĚƚŚĂƚyĂŶĂǆǁĂƐŝŵƉůŝĐĂƚĞĚŝŶϵ͘ϵйŽĨǀŝƐŝƚƐŝŶǀŽůǀŝŶŐƚŚĞŶŽŶͲŵĞĚŝĐĂůƵƐĞŽĨ
 ƉŚĂƌŵĂĐĞƵƚŝĐĂůƐ͖ŝŶƚŚŝƐ͕ŝƚŽƵƚƌĂŶŬĞĚƚŚĞŽƚŚĞƌŵŽŶŝƚŽƌĞĚďĞŶǌŽĚŝĂǌĞƉŝŶĞƐ͕ǁŚŝĐŚŝŶĐůƵĚĞĚ
 ĐůŽŶĂǌĞƉĂŵ͕ĚŝĂǌĞƉĂŵĂŶĚůŽƌĂǌĞƉĂŵ͘ŽŶƐŝĚĞƌŝŶŐĂůůŽĨƚŚĞŝŶĚŝǀŝĚƵĂůƉŚĂƌŵĂĐĞƵƚŝĐĂůƐʹĂ
 ƌĂŶŐĞŽĨƐĞĚĂƚŝǀĞĚƌƵŐƐ͕ƐƚŝŵƵůĂŶƚƐĂŶĚĂŶĂůŐĞƐŝĐƐʹŵŽŶŝƚŽƌĞĚŝŶƚŚŝƐĚĂƚĂĐŽůůĞĐƚŝŽŶ͕yĂŶĂǆǁĂƐ
 ŽŶůǇŽƵƚƌĂŶŬĞĚďǇŽǆǇĐŽĚŽŶĞ͕ǁŚŝĐŚǁĂƐŝŵƉůŝĐĂƚĞĚŝŶϭϮ͘ϭйŽĨǀŝƐŝƚƐŝŶǀŽůǀŝŶŐŶŽŶͲŵĞĚŝĐĂů
 ƵƐĞŽĨƉŚĂƌŵĂĐĞƵƚŝĐĂůƐ͘DŝǆĞĚĂŵƉŚĞƚĂŵŝŶĞƐĂůƚƐ;ĚĚĞƌĂůůͿƚŽƉƉĞĚĐĂĨĨĞŝŶĞĂŶĚ
 ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞĂŶĚǁĞƌĞŝŵƉůŝĐĂƚĞĚŝŶϭ͘ϰйŽĨǀŝƐŝƚƐŝŶǀŽůǀŝŶŐƚŚĞŶŽŶͲŵĞĚŝĐĂůƵƐĞŽĨ
 ƉŚĂƌŵĂĐĞƵƚŝĐĂůƐ͘dŚĞƐĞĨŝŶĚŝŶŐƐĂƌĞŵŝƌƌŽƌĞĚŝŶŽƵƚƉĂƚŝĞŶƚĐůŝŶŝĐĂůĞǆƉĞƌŝĞŶĐĞ͕ǁŚĞƌĞǁĞĨŝŶĚ

                                               WĂŐĞϱϳŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 58 of 73




 ƚŚĂƚƉĂƚŝĞŶƚƐƌĞƋƵĞƐƚŝŶŐƐƚŝŵƵůĂŶƚƐĨŽƌŶŽŶͲŵĞĚŝĐĂůƵƐĞ;ŝ͘Ğ͕͘ĚƌƵŐƐĞĞŬŝŶŐͿĨƌĞƋƵĞŶƚůǇƌĞƋƵĞƐƚ
 ĚĚĞƌĂůůĂŶĚƉĂƚŝĞŶƚƌĞƋƵĞƐƚŝŶŐƐĞĚĂƚŝǀĞƐĨŽƌŶŽŶͲŵĞĚŝĐĂůƵƐĞĨƌĞƋƵĞŶƚůǇƌĞƋƵĞƐƚyĂŶĂǆ͘

 dŚĞŝŶĐƌĞĂƐĞĚĂďƵƐĞƉŽƚĞŶƚŝĂůŽĨyĂŶĂǆĐŽŵƉĂƌĞĚƚŽŽƚŚĞƌďĞŶǌŽĚŝĂǌĞƉŝŶĞƐŚĂƐďĞĞŶĂƚƚƌŝďƵƚĞĚ
 ƚŽƐĞǀĞƌĂůĨĂĐƚŽƌƐ͘dŚĞƐĞŝŶĐůƵĚĞŝƚƐƉŚĂƌŵĂĐŽŬŝŶĞƚŝĐƉƌŽƉĞƌƚŝĞƐ͗ƌĂƉŝĚĂďƐŽƌƉƚŝŽŶ͕ůŽǁ
 ůŝƉŽƉŚŝůŝĐŝƚǇĂŶĚƐŚŽƌƚŚĂůĨͲůŝĨĞ͘dŚĞƉŚĂƌŵĂĐŽĚǇŶĂŵŝĐƉƌŽƉĞƌƚŝĞƐŽĨŚŝŐŚƉŽƚĞŶĐǇĂŶĚŵŽƌĞ
 ƐĞǀĞƌĞǁŝƚŚĚƌĂǁĂůĂĨƚĞƌĂƐŚŽƌƚĞƌƉĞƌŝŽĚŽĨƵƐĞĂůƐŽĐŽŶƚƌŝďƵƚĞƚŽŝƚƐŵŝƐƵƐĞƉŽƚĞŶƚŝĂů͘yĂŶĂǆ
 ĂůƐŽĂƉƉĞĂƌƐƚŽŝŵƉĂĐƚƚŚĞƌĞǁĂƌĚƐǇƐƚĞŵŵƵĐŚŵŽƌĞƐƚƌŽŶŐůǇƚŚĂŶŽƚŚĞƌƐĞĚĂƚŝǀĞƐ͕ĂƐŝƚĐĂƵƐĞƐ
 ĂƐƚƌŝĂƚĂůĚŽƉĂŵŝŶĞƌĞůĞĂƐĞƚŚĂƚŝƐƐŝŵŝůĂƌƚŽƚŚĂƚĐĂƵƐĞĚďǇƐƚŝŵƵůĂŶƚĚƌƵŐƐ͘KŶĞƐƚƵĚǇŝŶĂŶŝŵĂů
 ŵŽĚĞůƐĨŽƵŶĚƚŚĂƚĂůƉƌĂǌŽůĂŵĐĂƵƐĞĚĂƐŝŐŶŝĨŝĐĂŶƚŝŶĐƌĞĂƐĞŝŶĞǆƚƌĂĐĞůůƵůĂƌĚŽƉĂŵŝŶĞ
 ĐŽŶĐĞŶƚƌĂƚŝŽŶƐŝŶƚŚĞƐƚƌŝĂƚƵŵ͕ĂŶĞĨĨĞĐƚǁŚŝĐŚĐŽƵůĚŶŽƚďĞƌĞƉůŝĐĂƚĞĚǁŝƚŚůŽƌĂǌĞƉĂŵ͘

 /ƚŝƐŝŵƉŽƌƚĂŶƚƚŽŬĞĞƉŝŶŵŝŶĚƐĞǀĞƌĂůƚŚŝŶŐƐǁŚĞŶƌĞĂĚŝŶŐƚŚŝƐƌĞƉŽƌƚĂŶĚǁĞŝŐŚŝŶŐƚŚĞƵƐĞŽĨ
 ƐƚŝŵƵůĂŶƚƐĂŶĚƐĞĚĂƚŝǀĞŵĞĚŝĐĂƚŝŽŶƐ͘dŚĞĨŝƌƐƚŝƐƚŚĂƚŶŽƚĞǀĞƌǇŵĂƚƚĞƌŽĨŝŶĂƚƚĞŶƚŝŽŶŝƐĚƵĞƚŽ
 ƚŚĞƐǇŶĚƌŽŵĞŽĨ,͘ŶǇĞǀĂůƵĂƚŝŽŶĨŽƌ,ŵƵƐƚŝŶǀŽůǀĞƐĐƌĞĞŶŝŶŐĨŽƌŽƚŚĞƌƉƐǇĐŚŝĂƚƌŝĐ
 ƉƌŽďůĞŵƐǁŚŝĐŚĐĂŶĐĂƵƐĞŽƌĐŽŶƚƌŝďƵƚĞƚŽŝŶĂƚƚĞŶƚŝŽŶ͘/ƚŝƐĂůƐŽƉƌĞĨĞƌĂďůĞƚŽƚƌĞĂƚƚŚŽƐĞŽƚŚĞƌ
 ĐŽŶĚŝƚŝŽŶƐďĞĨŽƌĞĐŽŵŝŶŐƚŽƚŚĞĚŝĂŐŶŽƐŝƐŽĨ͞,͟ŝŶĂŶĂĚƵůƚ͘EŽƚĞǀĞƌǇĐĂƐĞŽĨ,
 ƌĞƋƵŝƌĞƐŵĞĚŝĐĂƚŝŽŶƚƌĞĂƚŵĞŶƚ͕ĂŶĚƵƐĞŽĨĞǆĐĞƐƐŝǀĞĚŽƐĞƐŽĨƐƚŝŵƵůĂŶƚŵĞĚŝĂƚŝŽŶƐŝƐŝůůͲĂĚǀŝƐĞĚ͘
 /ŶƚƌĞĂƚŝŶŐĐĂƐĞƐŽĨĂĚƵůƚ,ǁŝƚŚĂƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶ͕ƚŝƚƌĂƚŝŶŐĂŵĞĚŝĐĂƚŝŽŶƚŽŽƌďĞǇŽŶĚ
 ƚŚĞƌĞĐŽŵŵĞŶĚĞĚŵĂǆŝŵƵŵĚŽƐĞŝƐŶŽƚƚŚĞƚƌĞĂƚŵĞŶƚŐŽĂů͘ƌŝƚŝĐĂůĚŽƐŝŶŐǀĂůƵĞƐǁŚŝĐŚƐŚŽƵůĚ
 ĂůĞƌƚƚŚĞƌĞĂĚĞƌƚŽƉŽƚĞŶƚŝĂůŵŝƐƉƌĞƐĐƌŝďŝŶŐŝŶĐůƵĚĞĚĚĞƌĂůůхϰϬŵŐͬĚĂǇ͕ĚĚĞƌĂůůyZх
 ϯϬŵŐͬĚĂǇ͕ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞ/ZхϲϬŵŐͬĚĂǇ͕ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZхϳϮŵŐͬĚĂǇĂŶĚsǇǀĂŶƐĞх
 ϳϬŵŐͬĚĂǇ͘^ĞĞWWE/yĨŽƌƉƌĞƐĐƌŝďŝŶŐŐƵŝĚĞůŝŶĞƐĨŽƌƐĞůĞĐƚŵĞĚŝĐĂƚŝŽŶƐ͘/ƚƐŚŽƵůĚĂůƐŽďĞ
 ƵŶĐŽŵŵŽŶƚŽƐĞĞƐĞĚĂƚŝǀĞƉƌĞƐĐƌŝďŝŶŐĂƚхyĂŶĂǆϰŵŐͬĚĂǇ;ŽƌĂĚŽƐĞĞƋƵŝǀĂůĞŶƚŽĨĂŶŽƚŚĞƌ
 ďĞŶǌŽĚŝĂǌĞƉŝŶĞͿĨŽƌŵŽƐƚĂŶǆŝĞƚǇƐƚĂƚĞƐ͘ƌƌĂŶƚƉƌĞƐĐƌŝďŝŶŐĐĂŶĂůƐŽĐŽŵĞďǇǁĂǇŽĨŵĞĚŝĐĂƚŝŽŶ
 ĐŽŵďŝŶĂƚŝŽŶƐ͕ƚŽŝŶĐůƵĚĞƚŚĞƉĂŝƌŝŶŐŽĨƚǁŽƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ;Ğ͘Ő͕͘ĚĚĞƌĂůůƉůƵƐĚĚĞƌĂůů
 yZͿƚŽĂĐŚŝĞǀĞĂŶĚƵŶƌĞĂƐŽŶĂďůǇŚŝŐŚĐƵŵƵůĂƚŝǀĞƐƚŝŵƵůĂŶƚĚŽƐĞŽƌƚŚĞƉĂŝƌŝŶŐŽĨŚŝŐŚͲĚŽƐĞ
 ƐƚŝŵƵůĂŶƚĂŶĚƐĞĚĂƚŝǀĞ;Ğ͘Ő͕͘ĚĚĞƌĂůůƉůƵƐyĂŶĂǆͿ͕ƐƵĐŚƚŚĂƚƚŚĞƚƌĞĂƚŵĞŶƚŝƐĐŽŵƉůŝĐĂƚĞĚďǇƚŚĞ
 ŽƉƉŽƐŝŶŐƉŚĂƌŵĂĐŽůŽŐŝĐĞĨĨĞĐƚƐŽĨƚŚĞƐĞŵĞĚŝĐĂƚŝŽŶƐƚŚĂƚǁĂƐĚŝƐĐƵƐƐĞĚĞĂƌůŝĞƌŝŶƚŚŝƐƌĞƉŽƌƚ͘

 /ƚ͛ƐĂůƐŽŝŵƉŽƌƚĂŶƚĨŽƌƚŚĞƌĞĂĚĞƌƚŽƌĞŵĞŵďĞƌƚŚĂƚŶŽƚĞǀĞƌǇĐĂƐĞŽĨĂŶǆŝĞƚǇƌĞƉƌĞƐĞŶƚƐ͞ƉĂŶŝĐ
 ĚŝƐŽƌĚĞƌ͟ĂŶĚƚŚĂƚ^^Z/͛ƐĂŶĚ^EZ/͛ƐƌĞŵĂŝŶƚŚĞĨŝƌƐƚͲůŝŶĞƚƌĞĂƚŵĞŶƚĨŽƌŵŽƐƚĂŶǆŝĞƚǇĚŝƐŽƌĚĞƌƐ͘
 ǀŝĚĞŶĐĞĂůƐŽƐƵƉƉŽƌƚƐƉƐǇĐŚŽƐŽĐŝĂůŝŶƚĞƌǀĞŶƚŝŽŶƐ;ŵŽƐƚĐŽŵŵŽŶůǇdͿ͕ĨŽƌĂŶǆŝĞƚǇĚŝƐŽƌĚĞƌƐ͘
 ǀĞŶǁŚĞŶďĞŶǌŽĚŝĂǌĞƉŝŶĞŵĞĚŝĐĂƚŝŽŶƐĂƌĞƵƐĞĚ͕ƚŚĞǇĚŽŶŽƚŐĞŶĞƌĂůůǇƌĞƋƵŝƌĞŚŝŐŚĚŽƐŝŶŐŽƌ
 ƵƐĞĨŽƌůŽŶŐƉĞƌŝŽĚƐŽĨƚŝŵĞ͘ĞƌƚĂŝŶůǇ͕ďĞĨŽƌĞŽŶĞĐŽŶƐŝĚĞƌƐƉƵƚƚŝŶŐĂƉĂƚŝĞŶƚŽŶyĂŶĂǆ͕ƚŚĞǇ
 ƐŚŽƵůĚĨŝƌƐƚƐĐƌƵƚŝŶŝǌĞƚŚĞƉƌĞƐĞŶĐĞŽĨĂŶǇƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶŝŶƚŚĞƌĞŐŝŵĞŶ͘ƌ͘tĞŝƐƐ
 ƐĞĞŵĞĚƚŽŶĞǀĞƌŝĚĞŶƚŝĨǇĂƉƌŽďůĞŵŝŶĐŽͲƉƌĞƐĐƌŝďŝŶŐŚŝŐŚͲĚŽƐĞyĂŶĂǆ;ĨƌĞƋƵĞŶƚůǇŐƌĞĂƚĞƌƚŚĂŶ
 ŽƌĞƋƵĂůƚŽϴŵŐͬĚĂǇͿĂŶĚŚŝŐŚͲĚŽƐĞĚĚĞƌĂůů;ĨƌĞƋƵĞŶƚůǇŚŝŐŚĞƌƚŚĂŶϲϬŵŐͬĚĂǇͿ͕ĂƐŝĨĚĚĞƌĂůů
 ŚĂĚŶŽǁĂǇŽĨŝŵƉĂĐƚŝŶŐƚŚĞƉĂƚŝĞŶƚ͛ƐĂŶǆŝĞƚǇůĞǀĞůĂŶĚƚŚĞyĂŶĂǆŚĂĚŶŽǁĂǇŽĨŝŵƉĂĐƚŝŶŐƚŚĞ
 ƉĂƚŝĞŶƚ͛ƐĐŽŐŶŝƚŝǀĞĨƵŶĐƚŝŽŶ͘ĂƐĞĚƵƉŽŶŵǇƌĞǀŝĞǁŽĨƚŚĞWDWƉƌŽǀŝĚĞĚƚŽŵĞ͕ǁŚĞŶŝƚĐŽŵĞƐ
 ƚŽƚŚĞƉƌĞƐĐƌŝďŝŶŐŽĨƐĞĚĂƚŝǀĞƐĂŶĚͬŽƌƐƚŝŵƵůĂŶƚŵĞĚŝĐĂƚŝŽŶƐ͕ƌ͘tĞŝƐƐŵŽƌĞŽĨƚĞŶƚŚĂŶŶŽƚ
 ŽƉĞƌĂƚĞĚŽƵƚƐŝĚĞŽĨƚŚĞƵƐƵĂůĐŽƵƌƐĞŽĨƉƌŽĨĞƐƐŝŽŶĂůƉƌĂĐƚŝĐĞ͘dŚĞƌĞĂƌĞŶƵŵĞƌŽƵƐĐĂƐĞƐŝŶƚŚŝƐ


                                               WĂŐĞϱϴŽĨϳϯ
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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 59 of 73




 ƐĞƌŝĞƐǁŚĞƌĞŚŝƐƉƌĞƐĐƌŝďŝŶŐŽĨĐŽŶƚƌŽůůĞĚƐƵďƐƚĂŶĐĞƐƚŽƉĂƚŝĞŶƚƐǁĂƐƵŶƐĂĨĞĂŶĚƉůĂĐĞĚƚŚĞ
 ƉĂƚŝĞŶƚĂƚĐŽŶƐŝĚĞƌĂďůĞƌŝƐŬ͘ΎΎΎ͟


                                            WWE/y
         WƌĞƐĐƌŝďŝŶŐZĞĐŽŵŵĞŶĚĂƚŝŽŶƐĨŽƌ^ĞůĞĐƚDĞĚŝĐĂƚŝŽŶƐ;ŝŶĚŝĐĂƚŝŽŶŝŶ
                                 ƉĂƌĞŶƚŚĞƐĞƐͿ
     D/d/KE            DŝĐƌŽŵĞĚĞǆ              ^ƚĂŚů                 D^                   WZ

  ĚĚĞƌĂůů;,Ϳ       /ŶŝƚŝĂůĚŽƐĂŐĞ͗      /ŶŝƚŝĂůϱŵŐŽŶĐĞ   /ŶŝƚŝĂůĚŽƐĞ͗ϱŵŐ       /ŶŝƚŝĂůůǇϱŵŐƉŽ
                         ϱŵŐŽƌĂůůǇŽŶĐĞ       ŽƌƚǁŝĐĞƉĞƌ       ŽŶĐĞŽƌƚǁŝĐĞĂĚĂǇ͘    ŽŶĐĞĚĂŝůǇŽƌ
                         ŽƌƚǁŝĐĞĚĂŝůǇ͘       ĚĂǇ͖ĐĂŶ           DĂǆŝŵƵŵĚŽƐĞ͗           ƚǁŝĐĞĚĂŝůǇ͘
                         dŝƚƌĂƚŝŽŶ͗ŝŶĐƌĞĂƐĞ   ŝŶĐƌĞĂƐĞďǇ        ϰϬŵŐƉĞƌĚĂǇ͘DĂǇ      dŝƚƌĂƚĞďǇŶŽ
                         ŝŶϱŵŐ                ϱŵŐĞĂĐŚ           ŝŶĐƌĞĂƐĞĚĂŝůǇĚŽƐĞ     ŵŽƌĞƚŚĂŶ
                         ŝŶĐƌĞŵĞŶƚƐĂƚ         ǁĞĞŬ͘              ďǇϱŵŐĂƚǁĞĞŬůǇ        ϱŵŐͬĚĂǇĂƚ
                         ǁĞĞŬůǇŝŶƚĞƌǀĂůƐ      DĂǆŝŵƵŵĚŽƐĞ       ŝŶƚĞƌǀĂůƐƵŶƚŝů         ǁĞĞŬůǇŝŶƚĞƌǀĂůƐ
                         ƵŶƚŝůŽƉƚŝŵĂů         ŐĞŶĞƌĂůůǇϰϬŵŐ     ŽƉƚŝŵĂůƌĞƐƉŽŶƐĞŝƐ     ƚŽƚŚĞŵŝŶŝŵƵŵ
                         ƌĞƐƉŽŶƐĞ͖ĚŽƐĞƐ       ƉĞƌĚĂǇ͘           ĂĐŚŝĞǀĞĚ͘KŶůǇŝŶ       ĞĨĨĞĐƚŝǀĞĚŽƐĞ͘
                         ŐƌĞĂƚĞƌƚŚĂŶ                              ƌĂƌĞĐĂƐĞƐǁŝůůŝƚďĞ
                         ϰϬŵŐͬĚĂƌĞƌĂƌĞůǇ                         ŶĞĐĞƐƐĂƌǇƚŽĞǆĐĞĞĚ
                         ŶĞĞĚĞĚ                                    ĂƚŽƚĂůŽĨϰϬŵŐƉĞƌ
                                                                    ĚĂǇ͘

  ĚĚĞƌĂůůyZ;,Ϳ    hƐƵĂůĚŽƐĂŐĞŝƐ       /ŶŝƚŝĂůϭϬŵŐƉŽ ZĞĐŽŵŵĞŶĚĞĚ                ƵƌŝŶŐĂĚƵůƚ
                         ϮϬŵŐƉŽƋĂŵ͘          ƋĂŵ͘ĂŶ        ĚŽƐĞ͗ϮϬŵŐŽŶĐĞĂ          ,ƚƌŝĂůƐ͕
                                                ŝŶĐƌĞĂƐĞďǇϱͲ   ĚĂǇ͘                       ƚŚĞƌĞǁĂƐŶŽƚ
                                                ϭϬŵŐͬĚĂǇĂƚ                                 ĂĚĞƋƵĂƚĞ
                                                ǁĞĞŬůǇ                                      ĞǀŝĚĞŶĐĞƚŚĂƚ
                                                ŝŶƚĞƌǀĂůƐ͘                                  ĚŽƐĞƐŐƌĞĂƚĞƌ
                                                DĂǆŝŵƵŵĚŽƐĞ                                ƚŚĂŶϮϬŵŐͬĚĂǇ
                                                ŐĞŶĞƌĂůůǇ                                   ZĐĂƉƐƵůĞƐ
                                                ϯϬŵŐͬĚĂǇ͘                                   ĐŽŶĨĞƌƌĞĚ
                                                                                             ĂĚĚŝƚŝŽŶĂů
                                                                                             ďĞŶĞĨŝƚ

  DĞƚŚǇůƉŚĞŶŝĚĂƚĞ/Z    ϭϬƚŽϲϬŵŐͬĚĂǇ                            ǀĞƌĂŐĞĚŽƐĞϮϬŵŐ       ǀĞƌĂŐĞ
  ;,Ϳ                ŽƌĂůůǇĚŝǀŝĚĞĚϮƚŽ                       ƚŽϯϬŵŐƉĞƌĚĂǇ͘        ĞĨĨĞĐƚŝǀĞĚŽƐĞ
                         ϯƚŝŵĞƐĚĂŝůǇ                             DĂǆŝŵƵŵĚŽƐĞ            ƌĂŶŐĞĨŽƌĂĚƵůƚƐ
                                                                    ϲϬŵŐƉĞƌĚĂǇ͘           ŝƐϮϬƚŽϯϬŵŐ
                                                                                             ƉĞƌĚĂǇ͘ŽƐĞ
                                                                                             ŵĂǇďĞ


                                                WĂŐĞϱϵŽĨϳϯ
Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 60 of 73




                                                                                          ŝŶĐƌĞĂƐĞĚƚŽϱ
                                                                                          ƚŽϭϬŵŐͬĚĂǇĂƚ
                                                                                          ǁĞĞŬůǇ
                                                                                          ŝŶƚĞƌǀĂůƐ͘^ŽŵĞ
                                                                                          ƉĂƚŝĞŶƚƐŵĂǇ
                                                                                          ƌĞƋƵŝƌĞĚŽƐŝŶŐ
                                                                                          ƵƉƚŽƚŚƌĞĞ
                                                                                          ƚŝŵĞƐĚĂŝůǇ͘
                                                                                          DĂǆŝŵƵŵŝƐ
                                                                                          ϲϬŵŐͬĚĂǇƉĞƌ
                                                                                          &ͲĂƉƉƌŽǀĞĚ
                                                                                          ůĂďĞůŝŶŐ͘

     DĞƚŚǇůƉŚĞŶŝĚĂƚĞZ                                        /ŶŝƚŝĂůĚŽƐĞϭϴŵŐŽƌ   /ŶĂĚƵůƚƐƵƉƚŽ
     ;ŽŶĐĞƌƚĂ͕,Ϳ                                            ϯϲŵŐŽŶĐĞĂĚĂǇ͘       ĂŐĞϲϱǇĞĂƌƐ͕
                                                                  DĂǆŝŵƵŵĚŽƐĞ           ŝŶŝƚŝĂůůǇϭϴƚŽ
                                                                  ϳϮŵŐŽŶĐĞĂĚĂǇ͘       ϯϲŵŐƉŽƋĂŵ͘
                                                                  dŚĞ&ůĂďĞůůŝŶŐ      ŽƐĞŵĂǇďĞ
                                                                  ƐƉĞĐŝĨŝĞƐƚŚĂƚƚŚĞ     ŝŶĐƌĞĂƐĞĚďǇ
                                                                  ŵĂǆŝŵƵŵĚŽƐĂŐĞŽĨ      ϭϴŵŐ
                                                                  ŵĞƚŚǇůƉŚĞŶŝĚĂƚĞZ     ŝŶĐƌĞŵĞŶƚƐĂƚ
                                                                  ƐŚŽƵůĚŶŽƚĞǆĐĞĞĚ      ǁĞĞŬůǇ
                                                                  ϳϮŵŐŝŶĂĚƵůƚƐĂŶĚ     ŝŶƚĞƌǀĂůƐ͘DĂǆ
                                                                  ĂĚŽůĞƐĐĞŶƚƐ͘           ϳϮŵŐͬĚĂǇ͘

     sǇǀĂŶƐĞ;,Ϳ       /ŶŝƚŝĂůĚŽƐĂŐĞ͗                      /ŶŝƚŝĂůĚŽƐĞϯϬŵŐƉŽ   /ŶŝƚŝĂůůǇϯϬŵŐ
                           ϯϬŵŐƉŽŽŶĐĞ                          ĚĂŝůǇ͘DĂǆŝŵƵŵ         ƉŽƋĂŵ͘/Ĩ
                           ĚĂŝůǇŝŶƚŚĞ                          ĚŽƐĞϳϬŵŐƉŽĚĂŝůǇ͘    ŶĞĐĞƐƐĂƌǇ
                           ŵŽƌŶŝŶŐ͘DĂǇ                          &ůĂďĞůůŝŶŐĂůƐŽ     ĂĚũƵƐƚƵƉǁĂƌĚƐ
                           ŝŶĐƌĞĂƐĞĚŽƐĂŐĞŝŶ                    ƐƉĞĐŝĨŝĞƐĂ            ďǇϭϬƚŽϮϬŵŐ
                           ŝŶĐƌĞŵĞŶƚƐŽĨ                         ŵĂǆŝŵƵŵĚŽƐĞŽĨ        ĂƚǁĞĞŬůǇ
                           ϭϬŵŐŽƌϮϬŵŐƉĞƌ                      ϳϬŵŐͬĚĂǇ͘              ŝŶƚĞƌǀĂůƐ͘Ž
                           ĚĂǇĂƚ                                                        ŶŽƚĞǆĐĞĞĚ
                           ĂƉƉƌŽǆŝŵĂƚĞůǇ                                                 ϳϬŵŐͬĚĂǇ͘
                           ǁĞĞŬůǇŝŶƚĞƌǀĂůƐ
                           ƚŽŽƉƚŝŵĂů
                           ƌĞƐƉŽŶƐĞ͘Dy
                           ϳϬŵŐͬĚĂǇ͘

     ůƉƌĂǌŽůĂŵ;ĂŶǆŝĞƚǇͿ /ŶŝƚŝĂůĚŽƐĂŐĞ͗                      WĞƌƚŚĞ&            /ŶŶŽŶͲŐĞƌŝĂƚƌŝĐ
                           Ϭ͘ϮϱƚŽϬ͘ϱŵŐ                         ůĂďĞůůŝŶŐ͕ƚŚĞ         ĂĚƵůƚƐ͕ŝŶŝƚŝĂůůǇ
                           ŽƌĂůůǇƚŚƌĞĞƚŝŵĞƐ                    ŵĂǆŝŵƵŵĚŽƐĂŐĞŝƐ      Ϭ͘ϮϱŵŐƚŽ


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 61 of 73




                       ĂĚĂǇ͖ŵĂǇ                            ϰŵŐͬĚĂǇ͕ŝŶĚŝǀŝĚĞĚ   Ϭ͘ϱŵŐƉŽƚŝĚ͘/Ĩ
                       ŝŶĐƌĞĂƐĞĞǀĞƌǇϯ                      ĚŽƐĞƐ͘                ĐůŝŶŝĐĂůůǇ
                       ƚŽϰĚĂǇƐŝĨ                                                 ŝŶĚŝĐĂƚĞĚ͕
                       ŶĞĐĞƐƐĂƌǇ͘Dy                                               ĂĚũƵƐƚƵƉǁĂƌĚƐ
                       ĚĂŝůǇĚŽƐĞϰŵŐŝŶ                                            ĂƚŝŶƚĞƌǀĂůƐŽĨϯ
                       ĚŝǀŝĚĞĚĚŽƐĞƐ                                                ƚŽϰĚĂǇƐ͕ƵƉƚŽ
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                                                                                     ϰŵŐͬĚĂǇŝŶ
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                                                                                     ĚŽƐĂŐĞŝƐ
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  ůƉƌĂǌŽůĂŵ;ƉĂŶŝĐ   Ϭ͘ϱŵŐŽƌĂůůǇƚŚƌĞĞ                                           /ŶŶŽŶͲŐĞƌŝĂƚƌŝĐ
  ĚŝƐŽƌĚĞƌͿ           ƚŝŵĞƐĂĚĂǇ͖ŵĂǇ                                             ĂĚƵůƚƐ͕ŝŶŝƚŝĂůůǇ
                       ŝŶĐƌĞĂƐĞĚŽƐĂŐĞ                                              Ϭ͘ϱŵŐƉŽƚŝĚ͘
                       ďǇƵƉƚŽϭŵŐͬĚĂǇ                                             dŚĞĚŽƐĞŵĂǇ
                       ĞǀĞƌǇϯƚŽϰĚĂǇƐ͘                                           ďĞŐƌĂĚƵĂůůǇ
                       hƐƵĂůĚŽƐĂŐĞ                                                 ŝŶĐƌĞĂƐĞĚďǇŶŽ
                       ƌĂŶŐĞϭƚŽ                                                   ŵŽƌĞƚŚĂŶ
                       ϭϬŵŐͬĚĂǇ;ŵĞĂŶ                                               ϭŵŐͬĚĂǇĂƚ
                       ϱƚŽϲŵŐͬĚĂǇͿ                                                ŝŶƚĞƌǀĂůƐŽĨϯƚŽ
                                                                                     ϰĚĂǇƐ͘DĞĂŶ
                                                                                     ĚŽƐĞŽĨϱƚŽ
                                                                                     ϲŵŐͬĚĂǇĂŶĚ
                                                                                     ŵĂǆŝŵƵŵŽĨ
                                                                                     ϭϬŵŐͬĚĂǇŝŶ
                                                                                     ĚŝǀŝĚĞĚĚŽƐĞƐ͘




 Additional Information Regarding the Select Patient Cases



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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 62 of 73




    <RXUDIILDQWUHDG'U:DOWHU¶VLQLWLDOUHYLHZRIWKHSURYLGHU3'03IRU'U+RZDUG

 :HLVVZLWKVXEVWDQWLYHSDUWVRIWKHUHSRUWLQVHUWHGDERYHYHUEDWLPDQGWKHVDPH3'03UHFRUGV

 UHYLHZHGDQGDQDO\]HGE\'U:DOWHU<RXUDIILDQWZDVDEOHWRLGHQWLI\WKHSDWLHQWVRIWKHVHOHFW

 SDWLHQWFDVHVRQO\UHIHUUHGWRE\LQLWLDOVLQ'U:DOWHU¶VUHSRUW)RUWKRVHVHOHFWSDWLHQWFDVHVLQ

 WKH6HFWLRQWLWOHG81868$/35(6&5,%,1*3$77(517KH8VHRI0HWKDPSKHWDPLQHLQ

 $GXOW3DWLHQWV\RXUDIILDQWWKHQFRQGXFWHG'09FULPLQDOKLVWRU\DQGVRPHWLPHVRSHQVRXUFH

 GDWDEDVHFKHFNVRQWKHSDWLHQWV

    )RUWKRVHVHOHFWSDWLHQWVLQWKH6HFWLRQWLWOHG81868$/35(6&5,%,1*3$77(51

 7KH8VHRI0HWKDPSKHWDPLQHLQ$GXOW3DWLHQWV\RXUDIILDQWOHDUQHGWKHIROORZLQJ

 D    3DWLHQW%(LVLGHQWLILHGDV%UDQGHH(LJKP\3DWLHQW(LJKP\¶VFULPLQDOKLVWRU\LQFOXGHV

 SULRUDUUHVWVDQGFRQYLFWLRQVLQ&RORUDGRIRU'DQJHURXV'UXJV3RVVHVVLRQRI'DQJHURXV'UXJV

 3RVVHVVLRQRI'UXJ3DUDSKHUQDOLD7UDIILF2IIHQVHV7UHVSDVVLQJ%XUJODU\)7$VDQG)OLJKW

 (VFDSH'U:HLVV¶3'03UHSRUWV3DWLHQW(LJKP\ILOOHGSUHVFULSWLRQVLQ-XQHDQG-XO\

 ZULWWHQE\'U:HLVVIRU$OSUD]RODPPJWDEOHWVDQGILOOHGSUHVFULSWLRQVLQ-XO\DQG$XJXVW

 ZULWWHQE\'U:HLVVIRU0HWKDPSKHWDPLQHPJWDEOHWV,Q6HSWHPEHU3DWLHQW

 (LJKP\ZDVDUUHVWHGFKDUJHGLQ-HIIHUVRQ&RXQW\DQG'HQYHU'LVWULFW&RXUWZLWK5REEHU\

 $VVDXOW9HKLFOH7KHIW:HDSRQV2IIHQVH7KHIWDQG3XEOLF2UGHU&ULPHVFRQYLFWHGRI$VVDXOW

 0RWRU9HKLFOH7KHIW7DJDQG5REEHU\DQGVHQWHQFHGWRPRQWKVLQMDLOPRQWKVLQWKH

 FXVWRG\RIWKH'HSDUWPHQWRI&RUUHFWLRQVDQGPRQWKVLQWKHFXVWRG\RIWKH'HSDUWPHQWRI

 &RUUHFWLRQVUHVSHFWLYHO\

 E    3DWLHQW-R)DLVLGHQWLILHGDV-RQ)DXONQHU3DWLHQW)DXONQHU¶VFULPLQDOKLVWRU\LQFOXGHV

 SULRUDUUHVWVDQGFRQYLFWLRQVIRU'DQJHURXV'UXJV3RVVHVVLRQRI0HWKDPSKHWDPLQHDQG'ULYLQJ

 8QGHUWKH,QIOXHQFH  'DQJHURXV'UXJV3RVVHVVLRQRID&RQWUROOHG6XEVWDQFH  



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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 63 of 73




 &ULPLQDO3RVVHVVLRQRI,''RFXPHQWV0XOWLSOH9LFWLPVDQG3RVVHVVLRQRID&RQWUROOHG

 6XEVWDQFH  'DQJHURXV'UXJV3RVVHVVLRQRID&RQWUROOHG6XEVWDQFH  3RVVHVVLRQRI

 'UXJ3DUDSKHUQDOLD7UDIILF2IIHQVH5HJLVWUDWLRQ)LFWLWLRXV3ODWHDQG0DNLQJD)DOVH5HSRUW

  DQG)RUJHU\  'U:HLVV¶3'03UHSRUWV3DWLHQW)DXONQHUILOOHGDSUHVFULSWLRQLQ

 1RYHPEHUZULWWHQE\'U:HLVVLQ2FWREHUIRU0HWKDPSKHWDPLQHPJWDEOHWV,Q

 2FWREHU3DWLHQW)DXONQHUZDVDUUHVWHGIRU7UDIILF2IIHQVHVDQG'ULYLQJ8QGHUWKH

 ,QIOXHQFHKRZHYHUDGLVSRVLWLRQLVQRWOLVWHGDQGLQ-DQXDU\3DWLHQW)DXONQHUZDVDUUHVWHG

 IRU3DQGHULQJ$UUDQJLQJ3URVWLWXWLRQDQG+DUDVVPHQWEXWWKHFKDUJHVZHUHGLVPLVVHG

 F     3DWLHQWV:D-RKQFDQG:D-RKQDDUHRQHDQGWKHVDPHDQGLGHQWLILHGDV:D\QH

 -RKQFRFN3DWLHQW-RKQFRFN¶VFULPLQDOKLVWRU\LQFOXGHVVHYHUDODUUHVWVIRUGUXJVWKHIWGULYLQJ

 XQGHUWKHLQIOXHQFHGLVWXUELQJWKHSHDFHGDPDJHSURSHUW\DQGIRUJHU\LQWKHVDQGV

 ZLWKRXWGLVSRVLWLRQVDQGDUUHVWVDQGFRQYLFWLRQVIRU'DQJHURXV'UXJV3RVVHVVLRQRID

 &RQWUROOHG6XEVWDQFH  'U:HLVV¶3'03UHSRUWV3DWLHQW-RKQFRFNILOOHG

 SUHVFULSWLRQVIRU0HWKDPSKHWDPLQHPJWDEOHWVDQGWZREHQ]RGLD]HSLQH $OSUD]RODPDQG

 )OXUD]HSDPVHGDWLYHV PHGLFDWLRQVEHWZHHQ)HEUXDU\DQG$XJXVW2Q2FWREHU

 3DWLHQW-RKQFRFNZDVIRXQGXQUHVSRQVLYHLQKLVFORVHWDWKLVKRPH(PHUJHQF\PHGLFDO

 VHUYLFHVUHVSRQGHGEXWKHFRXOGQRWEHUHVXVFLWDWHGDQGZDVSURQRXQFHGGHDGRQVFHQH7KH

 &RURQHU¶V5HSRUWVWDWHV3DWLHQW-RKQFRFNGLHGRIKHURLQLQWR[LFDWLRQDQGWKDW$WKHURVFOHURWLF

 FDUGLRYDVFXODUGLVHDVHFRQWULEXWHGWRKLVGHDWK7R[LFRORJ\ZDVSRVLWLYHIRUDFHW\OPRUSKLQH D

 VSHFLILFPHWDEROLWHRIKHURLQ PRUSKLQH PHWDEROLWHRIKHURLQOHWKDOOHYHO FRGHLQHDQGVPDOO

 DPRXQWVRIDOSUD]RODPGLD]HSDPDQGQRUGLD]HSDP7KHPDQQHURIGHDWKZDVDFFLGHQW


 G     3DWLHQW6D3ULVLGHQWLILHGDV6DPXHO3URFWRU3DWLHQW3URFWRULVWKHVDPHSDWLHQWUHIHUUHG

 WRLQSDUDJUDSKVDERYH


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 64 of 73




 H      3DWLHQW'D6WLVLGHQWLILHGDV'DYLG6WHZDUW3DWLHQW6WHZDUW¶VFULPLQDOKLVWRU\LQFOXGHV

 VHYHUDODUUHVWVDQGFRQYLFWLRQVIRU'DQJHURXV'UXJV  9LRODWLRQRID5HVWUDLQLQJ2UGHU

   7KHIW  9HKLFXODU(OXGLQJDQG3RVVHVVLRQRI&RQWUROOHG6XEVWDQFH  )OLJKW

 (VFDSHVDQG)UDXG,PSHUVRQDWLRQ  7UHVSDVVLQJ  9HKLFXODU(OXGLQJ3RVVHVVLRQRI

 &RQWUROOHG6XEVWDQFH3RVVHVVLRQRID:HDSRQE\D3UHYLRXV2IIHQGHU,'7KHIWDQG6HQWHQFH

 (QKDQFHUSURYHQ  DQGVXVSHQGHGGULYHUOLFHQVHIRU'ULYLQJ8QGHUWKH,QIOXHQFH

 I      3DWLHQW39LVLGHQWLILHGDV3DWULFN9RQQR\RQWKH3'03EXWLVIXUWKHULGHQWLILHGDV

 3DWULFN9DQQR\3DWLHQW9DQQR\¶VFULPLQDOKLVWRU\LQFOXGHVDUUHVWVDQGFRQYLFWLRQVIRU7KHIW

 DQG3RVVHVVLRQRID&RQWUROOHG6XEVWDQFH  DQG7KHIW3RVVHVVLRQRID&RQWUROOHG

 6XEVWDQFHDQG'ULYLQJZLWKRXWD'ULYHU¶V/LFHQVH  'U:HLVV¶3'03UHSRUWV3DWLHQW

 9DQQR\ILOOHGSUHVFULSWLRQVIRU0HWKDPSKHWDPLQHPJWDEOHWVRQHWLPHLQ$XJXVWDQG

 WKHQSUHVFULSWLRQVIRU$OSUD]RODPPJWDEOHWV'H[WURDPSDPSKHWDPLQPJWDEOHWVDQG

 'H[WURDPSDPSKHW(5PJFDSVXOHVEHWZHHQ$XJXVWDQG'HFHPEHU2Q

 -DQXDU\3DWLHQW9DQQR\ZDVDUUHVWHGDQGWKHQFRQYLFWHGIRU3RVVHVVLRQRID&RQWUROOHG

 6XEVWDQFHDQG'ULYLQJ8QGHUWKH,QIOXHQFH

 J      )RUWKRVHVHOHFWSDWLHQWFDVHVLQWKH6HFWLRQWLWOHG81868$/35(6&5,%,1*

 3$77(51+LJKGRVH6WLPXODQW0HGLFDWLRQVZLWK+LJKGRVH6HGDWLYHV\RXUDIILDQWZDVDEOH

 WRLGHQWLI\WKHIROORZLQJSDWLHQWVLGHQWLILHGLQWKHUHSRUWE\LQLWLDOVDVIROORZV

             x 3DWLHQW&$LVLGHQWLILHGDV&KDQFL$PRV

             x 3DWLHQW.$LVLGHQWLILHGDV.DWKOHHQ$SSOH

             x 3DWLHQW0$LVLGHQWLILHGDV0LFKDHO$UULJR

             x 3DWLHQW'$LVLGHQWLILHGDV'RQQD$YRQGD

             x 3DWLHQW57%LVLGHQWLILHGDV5REHUW7UH\%DUUHWW


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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 65 of 73




         x 3DWLHQW(%LVLGHQWLILHGDV(PLO\%DUU\3DWLHQW%DUU\LVWKHVDPHSDWLHQW

            UHIHUUHGWRLQSDUDJUDSKVDERYH

         x 3DWLHQW/%LVLGHQWLILHGDV/LVD%HQHGLFW

         x 3DWLHQW5\%ULVLGHQWLILHGDV5\DQ%URFNOH\

         x 3DWLHQW3&LVLGHQWLILHGDV3DWW\&KULVWRSKHU

         x 3DWLHQW$Q&LLVLGHQWLILHGDV$QWKRQ\&LFFKLQL

         x 3DWLHQW-D'HLVLGHQWLILHGDV-DUHG'H+DDQ3DWLHQW'H+DDQLVWKHVDPHSDWLHQW

            UHIHUUHGWRSDUDJUDSKVDERYH

         x 3DWLHQW*(LVLGHQWLILHGDV*UHWFKHQ(OOVPRUH

         x 3DWLHQW-D)LLVLGHQWLILHGDV-DPHV)LQJHU

         x 3DWLHQW/)LVLGHQWLILHGDV/DXUHQ)ULHG

         x 3DWLHQW-+LVLGHQWLILHGDV-HUHP\+DOH\

         x 3DWLHQW6+LVLGHQWLILHGDV6WHSKDQLH+DOO

         x 3DWLHQW$+LVLGHQWLILHGDV$P\+LOJHQGRUI

         x 3DWLHQW3+LVLGHQWLILHGDV3HWHU+RHUO

         x 3DWLHQW(+LVLGHQWLILHGDV(PLO\+XGVRQ

         x 3DWLHQW%.LVLGHQWLILHGDV%HWKDQ\.DUXODN

         x 3DWLHQW.\.HLVLGHQWLILHGDV.\OH.HOOXP

         x 3DWLHQW3.LVLGHQWLILHGDV3DXO.HOO\ GHFHDVHG 

         x 3DWLHQW.H.HLVLGHQWLILHGDV.HOOH\.H\V

         x 3DWLHQW-.LVLGHQWLILHGDV-DVRQ.LQVH\

         x 3DWLHQW6.LVLGHQWLILHGDV6WDFH\.OLQJHU GHFHDVHG 

         x 3DWLHQW0.LVLGHQWLILHGDV0HOLVVD.URK

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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 66 of 73




             x 3DWLHQW;/%LVLGHQWLILHGDV;HD/DQGHUV%HUJIHOG

             x 3DWLHQW&/LVLGHQWLILHGDV&RU\/RZH

             x 3DWLHQW7U0DLVLGHQWLILHGDV7UDYLV0DWWKHZV

             x 3DWLHQW7K0DLVLGHQWLILHGDV7KRPDV0D\KHZ

             x 3DWLHQW'0LVLGHQWLILHGDV'DYLG0F.HHYHU

             x 3DWLHQW$0LVLGHQWLILHGDV$ORQ]R0RQWR\D

             x 3DWLHQW30LVLGHQWLILHGDV3DXO0RQWR\D

             x 3DWLHQW:3LVLGHQWLILHGDV:HQGL3HOWRQ

             x 3DWLHQW7K5LLVLGHQWLILHGDV7KRPDV5LFKWHU

             x 3DWLHQW&K5LLVLGHQWLILHGDV&KDUOWRQ5LGLQJV

             x 3DWLHQW-H5DLVLGHQWLILHGDV-HQQLIHU5D\PRQG

             x 3DWLHQW%5LVLGHQWLILHGDV%HWV\5XELQ

             x 3DWLHQW(6LVLGHQWLILHGDV(ULF6FKPDOKRUVW

             x 3DWLHQW'R6XLVLGHQWLILHGDV'RXJODV6XWWRQ

             x 3DWLHQW:57LVLGHQWLILHGDV:LOOLDP5DQNLQ7LFNOH

             x 3DWLHQW-7LVLGHQWLILHGDV-DUHG7XFN

             x 3DWLHQW7\:DLVLGHQWLILHGDV7\:DOYDWQH

             x 3DWLHQW%:KLVLGHQWLILHGDV%ULDQ:KLWH

             x 3DWLHQW%=LVLGHQWLILHGDV%ULDQ=DUGXV

 K      )RUWKRVHVHOHFWSDWLHQWFDVHVLQWKH6HFWLRQWLWOHG81868$/35(6&5,%,1*

 3$77(51+LJKGRVH6WLPXODQWVDQG6WLPXODQWVLQ&RPELQDWLRQ\RXUDIILDQWZDVDEOHWR

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         x 3DWLHQW.U%LLVLGHQWLILHGDV.U\VWLQ%LO\HX

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         x 3DWLHQW&K&RLVLGHQWLILHGDV&KULVWRSKHU&RUEHWW

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            /DQVIRUG

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         x 3DWLHQW'D6SLVLGHQWLILHGDV'DYLG6SDUNV

         x 3DWLHQW5\5RLVLGHQWLILHGDV5\DQ5REVRQ

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 L      )RUWKRVHVHOHFWSDWLHQWFDVHVLQWKH6HFWLRQWLWOHG81868$/35(6&5,%,1*

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      SUHVFULELQJDFWLYLWLHV7KHVHDFWLYLWLHVDUHRIWHQUHIHUUHGWRDV³UHGIODJV´DUHGHVFULEHGLQ

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      HQFRXQWHUZLWKXQGHUFRYHUODZHQIRUFHPHQWWKHIHGHUDOODZHQIRUFHPHQWSDUWLFLSDWLQJLQ

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Case 1:19-y-00043-STV Document 1-1 Filed 06/24/19 USDC Colorado Page 70 of 73




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        FRQILGHQWLDOLW\ RI SDWLHQW UHFRUGV DXWKRUL]HG GUXJ WUHDWPHQW SURJUDPV DUH PRUH KLJKO\

        UHJXODWHGDQGVXEMHFWWRVSHFLDOUHVWULFWLRQVDQGUHTXLUHPHQWVDVVHWIRUWKLQ7LWOHVDQG



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        DSSHDUVWRGHPRQVWUDWHDQLQRUGLQDWHQXPEHURISUHVFULSWLRQVZULWWHQIRUVSHFLILFFRQWUROOHG

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        EHLQJOHJLWLPDWHO\WUHDWHGE\'U:HLVVZLOOEHXVHGWRFULPLQDOO\LQYHVWLJDWHRUSURVHFXWH

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